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                 UNITED STATESDISTRICT F0R THE M IDDLE DISTRICT 0F R ORIDA

      M ack W ells& M aurice Sm onette,
             D efendant/cotm ter-plaintiF ,   FED .CA SE N o.:24-CV -23015-KM W
      V s.                                    D A DE CA SE:2024-012330-CA 01
      U .S.BAN K N ATION M A SSO CIATION ,
             Plaintix counter-D efendant.                                          /
     M O TIO N FO R CH AN G E O F V EN IJE O F O U R W R IT O F REPLEVIN FR O M
                D AD E CO U N TY C O U RT SA N D D A DE C O U N T Y FED ER AL
             SO W H ER N DISTR ICT CO UR T TO PIN ELLA S C O U N TY C O UR T
             FIO RD A STM '
                          .CH.R 01& 28U.&C.1391VENUEAND 14M (a)ftidev


      COM ES NO W ,PlaintiFs,M ack W ells& a M inisterDoctorateDer ee,President

      of BossGroup M inistries,BritishBahnmianPrinceM aurice Sm onette,suijuris,
      and filesfor Change of Venue ofalIof fake new s w hich is part of the Conspiracy

      in the crim inalactivity com m itted by M iam iFlorida's D ade County Circuit,Judge

      Valerie M nnno Shum Judge John Schlesinger, Judge M iguel De La 0, Judge

      Sam antha Ruiz Cohen, Judge Verorlica D iaz, Judge Thom as R ebull, Judge

      Vivinnne Del Rio,Appellate JudgesBrownw yn C.M iller,A ppellate Judge K evin

      M ichaelEm as,A ppellate Judge Edw in Scales,Judge Carlos Lopez,Judge Spencer

      Eig, Judge Jose R odriguez, Clerk of Court Juan Fernandez-Barquin, Federal

      Judze Jose M artinez.FederalM azistrate Eduardo Sanchez.Echevnniw Codilis

       & Staw iarski Atty.Firm ,Florida D efault Law Group, P.L.. Ronald R .W olfe &

       Associates,PLAV .Firm Law Oo cesofM arshallC.W atson,P.A.,Brock & Scott
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       ofthe Courts channel7,Channel10,CBS,NBC and the M iam iHerald w ho putout

       Fake News,Exh.23.so thatw e can'tgeta fairtrialforthe RICO Conspirators,ora

       fairW ritofReplevin trialand they have prejudiced usfrom getting a Surety Bond,

       or getting a fair Notice of Rem ovaland W rit of Replevin hearing because of Fake

       News Corrupt Law yers and Judges w ho work with the Banks and are paid by the

       Banksw ith illegalconflicts ofinterest.As


       l3ljudgeswasfoundguiltyofmaking$with Banks(Conflictofinterest)NYTimes

       1.FederalJudge Jose E.M artinez is ourNotice ofRem ovalJudge forthis Case 23-

       CV-22640-JEM awayfrom thisForeclosure/Eviction Case#2010-61928-CA01isthe
       sam e Judge on Alfred Davis Case a m em ber of Boss Group M inistries Inc.the

       ow ners of the Foreclosure property in question, Alfred Davis is charged w ith

       having a Paper ID Access Devise that they accuse Alfred Davis of, but this is a

       Conflict of interest because this Judge M artinez and his M agistrate Eduardo

       Sanchez both also have m oney Conflicts of Interest with U.S.Bank, Exh.4 and 5.

       W hich U.S.Bank is illegally foreclosing on and is ow ned by Boss Group M inistries

       Inc.w here Alfred Davis is an Officer on as part of the strength of Boss Group

       M inistries, W hich is one m ore ofthe incentives as to w hy they w ould allow U.S.

       Bank to continue illegally Foreclosing us in Violation ofthe Autom atic stay of 28
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      Atty.Firm ,Blank Rom e LLP Atty.Firm , FederalProsecutor Jonathan B ailyn,

      Federal TranscriberA lr.pAnn Casale,Defensead/1.ZellkaBozanic,Temporary

      W //y.K hurrum B. W ahid and U .S.Bank N .A .,and retrieve a11 docum ents using

      H om eland Security and the FBI,relating to this case to prove the Crim inalactivity.

      O nce Crim inal activity is proven then charges be brought against a11 flers the

       Culpritand the Perpetratoron our case charges is Deprivation ofHghts,Organized

       Fraud property over$50,000,M isprision ofFelony and Tre% on,18U.S.C.3041.

       A 11ofthese Judges Conspired to do Organized Fraud on ourproperty and they a11

       have m oney conflicts ofinterestwith U .S.Bank as noted in this docllm entExactly

       like the 131 Federal Judges found guilty of Cov icts of lnterest Law yers folm d

       GuiltyofForgingJudge'sOrders,Exh.(73),Exh.(72)andseetoseeJudgesfound
       guilty of Conflicts of Interest now w e are at otlr M otion for Change of Venue

       because ofaIIthe fake news Iike the m edia reported fake shooting story created to

       color us as bad on Easter 2022 and July 4th weekend on July 7th#see:Godsz.com

       vid. H. and H2,totally because the guy w ho w as supposed to be shot said he

       wasn'tshotbutthat he hurt his hip offthe Jetskiand was soaking w et and w e aII

       saw there w as no blood at aII as seen on the video aII m ade up to take our

       property w hich is part ofthe Conspiracy on W M edia that deprives m e of a fair

       trialorgrand jury thatincludesthe sheriffs,Dept.Dade county'sM ayor,and Clerk
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      UsC 9 1446 (d)(b)which says the Circuit can only act on the Case after the
      FederalJudge Rem ahdj thè-casè back to the State Circuit Court yet the Circuit

      Judge Carlos Lopez and Judge Spencer Eig even afterbeing noticed ofthe Notice

      ofRem ovalStay and the Bankruptcy Stay O ct.13th# line 387-392 14th# 15thand 16

       Iines 894-398 and 388h the day ofthe Sale on the Docketofthis Foreclosure Case

       201061928-CA0 1, Judge Carlos Lopez who al
                                                so has a very serious$ 4 million

       ConfiictofInterest,Exh.24.AndJudgeSpencerEigwiththesame $Conflict,Exh.

       25.upheldJudgeCarlosLopez'sillegalViolationof28 USC j 1446(d)FederalStay

       and allow ed the Sale to go through and be upheld.

       2.The ClerkofCourtJuan Fernandez Barquin who also hasthe same $ Conflict,

       U.S.Bank,Exh.26.And sped up the Eviction by transferring the Title to US Bank by

       Fraud and by Lying,sayingw e neverObjected to theSale,Exh.27.Iine 446.dated

       04/24/24 InourCase2010-61928-CA01.W henthefactiswe ObjectedtotheSale

       within the 10 day time period allotted afterthe Sale to Objectaccording to,Fl.

       stat. 45.                                         through Iines 432 period
               031 (5)three times,see lines 404, 406 407
        allotted to Objectto Salessee Iines404,406407 through lines432 period allotted

        to Objectto Sales,butthey all
                                    owed the Sale to go through,transferofTitle W rit

        of Possession hearing in US Bank's favor, and 24 hour post to Evict anyw ay

        through the FederalStay w ith no Rem and.
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      3.W e told and had a Process Server Serve the Eviction Sheriff office Lt. Flavio

      Q uiroz w e had a FederalStay and he said Notice of Rem ovals and Bankruptcy

      Stays don'tStay Foreclosures anym ore that stopped fouryears ago w hich is a Iie

      and they put a 24 hour W rit of Possession in Violation of the Stay and Eviction

       M anagerJenniferalso refused to be served Notice ofRem ovalStay,W ritofPlevin

       Complaintand ColorofLaw Complaint(C.O.L.)thatcompletelygivesthe proofof

       the Organized Fraud w ith the Police Report Case #PD240614188594 also filed in

       Dade Clerk Docketcase #2010-61928-CA01 Doc.Line 491 dated 06/17/2024,

       Reported to the State Atty.Office to lnvestigatorJ.Sanchez#54 dated 6/17/24,

       Exh.30.Filed in FederalCourtwith the Case #23-CV-22640-JEM dated 06/17/24

       Doc line #60, Exh.30.lnspectorGeneral's Office SA.M .Diaz case #TBD, Exh.31.

       and Code ofCom pliance Dept.see Exh.29.pages 1-36.And filed w ith the County

       Clerk,Exh.33. in VIOLATION of18 USC 1501 W hich is a 1Stdegree M isdem eanor

       to refuse service as a County agency so they allknew thatthere w as a Stay since,

       10/13/23.So they used fake Newsaboutourhouse with staged fake shootings,
       godsz.com vid.H. to take ourhouse for Banks and big Developers w hich is also a

       Conflict of interest and has sentenced Alfred Davis to 8 m onths in jaileven

       though M aurice Sym onette stood up and said he was the one w ho had the ID not

       Alfred Davis m aking Alfred Davis innocentfrom w hatthey claim w as a Crim e and
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      the Judge w ould not Iisten. AII done to stop the Am erican Gala Aw ards see:

      Am ericangala.com the AGA an event w ith 100 black stars helping hom eless VETS

      w ith TRUM P com ing to getan Honorary Doctorate Degree from a Haitian college

      to draw people to Donate to the Hom elessVETS.An eventthat w e've been doing

      since 1997 and w e do Stand dow ns forthe VEB to raise m oney forthe Hom eless

      VETS done w ith the city of M iam iHom elessVeterans Foundation,w ith Lt.Colonel

       Colm enares and M ayor Thom as Regalado Exh. 1. and the City of Opa Locka

       Florida,Exh,2. also have done yacht Fundraisers forRepublican Politicians on m y

       4 story 80 ft.yacht.Exh,3. So W e m ust rem ove this Case now to w est palm Beach

       because Brow ard and Dade County Federalfed courts keep transferring our case

       back to Dade County FederalJudge Jose M artinez,and M artinez w ho along w ith

       his M agistrate Eduardo Sanchez also have Financialconflicts of interest,w ith U.S.

       Bank Banks, Exh.4 pgs.1-3 and Exh. 5 pgs.1-3.w ho has allow ed U.S.Bank to

       violate 28 USC j 1446 (d)allowing the CircuitCourtto Foreclose overthe Stay

       before the Case w as Rem anded See 2010-61928-CA01 Doc 387-389 and 394-398

       10/13/2023-10/15/23 -10/16/23 Notice of Removalwas Filed yetthey did not
       stop the Sale and FederalJudge M artinez did notVoid the Sale in Violation ofhis

       StaY and this Prosecutor Johnathan Bailyn is retaliating against Alfred Davis a

       w itness in Violation of 18 USC ï 1513 w ho would not Iie for them and who
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       pointed out his RACISM W saying Alfred a Black Man can't Iive in a (white)
       people's apt.building and atthe Sentencing ProsecutorJonathan Bailyn conspired

       with Alfred DavisAtty Zeljka Bozanic three timesduring the Case they would not

       allow M aurice Sym onette to testify for Alfred Davis know ing thatSym onette w as

       going to talk about his good characterin helping the poorfeeding the poor,doing

       big events Iike the AGA Event to house the hom eless Vets and help W ounded

       W arriors see Am ericangala.com am ong so m any other greatthings and she knew

       thatSym onette w as going to take the blam e forthe paper ID thatAlfred Davisw as

       charged w ith keptM aurice outside during the hearing brought up Alfred'scrim inal

       record in violation of rule 404 and stilldidn't allow M aurice Sym onelte to testify

       abouthisgood characterand before the Jury found him guilty his Attorney Zeljka
       told Alfred and Sym onette that they w ere going to allow m e to testify but Iet the

       case end anyway w ithout m y testim ony and the Jury found Alfred Davis guilty

       unbelievably because even Jesus w as accused of aII kinds of w ickedness he

       uttered not a m um bling w ord and no m an stood and said he w as a good m an so

       he w asfound guilty and putto Death Iike m ostblaèk m en Iike Alfred Davis and w e

       were very upset!And the prosecutorJonathan Bailyn asked the Judge to Rem and

        him to jailim mediately but without my testimony but the Judge Jose M artinez

        shocked us saying he's not doing that because you guys did not prove your case
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      you brought no evidence in thatproved Alfred Davisdid anything and you brought

      no W itnesses ln that Identified Alfred Davis so l'm going to do a Directed Verdict

      m yself 1u1y11th and I'm going to Iet you stay out on Bond untilJuly 11th and he

      said ''don't let m e dow n M r.Davis''and a w eek or so before July 11th M aurice

      Sym onette and M icahielNichloson w entto the Clerk ofthe Court and saw Alfred

      Davis's Docket and saw som ething shocking the Transcript by Transcriber M ary

      Ann Casale excluded the Statem ent thatJudge M artinez said w hich w as I'm not

       doing that because you guys did not prove your case,you brought no evidence in

       that proved Alfred Davis did anything and you brought no W itnesses In that

       Identified Alfred Davis.So M aurice Sym onette broughtAlfred Davis to the Federal

       Clerks office a day or so before the July 11 Sentencing hearing and saw it to we

       ordered the w hole Transcriptthe Clerk printed itup and Alfred Davis w as aboutto

       pay forit the Clerk saw thatw e noticed that w e saw the horrible discrepancy and

       then said oh no w e can't allow you to get transcript and took it from us in

       Violation of,5 CFR 9 1201.53 Record ofProceeding(a)(b)(c)butwe haveabout20
       eye and earw itnesses that w hatJudge Jose E.M artinez said on both days ofthe

       trialwas true w e heard Judge Jose M artinez say those w ords w hich w e aIso saw

       andheard,AffidavitszExh.z7.l-8,buton7/11/24theJudgeoutofnowheresaidhe

       agreed w ith the Jury exactly the O pposite ofw hat he said w hich explains w hy the
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      transcriber refused process service for Iaw suit,Exh.79 w ho Changed Transcript to

      match judges change about Alfred Davis.Atty.Zeljka because she didn't turn in
      ourCharacter Iettersfrom his Fam ily thatw e w ould be able to get us to testify on

      his CharacterofAlfred Davis and she knew Iw as going to say Alfred w as innocent

      because ldid itbutthey didn'tallow us to testify and Judge M artinezw entagainst

      his first statem ent and put Alfred in Jailfor8 m onths forw hat he Judge M artinez

      Called a Petty Crime (that lMaurice knowsshould not be in FederalCourtland

      Judge M artinez said if he's so bad w hy didn't you charge him with those Crim es.

       And now because Atty.Zeljka didn't turn in his Fam ilies Character Ietters,this

       tricky team w ith this Racist PROSECUTO R w as able to put in his response to the

       request for Bond w hile w aiting for his Appealwas able to say that Alfred doesn't

       have close fam ily Ties because no Fam ily w rote him a Characterletterortestified

       forhisCharacteratthe Hearing in the Docket7/17/24 Docentry74 Iastparagraph

       ofpage 1 case #24-CR-20051-JEM .W hat a trickto perfecttheirtrick Case because

       his Atty.Held back the Character Ietters and she didn't Iet us Testify so that the

       Prosecutor can say no fam ily ties to stop his Bond,here are the character Ietters

       she held back Exh.81,1-6.to stop the Am ericangpla.com event for the VETS and

       take our property,w hat a perfectteam to doom Alfred Davis w ith the help of his

       Atty. And this Racist Prosecutor Bailyn Nut called our nonprofit organization
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       HOODLUMS=(Niggers). Coupled with allthis Fake charges done to take our

       Property by m aking us W ow w e w ho feed the people and theirkids every Sunday

       and afterthe event w e pick up the trash m aking our neighborhood very clean for

       alm ost 30 years w ith old people,young people, kids Latin, Black and W hite w e

       help people w ith Com m unity Service,w e feed people,do voterRegistration Drives

       and help w ith the Getoutto Vote Strategies w ith Sym onettes Fraternity Alpha Phi

       Om ega a Service Fraternity forthe People Ihave tem ple serm ons 4 tim es a day

       played on differenton Radio Stations daily,w e gota Proclam ation from the city of

       M iam ifrom doing these events,Exh.6.and tw o Proclam ations from the City of

       Opa-Locka,Exh.7 and 8,M aurice Sym onette's Grand FatherSirRoland Sym onette

       was the first Black Prim e M inister of the Baham as thereby m aking M aurice

       Symonette a Prince,Exh.9.who'sGrand Fatherisonthe Bahamian $50 bill.Exh,

        10.W hose father Al.Sym onette w as one of M iam i's First five Black M illionaires

       w ho ow ned the SirJohn Hotel,the Night Beat Night Club and the First Black Taxi

        Cab Service in M iam i Called Checkers w here lwas trained by m y Dad, W hose

        M otto is Latin Black and W hite M ust unite and telling the Police ''Thank You for

        yourService'',Exh.11,M aurice Sym onette w as one of the First Black M en to Iive

        in a M ansion on Palm Island, M aurice Sym onette has absolutely no Crim inal

        Record.M aurice Sym onette is know n forteaching Black M en to notsm oke,drink
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       or take drugs Iike he has never done and how to m ake m oney w ithout being a

       crim inal M aurice Sym onette, Godsz.com on page 2. vid 36-39. And is the

       President of Boss Group M inistries and hasa Doctorate Degree in M inistries,Exh,

       12,an Honorary Doctorate Degree forIettersand a Doctorate Degree in Hum anity,

       Exh. 13, and Exh.14, runs Boss M agazine,Exh, 15, Blacks ForTrum p M agazine.

       Exh,16,Also is the FounderofBlacks ForTrum p and Blacks Forlsrael,Latino's For

       Trum p and W om ens ForTrum p,Blacks forTruckers Haitians ForTrum p and Blacks

       for Israel because Yahw eh Ben Yahweh in 1988 w hen Synagogues w ere being

       defaced w ith Nazi Swastickers Yahw eh Ben Yahw eh ordered us to guard those

       Tem ples, Exh.17, and the Jew ish Priest cam e and thanked Yahw eh Ben Yahw en

       Exh.18.W e are the Freedom Fighters w ith Yahw eh Ben Yahw eh w e cleaned up

       the Black neighborhood w e cleaned up Iiberty city,overtow n and North beaches

       on AIA,Exh.19,1-4.and Exh.20.we m ade the area safe to w alk in,Exh.21,1-3.

       Yahw eh hotelsw e guarded the old ladies across the streetfrom the tem ple and if

       anybody snatched their purse we w ould run them dow n and beat them up And

       take the Iady's purse back and call the police on the guy and arrest him w e

       guarded the Jew ish tem ples w hen they w ere being defaced and others w ith

       Swazstickers,Exh.30.and allofthe priestcam e and thanked us w e stopped drug

       dealing around the Com plexesw e ow ned w e had ourow n Grocery store we gave
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       away food we gave away clothing we gave people rides to theirjobs we kept

       people inform ed w ith literature had m illions of readers of our Iiterature

       nationwide owned Businesswe hired People forjobseven FederalBroward Chief

       Judge Norm a Roettger in the Yahw eh Case said the reason w hy he gave Yahw eh

       Ben Yahw eh such little tim e is because.He said he had to be com m ended forhis

       good works and he had done a lot of good w orks, Exh.31,yet this Bully Assed

       Racist ProsecutorBailyn calls us HOO DLUM S w hat a RACIST nam e calling

       IGNO RANT NUT bailyn is w ho feels Iike he has to Destroy us w ith w hat

       Judge lose M artinez calls Penny Anie charges to show us helpless

       black w ho'sthe boss and w e are notallow ed to m ake m oney,Live nice

       or drive nice cars w 0w !!!And ourorganization called BossGroup M inistries

        w e M inistered severaldifferent radio stations fourtim es a day to the people to

        unite Latin,Black and W hite.W e have ourow n new spaperads in the new spaper

        to inform people w e were know n noted by New tim es new spaper as the best

        radio station in south Florida,Exh.32.W e feed the hungry in our Neighborhood

        there's 6 transit houses w ith a bunch ofhom eless people in them and they com e

        to our Party on Sundays and we feed them and forfree!And w e do stand dow ns

        w ith the hom elessveteransfoundation and the guy w ho'soverveterans affairs for
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       the city of M iam iand w e helped house the hom eless VETS w e help raise m oney

       for the hom eless VETS get their crim inalrecord clear and expunged so that they

       can be productive citizens in Am erica,Exh.33.W e bring stars to perform forthe

       VETS.W e do an event called the Am erican Gala Aw ards yearly w here w e bring

       stars in to perform for free so that the VETS can get m oney donated to them by

       people texted     donation to the Hom eless veterans foundation, See

       Am ericangala.com .and w e let aIlthe m oney go to the VETS.W e feed people at

        our house on Sunday So w e bring Latin black and w hite together, w e've been

        doing this since 1996.W e protected the tea party M archers w hen they said they

        w ere going to throw rocks at them but w e m arched In front and nobody w ould

        throw a rock and we talked to the RebelRousers and told them don'tthrow rocks

        so w e stopped them from throw ing eggs atthe NFL experience atthe Superbow l

        in Houston Texas àfterw e set in on Antifa's m eeting as spies to find out thatthey

        w ere going to go in and beat up people atthe NFL experience and shutdow n NFL

        experience and disrupt the w hole Super Bow l that's on video w here you can

        actually see that on but w e four stopped them and we stopped from trashing

        trump'shotelwhere they said the/re goingto go in and arrestand hang Trump
        we stopped alI4000 Antifas from coming In with just6 ofusbecause the/re
         afraid of M ichaeland Alfred Daviw as there at allofthese events helping to do
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       this.W hen THE TEA PARR w ould have flag waving day on Oakland park and US.1

       severaltim es som e Arabs said they w ere going to beat up the Tea Partiers but we

       alw ays confronted them and w e m ade them back dow n and w e protected them

       w e did the sam e thing forGlen beck w e had a big M eeting in W ashington DC.W e

       stopped them from attacking Glen Beck and alIthe Antifa and allthese groups w e

       stopped occupy W all St. from doing disruptive stuff in the city of M iam i w e

       traveled to different states to help stop riots w e honorthe Police and teach our

       people to say thank you foryour service and w e done parades for the Police

       officers called back the Blue and they've honored us forit and w e w ere honored

       by the m ilitary from ColonelColm enares for helping to house the hom eless vets

       w e helped do voters registration in our back yard. W e stopped them from

        cheating in the vote w e had Occupy W allStreet on stage w ith the Tea Party and

        w e m ade a truce w ith them and w e had no fights and the police w ere astonished

        at our Am erican Gala Aw ard at Bayfront Park,See:Am ericangala.com Vid.3.that

        w e have done and people have been com ing out to our FREE Iittle parties for

        years including football stars and everybody and they Iove the atm osphere

        because w e have kids oId people Latin, Black, W hite, Chinese, alI nations of

        people at the party w ith no Problem s and this bum Prosecutor Bailyn had the

        Nerve to callus HO ODLUM S and say that we're not really a charity after allthe
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       charitable things w e've done he is a Bastard from Hell.W e're in the process of

       suing channel 7 and other m edia outlets.W e stopped hundreds of m illions of

       dollars in property dam age from riots from occupy w allstreet Black Iives m atter

       and Antifa that attem pted to destroy severalcities in Am erica we stopped the

       HO ODLUM S yet this foolBailyn calls us Hoodlum s.Igave you alIthe Cure to the

       Corona Virus Godsz.com video #7.And yet ProsecutorJohnathan Bailyn called us

       HOODLUM S just to taint Boss Group M inistries nam e and taint Alfred Davis a
       m em berofBoss Group M inistries so that they could feelfree to take ourproperty

       even Judge M artinez said you THE DOJyou haven't Proved yourCase,you brought

       no evidence,and no w itness pointed out Alfred Davis but now the TRANSCRIPT

       Transcriberof M ary Ann Casale w e saw she took that out because itw ould m ake

       Judge M artinez Look Iike a RACIST.The enforcers ofthe Black Code of the South

       and Jim Crow w hich says Niggers are notallow ed to ow n Property.
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   dueto StatesCourtLack ofjurisdictionandCivilRightsV olations,CriminalActsin
   Conspiracy with theGovernorand M iam i-DadeCounty Clerk ofCourtwho wasillegally
   appointed by the governorPursuantto Florida Constim tion A rticled V HI Sed ion 1,A rticle
   V Section 16,Article111Section 11(A)(1).BytheGovem orRon Desantisillegally
   appointing the Clerk ofCourtto M iam i-D ade Cotmty.

    Ihave been psychologically tortured and terrorized by the Clerk ofCourtand llisstaF.
   TheGovernorhadjurisdictiontopreventtheClerk'saction butfailhisdutiestoW ethe
   People,pursuanttoArticleIV Section 1(a)& (b)and 42 U.S.C.1983 ANln42 U.S.C.
   1986.The M ayorD aniella Levine Cava had powerto Orderthe Clerk of Courtand her
   Sheriff's and their staffto stop their crim inal acts tow ards us as victim s by acting to
   Evict victim s in State Courtwhile in a N otice of R em oval Stay am ong other obvious
   reasons,they retaliated furtherand com m itted ftrstdev eefelonies.SeeFlorida Stao tes
   Section 914.23.ChiefJudge and the GeneralCounselwere notifed and they to failto
   perform their duties to prevent the Clerk of Court 9om R etaliating against victim s.
   B tlreau of Com pliance for the M inm i-D ade Cotm ty Police w ere notifed w ith the case
    nllm ber secured againsta11conspirators in theirpoliticalpositions ms each has taken an
    oath of office and failed to reportviolating 18 U .S.C.4 M isprision ofFelony,and 18
    U.S.C.2382 M isprision and Treason.Each had a duty under 18 U.S.C.3041M AYOK
    CIIIEF JUD GE, GOVERNOR CLERK OF COURT and al1 others listed in the
    aforem entioned codes have com m itted crim inal oFenses tow ards us as victim s.Due to
    the severity ofthe crim inalactivity and thepoliticalpartiesinvolved,itisthePlaintiF 's
    positions that they have not and w ill not receive fair hearings, trials, w m ants for
    charges fled and p'and jury indictments because of their party affliations and
    constim ents within tllisjudsdiction.Plaintir s contendstheirrights to notbe denied
    changeofvenuein accordancewith FloridaConstitutionArticle1IlSection 11(a)(1)&
    (6).By changingvenue,itwillnotbeofany inconverliencetothewitnessesduetothere
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 17 of 597




   being no witnesses.Only victim s and perpetrators of crim es.A transfer to TAM PA
   FEDERAL COURT is true and proper because this is a foreclosm e Case w ith a Federal
   Fannie M ae and 1-
                    11+ N ote and M ortgage as listed on the bottom ofboth the M ortgage
   and N ote oftltis Case,Exh.18.pgs.1-16.and 19.A .and B .A nd this Case has proof
   that this Case has FAltA violations becalzse U .S.Bnnk is owned by the Chinese
   lnvestmentCorporation owned by theClzineseCommdmistParty (CCP),whoseaddress
   is in China,this Case hasproofthatLaw yers are Forging Judge's Sir atures on Orders,
   this Cmse as proven isgoing on now,Exh.20.W e haveproofthata11the Judge's in tllis
   C ase have FinancialConflictsoflnterest,Exh.21.

   E ven the M agistrate in D ade FederalCourtwho we did notConsentto Exh.22, who
   recommended thatit% legalto W//J/e2# USC f 1446442which StaysallStateCourt
   A cdons zlzlf;l the Case is Rem anded âlrk to State Court, Exh. 23. e e even have
   recordings of Eviction lieutenantQffAFx$'o saying thattheNotlceofRemovalStay
   ruleswasstopped4yearsago-soê/zey'reEVICTIN G US TODAK and28 USC ,      1744<
   (b) which saysyou can have f-/Notice ofRemovals/A* mustbeRemanded before
   theStatecan actatall,andthey are Violating aIl28 USC f 1446.Andwehaveproof
   thatF ederalJudge Jose M artinez'
                                   s Signature on the CA SE #23-cv-22848-5EM wJ:
   remanded with aforged Judge'sSîgnaturealso weneverfled thatCase CASE #23-
   cw22848-JEM thatl$,* U S.Aa4N# !:fling a: aplained in /v objectlon to the
   M agistrate's Recomm endadon on document #57 on our true and only Notice of
   Removalqnd on anew OrderwithJudgeZ M artinez'sforgedSignatureon thewhen
   you see the handwrldng i:totally dW erentfrom JudgeM artinez'sslgnature asseen
   on D oc.#2 at5:38 //Jf5'm orning ./V/y3rd.butlabledJuly2ndtocounterourchangeof
                                       .


    W nue M otion to B roward FederalCourtto hide the Crim es againstBlack People in
   D ade Cbva/y Florida.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 18 of 597




   In this Circuit CourtCase these Conllicts hms caused three Judges to Recuse,Exh.3.
   U .S.Bank Violated TILA,GAAP RULES,FDCPA RULES and otherFederalRules
   listed in theN oticeofRem ovalCom plaintand cannotbeforeclosed in StateCourt.And
   can'tbe foughtin Dade County FederalCourtbecauseam ong a1lthe otherreasonsthe
   Clerk of Court's Assistant Jennifer is the Daughter of X M ayor of lIialeah Jlzlio
   M artinez Cousin and giend of otzrFederalJudge Jose M artinez.Jennifer on a phone
   call between her and her good father and my Friend and witnesses that she does
   everything for the Clerk, thereby adm itting that when the Clerk sir ed the lying
   Certifcate ofTitle overto U.S.BANK saying thatwe neverObjected to the Sale on
   Docketnumber446dated 04/24/24.lobjectedtothesaleline404,10/23/2023,line406
   10/26/2023and line407,10/26/2023,wenotonly Objectedthreetimesweeven hadan
   ObjectionHearing.A1lthisdonetoEvictillegallyquicker.Andnow when wem otioned
   to m ove theVenue to TANIPA FEDERAI-COURT because oftheirbiased cheating to
   win thatBroward FederalClerk sentusback to Dade County FederalW olves asif it
   w asaComplaintand nota M otion forChange ofVenue,Exh.25.and withoutaJudge's
    O RD ER even though she knew it w ms a M otion to Change Venue filed in Brow ard
    Federal COURT tmder Federal Case #24-CV-22532-1:% .RAR is a Dade County
    Federal Judge who we were trying to change Venue 9om as shown on the Fort
    Lauderdale Court405.00 ReceitDocum ent4 dated 07/03/2024 in Case #24-CV-22532-
    RA R because the law s thatis applicable and controlling in tllis case are regulated and
    enforced in FederalCourtand the state courtwillbe com pelled in a fairFederalCourt
    w ith anotherfonlm writofm andam usto com ply w ith theirow n law s,constitutions,and
    rales.Itwouldhavebeen intheinterestofjusticeto changetheVenueofolzrNoticeof
    R em ovaland now otlrW ritofReplevin to noteven Brow ard butto TAM PA FED ERAI,
    COU RT because D ade and now Brow ard are poisoned to be Biased against us by the
    PRESS and the Judge's M oney Conflict of lnterest but they're struggling to keep us
    under their Jurisdiction so they can stealour property and punish us w rongfully By the
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   Case being forwarded to TAM PA FEDERAL COURT'SJurisdiction,itwillnottakeup
   orw aste the Courtstim e.A l1law sthatapply to this case isprim a facie and w illacquire
   an effective and suG cient result.A 11 pleadings w ill be succinct and accom plish their
   desired results effectively and expeditiously.By respectfully m oving tlzis case to the
   TAM PA FED ER AL COU RT the FED ER AL court w ill be in com pliance w ith ottr
   inalienable rights,laws oftheUnited Statesand state ofFlorida,Constitutions ofb0th
   federaland state,and theiroathsofox cethisiswhy wehavethisComplaintto the 11th
   CircuitFederalCllief Judge to investigate and hold them accountable who are violating
   the Law like a11the Judges who w ork together w ith the Banks to stealproperty tm der

   Color of Law.
             CONSTRUTIVE CONSPIRACY IN VIO G TIO N O F 923.18 U.S.C.SS 371

                               To see these Exhibits See Godsz.com

  HERE'S HOW THESE JUDGES PLAYED TAG TEAM AND CO NSTRUCTIVE CONSPIRED W ITH EACH

  OTHER TO TAKE OUR HO M ES BECAUSE US BANK PAID THEM IUDG ES AND O FFICIAL'S

  CO NFLICTS OF INTEREST IN VIO LATIO N OF FEDERAL RULE O F CIVIL PROC RULE 60,FLO RIDA

  RULE2.160(A)(D)(H)(1)(4),FL.CODEIUD.CONDUCTCANON 3E(1)FL.STAT.112.312(8)ALL
  O F THESE JUDGES AND O FFICIALS CO NSPIERED TOGETHER FROM TOP TO BOU O M TO STEAL

   OUR HOM E AND EACH O NE OF THEM HAD A HO RRIFIC CO NFLICT OF INTEREST!CHECK O UT

   THEJUDGES BELOW AND THE AM OUNTS OF M ONEY THEY M ADE FRO M US BANK
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 20 of 597




é.gR()jj/jjkjjyjj(r.NgjpLgR..---.......----.-.----.---..----.-.---------.----.m ade $gsyooo frorn (JS BANK,Exh.65.

ixKuvjN M ICHAELEMAS--------------------------------------------------made$225,310from US BANK,Exh.66.

3. E(ISr/I,Is(:/yLEs--------------------------------------------------------------m ade$22,s43frorn tJsB/$h1K,Exh.67.



    DADEFEDERALDISTRIW IUDGES W ITH A $ CONFLICT OF INTEREST W ITH U.S.BANK


4. FEDERALJUDGERoool-yo Rulz-------------------------------made$250,000from UsBANK,Exh.68.

5.FEDERALJUDGEJOSEMARTINEZ--------------------------made$250,000from USBANK,Exh.69.D-T

6.BANKRUPTCYJUDGELAURELlSlCOFF- ----------------made$15,000from USBANK,Exh.70.D-H

7. FEDERALMAGISTRATEEDUARDO sAscHEz-----------made$250,000 from UsBANK,Exh.71.D-Z



    RULINGS/ORDERS ON OUR HOUSE 15020 S.R.DR.M IAMI33167 W ITH THEHELP OF

                                 THE M EDIA W E M UST CHANGE VEN UE




    Allthese Judges have m ade M illions ofdollarswith U.S.Bank w hile RULING against us and

    taking Black People and W hite European's hom es illegally for gifts of M oney Exo.23:8,Deut.

    16:19.W hich says Judges can't take gifts because it blinds the eyes ofJudgem entl!Here are

    these Judges exam ples
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 AS TO U.S. BANK, THE SEC, ATTORNEYS TITLE lNSURANCE FUND: COUNTY CLERK OF THE
 COURTS: DADE COUNTY RECORDS DEPARTM ENI DADE COUNTY POLICE COM M ISSIONER
 VALERIE M ANNO SCHURR,VERONICA DIAZ,VIVIANNE DEL RIO,JO HN SCHLESINGER,SAM ANTHA

  RUIZ,


1.SARAH j.gAgg(.4/y/gg........-............-....-.....-.--........made9M 11l10nfrom USBANK,Exh.56.

2.VALERIEMANNO SCHURR 1/21/22-----------------madealmost12M illionfrom USBANK,Exh.57.E-M

3.JOHN SCHLESINGER 12/19/2017-------------------madealmost29M illionfrom USBANK,Exh.58.A-N,

4.SAMANTHA RUIZCOHEN 5/12/2021--------------------madeover2Millionfrom USBANK,Exh.59.D-T

5.M IGUELDELA O 1/9/2019------------------------------madealmostlMillionfrom USBANK,Exh.60.A-Q

6.VERONICA DIAZ6/2/2020-------------------------------madealmostX Millionfrom USBANK,Exh.61.A-;

7.VIVIANNE DELRIO 5/4/2022-------------------------made almost2 M illion from US BANK,Exh.62.0-116

8.CARLOSLOPEZ6/17/2023------------------------------madealmost7M illionfrom USBANK,Exh.74 D-ZE

9.JOSEM .RODRIGUEZ01/29/2023-----------------------madealmost2 Millionfrom USBANK,Exh.75E-7



             CLERK OFTHECOURTS HARVEY RUVIN AND JUAN FERNANDEZ-BARQUIN



 s.CLERK HARVEY RUVIN-------------------------------------------------made $315,000 from US BANK,Exh.6:
                                                                                                      .

 6.CLERKJUAN FERNANDEZ-BARQU1N---------------------------------made $635,000 from USBANK,Exh.6.



            APPELG TEJUDGESW ITH A $CONFLICT OFINTEREST W ITH U.S.BANK N.A.
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 STARTING W ITH OU R IUDGE VALERIE M ANNO SCHURR W HO M ADE 11 M ILLIO N W ITH US

 BAN K AND IUDGE JOHN SCHLESING ER W HO M ADE 28 M ILLION W ITH US BA NK NA They m ust

 be Arrested and Recuse them selves and void alIofhis O rdersfor an open obvious Conflict of

  Interest.Doing business with US Bank.U.S.Bankthese are serious conflicts ofinterestalIdone

  knowing thatU.S.BANK N.A.wasDism issed with Prejudice April7,2009,Exh.34,Exh.35.and

  Affidavits, Exh.36, under Case# 2007-12407-CA01 w hich is the sam e Case as the 2010 that

  w e're currently talking about Case #2010-61928-CA01 according to U.S.Bank's M em orandum

  of Law, Exh.36.W hich m eans that aIIorders and hearings w ere done Jurisdiction operating

  O rganized Fraud and these Judges aII know that the Allonge had no Authorized signature

  becauseitwassignedbyanAssistantSecretaryinViolationofFI.Stat.692.10143)(4)whichsays

  no Secretarycan sign anAllonge (Assignment)and FI.Stat.692.01 saysthatonlya President,
  Vice President or an Executive Officer can sign an Allonge w hich is an Assignm ent to the

  Prom issory Note.The Allonge had no had no printed nam e underthe Signature as required by

  FL.Stat.695.26,The Allonge had no Loan Num ber,no Date and w ith no Acknow ledgm entof as

  required by Fannie M ae Rule 88-3-04 and the 4thDcA Sosa v US Bankofw hich this is a Fannie

  M a2 Loan as indicated at the bottom of M ortgage and Prom issory Note w hich m akes this a

  Federal Case from Federal H .U.D. And that Assignm ent w as from the w rong Bank called

  Hom ecom ings Bank Exh.38.Ourbank w as Axiom Bank,Exh.39.According to the Assignm ent

  they filed to prove Standing acknow ledging from U.S.BANK NA Law yers that AXIOM BANK is
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 our Bank but it also proved that Axiom did not Assign the M ortgage because that Axiom

 Assignm ent to U.S. BANK NA, Exh. 39.does not have tw o w itnesses, no Notary Stam p, no

                                          Preparer, no Notary Com m ission Num ber and this
 printed nam e under the Signature, no
                                            39. two days after M clean V. JP M organ ruling
 Assignment was done 02/14/2012, Exh.
 02/08/2012whichsaysyoucan'tforeclosebeforeyouOwntheNotesoit'salIillegal.
  AlIofthis fake news is part ofthe Conspiracy on W that deprives me of a grand jury that

  includes the sheriffs,Dept.the Governor,channel 7,Channel10,CBS and the M iam iHerald

  put out Fake New s so that w e can't get a fair trialfor the RICO Conspirators,a fair W rit of

  Replevin to prejudice ourgetting a Surety Bond,orgetting a fairNotice ofRem ovalhearing

  because judge M artinezisourNotice ofRemovalJudgeforthisCase 23-CV-22640-JEM and the

  sam eJudge on Alfred DavisCase forhaving a paperIicense thatthey accused him of w hich is a

  Conflict of interest and using this fake News about our house w ith staged fake shootings,

  godsz.com vid.H. to take our house for Banks and big Developers w hich is also a Conflict of

   interest and has sentenced Alfred Davis to 8 months in jaileven though a PERSON stood up

   and said he w as the one w ho had the fake paper License not Alfred Davis m aking Alfred Davis

   innocentfzom w hat they claim w as a Crim e and the Judge w ould not Iisten.AlIdone to stop

   the Am erican Gala Aw ards see: Am ericangala.com the AGA an event w ith 100 black stars

   helping hom eless VETS w ith TRUM P.An event that w e've been doing since 1997 and w e do

   Stand dow ns for the VETS to raise m oney for the Hom eless VEB done w ith the city of M iam i
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 24 of 597




  Hom eless Veterans Foundation,w ith Lt.ColonelColm enaresand M ayorThom as Regalado Exh.

  42.and the City ofOpa Locka Florida,Exh,44. also have done yacht FundraisersforRepublican

  Politicians on m y 4 story 80 ft.yacht.Exh, 45.So W e m ust rem ove this Case now to Tam pa

  because Broward and Dade County Federalfed courts keep transferring ourcase back to Dade

  County FederalJudge Jose M artinez, and M artinez w ho along w ith his M agistrate Eduardo

  Sanchez also have Financialconflicts of interest,w ith U.S.Bank Banks,Exh, 46 and Exh,47.

  who hasallowed U.S.Bankto violate 28 USC 9 1446 (d)allowingthe CircuitCourtto Foreclose

  overthe stay before the Case was Rem anded See 2010-61928-CA01 Doc 387-389 and 394-398

  10/13/2023-10/15/23 -10/16/23 Notice ofRem ovalwas Filed yettheydid notstop the Sale
  and FederalJudge M artinez did not Void the Sale in Violation of his Stay and this Prosecutor

  Johnathan Bailyn is retaliatingagainstAlfred Davisa witnessin Violation of18 USC j 1513 w ho

  would notIie forthem and w ho pointed outhis RACISM forsaying Alfred a Black M an can't Iive

  in a w hite people's apt. building and at the Sentencing hearing this Racist Nut called our

  nonprofit organization and w ho feeds the people and their kids every Sunday for alm ost 30

  years w ith oId people, young people, kids Latin, Black and W hite w e help people w ith

  Com m unity Strvice,we feed people,do voter Registration Drives and help w ith the Get outto

  Vote Strategiesw ith Sym one-
                              / es Fraternity Alpha PhiOm ega a Service Fraternity forthe People

  Ihave tem ple serm ons 4 tim es a day on Radio gota Proclam ation from the city of M iam ifrom

  doing these events,Exh.31.and tw o Proclam ations from the City of Opa-Locka, Exh,26 and
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 25 of 597




  27,M aurice Sym onette's Grand FatherSirRoland Sym onette wasthe firstBlack Prim e M inister

  ofthe Baham as thereby m aking M aurice Sym onette a Prince,Exh,18. who's Grand Father is

  onthe Bahamian $50 bill.Exh,19.W hosefatherAI.Symonette wasone ofM iami'sFirstfive
  Black M illionaires w ho ow ned the SirJohn Hotel,the Night Beat NightClub and the First Black

  TaxiCab Service in M iam iCalled Checkers,w here Iw as trained by my Dad,W hose M otto is

  Latin Black and W hite M ust unite and telling the Police ''Thank You foryourService'',Exh.49,

  M aurice Sym onette was one of the First Black M en to Iive in a M ansion on Palm Island,

  M aurice Sym onette has absolutely no Crim inal Record. M aurice Sym onette is know n for

  teaching Black M en to not sm oke,drink ortake drugs Iike he has neverdone and how to m ake

  m oney w ithout being a Crim inalM aurice Sym onette,Godsz.com on page 2.vid 36-39.And is

  the President of Boss Group M inistries and has a Doctorate Degree in M inistries Exh, 50,an

  Honorary Doctorate Degree for Ietters and a Doctorate Degree in Hum anity,Exh.51,and Exh.

  52,runs Boss M agazine,Exh,53,Blacks ForTrum p M agazine.Exh, 524,Also isthe Founderof

  Blacks ForTrum p and Blacks For Israel,Latino's ForTrum p and W om ens ForTrum p,Blacks for

  Truckers Haitians ForTrum p and Blacks for Israelbecause Yahw eh Ben Yahw eh in 1988 w hen

  Synagogues w eK being defaced w ith NaziSw astickers Yahw eh Ben Yahweh ordered us to

  guard those Tem ples,Exh.55,ProsecutorJohnathan Bailyn called us HOODLUM S justto taint
  Boss Group M inistries nam e and taintAlfred Davis a m em berof BossGroup M inistriesso that

  they could feelfree to take our property even Judge M artinez said you THE DOJ you haven't
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 26 of 597




 Proved your Case,you brought no evidence,and no w itness pointed outAlfred Davis but now

 the TRANSCRIPT Transcriber of M ary Ann Casale we saw she took that out because it w ould

 m ake Judge M artinez Look like a RACIST.The enforcers ofthe Black Code ofthe South and Jim

 Crow w hich says Niggers are not allow ed to ow n Property. Florida RulesofCivilOprocedure

 1.908wllich entailsequity forjusticeiffraud can beprovento havetakenplaceinthecourt.In
 accordance with the defmition referenced from Am erican Dictionary ofthe English Language

 N oah W ebster 1828,and itdefm es Fraud as:D eceit;deception;trick;artifices by w hich the

 right or interest of another is injured; a stratagem intended to obtain som e undue

 Advantage; an attem pt to gain or the obtainiqg of an advantage over another by
  im position or im m oral m eans,particularly deception in contracts, or bargain and sale,

  eitherby stating falsehoods,orsuppressing truth.


                   U LTTM AT E FA C TS W ITH CO N C LU SIO N O F LAW



   Section 1404(a)ofTitle28providesthat:''fortheconvenienceofpartiesandwitnesses,
   in the interestofjustice,a districtmay transferany civilaction to any otherdistrict
   w here itm ighthave been brought.''

    Anyparty,includingplaintiff,may moveforatransferunder28U.S.C.j 1404(a).1-T-
    E-CircuitBreakerCo.v.Regan,348F.2d403 (8th Cir.1965)4American Standard,Inc.
    v.Bendix Co1-p.,487 F.Supp.254,260 (W .D.M o.1980).A party may move for
    transfer,even ifithaswaived any objection to venue.M ontgomery W ard & Co.v.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 27 of 597




  Anderson M otorService,lnc.,339 F.Supp.713,718n.3 (W .D.M o.1971).Thecourt
  m ay also transfer an action sua sponte. Lead lndustries A ssociation, Inc. v.
  OccupationalSafety and Health Administration,610 F.2d 70,79 n.17 (2d Cir.1979);
  M obilCorp.v.S.E.C.,550F.Supp.67,69(S.D.N.Y.1982).W hile28U.S.C.j 1404(a)
  containsno tim e limit forthe filing of a motion,the motion m ay be denieb if the
  passage oftime or any delay causes undue prejudice or is considered dilatory.See
   A m erican Standard,lnc.,487 F.Supp.at 261,and cases cited.''The m oving party has
   the bllrden ofproofand m ustm ake a convincing showing oftherightto transfero''Id.

   The power ofthe courtto transferis lim ited to those districts or divisions where the
   case ''mighthave been brought.''2,8 U.S.C.j 1404(a),
                                                      'American Standard,487 F.
   Supp. at 261, and authorities cited. Thus, a transfer w ould be denied where som e
   defendantswould notbesubjecttojurisdiction orwherethevenuewould be improper
   in the kansferee forum asto any defendant.See H offm an v.Blaski,363 U .S.335,344
   (1960);ln re Fine PaperAntitrustLitigation,685 F.2d 810,819 (3d Cir.1982),cert.
   denied,459 U.S.1156 (1983);Security State Bank v.Baty,439 F.2d 910,912 (10th
   Cir.1971);Lam ontv.Haig,590F.2d 1124,113111.45(D.C.Cir.1978).

   O ne of,ifnotthe m ostim portant factorsto be considered,is thatofconvellience ofthe
   w itnesses.In this regard,the inquky is directed not at the nlzm bers,but rather at the
   nature and quality ofthe w itnesses'testim ony and the question of whether they can be
   com pelled to testify.See H otelConstuctors,Inc.v.Sear ave Corp.,543 F.Supp.1048,
   1051(N.D.111.1982);échmidtv.LeaderDogsfortheBlind,lnc.,544F.Supp.42,48
   (E.D.Pa.1982);CapitolCabinetCorp.v.InteriorDynamics,Ltd.,541 F.Supp.588,
   591(S-D.N.Y.1982).

   Anotheroftheveryimportantfacto'
                                 rsisthe''interestofjustice''- afactorsusceptibleto
   a w ide variety of defirtitions.For exam ple,a courtm ight properly consider the degree
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 28 of 597




                                  state law .'' See V an D usen  Barrack, 376 U .S. 612
  ''of tm certainty in transferor
                                        considered tmderrubric of''interestofjtkstice''are
  (1964).O ther exam ples of m atters                                 waste and expense,
  efficientuse ofjudicialresources and avoidance of unnecessary
   ContinentalG rain Co.v.
                          TheFBL-585,364 U.S.19,26-27 (1960);SmithklineCorp.v.
                                           C.Del.1975);avoidance of inconsistent
   Sterling D rug,Inc.,406 F.Supp.52, 55 (D.
                                                      flowing from thattransfer,''
   adjudicationsand ''possibility ofprejudicetotheplaintiffs
   Amoco Production Co.v.U.S.Dept.ofEnergy,469 F.Supp.236,244 (D.C.Del.
    1979);''familiarity ofthecourtwith the state law to beapplied and the desirability of
   having localized controversiesdecided athom e,''M utualofOm aha lns.Co.v.Dolby,
   531F.Supp.511,514 (E.D.Pa.1982),and casescited;and permitting thetransferee
   judge to interpretlais outstanding protective orderand fnmiliarity oftransferorjudge
   w ith relevant docum ents.M obil Corporation,550 F.Supp.at 71. ''The factor of the
    convenience ofparties and witnessesm ustalso bem easured in termsofthe interestof
   justice.''SeeAmerican Standard,487 F.Supp.at264.The levelofcongestion ofthe
    respective courts,dockets and the speed w ith which the dispute can be resolved are also
    proper m atters to be considered. See Securities and Exchange Com m ission v.Savoy
    Industdes,lnc.,587 F.2d 1149, 1156 (D.C.Cir.1978),cert.denied,440 U.S.913

    (1979).
    An ORDER M UST BE rendered to havejurisdiction overthiscaseand subjectmatter
    forwarded to the Federalcouds.




                                                O ath
          1DECLARE UNDER PEN AI,TY O F PERJURY ,thata1lthefactsstated herein
          are true and correct to the best of m y know ledge and ability.A nd that the facts
          stated herein w ere m ade ofm y ow n accord,Executed this 1Stday ofJuly 2024.
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                 qzyA x                     /                   O     ITE
                                                                            r

       /S/M ACK W ELLS
                                                 M AU RICE SY M ON ETTE
        M A CK W ELLS
       15020 S.RIV ER D R                         15020 S.RIV ER DR

       M lAM lFL.33167                               M lA M lFL.33167




       CC :51e        S


       Proofofservice
       Hom eland Security lnvestigation
        11226 NW 20th Street
        M iam i,Fl.33172
        Certified Receipt'
                         .


        FederalBureau ofInvestigation
        2030 SW 145th Avenue
        M iram ar,FI.33027
        Certified Receipt:


        US Attorney GeneralM errick B.Garland,

        U.S.Departm entofJustice
        950 Pennsylvania Avenue,NW
        W ashington,DC 20530-0001
         openiustice@ doi.ca.qov
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 30 of 597




       Certified Receipt'
                        .


       Fraud Enforcem ent and Recovery Act


       Florida Atorney GeneralAshley M oody,
       Office ofthe Attorney General

       State ofFlorida
        PL-01The Capitoi
        Tallahassee,FL 32399-1050
        citizenservices@ myfloridaleaal.com
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        Certified Receipt:


        State W ide ProsecutorNicolas B.Cox

        3507 E Frontage Rd.Ste 325
        Tam pa,Florida 33607-1795
         Certified M ailReceipt:


         M iam i-Dade County Office ofthe inspectorGeneral

         60l NW 1Stcourt22ndFloor

         M iam i,Florida 33136
         Certified Receipt'
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          Office ofM iam iDade County State Attorney:
          Katherine Fernandez Rundle
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 31 of 597




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       M iam i,Fl33136-2102
       Certified Receipt'
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       ChiefJustice John Roberts
       1 FirstStreetNorth East
       W ashington D.C.20543
       Certified Receipt:


       Antonio Guterres United Nation

       C/O 405 EastFortySecondStreet
           New York,New York 10017
       '
       Certified Receipt'
                        .


           GovernorRon Desantis
           400 S.M onroe Street
           Tallahassee,Florida 32399
           Certified Receipt:


           PresidentJoe Biden
           1600 Pennsylvania Avenue NW
           W ashington D.C.20500

       l   Certified Receipt'
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 32 of 597




       Donald J.Trum p
       The M ar-a-Lago Club
       1100 South Ocean Blvd,
       Palm Beach,Florida 33480


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 33 of 597




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       Case No:2010-061928-CA-01 Page 2 of3

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 34 of 597




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 37 of 597


                                                                                                                Exh. 4 pg.1
                  UNITED STATES DISTRfCT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA MlAMI DIVISION

    MACK WELLS AND MAURICE SYMON ITTE

    Plaintiffs,
    CASE: 23-CV-22640-J EM
    V.

    U.S. BANK, NATIONAL ASSOCIATION,Et al.,

    Defendants.



                  AFF IDAVIT FOR REUEF, RECUSAL, VACATfON OF ORDERS AND MEM ORANDUM OF LAW


    Pursuant to Florida Stat. 112.1 31. Florida Rule 2.160 (H) and Federal Rules of Civil Pn...--cedwe Rule 60, PlaintiiTMACK
    V,/ELLS hereby files this Morion for Relief & Recus.aJ and Supporting Memorandum regarding the Au!rnst. 23' 2023 Jose E.
    Martinez; review of the record and Final Judgement Order, ExhibiU. based on the following facts, ocw information, just renns,
    _judicial misconduct, fraudulent grounds and discovered conflict of personal investme nt interests on Financial Disclosures of
    Judges and officers of thi~ Court (Exh..ibits # B) Attached- US. BANK Special Situation Propertv funds Account Page 42.
    IFRS 2018 Table 9-13. SEC Filings-2.160 CD) II> rrou,ufs. (a di$.UUat.i6z isp«ai1 fears Jtu[ze is Biased FL Statue
    I 12, 1[2 Cln J.c1</z.f:qw 't {rave a conflict q,f Ia(ert,_flt f Jose E. Martinez must Recuse himself for an open obvious
    Conflict of Interest because he's doing business with US Ba nk and helping them to make money so that he can

    make money by foreclosing and taking (stealing) our property while acting as the Judge on the case on ou r

    property, not on case's Merits but for them to make him and them money Illegally. Here's proof: In his Form 6,

    from TaUahassee called FINANCIAL DISCLOSURE REPOR'f, for 2021 Says on page 4 lines 3 and 4, that he made

    $250,000 with Iberia Bank, Exh. D. Which is First Horizon Bank, First Horizon Bank is Suntrust Bank whichis US.

    Bancorp/ US. Bank, Exh. E. Judge Jose E. Martinez is Doing Business U.S. BANK, US BANCORP, WACHOVIA, WELLS

    FARGO, WHICH IS ALL U.S. BANK. Who has ru led in favor of US BAl\'1<. This is a Horrible Conflict of Interest

    against us and there's more according to Fl. Ruic 2. 160 (H) and (J) all of your Orders must be Reverted back to the
    Original Judges Onie.rs, once a Judge Rccuscs themselves. Judge Ga_v.lcs recuse<l himself E:xh.F & Marcia Cooke's
    Order"s mm,i be Reverted back to the Original Judges Orders l eca:use ofConflict5 Of lntcrcsL None of these Judges or
    Anomey's can do anything ·with the SrareCourt bec~.use they ' re all doing business with U.S. Bancorp ·who' s the Parent
    Company of U.S. Bm1k E.x.h.G vv·hich is owned by china (CIC). The Rucker Feldman Law cminot be used because our
    c:i.sc w;,s never Fini~hcd. All tho St.:itc Court Ju dges frnn, 7.nbcl dowu l o Carlos LopcL. did Orders basctl on g iving u ~ a

    diance to prov e that the Attorney · s werewnsti11g a.II of the time Exb I L not us but we were never given thut opportunity and
    Judge-Lopez n::fo:;i:d to allow Mack Wells who at the time was sick to get a L.1.·,vycr to defend himse.lf. The Attorney's for
    U.S. Bank were Ordered to bring in e,vidence that they owned the Note but never did. l have found that our case was
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 38 of 597


                                                                                                              Exh. 4 pg.2
   directed to other Judges in this sess Pool all with tbe same Conflict of interest like Judge Valerie rnanno Schurr a Judge
   we had never met jumping into our case atkr Judge Zabel dismissed U.S Banks [..awsuit against me with Prejudice
   because they never had or o,,11cd the;; Note and then one year later Judge Valerie Manno Schurr gor $995,000 from U.S.
   Bank according to her Form 6 Financial Disclosure Affidavit. Exh.J. And then suddenly inserted herself into OUT case
   without ever meeting us and dismissed the case with Prejudice like Judge Zabel did, Exb.J. So as to avoid the Law which
   says another Judge cannot change another Jt-idges order in the same Circuit Court so she made the same Order so she
   could change her own Order to dismiss without Pr~jud.ice and got another $,I million dollar plus $400,000dollar money
   assei from G!'vlA.C which is U.S. Bank and then she changed her own Ordeno Dismissed without Prejudice E.:-i:h.K. /\nd
   then received a $2.4 million money asset from Wells Fargo/ Wachovin plus a $400,000 dollar money Asset from
   GMAC ,vbich is U.S. Bank Exh.L. According to her fom1 6 Financial Affidavit to c-ircumvent Judge Zabcrs Dismissal
   w1tJ1 Prejudice! Ex.h.tvf. And then these wicked Lawyers Foreclose without notice to us and v,:c went threw a ] 0 year fight
   see the Docket for the 2010 c.ase v,,rhich had oo notice no assignments, no Note and uo .Mortgage Com.:ctly LO U.S. Bank
   from Axiom Bank see E.xh.N. then Maurice Symoncttc did a Quite Title Suit and :ill,er 10 yearsJudgc Valerie tvfanno
   Schurr shows up again and I showe<l her the Evil which she had done by takiog money ($995,000) Fr-orn GMAC/ U.S.
   Bank to steal our property even though we ,:vere making tl1e pay111eots. This is Home Title Fraud in its utmost and when
   she saw she was caught from her own Form 6 Affidavit and evi1 Judgments she Recused himself especially after we paid
   for   ews .ads and Radio TV Comrnercials £,-.Ji.T Telling on her and knowing that \ve have turned her over to the FBI as
   Jose E. I\.1artine7, roust do becau."-C he has the same cou.flict of Interest So she must recuse herself and vacate his Order,

   2xh. 0 . So Jose E. Marti nez you must Recuse YOUR SELF and not ORDER against us. fah .. I.

                                                            FACTS

   I . On Dec. 19. 2017, Defendant Judge Valerie Schurr issue.cl a final Judgment order ExhibiLA against Plaintiff Pursuant
   to Florida Stat. 112.13 l, Florida Rule 2.160 (H) and Fe.deral Rules of Civil Procedure Rule 60, Plaintiff 1vlACK
   \,VELLS hereby files this Motion for Relief & Recusal andSupporting Memorandum regarding the August. 23'
   2023 Jose E. Martinez revievv of the record and final Judgement Order, Ex.lubiU. based on tbe follov,'ing facts. new

   information, just tenns, judicial misconduct, fraudulent grounds and discovered conflict of personal investment
   interests on FinanciaJ Disclosures of Judges and officers of this Court (Exhibits# B) Attached- U.S. BANK Special Situation
   P,·opc-r1y .Funds Account Page -P, fFRS 20] 8 Tahles 9-J 3. SEC Filings U.S. BAJ.'\fK Florida Subsidiaries. Judge Alan

   Fine Financial Interests & Property Disclosure ).Florida Rule 2,16() rm v& i-> A llJ</ge mqy. Vacqte Ms ecdtr.,:s
   fol Crn.flict al fateresr Tlu:u.dace B. Bundy v. l«@·e ✓a/J.u 4, txudd FL Bute 2,160 CW en Fl. Cade Jud.
   Conduct , Cmwn 3ECIH Judye .,{tall. dfsau.afifv ftimself where LWParfi.ality mieftt reasonablv be queqio,neef
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   hav~ q r;on,tlict of lnterp·t ! Judge Jose E. Martinez must ·Recuse hlrnself for an open obvious Conflict of Interest because
   she's doing business with lJS Ran k and helping them to make money so that she can make money by foreclosing and taking

   (stealing) our property while acting as the Judge on the case on our property, not on case's Merits but for to make him and
   them money Illegally. Here's proof.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 39 of 597
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       F1NANCIAL DISCLOSURE REPORT
       Page 4 of 9                                                                                                                                                                                                      05/09/20:!2



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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 40 of 597
      UNITED STATES DISTRICT COURT FOR THE SOUTHERN DTSTRJCT OF FLORTDA MTAtvfl DIVTSIO

       MACK WELLS A.l'ID . '1AURICE SY ifONETTE

       Plaintiffs,                                                                                      Exh.5 pg.1
       CASE: 23-CV-22640-JEM
       V.

       U.S. BANK, NATIONAL ASSOCIA TION,Et al.,

       Defendants.
       _ _________/


                        MOTIO N AND AFFIDAVIT FO R RELIEF, RECUSAL, VACATION OF ORDERS AND
                                              MEMORANDUM OF LAW




       Pursuant to Florida Stal 112.131, Florida Rule __160 (II) and Federal Rules of Civil Procedure Rule 60.
       PlaintiffJv1ACK \\'ELLS hereby files this Motion for Relief & R.ecusal and Supporting J\-1emorandwn
       regarding the June. 17' 2023 Eduardo L Sanchez review of the record and Final Judgement Order, .Exhibit.J.
       ba ed on the following facts, new information, just tenns, judicial misconduct, fraudulent grounds and
       discovered con1l"cl of personal investment interests on Financial Di closures of Judges and oft'iccrs of this
       Court fEx.hibits # B) Atlached- U.S. BANK Special Situation Property Funds Account Page 42. IFRS 201 S
       Tables 9-13. SEC filings- U.S. BANK Florida Subsidiaries, Judge Carlos Lopez Financial Interests & Property
       Disclosures).


       £torida Rule 2,160 rm Savs,A /ud~e mgy Vqcqte his orders for Conmctoflnterest Theadou- R. 8undv r:
       Judu Joltn A. Rudd Fl. Rule 2, I6Q (Q} CV Fl, Code Jud, Conduct, Canon 3EfV A .fu.d¥e sfwll disquaflfy
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      Judge Eduardo Sanchez must Recuse himself for an open obvious Conflict of Interest because he's
       doing business with US Bank and helping them to make money so that he can make money by
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 41 of 597




                 • an d ta k.mg (stea 1·ing) our property w h"lI e acting
       f orec Iosmg                                                                               Exh.5.
                                                                      • as t h•e Ju dge on t he case on our     Pq.
                                                                                                            perty,      ~
       not on case's Merits but for to make his and them money Illegally. Here's proof: In his Form 6, from
       Tallahassee called FULL AND PUBLIC DISCLOSURE OF FINANCIAL, form 6 for 2021 it Says on line

       14 that he got $250,000.00 with Wells Fargo, Exh. D. Which is First Horizon Bank fxh.E and
       first Horizon Bank is Suntrust Bank Exh. F, which is BB&T bank E,th. G. BB&T Bank is US. Bank Exh. H

       Who has ruled in favor of US BANK. This is a Horrible Conflict of Interest against us and there's more. I have
       found that our case was directed to other Judges in this sess Pool all with the same Conflict of interest like
       Judge Valerie manna Schurr a Judge we had never met jumping into our case after Judge Zabel dismissed U.S
       Banks Lawsuit against me with Prejudice because they never had or owned the Note and then one year later
       Judge Valerie Manno Schurr got $995,000 from U.S. Bank according to her Forrn 6 Financ.ial Disclosure
       Affidavit, Exh. I. And then suddenly inserted herself into our case wtthout ever meeting us and dismissed the
       case with Prejudice like Judge Zabel did, Ext1. K. So as to avoid the Law which says another Judge cannot
       change another Judges order in the same Circuit Court so she made the same Order so she could change her
       own Order to dismiss without Prejudice and got another $,1 million dollar plus $400,000 dollar money asset
       from GMAC which is U.S. Bank and then she changed her own Order to Dismissed without Prejudice Exh. N.
       And then received a $2.4 million money asset from Wells Fargo/Wachovia plus a $400,000 dollar money
       Asset from GMAC wh ich is U.S. Bank Exh. L The same Conflict of Interest that Judge Lopez has, which is why
       she Recused herself Exh. R, as did Vivianne Del Rio Exh.S and they along witl1 Judge Schlesinger violated Fl.
       Rule 2.160 (H)-(J) and did not answer their Motion to Recuse Exh.U, V & W within 20 days which means that
       our Motion to Recuse is automatically granted and all of their Orders have been removed & reverted back
       the Origina l Judge Zabel's Order of Dismissal with Prejudice. According to her form 6 Financial Affidavit to
       circumvent Judge label's Dismissal with Prejudice! Exh. M. I and two other Witnesses saw Judge Zabel sign
       the Dismissal with Prejudice Exh. X,Y and Zand the 2007-12407-CA0l Case was dismissed Exh.21 and 22 in
       2009 the Clerk of Courts removed the Judges dismissal with Prejudice off the Docket because the Clerk of
       Courts have the same $ Conflicts of Interest as .Judge Valerie Manno Schurr according to his Form 6 Full and
       Pubtic Disclosure of Frnanc~I Interest he has a money Conflict of Interest with Wells Fargo which is US Bank
       Exh . Z3 in the amount of $315,(X)() which is why the Clerk of Courts removed the evidence off the Docket.
       And then these wicked Lawyers Foreclose without notice to us and we went threw a 10 year fight see the
       Docket for the 2010 case whictl had no notice no assignments, no Note and nn Mortgage Correctly to U.S.
       Bank from Axiom Bank see Exh_ 0 . then Maurice Symonette did a Quite Title Suit and after 10 years Judge
       Valerie Manno Schurr shows up again and I showed her the Evil which she had done by taking money
       ($995,000) From GMAC/U.S. Bank to steal our property even though we were making the payments. This is

       Home Title Fraud in its utmost and when she saw she was caught from her own Form 6 Affidavit and evil
       Judgments she Recused herself especially after we paid for News paper, ads and Radio 1V Commercials Exh.
       T Telling on her and knowing that we have turned her over to the FBI as Carlos Lopez. must do because he has
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 42 of 597




                                                                                                                                                                                                           Exh
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                                                                                                  The Social Worl<s of YAHWEH BEN YAHWEH

                                                                                                                                           Exn.17
                        The Miami Herald                                                                                         May 7, 1988

                                                                 [YAHWEHs]
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                                                   Patrol at Synagogues
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     ys cou :·              The Nalion ofYalnveh Friday voh.mtec.-rcd to patrol          The Y.ihwehs havl'! started a S2,00O reward iund
                        South Florida synagogues to deter what appears to be         for apprehension of anyone c-omrniLting violence against
     ms, sa:.:          Increasing violence agaJnst U1e institutions.                a religious insutuUon.
     1cgrou~·              •·we are a.ii brothers of lhe same family of God.•            The Ya hwehs would be umu·med ·and would only
     nccring,           Said Yahweh. a blue-eyed black man who dresses In a          pat.ml where asked. They would:aphotograph vandals
                        0owingwhite gown and wears a white turban. He has            ln nclion and give lhe material to the po!Jce.
     and on,            said he is the messiah prophesied by the Bible .                 Si..,c<: U1e b1:-gir111.ing of lhc year the.re have been 38
    IC le.mp'. ·.           ·we hope other religious institutions and civic groups   acts of vandalism against Jewish institutions in Florida.
    • \V'aS . .         wUI join us," Rubin. [their attorneyj, said.                     Rubin s.:ilcl, Tm: Yalm,-chs have succ1;ssfully prevented
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                        The Miami Times                                                                                      June 25, 1987
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                                                   Yahweh Ben Yahweh
                                                                 Speaks Out
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                           "We teach peace," Yahweh Ben Yahweh said in an                .. . [Yahweh) Ben Yahwe h has "opened up to those
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        my sweet dear Abishag. My vciy besl to her,                    ing." etc.                                                     •i dfi-1s tnes
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        hc:re 1s indeed my destiny. my true desire. and my             yourn:al pla c. Lhe only place, Jcrusalem. Jcru a.i •             Ke.zln Ta
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            My spirits are high. my ·motnr· running. my soul           Yahweh.
        so touched by you.                                                 Please, again. dn trust me. and do han: corn,-'
                                                                                                                                             Shalo m
            Our lives. home and heart are open to you. Please          faith in me.                                                          YAHWE.
        know tlliS, please. locked , J long to be your man in              I w!ll certfllnly help you, aid you . and t--nli.ancc yi'4
                                                                                                                                       . -.~never Ir.
        Jerusalem. \Vitb clear splr!tunlly motivated v!slon and        so much. Should you or any brother or slster care to·,
        a razor sharp mlnd, I sec all of the follo1'-ing soon:         here soon, know that our home is open and availaoc ' ;" :-:o way t
                                                                                                                                           .: have 41
             1. A Yahweh Ben Yahweh Center here:                       you and yours for as Jong as you or they desire. ::mrl . ~
                                                                       wine nnd dine you all as best I can and pick anyon~               ..:r intelll1
            2. Worldwide publicity, attracting thousands:
                                                                                                                                       ., .• to us is
            3. A Yahweh Ben Yahweh Tourist Re.sort-Center;             al the airport, ttnd drive you {or yours! all over this !i- ~
                                                                                                                                             rm very
            4. A. Yahweh Tciurlsl-Travel ,igency;                      "Holy:land" of ours. I will do all.
                                                                                                                                         . :oreven1
            5. A Yahweh Religlous Center .. _ bere;                        Please dwell upon the above.
            6. Yahweh's presence brtagin:g j(..•ws and Ara.bs,             Plc::i.se remember me. please take my hand.
                                                                                                                                             Your di:
        and Jews and Blacks together here. and In the USA,             are in our he.ii1.s. ever in our souls. Please resp:~·
             7. Yahweh as a k cy·l.ink-c;1talyst as and for a Bia.ck   please be there for u.s.                                      •
        Amenc:an Pres1d<:nt;                                           • We love.you. we need you.
            8. Yamveh playing the nrajor role 1n brlnging about                                                                                  :..awvav
        a real true peace between J ews and Arabs in the                   Shclly and TamarO .
        M!ddle-East:
            9. Yalrw-eh truly laking his rightful place on the
        world stage.
             Yes, beloved one, J am dreaming. thinldng, and                                                                                      Towhc
        planning "Big," real "Big : and bd!ev1ng it all, for you                                                                                    _:.,. fr1en
        are Yahweh Ben Yahweh. this ts Jerusalem, and I am                                                                                  !...u!WEH .
        Shelly Stern. splrltuaBy and mystically moved. for the         f                                                                    -::..:::e s01nt
        first time ever. and I am here In fsracl, for you. This                                                                             : ~:,..sesen
        ragamuffin little strnd k1d from Bro\vnsvtlle. Brooklyn.
        educated, sba.rp, street-wise and Jmai,,11.nath·e. longs. to
        tle h1s heart and soul to you, for yours and my benefit,
        and to and for the advantage of millioru; and U1e w-orld.                                                                                 3.C. ,
             I've been at death's door, but ln your have a true                                                                                   Los Ai
        cogent reason to really L'vc again. reborn for you and
        yours in Jerusalem.                   •
             Piea.."<e Yahweh do trust me. please. do have faith
        1n me, please. I am fully rntional, crystal clear and a



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·-~~J~ifti&~lliff~1Ji1!iltf~J
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               Case 8:24-cv-02037-MSS-UArv1 Document 2-2                                                            Fiied 08726/:
                 From Pove.rty to Rk:hes
                                                                                                                        &heIq P<a-
                 THE MIAMI TIMES                                                                Thursday, March 12, 198; -ne M

                                                       Yahwehs
                                                     Buy 2nd Hotel
       I
       .
           .        The Yahwchs bnve purc..':1ased another hotel. thc-ir
                 second one this year.
                     The former 79lh SL Hotel. 279 NE 79th St.. will b e
                                                                              tnc 63-roorn hotel and re,>ItalJ:red restaurants -'1',"'
                                                                           be open to the general pub1!c. 111e purchase price ~ •
                                                                           not rcvc:ilcd.                                            •




       I
                 changtng tts name to Yahweh. undergoing renovations           The Yahweh"s ftrst hotcl WilS purchased a coup\e ·_       rhe
                 to bring the bulldlng up to code. and ha:ve its n~ta:u-   weeks ago . .It is located on the earner o!13.tscaync &~..,_
                 mnts rr.wiwllzecl. according to Yalnveh spokeswoman,      ;md 74th SL. the former MlamiMolorlnn.                    ~ ;rien
                 Jmhth fsrael.                                                Tile 24-room structure costs half a million doPZ'l.
                     -nie bUlldl.ng was totally run down and by no         and includes a pool and penthouse suite.                  •     Las
                 means up to code, but evetyth.iog 1s still very much in      !Us open to the public. according to leader. Yabu •• •-~ mu
                 the planning sta.ges; she added.                          Ben Yahvteh.0                                             ' -=-~ ct
                                                                                                                                    .._
                                                                                                                                    ~-- -; ond
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                                                                                                                                                                                                                                  .. et:tt1rlsrlf exr :n 'tifil


     From Povorty lo Alohas                                                                                                                                                                                        Tho Economic Works of YAHWEH BEN YAHWEH


     MIAMI WEEKLY                                                                                                                                , .,1,,mco and upgrade Jt for the benefit of tho
                                                                                            TI-IUASDAY, JULY 16, 1                              i,uu u ntly nnd Mtumt ntl a whQle. However, ho cm-
                                                                                                                                              ·, ,•., ,,:d that once the property hns been ·renewed."

                                     YAHWEH$                                                                                           : , ..1,. 1,,.oplc who nrc free from drugs, nlcohollsm, ·nnd
                                                                                                                                          : .. ,.,,. lhlngil which destroy n community.• wUI be
                                                                                                                                           . ,.. ,., cl lo live there, But acrcenlng wJII be done from
                                Purchase Saxon Hotel                                                                                 • / •.. 1: 1·11crul public .
                                                                                                                                     I   .. !     w1,en 110 was asked lf tl1ere were any lessons
                                                                                                                                     ; I ,.,,, d . . , , Yahweh Ben Yahweh answca·cd by
                                                                                                                                          : .. , 11,,t, ·Jr you loolt around here lhls place Is nbso-
     "Son-Of God" In Quest To                                                                                                             1 ,., II' clean, absolutely pcnccful, absolutely quiet ,
                                                                                                                                     ,, ' "" " that'a U1c way we have been hundllng nil our
     Save Community                                                                                                                  '     {      p• rUcu, ...
                                                                                                                                                • 11


        11,c latc8l rcnl estate ucqulalUon of Ynhweh Ben                                                                                  .       I,,. oald lhe fncls , . . prove that U1c Yahweh• arc n
    Yohwch nnd U1c Ynhwch movement In Dude County Is                                                                                     , ...,.,1people tn.ldng a moral stand.
    the 1nr1unou8 Suxon Hotel at N.E. 62nd Street and 2nd                                                                              · 1·       I ·Ind 111 U1c trndlt!onnl ntUre of his rcllg1011, nil
    Avenue, eight of tl~'lny crime,, on the books or both                                                                                     . ,,I, from white linen. Ben Ynhweh opokc of\Vorklng
    Metro 11nd Miami Pollcc. According to reports - nnd                                                                                  . '-• ,1,c Lord. He said thnt Uie work he nnd his
    t1tntemcnl.s from Bcn,.,Ynhweh hlmS<:lf - those crhnt:A                                                                              l .i, ,,·,pies ore doing ls nghtcous: und thnt evcl'yUilng
    Include murder, robbery, rape. muggings nnd the booms
    nnd busts of drug tmfncklng.                •
                                                                                                                                           !,,...,. ,lo Is done within the laws of U1c United Slates
                                                                                                                                           ; , A111crlc1,.
        A press confcttnce wns c., lled by Yahwd, B,m                                                                                      f           \ ,1hw·t"h 'Ben Ynhweh suld thut Ule monny which
    Yn.hwch, nt U1c site of the Sw:on Hotel where he                                                                                           1.,.,11110 proJecL,; come from YaJiwell and nJI U10se who
    unnounccd pinna lo elem, up lhe property nnd' carry                                                                                    l ,,,11111ng of our communltlcs arc •Hupportlng us In our
                                                                                                                                               ,. 1t, ·1 " In Yahweh, "Those who believe In U1e moral
    out cxtcn9IVC rcnu,11Uona. Accordlt\/J 10 Ynhw~h's nl•
    torncy, Elli• Rubin, ha,1ng rid the property or doc1t111c                                                                                     ,11 .. , I." he told reporters.
    trafnckcr.i', tlrn plar1 J.o now to_brtng u sense or pr1dc to                                                                                         I le s:ild Ynhwchs nre not prejudice about who helps
    Ute Immediate communlly. ·one of the bcncfitH of the                                                                                          ,1on11, ·Anyone cnn work for God/" he snld.
                                                                    '        lll~IU a' f1!1•· dtmer,·ru~6fl'AP!lrtmen r
    Ynhwchs coming Into nn nrcn Is Urnt U1e drug trafnck-           jl.'        i' •;) ~• ·\~ I • •f,1 •,'?ti , •.J.::V-~ • •                             /Is rcportern pressed for Information on Onnnclnl
    crn lcnvc." Mr. Rubin 6nld.                                       r··,1., 4'\/•-~· .. :--~--,i, ;,, -,~r~~~ ~ 9. .ns~:·
                                                                                                                         .    ~,!,;.-;,·., !   .j ,., ,h!i ngH Rl\ri resources or lhc Ya.hweh orgunl:ait1oo.
                                                                           I      f'' I '!·.h.1 , i •w"-1 ~t°:, • r •\. ~   ,I~ ii,'
        As reporters w.l.ltcd for Yahweh Ben Yahweh 10 anive        ~oo<l living nccommodnUons,                                                 I,   ,l  "vch     Ben Yahweh t1S$Urctl Uicm that dom1uons
    nt the conference. Rubin nnswcrcd qucstJons ubout the           been uullthnbltuble.                                                        \ ,,,•.,cceptcd from anyone who wunts lo donnle lo the
    number of real estate ncqulslUons o,,:r the pust several               Rubin dcscrtbed the Ynhwchs' rcul cslntc den! . • ,•., I< of Yahweh ... "Who ts God." He said all Indus-
    monU1<. He said U1c Y<1hwchs - In uddltton to giving the        us ll grc,wJng portfolio of !!C\'Cllll mUllons or dollars,                  ! •1· ,., baaed on rcul estate und thnt his organization
    people In the cunmnmlty u sense of pride -..wlll provide        n growing prc~ncc In UlC conununliy.                                        ; . hv.i klng to take up some of the slnck of unemploy-
                                                                           Rubin snld the Sn~-on Hotel Is very typical ol l1 M11 t In Alucricn, In every aspect. '"So why not real
                                                                    klnd of acquisitions U1e Ynhwehs have been aml                                   ,1., 1e: he said.
                                                                    be •Mldng. "Timt lu why I hn\'c Invited you here 10· / ? llomcy Rubln reminded reporters Urnt Ynhwc)I
                                                                                                                                                   · •· 11 Yahweh Is only the s plntuol voice of U1c Yahweh
                                                                    the before •. . And lot er we wlll lako you 10 another
                                                                    • • . not loo fnr from here. to show what we do ,utc                   !,         ll;• lon . Mr. Rubin said. "'Ineoe mundnnc dr.tnll~ of
                                                                                                                                                ...
                                                                    purchase a property und l-omplcle rc110vauons.- hr ·· .,r,ng nnd sell Ing propct'ty nrc left to others In the
                                                                    members of the mcdJn.                                                    • I " 111ple of(l.ovc(."
                                                                          ,\ttkcd how the Ynhwchs .:.re ol.Jle· to Ontmco' : Ile then dtrccted the press conference to be moved
                                                                    program of ac:qulslllon und refurbishing. Rubin '' j " II ,c Vlllas. nnothcr property ocqulrcd by -Uic Yahwchs,
                                                                    plied In his usual well-mannered style, ·1 never 1 ·•., henvy drug trameklng area of Liberty City. At the
                                                                    the Son of Cod how he gel~ hl!.t 1uont'f. bcctrn 1 , ~in.a,, reporters were given n tour of ulx ono-.bedroon1
                                                                    think It Is n mlmcle. •                         •
                                                                          Ynhweh !kn Yttl,wch, unlvcd nt lhc pm,, con~
                                                                                                                                      ·,
                                                                                                                                           l
                                                                                                                                           j
                                                                                                                                                   ::•;t:~~~~~;';.~;'n~b:~n~,u;::~!~;:, ~~~~;,~;:
                                                                                                                                                   ,  ,•,,\or   t.elcvls!nn, cooking utensils, china nnd
                                                                                                                                                                                                         ;..X
                                                                                                                                                                                                           1

                                                                                                                                                                                                         crystal
                                                                    accompanlcd by tut entourage of two buucs filled ,·
                                                                    dlsclples. Stepp1J1g rru\)esUcolly from one of the vd11                       , .,re . . . nnd tl1ore Is even a blender In each uf the
                                                                    U1c mlr~ltr greeted the press wnrntly .. . CJClem                              •l';,rt:mcnta. ·111 fuel." reporters were told by their
                                                                    opt.'dol n:cognltton lo Utosc he knew by nnmc.                                ,,,., ,· guide, "all you need to bnng - when you move
                                                                          He connm,ed otntcmcnls mndc cnrllerby his ult "' arc your clothes. -0                                                                                  1Jt"v\
                                                                    ncy U,nt the mnln purpo.:te or purclrnst_n~ the S.ax<tn
                                                                                                                                           I
                                                                                                                                                                                                                                  ~~
        Page 132                                                                                                                         1l                                                                                        ;.._'I ..S- Page 133
                                                                                                                                         '.                                                                                        L-   -3

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.l VUll.ll.UCl.L"C".
of provi di, ,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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iunity. So '..:-

!::e;~~ The Miami Times                                                                       November 20, 1986
.e same, 11::.e

ganizatiOI!L
veh and Fe.tr
                                             Fauntroy-
~ster blad:
es. "Here's 2.
lil anyone in
                                           SCLC Statement
lild believes.
ayne Boule-
                                             On Yahwehs
                 The President of the Southern Christian Leader-        Fauntroy charged that . . . "We must admire the
ers. Yahweh ship Conference in Miami, Ray Fauntroy, has issued a    ability of the Temple of Love to bring as many Black
.1p . •
             statement ...                                          people together as they have, for one cause, a very
1t being im-     "'!he Temple of Love, ~CLC and all other Black     difficult task to achieve in today's community." D
             organizations are struggling against the same wicked
   "         enemy, greed and racism,· Fauntroy stated.




                                                                                                           Page205
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   Case 8:24-cv-02037-MSS-UAM                                              Docu ment 2-2 Filed 08/26/24
         From Poverty to Riches
                                                                                                                         f:Xlh, \9 p9 l
                              Testimony by Arthur Teele
                                                                       .                       .
           Excerpts taken from opening speech at 1987 National B-usiness                                                                 .:, ! '
                            League1s Annual Convention
               I am vety honored torught to h.a\1! the very .distin-
         guished presence of a group of people that have trav-
         eled. not Just from Miarnl, but. from all over America.
         and some of thclr members that are in business bave
         been asked by their dlsUngu.Lshcd and illustrious Wader,                                                                    . 1,
         Yam~Bcn.Ya.hw(>.h, tojoln us here to tindc:rsiarid and
         ti> witness and Indeed participate. 1n these historic                                                                      ' t'
                                                                                                                                     • Tt1tt:Nruio1
         dehberations.
               I'm referring, of course. to th.e Hebrew Israclfles. I
                                                                                                                                    .: ! ll}
                                                                                                                                     .         Mfrior1t
                                                                                                                                               ..,.. :·-:·..:,.
         want to·sa,y somethlDg tonight that ls not in my tei.:t.
          and l promise you that t wm take off at least 15 pa1,,1es
          from the p.repared text by· going o.tempornn.eous. t
         want to share with.you that wesom.etfmes. as a people.
          have gotten so confused about who we are that we tend
          to allow others t1) plant seeds o( dlstrust among each
          other. 1 want to tcllyou that lam ashamed ofllie fact            • _,._ "'.' YAHWEffi3~ YA.HWE!-Fan<f~Teiifi"
          that l have Uved In M.tami for over four ycan, (I have           {ttsf:t}r:t,rnti ./:;{tft·;;·~.\~;tt{~·:i r5t-t        if •.
         Uved In Florida all of my llfe) and I have never taken            -as the gntcwHy or •Mlami. U.S. 1. whlc.l-i had tx--c-~~ :·:
          the time or the opporti.mtl.y to understand or even know         run-down. Witil seedy bolds, strip Joints. prostlt:.:~~ :
          my brothers and sisters who are members and devout               dope dealers. eoc.; they took over those !)eCdy prc,?S'- .
         :followers ofYahw-eb Bc:n Yahweh. Rec;cntly. when I was           U:es. rehabllltated them and they dan.."<l any persor. '~ ..J¥.:,
          In a moment of need. when l needed help; 1was runn:1t1g          IS not moral to sctfoot on their property. The Ch~              :
          In a v.cry tough campaign. as many or you know. for              needs the Hebrew rsraelltes and so de we. the Nae ~ :;
          Mayor of the Cfty of Miami. f was asked by one of the            Bust.ness £,..e.ague.                                           .
          coriimunlty leaders to meet with Yahweh .Ben Yahweh                   Ladies and gentlemen. tf you don't believe it . ~ ;.
         and .share With Him myvfslons ofw:hat 1 believe Black             have got to come to Miami to see tt: to &."ea. pros.;;::;.. ~'.
         ..\.inertcans must do next. fn :ane meeUn.g. we hatl a            walk dmm U.S _ l: to see a whlte building thi, ~
          commonality of understanding. im--e. respect. and a              ·Yahweh♦- stop, cross the street and then c ~n:::.:1L. ·•         .; ~
          sense of uni.cy-v.'ith each other.                               down U.S, L ln adcUUon to being moral and p~:::'. ~ .,..,,.. ,._.
               .MktIDl ,.,.ill n~-er be the same. because when Yahweh      pied. tl1c YallWChs have shown Blacks ln South ;,a;,,
          Ben Yahweh decides that there 1s golng to be 200                 i.da that th.r ough working together. and cc- 1,.,;~/ •
          people on the streets supp(irting you. you can believe           together 1n a common bond, Jn unity; that we C<"-= ~ '-~
          that thcrc:-w:111 be 4.00. So tonight, as the m.embei-i;. and·   a race, moYe fonvard.                                          :
          leaders oftbe Hebrew Israclites; commonly referred lo              • ln i981. there \\,'(?TC no black hot.els In Y ->•$;; ~. «· •
          as the "Yahwebs" have joined us from ac:ros.-. the               1odav. there are five. There are black-<,wned pr::- "'·
         C!lU.ntl:y, J want to Just take a moment to sh.are v.-1th         companies In Miami. And yes. they are owned 'Y;,· ~ ; .'.
         you v.ihat l ha're W:ltnessed at a distance what ba~ been         Yahwehs. and! am ha;l;ing my car repalred by._ ~:i
          accomplished. In less I.ban ft\>e years Jn Mlaml, Flor-          repair facility owned by the Yahwch.s: and U,r.-:-: ·3, . J .
         ida., the Hebrew !sra.ditc:5. have obtained and gau1cd             much more I could say. The Yahw:ehs are indc~ "- p.i ,'t .
          the respect. not just ofplack ofMlaml. but ofall Mlaml.          of the fabric of Mla:ml and I say to you. !n tr.~ ~ .:-
          In fact. I am embarrassed that the Biscayne Chamber                                                                     ,.~t
                                                                           fu tu.n :. they will be a part of the fabric of thls cc.·;.. •
         of Connncn::c has moved ahead of the NBL iJl ·working                  We need to open our boorts. and our mtnf..:; ~ /
         ~1th him as:a .frequent speaker for the Coomber. As a             understand what the Hebrew lsmelfte tllO'l·t-:::'.'.'::::. '~,:;-
          result. the Hebrew Israelites are active m e ~ of the            about, particul...dy as ft relates to the ccono:-::: • - ~,:::: •
          Ctmmber of CQmmerce 1n. Mlal:111. And 1\--U)' are they            powcmlttlt o( our peopl.eD                                    ::
          im:mbtts1 Because they took the areas which iS know

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                                                                  Contact Information

                                                               tx k . "'b O
                                            FOR RESERVATIONS
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                                                                       Page229
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    8:   From Poverty to Riches
                                                                                                                 The Economic W!)rks of YAHWEH BEN YAHWEH




                   Letter to MiM.,
                   Economy Inn:
              October 1987

              Dear Bathsheba!
              11lanks for everyone's hospitality and klndness.
              Hope to see you all on our return trip.

              Lorraine and VedaO

                                                                                                                                                                I .



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                From Poverty to Riches


                THE MIAMt TIMES                                                                   Thursday, July 14, 1988 ~ MIAMI W

                                              You Need To Know
                                                   By State Rep. Jeff Reaves
                                                       Economic Clout
                    We must become ~ous about our economic fu.                Last week. I met a mnn who is serious abm:: :
                wre 1n Dade County. All poUt!cal and socl.il 1:ssues       eccnoml<:5 - Yahweh B= Yahweh. In a short 10 vca.~ ;
                hinge on this one factor - economics. With ccntrD! of      he hns buill a sizable or,eratlon In our communlty - i
                our economics. we can begin to control our 11roolcms       factory buildings. •apartmwts. markets. and the tis < 3f Bill Peri
                o! homelessness. Joblessness.. "bus1nessles$rlcss,♦ and    goes on.                                                  ! • After h~
                drugs. Yes. poUtlc:s play an 1mportant rol.e in creating                                                             J
                                                                               Regardless of preconceptions, a tree Is Judgc:d by tb: :-Jstula te, ac
                the proper ~onmcnt for ccanomli:: gro\vth: however.        fnllt!tbc:.arn. YahwehBcnY:1hweh·s fru!ts are well wort·:' :~vcloprncrlf
                we must tak;e the charu:x: at every opportunity to         our taking notice of them. TI1e man has done wh:,{ , .:anomic ea
                advance our economic gro-cvth.                             many have only planned of dolngD                         ;,   Most Afr
                                                                                                                                    ( :~ple are t
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                    Page 104
2 opened fire on party behind NW Miami-Dade home, injured man, po ...          https://wsvn.com/news/local/miami-dade/2-opened-fire-on-party-behi
         Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 63 of 597




                                               2 opened fire on party behind
                                               NW Miami-Dade home, injured
                                               man, police say - WSVN 7News
                                               I Miami News, Weather, Sports I
                                               Fort Lauderdale

                                               By Kevin Boulandier, Alex Browning, Sheldon Fox, Jessica
                                               Holly

                                               NORTHWEST MIAMI-DADE, FLA. (WSVN) - Two
                                               gunmen made an escape on the water after a shooting
                                               in Northwest Miami-Dade sent a man to the hospital ,
                                               police said.

                                               According to Miami-Dade Police, both subjects
                                               opened fire on people having a party behind a home on
                                               South River Drive, near 150th Street.just before 7: 15
                                               p.m. Sunday.

                                               "South River Drive, advising a person has been shot
                                               next door," said a dispatcher over Broadcastify police
                                               scanner.

                                               Investigators said the shooting happened after a
                                               dispute.

                                               Cellphone video shows people arguing before a man
                                               wearing orange grabbed at his waistband ..A second
                                               man is seen with a gun in full view while the man in
                                               orange begins running and shooting. The video
                                               recorded over 50 shots that rang out at the party.

                                               A wounded man is seen on video being helped by
                                               party goers as they awaited Miami-Dade Fire Rescue
                                               to arrive .

                                              "Don 't fall asleep. Talk to us ," said a woman .

                                              Police said paramedics with Miami-Dade Fire Rescue
                                               transported the injured victim to HCA Florida
                                              Aventura Hospital in stable condition.

                                               Officials believe some people may have fled on a
                                               personal watercraft.

                                              Neighbors told 7News that this is not the first shooting
                                               that has happened at the home and said that their
                                               complaints about their neighbor have not been



1 of 3                                                                                                                           8/31/24, 4: 15 I
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                 party behind NW Miami-Dade        21-1 man,
                                            home, injured Entered     https://wsvn.com/news/local/miami-dade/2-opened-fire-on-party-behi
                                                             po .. . on  FLSD Docket 09/09/2024 Page 64 of 597

                                             addressed.

                                             "It's a mess," said a neighbor. "It's out of control. We
                                             reported to the county, we reported to the police, they
                                             just don't do anything."

                                             "This neighborhood becomes a mess because of these
                                             people here," said Erika Willingham. "This is a
                                             residential area and it's not supposed to be like this. I
                                             pray they bum it down."

                                             The home is known online as the "Boss Mansion."

                                             According to social media posts, the home is known
                                             for jet ski parties. The parties are hosted by an
                                             organization called Boss Group Ministries which is
                                             led by Maurice Symonette.

                                             "They only use this house for parties in order to make
                                             money," said the neighbor. "They just don't care about
                                             anyone.

                                             The neighbor said he notified the Florida Fish and
                                              Wildlife Conservation Commission about people
                                             shooting from their personal watercraft.

                                             "I actually reported two weeks ago to Fish and
                                             Wildlife because they were shooting from a jet ski to
                                             the trees, to the birds," he said.

                                             In 2022, one person was fatallY. shot and three others
                                             ~jlill.d during a party at Boss Mansion.

                                             According to Miami -Dade Police, a fight broke out
                                              between a 22-year-old man and a 24-year-old man
                                             during that party.

                                             "There has been multiple complaints about this home,
                                             and we are working with the Regulatory and
                                             Economic Resources Department, and they are aware
                                              of the nuance that's going on in the home," said
                                             Miami-Dade Police officer Luis Sierra in 2022, "and
                                             they are investigating the home as well."

                                             Symonette also spoke to ?News following the 2022
                                             incident.

                                             "I wasn't even here last night because I wasn' t
                                             throwing a function last night," said Symonette.

                                             On Monday, a man was seen going into the home and
                                              when asked what happened, he told 7News "Yahweh's
                                              enemy was responsible."

                                             According to property records, the home has been
                                             foreclosed. As of 10 p.m. Monday, no arrest have been



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              on party behind NW Miami-Dade home, injured
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                                              made.

                                              Representatives for Boss Group Ministries did not
                                              immediately respond to 7News' request for comment.

                                              If you have any information on this shooting or the
                                              subjects' whereabouts, call Miami-Dade Crime
                                              Stoppers at 305-471-TIPS. Remember, you can
                                              always remain anonymous, and you may be eligible
                                              for a reward of up to $5,000.

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                                                     AFFIDAVIT
                                                                                        Exh.27 pg.2

          Juiy23, 2024

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          On the day of Alfred Davis's trial when the prosecutor requested the j udge to = d Alfred
          Davis, the judge denied and stated that the prosecutor did not prove their case, have enough
          evidence, nor did anyone testify to ID Alfred Davis as guilty.         (
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 67 of 597




                                                AFFIDAVIT                     Exh .27 pg .3


          1   AtJr£ 161b AM A WITNESS THAT WHILE AFTER JURY FOUND ALFRED DAVIS GU JLTY IN
          FEDERAL COURT OF DADE COUNTY ON THE SECOND DAY OF AFRED LEN ORIS DAVIS TRIAL, AFTER

          THE JURY FOUND ALFRED DAVIS GUILTY THE PROSECUTER JOHNATHAN BAILY ASKED THE JUDGE

          JOSE MARTINEZ TO REMAND ALFRED DAVIS TO JAIL RIGHT AWAY , YOU HAD NO WlTNESSES TO

          POINT OUT ALFRED DAVIS BUT THE JUDGE JOSE MARTINEZ SAID NO I AM NOT DOING THAT YOU

          GUYS HAVEN'T PROVEN YOUR CASE YOU'VE BROUGHT IN NO EVIDENCE THAT ALFRED DAVIS DID

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          FEDERAL COURT OF DADE COUNTY ON THE SECOND DAY OF AFRED LEN OR IS DAVIS TRIA L, AFTER

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          LET ME DOWN MR.DAVIS.
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              FEDERAL COURT OF DADE COUNTY ON THE SECOND DAY OF AFRED LEN ORIS DAVIS TRlAL, AFTER

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          FEDERAL COURT OF DADE CO UNTY ON THE SECOND DAY OF AFRED LENORIS DAVIS TRIAL, AFTER

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                          lN THE ClRCUiT COURT OF THE ELEVENTH JUDICIAL ClRCUIT

                                                        l N AN D FOR
                                 MtAMI DADE CO UNTY FLORI DA GVIL ACTION                          Exh.57

                    MAURICE SYMONETTE

                     Plaintiff

                                                                                    CASE NO: 2021-
                                                             10826-CA0l
                     V.

                    U.S. BANK. NATIONAL ASSOCIATJO
                    AS TRUSTEE FOR RASC
                    2005A.AHL3, MERS, FRANKLYN
                    CREDIT !v1Ai\JAGEMENT CORP and
                    AX1OM FINANCIALSERV1CES

                    Defendams,



                                  MOTJON AND AFFIDAVIT FOR RELIEF, RECUSAL.
                                  ~lACAT ION OF ORDERS AND MEMORANDUM OF
                                                            LAW


                Pursuant to Florida Star. 112.131 , Florida Rule 2.160 (H) and Federal Ruks of Civil
                Proceduse Rule 60, Plaintiff tvfAURICE SYMONETIE hereby files this Motion for
                Relief & Recusa] and Supporting Memorandum regarding the Jure 2S ?QJO Valerie
                rvlan no Schurr Freview of the record and FioalJudgemwt Order. Exhibit.J because it
                injured us. based on the following facts. new information, just terms, judicial
                misconduct, fraudulent grounds and discovered conflict of pe.rsonal investment
                intereSts on Financial Disclosures of Judges and officers of this Court (Exhibits# B)
                Attached- U.S. BANK Special Situation Property FQnd~ Accoum Page 4?., TFRS 2018
                Table15 9-13. SEC FiJlngs- U.S. BA K Florida Subsidiaries, Judge Valerie !'vlanno
                Sh urr Financial L"lterests & Property Disclosures).


                Florida Rule 2.160 _(H) Says A Judge
                111-u st Vacate lier- orders for Conflict o{
                I,zterest LIKE THE ORDERS J UDGE VALERIE
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 78 of 597

                                                                                           Exh.57~~ ~1-
                LYlANNO-SHURR-DID IN THE ILLEGAL EXPARTE
                HEARING 06/25/2010 lVHERE SHE CHAJ.VGED
                THE ORDER OF DISMISSAL TVITH PREJUDICE
                TO DISMISSAL WITHOUT PREJUDICE AND
                RETURN THAT BACK TO DISMISSED__WITH
                PREUDICE AND ALL HER OTHER ORDERS SHE
                DID IN THE NEW CASE 2022, Theodore R. Bundy V.
                Judge John A. Rudd, FLR'ule 2.160 (D) (1), FL Code Jud.
                Conduct Canon 3E (1) A Judge shall disgualifv herself where
                impartiality might reason.ablv be que.~tio_ned Rule 2.160 (D)
                (1) and grounds to disqualif}' is a party fears t{wt the]udge is
                Biase,/, Fl~ Statue 112.312 (8) attd Judge can't have a conflict
                of Interest!

                Judge Valerie Schurr must Recuse herself for an open obvious Conflict of
                Interest because she's and was <loing business with US Bank, GMAC and
                OCWEN and helping them to make money so that she can make money
                by foreclosing and taking (stealing) our property \•vhile acting as the
                Judge on the case on our property, not on case's Merits but for to make
                her and them money lllegally. Here's proof.


            NOW I'M REPORTING JUDGE SHURR TO THE
            ADMINISTRATIVE JUDGE WHO APPOINTS .IUDGES TO CASES,           .


            GOVERNOR DE SANTIS, THE IQC, THE BAR, THE US DO), THE
            FB I_, T HE FLORIDA STATE ATT0NEY AND MEDIA FOR
            OBVIOUS RACIST MISCONDUCT, BY TOTALLY IGNORING
            FLO RIDA STATUTES-RU LE S AN D FOR CRAZY OBVIOUS
            CONFLICTS or INTEREST
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 79 of 597
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               Case Num ber (LOCAL): 2007-12407-CA--01        Dockets Retrieved : 48                                                                 Fil in g Date : 04/26/2007
               Ca se Number (STATE): 13-2007..c:A-012407-0000-01                                                                               Judi cia l Section ; 32
           Oate           Boock/P a g e- !             Docket Entry                                                                         Comm't!nts

      104/07/ 2011   ll                                 LETTER OF
                                                  CORRESPONDENCE
                                                                                                                                   FROM M,t\('I( l WEUS

                     \                          NO FURTHER JUDICIAL                                                  ORDER FILED I CASE# Q0..8186 C..A01 AND lN Sl-.ARE
          1/04/2010 1                                      ACTION                                                                      DR!\/E
           1   201 01                   I                 MOTION:                                                     TO VACA TE LAST ORDER & RETAIN ORIG.ORDER

      09/28/20 10
                                                  MOTION TO VACATE
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      08/06/2010                                  -·
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      06/25/2010 27343  / ~~ 1·                        COURT ORDER
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                   .0.ge~ .3                                                                                                SALE.RELEASE US PENDENS, ETC ..
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                                                                                                                !               FORECLOSURE SALE.ETC.
      06/18/2010                                                                                                                                                                  '
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      04/07/2010 27244 f 419;,                         COURT ORDER                                                            SK:27244 PG:4193 OF DISMISSAL
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      04/07/2009 ,_..I ~- I

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                                                       OBJECTION.:
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      09/09/2008!                                         NOTICE:                                               I n;A T PLTFF HAS RESPONDED TO DE FENDANT,.. ETC                  I

                                                        LETTER OF                                                       FROM MACK WELLS TO DISMISS FR LACK OF
      08/1512008 !
                                                  CORRESPONDENCE                                                                   PROSEClJTlON
                                                     LETTER OF                                                         FROM MACK i\lELLS TO DISMISS FOR LACK OF
      08/15/20081
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                                                  coR~EsP-, 'DENCE                                                                   PROSECUTlO
      09/171.2007 ! 25944 I
                     I      Oa~~ I.
                                   ?4 2 1              COURT ORDER                                                   BK -25944 PG:054" CANCELl'\/G FORECLOSUHE SALE

      09/14/2007 1                            PROOF OF PUBLIC.A.no                                                                          PUB G.".TE :
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 80 of 597
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    09/10/2007                                           TEXT                                       $.50 FEE PD/RCPT 145184
    08!3012007                                     NOTICE OF SALE
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    08/24l2007 \                                         TEXi
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    t'is,, 1 312007                        'I            TEXT                                      FINAL DISPosmo                     FORM
        08/ 13/ 'XJ07                                    TEXT               I                         SALE DATE 09--14-2007

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 81 of 597

                                                                                                                                  Exh.57
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 82 of 597

                   FORM6                      FULL .AN D PUBLI C DISCLOSURE OF                                                          2009
    r------------
                                                    FIN AJ -CIAL INTERESTS


                          JI
                          Hon Valerie R. Manno Schurr
                          Ci:cuit Judge
                                                                        PROCESSE                            l!J Cu.1e


                          Judicial Ctrcuit (11 Th)
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      HOUSSiOUl GOODS A.ND PERSONAL EFFECTS;
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    JOl'NT               D SEV!:RAL LIABIUTIES OT REPORTED A.BOVE:
                               NAME AND ADDRfS5 OF CREDITOR
     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 83 of 597
                                         o-   U.S. Bancorp - Wiki...                                                     •
                      X       V          -0
                                              en.wikipedi a. org                                     CJ                  ••

                     == 1 American bank holding company                   [!1ibancorp
                     based in Minneapolis, Minnesota, and
                     incorporated in Delaware_[4l It is the                               ---
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                     parent company of U.S. Bank National
                     Association, and is the fifth largest
                                                                                          --
                     banking institution in the United
                     States. (51The company provides
                     banking, investment, mortgage, trust,
                     and payment services products to
                     individuals, businesses, governmental
                     entities, and other financial institutions.        Co-rporare headqoarters. US Bancorp Cemer.
                                                                                          m Mmneapol·s
                                                                       Trade n• me        U.S. Bank
                     As of 2019, it had 3,706 branches and             Company type Pubhc

                                                                       Trode<I ..         NYSE: use,;
                     4,842 automated teller machines,                                     S&P 100 component
                                                                                          S&P 500 component

                     primarily in the Western and Midwestern           JSIN
                                                                       Industry
                                                                                          US9029733048
                                                                                          Bar:.kmg

                     United States _[2l In 2023 it ranked 149th        Founded            July 13, 1863; 161 years ago
                                                                       Headquarte"        U S. Ba ncorp Cente1,
                     on the Fortune soo,( 6l and it is                                    M1nneapcl1~. Mmne,sota, U S
                                                                       Number of          3,067 branches and 4,771
                                                                       Jocatlons          automated ielle, mach1~s
                     considered a systemically important               Key peop le        And rew Cecere
                                                                                          (Cha irma n. President and CEO)

                     bank by the Financial Stability Board . The       Products           Consume, Bat1k1ng. Corporate
                                                                                          Bank.mg. Insurance.
                                                                                          lm·estment banking. Mor1g ,1ge
                     company also owns Elavo n, a processor                               loan 5, Pnva!e bank ir,g. P111oa1 e
                                                                                          equiry, Wealth mc:tnagemen1,
,.                   of credit card transactions for                                      c,edrt cards. Fmanc,al
                                                                                          Analyst$
                                                                       Revenue            .A.. US$28. 144 billion (2023)
                     merchants, and Elan Financial Services,           Operating          6,1 50,000.000 Untied Stat es
                                                                       income             dollar (2020)

                     a credit card issuer that issues credit           Net ineome
                                                                       Total asset,
                                                                                          T USSS.429 billion (2023)
                                                                                          • US$663.491 billion (2023)i 1'

                     card products on behalf of small credit           Tc.ta! equity
                                                                       Number of
                                                                                          A USSS3.660 billlon (2023)
                                                                                          77.000 (2022)
                                                                       employees
                     unions and banks across the u.s.l7l               SubsidiJiries      Etan Fina ncial Services
                                                                                          Elavon
                                                                                          Talech

                     U.S. Bancorp operates under the second-           C•piUI r•tio
                                                                                          Syncacla
                                                                                          10.8% Tier 1 (2017)
                                                                       Rating             Long Tenn Senior Oe..bt
                     oldest continuous national charter,                                  Mcod1•s: Al (10/20 16)
                                                                                          S&P: A+ ( 10/ 2016)

                     originally Charter #24, granted in 1863                              Fnch· AA (10/2 016)
                                                                                          DB?.S: AA (10/2016)
                                                                       Website            m:::rtgage usbanli: com e '
                     following the passage of the National                                      ,,u,,
                                                                                       Footnotes/ refercnc:a


                     Bank Act. Earlier charters have expired
                     as banks were closed or acquired, raising U.S. Bank's charter
                     number from #24 to #2. The oldest national charter, originally
                     granted to the First National Bank of Philadelphia, is held by
                     Well s Fargo, which was obtained upon its merger with
                     Wachovia_[B]


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 84 of 597

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                                                                                                                Exh.57 Exh.F
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              LE.ROY WILLL-4.M ; MARK WELLS; FR..4.:'.\iKL ·-.:
              CRE: 0-IT ~1.J....'iAGEME'.\'T CORPORATIO ; CITY                                                            N
              OF :-VORTI-l Ml:AM!:                                                                                        u'
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                                           .-'.II Counl:5 of:.hc Comptamt ~Jl$1 D(:'frnd,1ms: LEROY WIL LIAMS. MARK WELLS:




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 85 of 597



                                                                                     Exh.57 Exh.F3
                                                                      , . • TH • U RCl. 'JT COL                   T Of THE
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                                                                       FOR D,Wc coc-:-,;-y, fLORlDA

                                                                    GI::l\ER..\l Jl"RrD\C1lO. ' DlVJS!O'.\



                                                                       Apri l l.20 H)
                  ;_ S Bank -~ .A.
                       P18. ti 'sJ




                  . eroy Williams
                        ~f~ndant{sl



                            ORDER QF nJ.S\-fTS Al ~/TTH PREJ LIDJCE

                        ,is action -.\ as he.x-d on Lrie defrnda.nrs rnou o to dismis for lac • of prOS<.'{:ut.ion
                  : T,e(!      n April l 1.2()0 '. he coon find5 tllat ( l notic ... pre.scribed b~, ru!e 1.40 (e)
                  Was se...,,.e-d on .-1..pri1 I L~OO : L) their was oo record activity for the :·e::ir preceding
                  -~r.-icc oC the foie oin n0tice-~ t.3 ) no st y bas been issued or apprtv: ed b~ the court
                  .-\n_; 1-4 ) no pan:,' h:is sbo"n ~ w d cause why u'llS acti n should rem~in pending.
                   Accordingly.
                    IT I ORDERED Tua this a-ction is Dismissed for lack of Prosec.ut:on \l.ith Pr~judice
                         "'.'<E. ND ORDERED in chambers. at Miami. &de county. Florida his 31th day of
                    \!larch . 20 10.



                                                                                         T COURT JlOGE


                                                                                                        \fALERIE tAANNO SCHURR
                                                                                                        cmcun- COURT JUDGE




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 86 of 597




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                          ~.: : -~J,:: ,    ?l.   ~ ~ : E--




                                                          ALLONGE TO NOTE



                       ~DENTlAL FUNDING CORPORATION



                   /     ,_ .• ,f '· . , -
              _J       .. _   1 __ ~ -



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          ~x- =7   ~ : ~~~C!~:             ~~-·: · -~~
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 87 of 597


                                               i bing .com

                     -                                             Exh.57 Exh.N
                       Homecomings Financial is ow'ned        GMAC-
                       RFC, an international financial ser ·ices
                       corporation whi ch earns majo profits each
                       year, such as $2.9 billion in 2004. Regist er ou r
                       Homecomings Financial Network Complaint

                       Homecomings Financial Network - Big ...
                       •.; w.bigclassac ion.com/lawsuit/homecomings_fin •••




                       PEOPLE ALSO A SK



                       Where is the homecomings financial mortgage              "'./
                       company located?


                       When did homecomings financial go out ot                 '--/
                       business?


                       !s there a GMAC Bank that accepts mortgages?             '--/



                       Attestation Report - GMAC Mortgage, LLC
                       and Homecomings ...
                       https ://www.sec.gov/Archives/edgar/data/13 8332 •• •

                       We have examined GMAC          Aortgage, LLC (the
                       "Companyu) , for itself and its affiliated servicing
                       participant Homecomings Financial, LLC (both
                       subsidiaries of Residentiai Gapital, LLCL comp lia ce
                       with the servicing criteria set fo rth in Item 1122 (d) ...
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 88 of 597



                                           AFFIDAVIT OF FACT


     STATE: OHIO
     COUNTY: FAIRFIELD



     The un ders igned, Wesley Jarvis, Trustee for CUSlPONE Trust, hereby states and confirms that he is of
     legal age and competent to state on belief and personal knowledge that the facts set fo1th herein, as duly
     noted below are true, correct, complete and presented in good faith, establish that:



             I.       The CUSIP numbers attached for LEROY WILLIAMS, for an account bearing number
     100176 105062733202, were searched through independent databases, confirmed with trading desks, and
     at least one interest was confirmed as per the repo1ts issued and attached as a result.

             2.       The Fund Manager, or other custodian(s) of the accounts of the fund(s) may have access
     to internal records indicating detai led data about the percentage of interest as held for the account of
     LEROY WILLIAMS.

             3.       More than one fund may have an interest in the accounts of LEROY WILLIAMS.

     FURTHER AFFIANT ~            ETH NOT.


    • Signed and sealed this    3{!f day of c),,_,u¥ in the Year ofour Lord , two thousand
      twenty-two (2022).




                                                        Wesley J. Jarvis, Trustee




                                                        Page I of2
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 89 of 597




                                                      JURAT
     State of    Db\ C)                        )

     Subscribed and Affirmed                   )

     County of   h :r:fio 1c\                  )
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                    ·-                     0                       'I         \
              On )a,,,,Ll.r-0-0         , ..:) , 2022 before me, N1()x \C~r-C('lf)( f::       (nota,y public)
     personally appeared WesW J. JarYis [ ] personally known to me or L;J proved to me on the basis of
     satisfactory ev idence, to be the person whose name is subscribed to above and acknowledged to me that
     he executed the same in his authorized capacity.

                               and official seal to these affirmations.



     Nota,y Public State of __u~"'~Y\~I~,~
                                         -;~·_____                        Seal :

     My Commission Expires:        S-/ Ii.?1/ ~ ,J




                                                       Page 2 of2
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 90 of 597




                                     Your Ct:             ulcs .are as foilo~""S:
                                                                                    Exh.57 Exh.PP

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 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 91 of 597
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                      10900 Stone l eke Blvd Suit e 3S0
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                                                                                             Exh.57 Exh.RR pg.1

                                                                 --JSp• c-r ..4,bO\ t Tt:U Liot For Hrcordio t D•h l-   ----------

                                                                            MORTGAGE
                                                                                                            MIN !001761050 62733202




                     DEFNITIONS
                     W:,r<l, us~d in muhiple sect,nns of 1hi s documcnr are defined !.,low and 01h,r words are clelined in
                     S=rons 3, 11, IJ, I&, 20 and 21 . Ccr:arn rules ceg:irdi:1g rhe usoge of w:irds used in this document a:c
                     also pro, ided in Section I6.

                     (A) "Security lostrumrnt" m:an s this document , which is dared June 30. 2005
                     together with nil Rid:rs to th,s d:-cmncn1.
                     (Fl)"Sorrower"os,EROY IIILL: A"IS. AN Ul'iMARR: ED M~!i




                    Borrower is t~c mortgagor under this Secu:ity Instrument.
                    (CJ "i,,1ERS" is \1ortgai;e Electronic Rcgi;1rn1.ion S,siems, !nc. MERS ,, • scparl!le corporziion thar ,s
                    act ing solely as a nominee for Lender and L<=lcier's succ..-,snrs nnd ll.SSigns. MERS is tlic mon~ai:a
                    und er this Security Instrument MERS i, or~aniied ar,J ~., is11ng •nder the la"; of Delaware, and has an
                    address and telephone number of P.O. Box 2026, ~l int, Ml 48~01-2026, tel. (ii~) 679-MERS.
                    (D) '1,ender" i, Axio111 F1nanc i a1 Serv 1ces

                                                                             JO 0J 76JC50627'.:3                                  0506273320
                    FLORIOA -Si,910 Fan,11y-f• nm, M ••IFr,ooi, MIC UNIFORM INSTRUMENT WrTH I.I ERS                              Form 3010 1/ 0t

                    q ,-utFLJ Mc;, 02




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                  Book23623/Page3231                                   CF N#20050793 767                                             Page 1 of 20
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                                       •                                                                     •
                                                                                   Exh.57 Exh.RR pg.2
                    Lender 1s a
                    organ>T.ed;,nd c~i~ing1mder1b~!awsc,flhe Stele of California
                    L;;ndcr'soddrcs.sis 10900 Stonelake Blvd Suite 350
                                            Aus t1 n , TX 78759-5867
                    (E) ''Note" means th: promissory note signed b) &,rrov.cr and dated J une 30. 200 5
                    The :-;ote state<; :hat Borrower o;scs Lender four hundred forty-eight th o .is and ana
                    00 /100                                                                                                    Do!la,s
                    ( U.S. S 4~8, 000. 00               ) plus interest &mo.., er hos p:vm•scd to poy th,s ccb: in rcgwb.r Periodic
                    Payment;, anJ lo pay the detH in fuli not later 1han J u 1.Y l . :'03 5
                    (F) ''Prope rty" means the proper!) thai i, dcscn~d bel ow under the heading "Transfer of Rights in 1hc
                    Property"
                    (G} ''Loan '' mean, the debt cvidrncd by :h<: No;e, plu, in1crcs1, zny p;cpe}lll<:nl charges and late d u rgcs
                    :lue under the Note, and all sums due undcr this Se<:unty Ins1ru:t1cnt, plliS interest.
                    {If) ''Ride~ " mcarl!. all Ridc1s 10 thi~ S<,-cur i1y lnstrum:nt tiia: ere cxeculeu t,y AurT(lwer. The fo ilowir.g
                    Kicicrs are 10 be exeC1'1ed by Borro,.,cr Icheck Ix•, u; upplicnblcj

                    :::i:} Adjust:zblc Rote Rider
                    0 &\!loon Rider
                                                       I Condominium Rider                  B    Seccnd llome R, d<r

                    OVA Rider                       H    Plllln:d Unit Dc,·ckipment Rider
                                                    L_, B1wcckly Paym:nt Rider              n    1-4 f·amily Rid"r
                                                                                                 ()lhcr(s) [specify]



                    (l) "Applicab le Law " means nll cor.trolli r.g appl icJblc federal. state and local st.a:utc:;, regulations,
                    c;dinar.ces ru,d adn:ini mativc rules a.nd orccrs (thai have the ~ffect of law} a., wdl as all applicahie linal
                    ncin-ap!)elilable judicial opinions                                                                             •
                   (.I) "Commonlry Assocl11ion Dues, Fees, and Ass,ssments" means ali dues. fees, assesmP-r.ts and othei
                   chx-ges . that :ii:• _,mposed on Borrower or the Property by a condomini um association. horr;cov.-ner;
                   l!S$ocu:ic~ or SJmilai organization.
                    (J() "Electronic Funds Tniosfer" means any trar,sfor of fo r,ds, o:hcr than o rransaction origin.red b)
                    check.. draft, c ; similar pap:r in5trwncm, .,.J,ich is initia1t<l l:-truugh an electron,, terminal, tdephonic
                    in,1rumen1. romp1ncr, or magne1ic !ope so as ro orcier, irm:ruct. or autr.orize a lir.a.,,cial ,nstimtion to deb. I
                    or credit ar. account Such l erm includes, but is not iimitcd :0 1 poinr•of-Sl:]c trw"1sfc~s. au:omacd t-:lle.r
                    rr-.achinc tr.:nsaction5, trdnsfcrs initia1c<l by telephone. "ire tra:1sfers. and :111:omaie-J clearinghouse
                    transfers.
                   (L) "Escrow Irem,'' mcM< 1hn;e i1err.s thar are described In Scct"on 3.
                   (M) ".\ ·! i.,cdl.a.ncous J'roc«ds " means any compensation, scltlcmcnl. award of t!an,28C>, or r,roce.-·:1, p~id
                    by any th.rd parry (o:he; than insur2ncc proceeds paid under rlie coverages descr ibed in Sectio~ 5) br- (i}
                   dam2.ge to, or dest ruct ion of, the Pro~ecl); (ii) conMmr.ntion or other 11!.~ing of all or any p:1.""t of the
                   Property; (iii) conveyance in li~u of condcn:na1i,1n, or (iv) misicpres,,ma1ioos of, or o missions as to. the
                   va lue a.,d.1or con.:iition ofrh: Property.
                   (N) "111ortg~gr l nsurnnce" means in,urnnce protecting Lender .ig~ir.sl the nor.payment of, O< defauit on,.
                   t~.e Loan.
                   (0) "Perlndk PAymcnl" means t'ie regular!) ,:heduled amou,11 d ue for (i) principal and inter~! under the
                   Not~. plus (n) any 11r.10W1U unde.r Stc1ion 3 of 1his Stcuril)· lnstrurocm.

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                                       •                                                                      •
                                                                                                  Exh.57 Exh.RR pg.3
                     (f') "RESPA" means th, Real Eslale Ser1lemen1 Prc.cedu;es Acl (12 U.S C. Sec1:or. 2601 Cl seq.) and ils
                     implemenling regulation, Regulation X (24 C F R. Part 3S00}, as they migh1 be amended from lime 10
                     time,_ or any 2&.li tion•l or suc~essor legisfa:ion or regu iation th:31 governs the s1,-ne S'-lbjcct matter. As us~
                     on t h~~ Secunty l~strument, " RESPA'~ refers _lo all requiremen1; and res1r,c1ions that are imposed in rcg:ud
                     to a. fcoernlly re,'.lltd mortgage loan even if the Loon does 1101 qual ify as a "fodernlly relatec mortgc.gc
                     loan under RESP/\.
                    (QJ "Successor in laterest or Borrowc:". means wy party that has Jaken t11!e to !he Propcny, ,,hcther o1
                    not tha t party has assur:ied Borrower's ooligut ,ons under tlie 'Jc-te and!c•r ihis Security lnstrumenl.
                     I RANSFER OJ- RIGHTS l.'I l'HE PROPERTY

                    This Secur ity lnstrum:01 secures :o Lendei: (i) t~e repayment of !he Loan. and all renewal!. extensio.1s and
                    modiika1ions oi the \'01e, .'.llld (ii) the p,r~c ,rruu,ce of Borrower' s covena.~IS and agreements under th·s
                    Securit)' Instrument and the l\01e. Fur 11;:, pt,rpu>e. Borrowei d= hece;by mnngsgc, grant tn.l convey to
                    MERS (s,, lely as nominee for Ler,dcr and Lender's successc-rs end assigns) nnd to the successors Wld
                    as.ign, ufMERS, ,h~ following d::1,crib--..d prope:11· located in tMe Cour t y       [Typ, c.fRo:nrd,o&'"""''"""")
                    oCH l AM I· DADE                                                                      ['-lam, of R«ord.-i J.:,,o,:uo, 1
                    See legal Desc r tptlon ACdendum Page Att achea




                   Parcel 10 Number . 3021230221050                                               whi~h currently his l he address of
                   15020 SOUTH RIVER OR JVE                                                                                         (~tr c:c:J
                   MIAMI                                                                  IC:•1)·/, Florida 33167              1z.,, t;:o<!, J
                   CPrnpeny Ado re•«" }:

                            TOGETHER WITH ..JI tht improvernenlS now or hert:ll f\er erecrec: on t!Je propcny, and a, I
                   cascrocn1,, aprune-nanca, Md fixrures now or hereafter a pan of the properi)·. All replzcemems and
                   adjitions shal also be covered by this Security ln.tr ument. All cf the foregomi; is :dcrred 10 in 1h15
                   Se-:urity lns trurr.ent as the ·property. " Harrower understands and agrees that McRS holds only legal :n:e
                   :o the inter<m granted by Borrower ;n this Security lnstrumenl, but, ;r necessary to _comply with _IJW or
                   custom , Ml:RS (as nominee fOf Lender rJ1c! Lender's successors !lnd i::ss,gns) h!!.1 the righ1 : to ex ercise a.,)
                   or nll of those intcrcsll, including, but no< limi1cd 10 . the rig.hi t·:i fo,eclose and sell 1:,e Property: and to
                   1;,J..e ru>) amon required of Lend:, ir.dudi!lg. but not limited 10, rcle..isi~g and cancelini: th:5 s~cur ity
                   tastrumcnt.
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                  Borrower Name( s):
                  LEROY II J LLIAMS
                                       •                    Lender:
                                                                               •
                                                           Axiom f!n~nc1al Services
                                                                                       •
                                                           10900 Stone l ake BlvG Suite 350
                                                           Aust1 ~. TX 78759·5867

                                                            Lo~n N:
                  Prop,rt) Address:
                  15020 SOUTH RIVER DRIVE
                  KlAMl. Fl 33157
                  Legal Description:
                 LOT 105. BISCAYNE GARO~NS SECTI ON F PART l, ACCORDING TO THE PLAT THERE OF,
                 AS RECO~O[D JN PLAT BOOK 44, ~AGE 45. or TH E PU3LJC RECORDS OF M]AM·D~OE
                 COUN Y, FLORIDA .




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                Ml'.'>~ JOO J:610506273320?
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                                          •                                                              •
                                                                                                  Exh.57 Exh.RR pg.5
                            BORROWER COVENANTS 1ha1 Borrower is lawfully sciscd of the estate hereby conveyed and has
                      !he righ1 In mortgage, grm1 ind convq the Prapefl)' and Iha! the J>ropeny is unencumbered, e,ccpl for
                      encumbr3tlccs of record Oorrower warranl5 and will defend generally !he titk 10 1hc Property t1g ttins1 all
                      d ai ms and dcrmnds, subj eel 10 any encumbrance1, of rcc0td.
                            THIS SECURJTY INSTRUMENT combi1u::. urnfurm covenants for n~1iooal use and non-uniform
                      coverunls with limile<i vttiat ions by JUrtsdiction 10 cons1i1u1c l uniform =uriry instrument covering real
                      properry,
                            UNIFORM COVENANTS. Borrower 1llld Lender covenant and agree a.s follows:
                           I. P,ymta t of Priaelp2I, l aleresl, Escrow fl<ms, Pr,p1yment Ch u-gn, aed Late Ch.,-::;.,.,
                     Borrower shall pay when due the princip1.I of, and interest on, 1t,c debt evidenced by the Nole and any
                     prepayment ch:ugcs snd t;iu charges due under the Note. l:lorrower shall also pay [i.mds for Escrow hem.s
                     pursuant 10 Section 3. Payment!, due unJer the Note and thi; So::urity Instrument iha lf he made in U.S.
                     currency. However, if any check or other instrument received by Lender a.s payr~nl unckc the Note or this
                    Security ln>L,ume1:t i5 return~ lt.> I.ender unpaid , I.ender rmy r~uirc that any or all su~uent payments
                    due under r)le Note and this Security lnstruncm be mBdc in one or more of the fo llowing forms, a.s
                    sdcctc(! hy I.ender. (a) cash; (b) mo~y order; (c) ~ ified check, bank check, treasurer'• check or
                    cashier' 5 check, provided My such check is drown upon an insiitution whose deposit, are in~u,cd b) a
                    fcderlll agen-.,. , instrumental ity, or entiry; or (d) Electronic Funds Transfer.
                          Payments are deemed recci~·cd by Lender when received aJ the locaiion designated in the Note or at
                    such other locaTion as may b<e desii;n lled by Lender in accordan<:e with the notice provisions in Sect ion 15,
                    Lender may return My P11yment or partial payment if th<: payment or pan 12I f!SYmer.t< ue insufficient t-O
                    bring the Loa., currenl Lender may llC'cept any payment or pe11ial p(l)mcnl insufficient to bring the Loar.
                    current, without waiver of any rights hereunder or rrcjudice 10 its rights to refuse such payment or partial
                    payments in the futu re, but Lender is not obEgatcd to appl)' such peyrnent5 at the time such pa)"Jllents arc
                   :""'cptcd. If each . Periodic Paymern is applied as of rts scheduled due d:.tc, then Lender need not pay
                    interest on unap;>h~ funds. Lcn<i::r mny hold S'Jch una.pplied f~nds until BorroWt:r makes paymc:nl to bring
                   rhe Loan CIM'fenl. lfBorro11.cr does not do so wilhm a re=nal:le period of' ume, Lender shall either app ly
                   su~h .funds or return them to Bo.rower. rr nol npplie<! ear lier, s~ch funds will be applied 10 roe oumaooing
                   prmc1po.l be.JB!lce unde; the Note immofoucly prior co foreclosure. No offset or claim which Bcrrower
                   mi5hl h~vc r.ow or in the fuLurc against Lender s.han reneve Borrower from mald ng paym,,.nts due i:ndcr
                   the Note llld this Security Instrument or pcrformin~ the covenants and qr-cements secured by this Security
                   ln~trument
                         2. Applical ion of Payments or Proc~s. faeept .u mherwi~ described in th is Sc,;;:io:i 2, al[
                   paymtnts accepted 111d applied by Lender shal l be appl:t<i in the follov.ing order of' priori!)': (:,) inl~cst
                  due under the NQte; (b) prim:ip,,J c:luc under lhe Nnle; (c) 111n:iunr~ due under Scalcn 3. Such p;wmen1.;
                  rnall be ap?lied lo ea.ch Periodic Payment in 1he order in which il bccnmc dvc. Any rc:naining amounts
                  shall Ix: llj)plied first 10 late charge.<. =nc! 10 any other amounrs due uoder this Security lns:rumcnt, and
                  then to reduce the prirn:i~ balance of the Note.
                         Ir Lender receives a pay=m from Borrower fo r • del inquent Periodic Paymenl whu;h includes a
                  sufficient M10<ml 10 pay any late charge due:, lhc payment may be applied 10 th e ddinquenl ~ymcnt and
                  1hc l~te chJ\Tge. ff more than one Periodic Paymem is oulswidmg , Lend~ may apply any payment rece ived
                  from Ocirrowcr to t.~c repayment of 1,hc Periodic P~ymcnl5 if, am! 10 lnc exreot that, each p1yrnem

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                                      •                                                                      ·•
                                                                                                     Exh.57 Exh.RR pg.6
                    can be pcid in full. To the extent that any excess exists after tM payment is applied to the full payment of
                    one or more Periodic Pavmcn15.. such excess may be applied to any lalt charges due. Voluntary
                    prepayment5 shall be applied first to any prepayment charges and then a5 described in the Note.
                            A.try :application of payments, insurance proceeds, or Mi~llaneotB Proceeds to principal due under
                    the Note shall not extend or postpone the Cue dale, or cha11ge tl,e amount, of the Periodic Payrncnls.
                           3. F11nds for f.scrow llems. &,,rower shall pay 10 Lender on the c!ay Per iodic Payments a.o-c dee
                    unckr the :Sote, until the Note is paid in full, a sum (the "Funds") 10 pro1~de for payment of am<JIJlls due
                    for: (e) tucs and rmc.ssmcnts and other items which CM .tn.,in priority over thil Security Instrument as a
                    licn 0< encumbrance on the Property; (b) le;isehold payments or ground renu on the Propeny, if any; (c)
                    premiums (0< ony and all imurance required by Lcrtlcr ur.:kr Scc:ion 5; and (d) Mo~e lnsuraocc
                    premiums, if any. or any sums p-Jyablc by Borrower to Lender in lieu of the payment of Mortgage
                     Insur= premii;ms in accorda11cc with the provi~ons of Sc:t:tion 10. Th::se items arc call«! "Escrow
                    Items." At origination or 31 any time during the term of the Lonn, Lender ma)' require thal Community
                     A;sociation Dues, FttS, md Assc:ssmcnL,, if 1.11y, he: r::scrowtd by Borrower, and such dee.,;, fees and
                    assessments sh3ll be nn Escrow Item. Borre~ shill! promptly fu:ni ih to Lender all noti ces of amounts to
                     he paid under lltis Sectioo. Borrower shall pay Lcodcr the fund, for Escrow Items unless Ltndcr waives
                     Borrower· s obligat ion to pa)· the FLndl for any or all Gerow hems. Lender mzy waive Dorrowcr' s
                     obligation to pry 10 ler.der Funds for any ()( alt Escrow Items r. any :ime. Any such waiver may only be
                     in writing. In the event of such w•ivcr, Borrower >hall poy di ,cc-Jy, when and where payahlc, the amounts
                     doe for any Esacw Items for which payment of Funds has been waived by Lender 11nd, if Lender rcquirci,
                     shall furnish lo l.e1Kle1 rtccipcs evidencing ~cct. f'!l)~nem within suc.b time p<'riod as Lender may require.
                     Borrower's obligation to make such pe)·ments and to provide rcceip1i shall for all purposes be deemed to
                     be a c:JYenant and agreement contained in this Sec urity lnstrum<0nt, as the phrase "covenant and ~rcemenl"
                     is used in Sccti o:1 9. If Borro,.·er is obligated to pey Escrol'I Items dircctl)·. pursuant to a W?.i vcr, and
                     Borrower fails to pay the &m0unl due for M Escrow Item, Lende.r rru,y exercise its rights under Section 9
                     an-;I p-dy such l!IOOIY\I and B-xrowo::r sha.JI t.fic1 b~ o!Jl iga:cd under Section 9 10 ref'lly to I.ender a ny <ueh
                     llll◊unt. Lender m:iy ~vokc the wni~·er as to nny or all Escr:iw l!cms al lilly time by n J\0!1ce given in
                     xcordan~ with Sedcn 15 a'ld, upon such revocation, Borrower shall pa)' 10 Lender all Funds, and in
                     such e.o10unts, that arc then required under this Sttt,on J.
                            lender m•:r, ll &n) time.. coHect and hold Funds in an :am:,uru (~).rufficient to permit Lende<- t:i apply
                     the funds ar the ti m<: specified undc, RESPA. and (bl not to cxccro the maximum amount a lender 1.~
                     requi:c under R.!:.!>l'A. Lender shall csllrr.ate the :,r:,ount of funds due on the bam of current daia Md
                     =nabk estimates of c.,1)\.--nditura of future Escrow Item~ or otherwise in a.ccordance w:th Applicabk
                    L11W.
                           The Fu nds sh2II he betel 1n an ins.ituri:>n whose deposits arc iOS1Jrcd by a fc.:kral agency,
                    instrumentcl ity, or entity {including Lender, if Lender rs an institution whose dcposil5 are so insured) or ir,
                    1111y Fede.rat Home Loan Bank. Lc~er shall apply the Funds to pay the Escrow Items no later than Ille tim<!
                    specified under RESPA. Lendct sht.ll not chzrge Borrower for holdin2 and applying the Fumls, annual!)
                    ana lyzing tile =row &ccount, or verify ing the c,crow It ems, r,nless Lender payi l:lorrower interest on the
                    Funds and Appl icable Law pe::nits Lender 10 make such a charge. Unless an agrct:n1en1 is made in writifl!I
                    or /\pplicablc Law requires tnterest to be paid on the l'unds, Under shall not be required to pa) Borrower
                    any interest or earnings on the Fund5. Borro...,tr and 1.tnd<er      =agree in writing, however , that in:CreSI

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                                             •                                                                       •
                                                                                              Exh.57 Exh.RR pg. 7
                     shalt ~ paid on the Funds. Lender shall give 10 Borrower, withou< charge, an annul>.! occoum ing of the
                     Fcr:ds as required by RESPA .
                             If there is a surplll5 of Fu:ids held in =ow, .., dcfin:d under RESPA, Lender shall account 10
                     Borrower for 1he excess funds in accordance with RESP A. If there is a short~e of Fun<ls held in escrow,
                     tu defined under RESPA, Lender shall nolify Bo.rower l!5 required by RESPA, and Borrower shall pay to
                     Lender the arnoum necessar> lo make up the shoctage in a.:cord:ance with RJ:::SPA, but in no more 1ha.n 12
                     monlhly paymcnt5. lfthcrc is e ddicicnc-y of Funds hdd in e:;crow, as d<:fined under RESPA, Lender shal l
                    notify Borrower J.S requirtd l:y RESP/\, nnd &irrower s.io.J I p~y to Lender lhe amo,nl ncccss:,ry to rr.cl<c
                     up the deficiency in accordimcc "1th Rf_SPA, bm in no mo.e than 12 monthly paymcms.
                            Upon payment in full of all s\Lm s,:curc<l b) this Securirt Instrument, Lcn<lcr shall prom ptly rcfu.~
                    to Borrowe.r any Funds held by Under.
                            ~- Char~tS; Lien!. Borrower shall ~Y a!I l!!Xes, 115..sessmenrs, charges, fines, and imposirions
                    attributable to the Property which can altain prio.i(} over this Security lnstnJmcnt, lc=hold payments or
                    ground rents on the Property, if any, and Community Associ1.1ion Dues, Fees, and Anessments, if any. To
                    the o.1·ent tha1 these itcm5 are Escrow Items. Dorrower !.'iall p£:1 them b tlxe rni.nner provided in Section 3.
                            Borrower shall prom?tly discharge flil} lien whid. has priority over this Secu:ity lnsrrumcr.t unless
                    Borrower: (a) agrees in writing 10 t~c payment of the obl igation secured by the lien in a manner .acceptable
                    10 Lender, bu! only so long as Borrower is perform ing ,uch igreeneni; (b) contests the lien in good faith
                    by, or dcfe,ids against cnf0< ccmcnt of the lien in, lq:<tl proccodi~&5 which in lender' s opinio~ operate 10
                    prevent the enforcement of U1e lien wh ile those prnceedings are pendi:ig, but only until s1J<h procecd ingi
                      ' < conciu.d:tl: or (c) s....:urrs from inc holder of rhe li:n ~n 11greement s.a1isfactory 10 Lender subordinating
                    rhe lien to thi1 Security lns1rumcn1. If under ddermincs thAt any part of the Property is subj eel to B lier.
                    ".'hich ~n .•t1a in pric,ri1y over this Secu.riry Instrument, Lender 1t111y give Borrower a notice identifying the
                    hen. \l,,rthm 10_d.ays of the da:c on "hid, 1bal notice is gi,:n, Oorrcw~r sh,,JJ siuisfy the lien or W(C one or
                    more nrthe actions set forth above in this Section 4.
                           ~nd:r may requi re Borrower lo pay • Ol):•limc charge for a real estale tu verificaiion llldlur
                   rrporJng service usea by Lender in connection with this LoM.
                           5. Pro~rty l~sun,.o~ Borruw,:r shall keep Lie improvements now existing or hereal'ler ere:ted on
                   th e Property insurod :,ga.ir.st loss by fi re, hnznrds in.:!udcd wi thi n the term "ex1cndcd coverage.· a.mi 1'11Y
                  O!her han.-ds including, but nor limito:I 10, es."tl',qu.!k~ and floods, for which Lender rrqu ires in;uruce.
                  This i11sU111Jlce shi!II be maintained in the amo unts (indudint deductible levels) and for the periods t~I
                   Lender requ ires. What Lender requires pursul!lt to I.he prcctding sentences can change during !be term of
                  the Loan. The insurance carrier providi ng the insu:-ance shall be chosen by Borrower subject to knd:r' s
                  risht lo disapprove Borrower' s choice, which right sll2ll nvt be = cised unreasonably. Lender rr"')'
                  require Borrower tu p,t)', in conno:1ion with thi.s LOllJl, dther: (a) a one-lime charge for Onod 7cr.e
                  di:1mnina.tion, certification and tnc~ ing services; oc (b) a on~•time charge for flood zone dctermina!ioo
                  a.1d ceniftcation services and subsequem charge, each time r~appings or similar changes occur which
                  reasonebly mighl affect such dcmmination or ccrtifiwio:i. Borrower shall afso be res;xinsible for the
                  p;ayment of any fees im;,osed by the Federal Emergency Mo.nagement Agency in connection l' ith the
                  n-vic:w cf any flood zone determination rc:rulti~g from !.ll objection by !3orrower.



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                  (Q•♦ .., l fll IOOO l)O!                                                                           FonnJ0 10 1/01




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                                      •                                                                           •
                                                                                               Exh.57 Exh.RR pg.8
                             If Borrower fails 10 main1ain any of !he coverages described ibove. Lender may obtain insurance
                       cover,q:c, 21 Lcn<ii:r' s op1ioo anti Borrower'~ c:~JJ<!l~c L~mk l' u. under r10 obfigation to purchASe lllly
                       particular type or amount of cover4ge. Thcrctou, such coverage shall covu Lender, but might o, might
                       not pro\J!d Borrowe1, Borrower's cqui:y in rhe Proper!), or t.h: con1cn1.1 of the Property, :igalmt any risk,
                       hazard or hnbility and migh1 provide &realer or lesser covera5e than was prcviousiy in effect. Borrower
                       acknowledges hat 1h< cosl of the insuran~ coveng• so obt.i ned mighl significantly eJ<ceed the eo~I of
                       insur811ce Iha! Borrower could have obt.iined. Any amounl5 di~bur5cd by Len<!c. under 1hu Sedion 5 shall
                      be-come additional d~b1 of Borrower secured by this Security lnstn,rn,nt These amounts •half bear inter~•
                      at the Nole r!te from the dale of uisburscrmn1 a11d ,J,.,[I Ix: pa1y-dble, wi1h sucl, interest, upon nolicc from
                      Lender 10 l:Jorrowcr requesting peymenl.
                            All insurance pol icit!:i n:qui~ed hy Lender Md renewals ,,f such pol icies shall ~ subje..""T ro Lender's
                     nght to disoi;provc such policic,, shell include a standard mortg11gc clause, and shall name Lende· 15
                     mortgagee and/or as an add irional loss pa)·ee. Lender shall hal'e the right to hold the policies and renewal
                     cmifiC!l,CS. If Lender requires, Borrower s~all promptly i;i,·e ro Lender all receipts of paid premiums .and
                     renewal no:ices. 1f Borrower obtains a.~y form of insurance ~ovcr-i;e, DOI otherwise required by Len~r,
                      for dam~e 10, or desttuc1io11 of, the Proper!)-, such policy shall indudc a standi!Id IT1!Jrlgage clause and
                     snail n1J11C Lender as mongagee and/or as a., additional loss payee.
                            ln the e\·ent or loss. Borrower shall give prnmp! 001ice 10 1he insurance c:irrier and Le:lder. Lender
                     m.iy rruke proof of loss if no: mBdc promptly by Borrower. Unlc>5 Lender and BorrQwer othcrwi.5<: agree
                     in writ ing. a.,y insurMce prcxeeds. whelher ac not the underly:ng im ur!l\Ce was required by Lender, slwl
                     be o;,plio,d to restoration or rq:eir of the Property, if the restoration or repair is econo:nicaily feasible and
                     Lender's security is not lessened. During sucl1 Rpair znd restoration period, Lender 5hall nave t~ right to
                     hold such insurance proceeds until Lemler has had m opponuni:y IU inspect such Property 10 cnsur~ the
                     work h.2s ~ r. completed to Lender's sttis:action, provided thJ: such inspection sh:ill be undertaken
                    p;_ompily. Lender may disburse p'.cx:ecds (or the n,paiis nnd rc.m>ration in a single paymem or in a scrie-s
                    ol P~~~ payments o.s tht work 1s completed. Unless ar. agrecmcm is made in writing or Appl icable u"'
                    :equircs tnlcre,,t _to be paid on such insurance pro.:ecds. Lender shail nO! be required to pay Borro~r any
                    lotcrcst or carnmgs on 5uch proc:c.:ds. Fees fo r public adjusters, or other rhird parti<S. retained b:,
                    Borrol\'er shall nor be p;iid out of Che insurance p<oc~s 111d shall be the sole obligatrnn of Borrower. If
                    the rcnoration or repair is not cronomical ly f=ibie Qf Lender' s security wuuld be lt::isrne<l, the insur80Cc
                    proueds shall be 1:pp!ied 10 t~ sums secured by this Security Instrument, whether or no! then due, with
                   the execs), if any . paid to Borrower. Suc:1 insura.,cr proc:,:d~ .shall be applied in the order provided fo< in
                   Seciion 2.
                           If .florruwtt aba;1dnns the Property, Lender may file, neg01i:ue and sctrl~ 111y 2-vail:ahle insuran-.--c
                   claim md related matters. II' Borrower does no! respond within 30 days to a 0-0ticc from Lender tr...t the
                   insurance carrier has offered to settle a claim, 1hen Lender may negulillte and srnlc the claim The 30-d.ly
                   per iod u:ill begin when rhe noti:c is given. In either _event, or if Lender acquires the Property under
                  Section 22 or otherwise, Borrower hereby nssigns to Lender (al Do,;-owe.r' ~ rights to any iosur=
                  proceeds in an amollnl nol to c~CC<!d the amounts 1,npaid under rhe Note or this &curiry lnmur.ienl, and
                  (b) any other oi &>rro,.,1!r' s rights (other than the righr 10 wy refund of unearned premiums paid oy
                  Borrower) under all bsurnncc pclicics covering the Property. insofar as such righrs are applicab!e to lhc
                  coverage o[thc Prurxrry. Lc:nJer r.iay use the insu-ar.ce proceeds either 10 repair or restore the Proper.)' or
                  10 pay lm®nts unpaid under the Note or th.is Security lnsirument, whether or not 1hc.n due.
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                                      •                                                                       •
                                                                                                     Exh.57 Exh.RR pg.9
                              6. Occupanr;y. Bor,uw~r .,hall occupy, c-s~blish, and U.<( l~ Property a.~ Borrower's principa l
                       ,esid=e wi thin 60 days af\er the execution of thi> Security Instrument .and wll continue to occupy the
                       Property es Borro=·s princiJ'.l3] residence for at least one ycu after the date of occupa.ncy, unless Lender
                       ot herwise agrc..--s in writing. which con s,,nt shall not be unreasonably v.ithhdd, or unlc55 cxtenuaiing
                       circumstances exi~ which are t>cyond Borrower" s control.                                                        .
                              7, Prc:servation, Miin'lcnance ~nd Pruttttion of tlte Property; IM~clion,. Borrower , hall nut
                       destroy, da.'113£e or impa.i~ the Propcny, al low the Property to detericrme or commit wane on lho
                       Pr;ip,:rty. Whether er nOf Bom1w,:r i~ residing in the Property. Borrowcr sha!I maimsin the Property in
                       order to prevent the Property ftom deteriorating or decrca$ln~ in vlll uc due to iu condition. Unless it i,
                       deierrnined pursuant to Section 5 that repair or resrorat ion is no1 ecooorr.ic~Jly feasibk, Borrower sha ll
                       promptly repair the Property if damaged to a,·oid further dc1trioreiion or dam11£ e. If insurance or
                      condemnation proceeds are paid in connecti on Yoi th dam.ye 10 , or ~ tak;r.g of, lhe Property, 13orrower
                      shall be responsible for rcpa:r ing oc restCY.in2 the Prop,:rty only if Lender has releas,:,J proceeds for such
                      P'.icposes. Lender may disbcurse proceeds fo1 the repairs and r~orm,on in~ sing le payment or in a series of
                      progrc:;s paymcms as .the wurk i~ compl:!ed If the ins~r= or mndeTMll.lion proc=eds are nOl ~uflicienr
                      to repau or reS1ore the Property, Borrower is no! relieved of Borrower"s obl igation for the completion of
                      such rerair or rs-,,ioration.
                             Lender or its cgcnt may make r=n•hlc cntric:i upon and inspections of the Property. lf it has
                      reasonat,Ie cause, Lender may inspect the interior of the improvemen:s on the Propeny. Lender shall giv<e
                      Borrower notice u 1hc time of or prior to .such an interioc inspi:::tioo specifying such reasonable ca~c:.
                             8. llorrow<r'• Loan Application. Borrower sh:tll be in defauli if, during the Loan appl ica'.ioo
                      prOCC5S, Borrower or any persons or entities octing 21 cht direclion of Flonower or with Borro"'er' s
                     knowledge or consent gave mmri~ly fa!.c, misleading, or i=uratc informat ion or statements to Lender
                     (or fvled to provide u,nder with mat~;ial inform;l!ion) in connection with the Loll\. Material
                     rcprcscr>1ations include, but arc no! limited to. reprcs::nt•1ions concern ing Borrower' s occupancy of the
                     Pro;>er.y as Borrower's principal residence.
                            9. Protect!on of L-ender's lnttre1t ln th<e Propen~ and R4:bb Under this Sccurhy lnstrumeo L If
                     (a) Borrower fails to perforrr. the co,en2r.t, 211d agreemen1s contlli ned in !his Secwi,y ln.<trumenL (b) thee,
                     is a legzj J)rocceding thlll might s1gr. ifican~ly affect Lender' , intcrcsc ;,, the Property and>'o: rights unccr
                    llcis Secu:i ry lns!ru.mtn (~uch as a rroceedi:ig in bankrup<cy, prohare, for condemnation or f0<feiru re. for
                    ffiforcemcnt of a li en " 'hich may ~ttun priori ty ove, lh:s Security Instrument or to enforce laws or
                    regulotions), or (c) Borrower ha, abwcned the Propc.1)>. then Lender may do and p•y for wh.&lcvcr is
                    tea.«.mable Cl( appropnare to protect Le~r' s interest in the Property and ,ights und er this Security
                   ln,trnmcnt, includ ing protecting a.nd.'or assessing t~ value of the Property, and securing and/or repairing
                   the Property, Lender's actions can includ.:, bu! z,,re not li mited to: (a) paying a.1y sums secured by ~ :ien
                   which has pri ority over this Security Instrument; (b) appearing in court; ~d (c) !'3)-i ng reasoruibk
                  ,ittomevs' fees to protect its interest in ·the Property and/or rights under this Security Instrument, induding
                   its secured position in a bankruptcy proceeding. Sccurin_g the Property includes. but is not limited to.
                  ~nrcri_n-g the Propeny lo mal(e repairs, change fockl, rep!= or bo;;d up doors 11!'.d wir.oows, c!rain water
                   frcm pipes, eliminnte build ing or other code viol~tions or dangc:ous conditions. and hove ucilitb tumed
                  on or off. Although Lender may ta!.~ action under this Section 9, 1,end~r does not rurve to do so a.ad is OOl
                  under Bn)" duly or obliguion 10 do so. ll is agreed th.I. Leoo~ incur. no lfabll ity for not takbg any er 211
                  :ictions outhodzed under thi, Scci,on 9.

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                                                                                                       •
                                                                                             Exh.57 Exh.RR pg. I O
                          Any amounts disburs.eJ by Ltn<.kr umlcr this Sectinn 9 shall becumt oodi liom,l tldx of Borrnwer
                    secured by this Security IJ\Strumenr. These amounts shall bear interest ii the Note rate from the (!:.l e o:
                   disburse=nt and sh:lll be p3yable, with ,uch interest, upon no:ice fi-om Lender to Borrowcr rcqoc~ting
                    payment.
                          If this ScctJrity Instrument i, on • leasehold, Borrower shal l compl) with all th; provisions of the
                    l=c. If Burruwor 11Cquim fr<: title to 1hc Prnpcny, rhc lca,d1nld lll'\d the fee title shall nor merge unlc,s
                    Lender lgrc-cs 10 the me~ger in writini:.
                          JO. Mort:,gc lnsnnncc. If Lender required Mortgage Insurance as a condit ion of making the Loan.
                   Borrow~r shalJ pay the premiums requircJ In m:1int, in the Mong:,gc ln_<ur.rnce in dTcci. If, fnc a..,y reason,
                   the Mongagc Insurance coverage requfrcd by Lcnd<r cease, 10 be available from the: mortgasc insurer th.u
                   previously pro1;dcd such insur1111cc and Borrower was rcq ui:-~d to make scparat_=ly design_a:cd pa.ymenu
                   toward the premilllllS fo: Mortgage lnsuran«, Dorrowu shall pay the premiums required to obtain
                   cn~ragc suhm.nrially equivalent to lh< Mongagc Insurance .~m,iovsly in effec1, at a cost substa., rially
                   equivalmt to tJ,,e cost to Harrower of the Mortgage lruurm:ce previously in cffe<:t, from an oltcmate
                   mortg11gc insurer sclcc1cd by Lender. If substantillly cquiv3lent Mortgage Insurance covcr"ic is nm
                   available, Borrower sh:111 cun1im1e to pay to Lender the arrount nf !he separately designated payments 1h:u
                   we,e doe whca the in.urance ccvcr28e ceos ed to be rn effec;. Lender will accept, use :and retain these
                  payments as a non-rdundablc loss reserve in f'ieu of Mortg~c lnsura..'\Cc, Such Joss resen-·c shall be
                  no~rcfunda.blc. notwirhsianding the fact that lhc Loan is uliimatdy paid in full, and Lenda shall nut be
                  r.:quirerl ro pay Rnrrower M)' interest or euni ngs on such lol.! reser.e. Lender can no longer require loss
                  reserve payments if Mongage lnsur311~ COYCr:ige (,n lh,: 111nnun; n:ld for the period th at Lender requires)
                  pmvided by ~ insum ~kcted :iy Lender again become avai lable, is obtained, and Lemler rc:q~ir~
                  sepa1a1dy designal~d paymenL, 1ow~d the premium< for Mo:tgage lnsurMCe. lfLcnde: required MOflg;igc
                  lr..sorance as I cond ition of making the Loan and Borrower was required 10 make iepar:!tely desigrni e<l
                  payments toward the pmniums for Mo,tg~e Insu~a:ncc. £3orrower Jhall pay the premiums re.quired to
                  ma.ima.in Mo~ Insurance in dTe-;:t. or 10 provide a non-refurrlable loss re..,=c, umil Le.'ldeT' s
                  r,:qui nemenr _for Mnngage Insurance ends in accordilllCc with :a.~y written agree,unt ~tween Borrow".r ano
                  Lender provid1r.g for such termtnatio.n or un! il ~erminlllion is required by Applicabk Low. Nothin,!? in this
                  Seen on IOaJfocts Borro..,,r' _1 obli~a!lon to ;:,ay in:crest u th<, rate provided in the NOie.
                         ~•mg~• lnsurM<.-e_re.,nbun~ I.ender (or &ny entity that rurch= the Nore) for ccmin losses It
                  may l!lC\lr 1f Borro~r o~s not 1ep,ry the Lovt as agreed Borrower is not a party to the Moctg••e
                  lnrnrll\Ce.                                                                                     •            -.o
                         MortgJge msur~rs evalua1c 1heir Iota.I ri$k on al l such insurance in force from rime to time, a:1d tna)
                 enter intt> agreements wilh other parties th~t share or modify their ri~k. or r.:<lut:<: l=s. These .greemems
                 Kie on lcrms and conditions 1h~r are saris~ctory to the mong2.ge insurer and t~ owr p0r1y (or parties) ro
                 thes,: agree~s. These zgrc-cments m2y require lhe mortgage jr.sure1 to mnke payments usirl,!J M)' source
                 ot' funds that the mortgage i~urcr may have av~lablc (which may include fund! obtained from Monga.gc
                 lr.sw,mce premiums).
                         As s result of rhc,;e ~recmems, I.ender, any purchaser or the Ncxe, another insur<r, any rcinsurcr,
                 any other emity, or any affiltoic of liJl)' of fr.e for 7going, may receiv~ (directly or indi rectly) amounts~
                 derive from (or might Ix charactcr,zcd as) a port ion of Borro·~cr', payments for Mong.age Insurance, ir
                 exchange for sha.rinc or mccify,ng the mong2¥t insurer's risk, or reducing losses. If such agreemenl
                 provid"'°' 1ha1 ~n aff:li~te of Lender takes a share of the insurer's risk in ~xchmgt for a share of the
                 premium£ paid to the mswu, the :irrangementis often tcr:ned "captive reinsurance." Further:
                        (a) Aay such agreements ,.,ill rwt afTec1 the •mounts that Borrower has •erred to pay for
                 Morti.a,c ln5'lrance, or 1ny other tc.nn s of the Losn. Such 12rccmcnts will nnr lncrl!ue the amount
                 Rorrnw,r will owe for Mort:•g• lnsuranc-e, ind they will not enritle Borrower to any r<fund.


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                                                                                               Exh.57 Exh.RR pg.11
                        (\>) Any such 11:reemtnb will not 11Tect lhe rii:hts Borrower has - lf any - wfrh res~l to tltt
                    ll-1orti:•gt lu•r:tnce unlkr the Homl!'Owners Pro1ec1ioo Acl of 1998 or s ny other l1w. The.se rights
                    m•y inclsdt lb• right to rttein ctrtoia dis-dnsur-cs, lo rcquCJI and obta in cantcll,tion of tht
                    Mort.c•i:• lasun,ncc, to b,vc lbe Morti:a11,t Insurance tcnnin,ted aulom alicall), aml/ur to rtuive 11
                    refund of u.y Morr11,a1:• Insurance premium_, thll wcr,, nearnN! at rhl' rime of sucb cuctl!ation or
                    tcrmlnarioi,,
                            11. As$ienm•nl of Miscoll>0eous Proceeds; F'otfeilure. All Misccllnncow Proccc.ls a,c hcrcb)
                    assigned to Md shall be paid to Lender.
                            lf the Property is dam&ied, such Miscellaneous Proceeds sh~ I t, c .pplied tn re<tora1ion or reP" ir of
                    the Property-, if 1he rest oration or repai r is economically feasible and Lender' s se<:uri ty is not lessened.
                    During such repair and restoration period, Lender 500ll have the right 1-0 hold such Miscellaneous Proceed.:s
                    until Lender has had an opportunity to inspect such Property 10 ensure !he worl h;c; l:ttn comp!t:ted lo
                    Lenders saiisfacti on. provitkd 1hat such inspeetiM sh all be undmaxen promptly. Lend~ may pay for 1he
                    repairs and n,1ora1ion in a single disb ursemenl or in a se,tcs of pre>gress payments a.s the work is
                   completed. Unless ll1 agreement is !Nde b writ ing or Applicable Law requires interest to be paid on ,uch
                   Miscellaneous Proceeds. Lender shall not be reyu iml tu P"> Borrower nr,y inteiest or earn ing,; on such
                   Misccllarn,ous Proceeds. If rhe re:ilorot ion or repai r is not c«>nomically f=ible or Lender' s seccrity would
                    be lessened , the Miscellaneous Proceeds shall be applied to the sums secured by this Security lnstrl!IllC!lt,
                    whether or not thm due. wilh 1he excess. if an; , ;,aid to Oorrov.~. Such Miscellaneous Proo:eds lha!I be
                   applied in the crd~ provided for in Sa:tion 2.
                           !n th:, ev~-01 uf a wtal tak ing, destruction, or lnss in value of th: Property, the Miscellaneo us
                   Proceeds shall be -.pplied to the sums secured by t.h,s Secur,ty lr..stnm,enl, whether or not then due, with
                   lh• excess, if a.~y, p:iid to Borrower.
                           In the cYcnt of a partial w.ing, dcstru.::1 ion, or lots in • ~lo,, of the Propcny in which the fair market
                   •aloe of the Property i.mmediatefy before the partial taking, destru.:tion, or loss m value is eqtllll to or
                   gre~ter 1~. th~ amount al (he sums 5cturcd by thi.5 Sccuity lnmuncm immediately before the pa;lial
                   takmg, d:str~10n. oc _loss tn value, unle,s Bcrro~r ~1<l Lcod~r other,,,i,:e ai;ree in writing, 1he sums
                   sccu'.ed_ by 1!11s Seamty. !=rumeni shall be reduced by tr.c amount of che MisccHaneous Proceeds
                   mulupl cd _by the fullo~mg fraction: .(a) the total amount of the sums secured immediately before t~
                   fW!•al _taki ng, dest'.uct:on.. or l_o!S in value divided by (t) the fair market v~iue uf the Property
                   1mm<:d:a1ely before;nc pary,al laking, destn1<.~ion. or loss ,in value Any b31ance s¥1 be ,P:'id to.Borrower.
                          In the event o, • p.ar11aJ 1-along. dcst ruc1.1on, ar loss in value of rne Prof"'rty rn wh,ch the fair market
                   v~!ue of rfle Property immedi.arcly before tlie fN! i•I Wung, de:.'11'\JC!ion, or loss in value LS less than !he
                  wiount of the rums secured ,mmed,ately before the pa,tinl tdcing, dc.struc:tion, or los.s in value, U11lcss
                   Borrower and Lender otherwise~= in writi ne, 1hc Miwd hmeOU5 Pnx:=is ~hall be applied to Ille sc ms
                  sec1m:d by thi s Security ln.<trumen1 1>•hether or oo the sums are then dut.
                          If :he PropcrTy is abandoned by Borrower, or if. ofter notice by Lender to Borrower that the
                 Opposing PJJ1)· (as delin:d in the next ~ntencc) offr~ to ma.'<e an •ward to scl1lc e claim for dam-.:cs.
                  Oorrower fa ils lo respond 10 LcnJa wiLhin JO d,,ys af\er the dare the notice is given , Lender Is aulhorized
                  to cotlecr and •pp ly the Miscellaneous Proceeds <1!her to rest)r:.lion o. repJ ir of the Property or to the
                 sult15- secured by this Security Instrument., whether or not then due. ''Opposing rany· means the third party
                 that owes Borrov.cr :'v(isccl lancocs Proceeds c>r 1hc party agains1 whum Borrov.v his a right of action in
                 rq;anl to Mi>1:ell.!11C1>US Prncee<l~                                .               _.       . .    .          .   .
                         flcrrower sh.!ll be in defauit ,f My action or proceeding, w~thcr c1v1I or ~rimonal, lS begun 1nat , >n
                 Lender's judgment, could result in forfe it ure of the Property or olhcr materiel impoirrncnl of Lender's
                 imerest in the Property or righLS Wldcr thi5 Sccu, ity lnstrurnrn L Borrowe r C-d/1 cure such ■ default ar£1, if
                 accclcr~ion has occurred, r~.ins1a1c a, pruvided in Section 19, by c.iusing the action or proceeding to be
                 dismissed w!rh a ruling thlll, in Lender' s judgment, precludes fo rfeiture or the Property or other ma1crieJ
                 impairment of L.eooer· s interest in the Propcn y or rights under this ScctK'it)' Instrument. The proceeds of
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                 0,;6A(FL) ttte>>o,                                                                                Fom> lOl·O 1 /0 I




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                                   •                                                                      •
                                                                                                Exh.57 Exh.RR pg.12
                   any award or claim for damages that arc altributab!c tu tl1c impairment or l.en<ltr' s interest in the Pmr,erty
                   ar~ hereby assigned and <hail N: paid 10 Lend<T.
                           All Miscdla."ICOus Proceeds that are nol app 1ed to resw~ation or repair of the Property shal l be
                   applied in the order provided for in Section 2.
                           11. Burrower Not Relcu ed; Fo-rbc>rtnce By l,eftder Not a Waiver. Ex.tension of the ti= for
                    payment or modifiClllion or amortization of the sums secw-ed b:, this Security Instrument grnn1ed by Lender
                   ro Borrower or lllly SuccesSOf 1n Interest of Borrower sh• II not opcai, to rd=e the liability or Borrower
                   or any Successors in lnleres1 of &<-rower , Lend~r shall not be required co commence proce:!<lings 2gains1
                   l!Tly Succcs,;or in lnle,est of Borrower or to ref= co extend time for pa_vmem ex otherwi•c modify
                  amor1ization of 1hc sums socured b>· this Security lnsirument by rca.son of111Jy demlild m,,ck by the orig inal
                   Borrower or llllY Successors in lnterest of Borrower. Any forlx.1ranc.: by Lender in_exercising any '.i!!hr or
                   remedy including, wilhout limitation, Lender's w:tplll= of p•yments fr om third pa,ims, ent111~ or
                  S1.K.u:ssors .in lnrerc.st of florrow~r or in amounts le;s than the amount then due, shal l 001 be a waiver of or
                   preclude the exercise or any right or remedy.
                          13. Joint and Several Liab ility; Co-si~ncrs; Succ=rs wnd Assigns Bound. B<inowcr covenants
                  and lll;f~S 1hat Borrower' s obligation, and liabili:y sh,11 be joint and ~ver.!. However, any Borrower who
                  co-signs this S.euril)' Instrument but does not c.xo:-.1te tr.c No:e (a "co-signer"): (o) is co-signing this
                  Security Instrument only 10 mortgage, grant and convey the co-signer's intere51 in the Propeny unuer '.he
                  terms of this Security lrmrument; (b} b nUI personally ohlig~t<Xl 10 pay the sums =ured by 1his Secunt}
                  ln,rrument; and (c) agrees that Lender md 211y othe! Borrower can tgree lo extend, modif),, forixar or
                  mue :a.ny accommodations wi1h regard to t~ wms of 1his ~.i:ity Instrument or the Note wiLl-,ou1 the
                  co-,igna ' s c=nt.
                          Subj ect to t:,c pro,isions of Section 18, any Successor in lnterol of Borrower woo 11>;s umcs<
                  &rn.,wer' s obli~aiions under thi.1 Secmil)I 11'\Slrumcnt in writing, and is approved by Lender, shall obtain
                  all of Borrower's ri£hts and benefits under this Security Instrument. Borrower shall not be released from
                  Bo:r:ower' s obliga1ions and liability under t'iis. Sccuril)' lns:rument unless Lender agrees 10 ~uch relwe in
                  wr tt ~n&- The covenants and ai:,cern~nts of this Secur ity lns1rumem ,hall hind (excer,r as p,ovided ir.
                 S:,cuon 20) and benefit tbe rnccessors and assiens of Le nder.
                          I.(. Loaa Ch 1rfe,_ Lender may char~c Borrower fo,s f0< service, pcrfurmetl in connection with
                 13orr~cr' s d_efauh.. '.or rk purpose ur ~ec1ing Lender' , in-.rest in the Propeny and rights under this
                 Secu. "-Y lnwumcnt, 1ndudmg, but no1 ltm!led 10, :u1ome)'s' f-ees, property inspection and valUSLion f= .
                  In reµrd to IIlj' othc rce.s., lhe absence of cxµre-s, ~utho,ity ir1 this Security Jnstruu-,cr;: 10 cha,ic a spccifi
                 foe to Dorrower .slwl not be construed as• prol1ibit ion on the charging of such f~ Lcnckcr m.y 00! chuge
                 l«s thai are exr,-cssl y_ rrohihi red by rhis Secur iry lnm umrn t or by Applicable Law.
                         If~ Loan ,s SUOJecr to a law which sets Tnl!Ximum loaJ\ charges, anrl thot low is finally interpreted 3e
                 tM! the ,meres: or other 1-= chnr(!o collected or 10 be collected i~ connection with the L<."<111 i,xc,:ed rh<
                 permitted iimi11. then: (o) any su-:h loan ch&-gc ,hal l be reduced hy rhe •mmmt ne<:e.ssllf)' 10 reduce 1h(
                charg~ lo the permined limir; ;ind (b) any sums already co tl ecred from Borrower which cxcocded per mined
                limits -.~ii be refunded to Bono.-·er. Lender rr.ny choose to 11lake this refund by reducing the prioc,p.o.J
                owed unde1 the Note or by making • dirm poymc:nl to Borrowct. H B rcfunJ rcrlucc:S princip.!I, th(
                reducti on will be treatc<l a.s i partial rrepaymenr ....~1hour any prepayme.nr charge (whether or not ,
                prepayment charge i, provided for under the Note). Borrower ' s acc:ep tn.icc of any such refund rmdc by
                direct payment to BorroWtt 11all constitute Cl waiver of 11,1 y right of acti.on Dorrowcr migh.t ha,e ar isi ng o ul
                of such overcharge.
                         IS. Notlctt. Ail notices given by Borrower or Lender in connection with this Security Instrument
                must be in ""'ting. Any notice to Borrower in connection with this Security Instrument shall be <lcerned to
                have been given to Borrower wher. mailt:tl by rirs.t cla,s mail or wh(n acllmlty dclivere.:l to Borrower's
                nu:ice address if ~ent hy orher means. Notice to any one Borrower shall constitute no~icc to al l Borrowers
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                                                                    f" tt• 11 OI If                               Form 3010    1/0 t




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                                                                                                                                            13
                 unless Applicable Law express))' requires otlicrni>e. The n0tice          ad~!~:i~r                 !:x~~Sr1·
                 unless Rorrowcr h2s dcsigna1ed a subninne notice .iddress by notice to Lender. Borrower shall promptly
                 notify Lender of Borro=r' s change of oddress. If Lender specifics ~ procedure for reporting Borrower' 5
                 chang~ of !lddrCS3, then Borrower sh~l only report a chanee of address through that specified pr=l11Jc.
                 TI1~rc may be only one de.ign.atl!d notice addrl!S., under this Securirt tnsnumen1 al any o~ time. Any
                 r.ouce to lender shall be given by delivering it or b>· mailing 1t by first dus mail to Lender's oddress
                 stated hcn,n unless Lender has designated another !lddtcss by notice 10 Oocrower. Anv notice in
                 co~~eerion with tr.is Security Instrument shall r.ot be deemed :o hove l=n l,(iven to Lender ,:n1il actually
                 received by Lender. Jf any norice required hy this Security lns:rument is also required under App licable
                 Law, the Applicable Law requ irement will ...tisfy the c,,rrc,pondir.g requicc,nent under this Sccunl)'
                 Instrument.
                        16. r.o,erning Law; 'kvcrabillry; Rules of Co ■ struction . This Secunry Jnstrument shall be
                governed by federal law and the law of the Jurisd iction in wl:ich the Property is loatcd. All rights and
                obligations contained in th i.1 Security Instrument a;e subject lo any requircm,:nts and limilalions o_f
                 Applicabk Law. Applit:ablt LKW might explicitly or Implicitly al low rhe parties ro agree by contTBct or 11
                 might be silent. but 1uch silen~ shall not be construed as a prohll>iuon again;r agreement by contract. [n
                the evc:nt th:it :lJIY provi~io~ or clause of this ~urity Instrument or the ~ote confl ic-.s with Applicable
                Law. such cooflie1 shall nOl affect other provisions of thi, Secu ri!y Instrument or the Note which can be
                gi vcn effect withm)l the conflicring provision.                                    .                              .
                       As used in this Sccaritv lnstrnment: (a) word1 of th<: m;15culine gender shall mean and include
                corresponding neuter words ~r words cf the feminine gender; (b) words 1n the iingular shall mcllll and
                include the plural and v1cc versa; and (c) the word "may" gives sole discrtliu~ Y. ithout !!fl)' ohligation to
                take any action .
                       17. Borrower's Copy. Borrower shall be given one copy of the Noi.c aad uflhi, Sa:urity lnstrumcnl.
                       18. Trani,fer of tbc Property or I Beneficial lnt~rest ia Borro-..·er. As U5t:u in this Section 18.
                "lnterc;r in the Propaty" means any lo:w<l or benefici al inu:res1 in th: Pr~ny, including, but not limhed
               !<1, tho~ ~ficlal ln1~rem transferred ir, a bond for deed, contract for deed, installment sales ~ontrac1 or
               escrow agreement, the inlenl of which is the trnnsfcr of title by Borrower at a future dale to a purchaser.
               .       lfall or any par1 of the Property or any lmcn,st in L1~ Property is sold or transferred (or If Borrower
               is ','Cl a naturtil person and • beneficial interesr in Borrower is sold or transferred) without Lender' s pnor
               ,,,:-men consent, Lender may require immediate paymcn: in full of all sums secured bv ,h is Sccu.-;ry
                Instrument. However, this option :s!>..,11 not be c,crci~cd ~y Lender if 5UCh c,,crc,,e i,· prnh1hi1cd hy
               Applicable L•"·
                       If I.ender exercisies this opiion, Ler.der shall give Borrower notice of acceler.tion. The notice shall
               provide a period of not less than 30 d:iys from the date ti,., notice is given in accordMce with Section 15
               wi1hin which Borrnwcr mus! pay all SWll.l secured by this Security lru.trwnc:nl. If Borrower fails o pay
               these sunu prior to the expiration of this period, I.ender m..y invoke any remedies po-mined by this
               Sccuritv lnsrrumeni "-i thmn further noiice or demand on Borrower.
                      19. 11-0rrower's Ri~br to Rcin,tatt Aflcr Accelcntion. Ir florrowcr meets certain conditions,
               Durrowt:r 1hall h1ve the right ro have enforcemcnl of thi, Security Ins1rument discontinued at nny time
              prior 10 the e.r.rl ies1 of: (al fi ve days before $tie of the Prope,'t)' .pi.:rs\llll\t to tlrly po""cr of ~c contained in
              this Security lr.strul!1<.'1ll; (b) such other period a.s Applicable Law might spec1ry for the ,~rminaiioo of
              Dorrowcr' s ri2h1 to rein~tale; or (e) entry of a judgment enforcing thi, Securiry lnwumcr.t Those
              conditions arc thar Borrower: {a) flllYS Lender all sums -..•hich then would be due under this Security
              Instrument and the NOie as if no acceleration hod occurred; (b) cures any default of any other covcnams or
              airccrncnt5; (c) pays all expenses incurred in c,,forcin~ lhi~ Sc:curity lnstmmcnr, incltldrng, bin noi limited
              to, rc~unable a1 1orneys· fc"-~. propcny in.,~ction and valu1tion fees, and other fees incurred for the

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                                                                                                Exh.57 Exh.RR pg.14
                   purpose of protec1i:1g Lmdcr's interest in the Property tnd rights under this Security lr.slrument; Md (d)
                   take<: such action as ~nder may re=nably require to assure that Lender's tntcrest in the Propeny and
                   righl3 u:idcr this Security lrotrument. Md Bcrrower' s obligation to pay tile sum; 5CCUred by 1his Security
                    Instrument, shall continllC unchanged. Lender m•y require thaJ Borrower pay such reinstate,n,,nt sums ond
                   expenses in one or more of the following forms . ..i; ,;elected by Lemkr (a) c,;h; (b) money order; (c)
                   cenifie:l check. bank check. treasurer's check or cashier's che.::k, provided any such dlOd< is drawn upon
                   an insiitulion whose deposit, i,n: insural by a federal i,genC)', insirumeniali,y or enr-ty; or (d) Elecrronic
                   Funds Tra'1Sfer. Upon reinsl3Jemcn! by Borrower, this Sccurit:, Instrument end obligations secured hereby
                   s/uill remain fully dfoaivc as if no •=leration had occurred. However, !his right co reinstate shill not
                   apply in the case of ~cceleration under Section l 8.                                                               _
                          20. Sile or Nott; Cb•ni• of Loon Servitor; Notice or GritV11ace. The Note or a ~ ••! mterest on
                   the Note (together with thi5 Security lnsuument) cm be sold one 01 more Limes without prior notice 10
                   Borrower. A s.ale might result in a change in the cnti:y (known as the "Loan Servicer") thet collccl3
                   Periodic Pt)mtnts due under the No:e and this s«:uril} !flStrument and perii:rlll5 other morrgage loan
                  servicing obligations under the Note, this Sec.urity Instrument. and Applicnblc Lew. There nl~o might be
                   one or more changes of tt-.: I.= Servicer unrelated to a sa.k cf the Note. lf there is a change of the Loan
                   Servicer, Borrower will be given written notice oi rhc cha.~_ge which "'1U na:e the neme and &ddress of the
                   no:w Loan Servicer. the addre,s to which paymen:s- should ~ made and any othe: information RESPA
                   rccuircs in connection with a. r.oticc of transfei· of servicing. It' the Note is sol<l l!nd ther<:l!Rer the !.uan is
                  sc:;v iced by I Loan Servicer o:.'icr than the p<.Ychaser of !he Note, the mortgage loan servicing oblignt1oru
                   to Borrower will remJ.in with the Loan Servicer or be transfared m 11 ~ucccssor Lo.in Servicer md ll."C not
                   assu med by the Note pureha_ser- unless otherwise provided by the NO!~ pu,chnscr.
                          Neilhcr Burruv.er nor L~rxkr may commence, join, Of he joinc-d lO I'll)' judicial action (as either an
                   indivi_:lual li1ig:1nt or the melT'.oo- of a clnss) thnt ruiscs from the other party's IIC!ions pursuant ·to th:s
                   Secur,ty ;ns1~umcnl ~r rh~ alleges tlv.t ~ o:her pany hJ.s brea:hed any pro~rsion of, or any duty owed by
                  re=n o_., tht_s SC'cun1?' lrutrumcnt, w,t1l ~uch .llorrower Of Lender has notified the o:hcr party (with such
                  nil!1i:e g.-en 1n o.,-nphance wilh the requirements of Section 15) of such -alleged breach and afforded the
                  o:he r party her.to ·I reasonable period afler the i.i• ini. of such n<><icc 10 t&ke con-e-iive >C<io:, , r
                  Applicabk L,w provides a time period which mus1 elapse ~fore ccnain act ion                =    oc to.ken, that time
                  period will be deerrcd to be reo...soo,,.ble ror purp..,:;:!s of lhis paragraph. The notice of accderauon and
                  opportunity to cure siveo to Borrower pursu:mt 10 Section 22 11,~d the notice of &ecclention eiven to
                  Borrower pursu•.11t lo Section I g ,hall ~ dcemo:! lO wisfy the notice and opponuniry 10 take corrective
                  action provisions of this Section 20.
                         21. Haurrlou, Sobstances. As =d in this Section 21 : (a) "Hazardous Substances· are those
                 subsmnccs dc!ir>ed as to.,ic or haurdous substances, po!luJants, or wo:stes hy Envirmnnental Ltw and the
                  follm• ing substances: g=line, ktrosenc, other flammable or toxic peu-oleum products, toxic pesticides
                 nnd herbicides, voll!lile soivcnls, riwcrials conlllinini a~bc:sto.1 ;ir formaldchyce, and radioactive rr.:tttrials;
                 (b) "Environmental Law· means federal laws llnd lows of the jurisdiction where the Property i.1 located that
                 rda,c to health, safety or environmcn1al prorection; (c) "Environment:<! Clunup· includes lllY response
                 .ru:tion, remedial action, or remov~I 11::tion, a.s defined in Environmental Law; and (d) an "Environmc11llll
                 ConJi1ion" rnt:ans a cnndition 1h01 can cause, co;itribute le,, or otherwise tnggcr a~ t::nv1rcrune:it.:il
                 Cl=up.

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                                    •                                                                      •
                                                                                                                                         15
                            Borrower shall not cause or pcnnil the prcscnc.c, use, disposal , ! ~ ~ • J ? e 1 ~ ~ ~ ~ fo~•
                    Sub~lances, or 1hrea1cn 10 rele:..se any Hazardous Substances, on or in the Property. Borrower shall not do,
                    nor nllow 1111yone ellc to do. anything aJfec1ing 1he Proptl1y (a) that is in violation of an}· Environmental
                    L.w, (b) which creates an Environmenta l Condition, or (c) which, due to the presence, U.'lC, or release of a
                    l l =dou.s Subst&ncc, cre31cs a conditiun tl-wt &dvcr!'Cly affecu the value nf the Propen)'. The preceding
                    two sentences shall not apply 10 the presence, use, or slorngc on the Property of ~mall quan1i1ics of
                    1-!auidous Substancci that a:c gcm:ra!ly rl!Cogni2ed IO he ap;,ropriare to normal residential uses &nd ro
                   miintenance of1hc Proper:y (,ncluding, but nOi limited to, hazardous substr.nccs in co:tSumcr produru)
                           Rorro"'er shall prompi ly give lender wrinen notice of (a) .ny investigat ion , cl2im, dema.nd, lawsu11
                   or other artion by Any g-0vcrnmentaJ or regulatory agency o r p ivate party involving the Properly and .uir
                   l-l a,ardous Subsrance or Envirorunen:al Law of which Borrower has nctuol iulowledgc, (b) MY
                   Environmcn lal Co;-idition, inclcdin~ but nut lirnitcu 10, any spilling. leaking, d ischargt, release or threat of
                  release of tny Hazardous Substance., 11/ld (c) wiy =idition caused by the presence, u~ o r release of a
                   Huaroous Subsli!nCe whlcl1 adv,:rsely affect, 1he. value of 1he Propeny. Jf BoJTower learns, or is noti fied
                  by any govecnmer.tal or regulatory authority. or !!JlY pri vate p,,rt)·. thaJ any 1emoval 01 other remo:liat ion
                  o f any H=dous Substance a.fiecr1ng the Property is necessary. Borrower shall prompt ly take all n=sary
                  remedial oct ioru in ru::co,dancc with [m·ironmcn~ ~.... No thing herein ,hall m:ale any ohliga:Lion nn
                  l-"ndcr for an Environmental Cleanup.
                           NON-UNIFORM COVENANTS. Borrower and Lcndo:s fun~ covenant a.'1:l agree t!S follows :
                           22. Accdcntion; Remedies. Lender shall ci~e not ice to Borrower prior to accde~tion folloyv in e
                  Borrowe r' s brracb or ~ny covenant nr 3:reu1en1 In 1til1 Secnriry Instrument (but not prior to
                  acceleration und,er &c.tion 18 ualcss App licable L&w provides otherwise). The notice shall sptci(y:
                  (a) lhe def111h: (b) th~ acriow rtquired to curt the dd"lult: (e) a date, not lru thn 30 days from t•e
                  date the notice iJ ~ivcn to Bon-olVer, by which !ht dcf;iult mu ~t be cured; ud (d) thal fallort to rurt
                  the dera ult on or ~fore the d•te specified ia the notice may r-c,uft in accckn tion of the sums secured
                  by th is Securily In.strumeat, forn:l osurt by ju dicial proc«dlnz and .<alt of the Property. Tbt no tice
                 shall fun·htr l11for.-i 1!-0rrowcr of fbc rizht to rclnstJllc a rtcr accclcntion and the rie,ht ro a=n In the
                  fortcloJun proceot!in2 !he ,on-cJlstence o f• de fa ■ lt or .any orher defense of Borro,.,r 10 accderario~
                 and foreclosure. lf rhe dtTu lt -is 001 cured on or before the dale specified in the rtulkc, Lender 11 lu
                 opt ion may require immediate piiyment in full or all som, srcuttd by th is Security lnsrru mcn l
                 withou t further derund and -ma y forttlose tbi! Security lnslrumcof !ly judlci:.,I proceedini. Lende.-
                slull l>c tntl.tlcd lo collect alt npcnses incurr~ in pu r-s mini: the rcmcdic.s pro,·idcd in th i, Sectioa 22,
                 includine:, b.ut not lim itcrl to, re2sonabk alturncys' fee~ »nd costs of rltle evid ence.
                          23. Rcleuc. Upon f)'Jyment or all sums se<:urc:d by th is Sccuriry lnsrrumem. Lender shall reln,c this
                Security Instrument. Burrowt:r .,hall pay any recordation costs. Lender ma; charge Borrower a fee for
                relea.s,ng this Sccuriry instrument, but oniy if the fee b paid re a third party for servi= rcndcr.:d an<l lhc
                charging oflhc foe is permilled under Ap;:olicable Law.
                         24. Attorney,' Fees. As used in rhis Security Instrument and the Nutt; sttomeys· ft:es shall include
                thos:: ~wardtctl by an "f'pt:llare court and any anorneys' f<cs incurred in a b:inkruptcy proceeding.
                         25. Jury Trial Wa iver. The Borrower hacby wai,,cs any righl lo a lrial by j ul) in a,y a.cti.'.lll,
                proc-.:t:ding, d•im. nr counterclaim, ....-tmher in contra.ct or tort, 31 law or ,n cquil)·, arising out of er in e.~y
                w:iy related to thi, Security ln5trument or the Note.

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                                •                                                               •
                                                                                       Exh.57 Exh.RR pg.16
                        BY SIGN ING 13ELOW, Borrower eccci:ts and agT~ to the terms ·and covenants contained in this
                 St:Cl.lrit) lnsrrumcnt and in any Rider executed by Borrower and recorded "'ith it.
                 Signed, scaled end ddivcrcd in the pr~ence of:




                                                                       8lS2 MORTM WEST I!; MN HOR
                                                                       FORl lAUO(P."OALE. ~L 33322
                                                                                                              (Aldres.s)


                                                                       - - - - - - - - - - - - (Seal)
                                                                                                             .S.,rro"'<:




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                                                          (~I)                                                     (Seal)
                                                       -Borri~wcr                                            -SortO "'-':t




                                                       ( Md1es1)                                              IAdd«ss l


                                                          (Seal)                                                   (Seal )
                                                       -Bnr,o\'°tr                                            -8cr:owrr




                                                       (Add ict>)                                             (Add«-")


                                                          (Seal)                                                   (Sc:31)
                                                       •8orTO'-' Cf                                           -Sorrower




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                                  •                                                  •
                                                                                 Exh.57 Exh.RR pg.17
                 STATE Of F L O R I D A , ~                                            County ss:
                     The foceg-0ing instrument was acknowledged before me this J\..X'C._ ~ Q l ~ -       by
                 LEROY WILLIAMSJ G....       ~\\5~          ('re,_ Y"'-, ,




                 who is p~rsonally known to me or who has producod   Vo...\ ~J




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                                                      $1 for 6 months c:::::)




                    BMO buys Bank of the West
                    What would you do with $16.3 billion (U.S.) in
                                                                                 fxh , 61
                    cash? Buy islands in the Caribbean? Advance                  E)<h. 55
                    scientific research? Pay off roughly six per cent
                    of Canada's defieit in fiscal 2020?
                    For management at BMO, the obvious answer is
                    none of the above. In a Dec. 20 news release,
                    BMO announced it would purchase California-
                    based Bank of the West for $16.3 billion (U.S.) in
                    cash from French bank BNP Paribas.
                    The acquisition will add nearly 1.8 million
                    customers and 514 branches to BMO's portfolio,
       ~ and puts it head-to-head with Wells Fargo and
                    REC-owned City National, which are both
  C\ I)' Noti6114 I domiciled in California. Bank of the West has
i5 Wei Is ~e--.r 6
               3    more than 200 branches in California alone.

                                    ARTICLE CONTINUES BELOW




                                        ADVERTISEMENT
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 109 of
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                 ·- U.S. Bancorp
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                 From Wikipedia, the free encyclopedia

                     "US Bank" redirects here. For other uses, see Bank of the
                     United States.
                 U.S. Bancorp (stylized as us bancorp) is                                          U.S. Bancorp


                 an American ba nk holding company                                   [!!jbancorp
                 based in Mi nneapolis, Minnes ota, and
                 incorporated in Delaware.I 4l It is the
                 parent company of U.S. Bank National
                 Association, and is the fifth largest
                 banking institution in the United
                 States.l 5l The company provides
                 banking, investment, mortgage, trust,
                 and payment services products to
                 individuals, businesses, governmental
                 entities, and other financial institutions.                       Cocpo,ate headquarter~. US Banco rp Cent er,
                                                                                                       in Mmne apohs
                                                                                  TrMSc n~e            US Bank
                 As of 2019, it had 3,106 bra nches and                           Compa ny type ~ 0!1c
                                                                                  Traded as            NYSE lJSB t:
                 4,842 automated te ller machines,                                                     S&P 100 component
                                                                                                       S&P SOJ component

                 primarily in the Western and Midwestern                          ISIN
                                                                                  Industry
                                                                                                       US90297 3048
                                                                                                       Ban kin g
                                                                                                       F10anc1at services
                 United States.[21In 2023 it ranked 149th                         Founded              July 13. 1863, 161 years ago

                                                                                  Headquarters:        U. S Bancorp Center.
                 on the Fortune soo,f                       6] and it is                               Mmneapotrs. Mrnneso1e. U.S
                                                                                  Humber of            3,067 branches and 4.n1
                                                                                  locations            automated t eh~ machines
                 considered a systemically im portant                             Key people           And1ew Cecere
                                                                                                       (Chairmen, Pres1dent and CEO)

                 bank by the Financial Stabil ity Board. The                      Products             Consumer Ba nking. Co1pora1e
                                                                                                       Banking, Insurance.
                                                                                                       Invest m ent ban~1og. Monga~
                 company also owns Elavon, a processor                                                 loans, Pnvate ban ~1og. Prl\l ate
                                                                                                       cquit) . Wealth managf:mem.

                 of credit card transactions for                                                       Anatys 1~
                                                                                  Rev.enue             • USS28.144 billion (2023)
                 merchants, and Elan Financial Services,                          Operating            6,150,000.000 Unrted State a
                                                                                  income               dollar (2020)

                 a credit card issuer that issues credit                          Mt mcome
                                                                                  Totm aucu
                                                                                                       Y USSS.429 billion (2023)
                                                                                                       T USS663.491 billion (2023)111

                 card products on behalf of small credit                          Tota:! equity
                                                                                  Number or
                                                                                                       &. USSS3.660 billion (2023)

                                                                                                       n.ooo (20221
                                                                                  employees
                 unions and banks across the u.s.l7]                              Sub.$idiarlC's       Elan Fina ncial Sefvices
                                                                                                       El.w en
                                                                                                       Talech

                 U.S. Bancorp operates under the second-                                               S}•n::a cta
                                                                                                       10.8'% Tier 1 (2017)

                                                                                  Rati ng              Long Term Senior Debt
                 oldest continuous national charter,                                                   Mood1•s: A1 (10/ 2016)
                                                                                                       StP : A+ (10/2016)

                 originally Charter #24, granted in 1863                                               Fnch: AA (10/ 2016)
                                                                                                       D6RS: AA (1012016)


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 110 of
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                    SHARE THIS -
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                    June 2, 2005, 6 : 21 PM EDT/ Source : The Associated
                    Press



                    Two predecessor banks of Wachovia Corp. owned
                    slaves before the Civil War, the nation's fourth-
                    largest bank said Wednesday as it made an apology
                    to black Americans.

                    "We are deeply saddened by these findings,"
                    Wachovia chairn1an Ken Thompson said in a
                    statement. The Charlotte-based company said it
                    contracted earlier this year with The History
                    Factory, a historical research finn, to investigate
                    the predecessor institutions that over the years
                                  NBC News App
                X                 Get the latest breaking news   VIEW IN APP
                                  and today's top stories .
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        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 111 of
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                                              597
                                                                                              Exh.58
                    IN THE CIRCUIT COURT OF THE ELEVENTI-i JUDICIAL CIRCUIT IN AND FOR
                                MIAMI DADE COUNTY FLOR.IDA CIVIL ACTION


             MACK WELLS

             Plaintiff

                                                                    Case No. 2010-61928-CA0J
             V.
             U. S. BAl~K N_A_ AS TRUSTEE FOR
             R.ASC 2005AHL3

             Defendants,




                            MOTION AN1) AFF'IDAvTI FOR RELIEF. RECUSAL. VACATION OF
                                      ORDERS AND MEMORANDtJM OF LAW


         PursuanI to Florida Stat 112.131, Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rnle 60,
         Plaintiff.Mack wells hereby files this Motion for Relief & Recusal and Supporting Memorandum regarding
         the fu. 19 2017 Judge John Schlesinger review of the record andFiml.Ju:igelmatOrder, Exruoit J. based on
         me following facts, new Information, just terms, judicial misconduct, fraudulent grounds and discovered
         conflict of personal i.rtvesnn::nt interest~ on Financial Disclosures of Judges and o:ffic...-:rs of this Court {Exhibits
         # B) Attached-US. Bank N.A. Special Situation Property Funds Account Page 42, IFRS 2018 Tables 9-13.
         SEC Filings-US Bank Florida Subsidiaries, Judge Scblesinger Financial Interests & Property Disclosures).


         Florida Rule 2.160 (H}~A Judge may Vactiu hi! orders [qr Conf].ictoflnterest Tluodore. R. Bu:ndy V.
         Judge John ,4. Rudd Fl. Rule 2.160 (p) (IJ Fl. Code Jud. Condlld, Canon 3E(D A Judge shall djsg1zaJifv
         him!-elfwhere ilnpa1'fi4litv might reaso1Ulbly be quqffe>,mi}{ule J.16() (Q) 0) grounds to disqualify is
         party fears JwJge if JJ"igse.d FL Statue 112.312 (8) Judge can't have a conf!ict o[Intoest I


          Judge Schlesinger must Recuse himself for an open obvious Conflict of Ime..rest because he's doing
         busmess -with US Bank and helping them to make money so thai be can make money by foreclosing
         oo.d tl!k.i.ng (:stC-21lll.lg) our properry While acting as tbe Judge on the case on our property, not on case's

         Merits but for to make hlm and them. money Illegally. Here' s proof. US BANK is US BANCORP,
         Exhlbit,A. And US BANCORP is Morgan Stanley, Exhibit Bl and B2, and Morgan Stanley is Morgan
         Stanley Brokerage, Exlumt H. Judge John Schlesinger is doing business with US Bank (Morgan
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 114 of
                                     597
      Stanley) as seen in his FORM 6 page, 3.line,6. From Tallahassee called FULL AND PUBLIC E h
                                 .                                                                                    x.
      DISCLOSURE OF FINA.NCIAL Exhibit, C. Wbich is a major Conflict of Interest. Judge John SB
      Schlesinger is worth 5.8 ?vfillion (Investigated) with Zero debt. chJesinger has done business with
      MERS Exhibit~ N. as seen on the public record Exhibit, F. \Vho is the Entity that is the entity ,i,;ho
      assigned our Mortgage to US BA,,~          Exhibit1 G. Judge Schlesinger has ruled in favor of US Bank
      And That is a major Conflict of Interest as I said Judge Schlesinger is also doing business Vrith
      Morgan Stanley, Exhibit, L and B. Who is the same as JP MORGAN Exhibit. D. Wl10 is doing
      business and is apart of Chase Manhattan Bank, Ex.h.ibii.M. tb.a1 Judge Schlesinger was doing business
      \\~th and got bis properties from, Exhibit.L. Judge Schlesinger is doing business \,\,jtb all of the entities
      that he 's Judging on against us and there's more. J have found that our case was directed to him in this
      Pool who all do business \\'ith US Bank MERS and others.



                                                FACTUAL BACKGROUND



          1. On Dec. 19, 2017, Defemant Judge John Schlesinger ~ a firnl Ju:lginn ccoo- Exhibit.A against
          Plaintiff Mack Wells for amounts due and ov.ri.ng on sai.-ne mortgage that was dismissed \Vitb
          Prejudice in former case no: 07- J2407CA01 where U.S. Bank could never produce the
          promissory Note though they were asked by the Judge several times but never did bring it forth,
          Exhiblt J. A judge cannot chan£e another Judge's ORDER!
         2. And also on Dec. 19 2017, Judge John Schlesinger issued ilie final order Judgement order acting as
         a quasi-defense attorney for US Bank his personal invesnnent Partner ro make money together.
         3. Plaintiff Mack Wells has now subsequently provided tbe United States Department of Justice
         (DOJ) on specific newly discovered whistle blower information and records regarding millfon.s of
         dollars in exposed fraudulent foreclosure claims made by the Defendants U.S. Bank, Clerks and
         Court officers in this action. Exhlbit, 0 .



                                                ?\.ffi 1ORA.1'-.fDUM OF LAW


              The Defedants maintains Iimely Constitutional due process civH rights for Florida Rule
          2.1 60 (H) and federal Ruie 60 Relief to close this case with the original Dismissal ,vitb
          Prejudice in our Defend.arn:s favor whh req~rn~m of Judge Schlesinger·s RecusaJ based on
          e:,-posed
             .      financial conflicts of interests Fla. Stat. 112.3 i 2 (8X9).

           Rule 2.160 (HJ and FRCP Rule 60, relieffiom .Jz;dgment Or Order. and 10 vacate Order .
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 115 of
                                     597

                                                                          Exh.58 Exh.C                                                      -;;wo 1/-::S
             FORM6                                        FULL AND PUBLIC DISCLOSURE                                                                                2016
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                                                                OF FINANClAL INTERESTS
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         CIRCUIT JUDGE
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                                                                            PART A- ~IT WORTH
          P-lease enter the value o1 your net wcrth ~s of Dec~bef 31. w-~e or a r.-.ore c...:rn!flt d..te. [Note: Net worth is not cal•
          culated by subtracting yO\.H reported liabilities from your reponoo assets , so please see tr.e in.structions Ofl p-ase 3.}

                    My net worth as of                June 20,                        . 20..ll.._ was $             28.834,751 .25


                                                                                PART B - ASSETS
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            f1J<n1.$1Wl;,s,; c:)o(ning : ~MT hoUSenola = ; and vehicles for O!rsooal use. >nt.ett>er ~ ~ lea$tl0 .

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          ASSETS JNDMOUAU.Y VAU}ED AT OVER t1 ,000:
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         1991 Ben MiOer Road, Deep Gap. FL                                                                                                              S00.000.00
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         CONTINUED ON PAGE TWO


                                                                           PART C - LlABlLTTILS
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 116 of
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                                                      PART E - INTERESTS lN Sn '.Clfltl> BUSINESSES piutructic•a 011 J)2tt 6J
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          NAAIEOF                                      S.Sntllnder,LLC                             Quail Heights. LL-C                  Fore Hearts, LLC
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 117 of
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                      A.bout U.S. Bank
               ---r.nU.S. Bancorp (NYSE: USB) is the parent company of U.S. Bank,
                      one of the largest commerciai banks in the Unrted States. and its
                      subskliari     .S. Bank \/J88!1:h Management and U.S. Bancorp
                          s ents, tnc.. Th~ company operates more than 3,000
                      bariktng offices and nearly 5,000 ATM1> 1 and provioes a
                      comprenensive line of banking, brokerage, Insurance, fnvestment,
                      mongage, trust.and payment-services p;P<jucts to c;onsumers,
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                      l\ Not a Deposit • Not FOIC Insured • May lose Value ..
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 118 of
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                                                                      Exh.58
                                                                      Exh.B1
                      Chase & Co~raised their price objective
                      on shares of U.S. Bancorp from $55.50 to
                      $5ROO and gave.the comppny a i(neutrat
                      rating in a research note on Monday,
                       November 4th. Citigroup towered shares
                        f U.S. Bancorp from a •neutral" rating to
                       au sell" rating and decreased their price
                       target for the stock from $54.00 to
                           .00 in a research report •      •
                                              · an
                               •   and issue •       .
                       target (up previously from $61.00) on
                       shares of U.S. Bancorp in a research
                      report oh Monday~November 18th.
                       Credit Suisse Group restated a ,.hold''
                       rating and issued a $55.00 price target on
                       shares of U5. Bancorp in a research
                       report on Thursday, Septe-mber 12th.
                       Finally, UBS Group lifted their price
                       target on sh~res of U.S. Bancorp from
                       $56.00 to $5.8.00 and gave the stock a
                      uneutraln rating in a research report on

                       Monday, October 21st. Four investment
                       analysts havE I 3ft!d ~•1~ stock with a seH
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 119 of
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                       10:29                               ... ; 1• 't
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                     principal amount of 3,200% sernor notes due 2029.

                     In addition, Equtrux completed a concurrent tender
                     offer for any and alt of its outstanding 5.375% senior
                     notes· due 2022. 5.375% ser1ior notes due 2023, and
                     5.750% senior notes due 2025, whi<:h were .pakf for
                     with the proceeds from the s~nior notes offering.

                     Goldman Sachs & Co. LLC, BofA Securtties. Inc.,-----....,_
                     Cttigroup GlobaJ Markets Inc., J.P. Morgan Socurities
                     LLC, Barclays Capital Inc .• Morgan Stanley & Co.
                     LLC, MUFG Securities Americas Inc., R~C C~pital
                     Markets, LLC, SMBC Nikko Securities America, Inc.,
                     TO Securities (USA) LLC, Deutsche Bank Securttres
                     Inc., lNG Financial Markets u_c, BNP Paribas
                     Securities Corp., HSBC Securffies (USA} Inc., Mizuho
                     Securities USA LLC, WeUs Fargo-Securities, lLC,
                     PNC Capital Markets LLC) Scotia Capital (USA) Inc.,
                     and U.S. Bancorp tnv~tmants, lnc. are all the
                     underxritets ln:v°'ved in the offering. r------.....,-

                     Equinix, an American.- multinationaf company
                     headquartered in Redwood City. Galffomia, connects
                     more than 9,800 companies directly to their
                     customers and partners inside the wortd's most
                     interconnected data centers. Today, businesses
                     tev.eraga the Equin-ix interconnection ptatform in 52
                     s~tegic markets·across the Americas·, Asia~Pacific,
                     Europe, the Miqdle East and Africa.

                     The Davis Pofk corporate team fnctudeo partners
                     AJan E Den~berg {Picture} and Emily RC>berts and
                     associates Ni OeGolia and Caitlin Moyles Cunnane.
                     Pnrtner Racnel D. Kleinb-erg pmvided tax advice and
                     associate J. Tayf:Qr Arabian provided 1940 Act advice .

                     (nvolved fees earner: Tal13r Arabian - Davis Polk &
                     tAf-.-.-l...__.-11   ..   t~ ): T"\.-f"-!=;.-       n- .. :•.. _   1"').-   lL   .P lAf,,..._.....,.J. • .
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 120 of
                                     597

                                                    PART B Cootinaed
                                                         ASSETS
                                                                         Exh.58 Exh.C pg.3
               DISCRIPTION OF ASSET                                    MIOUNT OF ASSET

              TOTAL FROM PREVIOUS PAGE                                     $6,500,000.00
              Quail Heights, Part W-pe-r in Apartment
              Buildings
              240-260 Hackensack, NJ                                        2,000,000.00

              Trent Boyerc., LLC. Pan O,vner in Apartment
              Building
              350 Prospecl Avenue, Ha.ckensack, NJ                           300,000.00

              Fore Heans. Part Ov;-oer in three commercial
              Properties; 2650 Ri. 516 Old Bridge, NJ; 735 £.
              Hazelwood Avenue, Rahway, NJ; 220 Rt 17,
              Hasbrouck Heights., NJ                                          800,000.00

              Santander LLC                                                   750,000.00

              Firs, Citizens Bank                                             624,000.00

      b   ➔ tv1organ Stanley Brokerage Account                              $5,236,472.00

              Sr:a1e of Florid.a Deferred Compensation                         286,148.68

              Federal Thrift Savings Account                                   523,843.91

              Evcnsky and Katz Brokerage Account                             I l,O l9,286.66

              -    Ferrari 360                                                  100,000.00

              2014 Prosche 911 Turbo Cariolet                                   120,000.00

              2013 Mercedes Benz. GL550                                          45,000.00

              20 l l Honda O<lyssey V aD                                          7,500.0-0

              2000 Honda Odyssey Van                                              2,500.00

              2008 Boston Whaler                                                 20,000.00

              2015 Boston Whaler                                                120,000.00

              2015 Audi $3                                                       40,000.00

              2017Mercedes 350 SL                                                 90,000.00

              TOTAL ASSETS:                                                 $28,834.7 51.25
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 121 of
                                     597



                                                Exh.58 Exh.C pg.4

            2008 Boston Whaler                         $38,000.00

            201 5 Boston \t\'haler                     $70,000.00


            TOTAL ASSETS:                              $29,881,734.10
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 122 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 123 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 125 of
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                                                                   Exh.58 Exh.C pg.8               Ft0Ri06.
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                                    JUDlCIAL QUAUF1CAT10NS COMMISSION FORM 6A                          JJt 03 lfl7
                                                     GITT DISCLOSUM                                    RECEVED
            All judicial officers must file with the Florida Commission on Ethics a list of all gifts received
            during the preceding calendar year of a value in excess of $100.00 as provided in Canon SD(S)
            and Canon 68(2) of the Code of Judicial Conduct
            Name of judge; JUDGE JOHN CHARLES SHLESJNGER_                 Telephone: 305-349-7078

            Address: 73 '/\.'£ST FLAGLER STREET, ROOM 1202, MIAML Fl Position: CIRCUIT JUDGE

            Ple-ase identify all gifts you received during the preceding caJendar year of a value in excess of
            $100.00, as required by Canon 5D(S) and Canon 6B(2) of the Code of Judicial Conduct

            Glft( sour~ o(Gift
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            My Commission expires         J0\j 30; 101]-
            Sworn to and subs,-ibe<l before me this   J:.i day of      - -J~i"\!~
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 126 of
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                                                                           Exh.58
                     What's the relationship between JP                    Exh.D
                     Morgan and Morgan ...
                     https://www.quora.com/Whats-the-relationship-...

                     Apr 121 2015 • Morgan Stanley was formed by JP
                     Morgan's fam ily due to a regulation that required
                     Corp and Investment banks to be separated. JP
                     Morgan stll! owns part of Morgan Stanley, though
                     they are not major share holders. Bonus answer ...

                     Citigroup vs JP Morgan, whos bigger and bett._
                     Jun 14, 2019

                     Are JP Morgan and Chase the same?
                     May 28, 2019

                     Are the roots of Morgan Stanley and JPMorga ...
                     Jul 06, 2015

                     Are JP Morgan 1 Morgan Stanley and Chase Bank ...



                     Morgan Stanley
                     www.morganstanley.com

                     Explore Morgan Stanley 's sustainab le Investi ng
                     Summit, which gathered industry leaders to share
                     ideas and insights about innovations in sustainable
                     finance. Institute for Sustalnab'fe Investing
                     Entrepreneurs and the Race for Plastic Waste ...
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Case 1:24-cv-23015-SC Document                       -
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                              '        1'he current company was originally known as
                                       Chemica.I Bankt which acquired -Chase Manhattan.
                                       and assumed that company'$ name. The present
                                       name of company was formed in 2000, when.
                                       Chase Manhattan CorporatJon merged with J.P.
                                       M«Qan & Co.


                                       JPMorgan Chase - Wikrpedia
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                                       The current company was originally known as
                                       Chemical Bank, which acquired Chase Manhattan
                                       and assumed that company's name. The present
                                       name of company was formed.in 2000, when Chase
                                      Manhattan Corporation merged with J.P. Morgan &
                                      Co.                                                                                                                                                       I.



                                      History - Financial data • Structure • Controversies

                                      Headquarters; New York Crty1 New-York, United
                                      States
                                      Total assets: USf2~ 765 tril!lon (2019-)
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 128 of
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            CORRECTIVE ASSIGNMENT OF MORTGAGE                                                                                                 (,th _5'6
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          MERS pbane number: 1-888-679-6377
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                                                                                                                                             ~x\'1. G- f<j~ l
           t:NCORPOR.\.TED AS 1\"0MINEE FOR AXIO~ Fl!'IA:'-lCIAL SERVICES. ("A.ssignor") wbcse arldrcss is
          P.O. Box 2026, Flint, Ml. 48501 , a.signed, trunsferred and conveyed 10 . U.S. BANK NATfO NA L
          ASSOCIATION AS TR USTEE FOR RASC 200SAlfl.3, ("Assignee") whose add,-ess i, 1100 Yirgiaia Dnve,
          Fon Washington, PA 19034, iu successors and/o r as.igns, all of the rigb~ rit'e, and mterest of Assignor in and to
          LW certain Mongage (the •Mongage") dated June 30, 2005, and recorded Jul y 29, 2005. in Oilldal Records B_ook
          23623 , at Page 3231, of the public records of MIAMI-DADE County, Florida_ cncumb<nng the ~ollowmg-
          cicscnlled real property:

                   LOT 105, BISCAYNE GARDENS SECTION F PART I, ACCORDING TO THE PLAT
                   THEREOF , AS RECORDED EN PLAT BOOK 44, PAGF. 46. OF THE PUBLIC
                   RECORDS OF MIAMI-DADE COUNTY, FLORIDA

          as the same may luve been amended from time to time.

          The pwpose of this Corrective Assigrunent of Mor.~ge i, to correct tho A.l!ignment of Mongase rcc-0rderl oc
          11/20/2008 at 09:41:11 in 2008R0941616. of lbc officiill re<:or<h of Msimi-Dnde County, Florida. by Har,ey
          Rav in, Clerk of Cow-t.

                   • Cbangai to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INCORPORATED
                  AS NOMINEE FOR AXIOM FINANCIAL SERVICES as MORTGAGE ELECTRONIC
                  REO!STRATION SYSTEMS, INCORPORATED AS NOMINEE FOR HOMECOMINGS
                  FINANCIAL LLC is not a valid entity

                  MORTGAGOR(Sl: LEROY WILLIAMS

           if   lN W[J{:SS WHEREOF, Assignor has executed and deliYered this !nstru:nent on
                Jr \                  2012.




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         Ken Pon.er                                                                            CHRISTINE~,                        P\lbic:
         Florid~ Default law Group, P.L.                                                        •  T .,
         P.O. Box 25018
         Tampa, Fland.a 33622-5018
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        ASSIGNMENT OF MORTGAGE                                                                 lP,\CCRJll UlCO U)(NC Qtr...Y f.1.. §'4U: •




       FOR VALUE RECEIVED, n or before April 19, 2007, !he U!ldenigned, MORTGAGE ELECTRONIC
       REGfSTRATION SYSTEMS, (NCORPORATED, AS NOMINEE FOR HO~OMlNGS FINANCL-\L,
       LLC,        ("Assignor")        whos:e     addrus        is
       _ _ _ _ _ _ _ _ _ _ _ _ -.gnal, tnnufcrrcd and conveyed to: U.S. BANK N.A~
       ("A>signcc") wbo~adclr-ec,.s i$ 1100 Virginia Drive,, Fort We.&bington, PA 19034, iu. rucc=rs and/or = igns, all
       of lhe right, title, and intaeit of Assignor io and lo that CCltl.in Mortg.sge (the "Mon:agc") d,.tod June 30. 2005 and
       rtcOrdo1 July 29, 2005 in Official R=ds Boole 23623 at Page 323 l of the public re,:ords of MTAMT-DADE
       Coll.oty, Florida, cncuattring the following--d=ri.bed =I properly:

                LOT 105, BISCAYNE GARDENS SECTION F PART 1, ACCORDING TO THE rLAT
                THER.EOF, AS RECORDED IN PLAT BOOK ~. PAGE 46, OJI THE PUBLIC
                RECORDS OF MlAMJ-DADR COUNTY, FLORIDA.

       as the same lnAY have been amendtd from lime Lo time; together with the Note aod i~                     sccured thereby.

                MORTGAGOR(S): LEROY WII.L!AMS




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    -9.~0R:il'.GA.ci:.E;U:CTRONIC REGISTRATION SYSTEMS, INCORPORATED, AS NOMINEE FOR
                           JlNANCIAL, LLC this '1-1 ~:t day of De--h. ~                      , 2008_
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                        Morgan Stanley is both a registered
                        broker-dealer and investment adviser. Your
                        Morgan Stanley Access Investing ( 11 MSAl 1')
                        account is a discretionary investment
                        advisory account . .Morgan Stanley is
                        responsible for implementing the model
                        portfolios in your MSAI account, as well as
                        any reasonable restrictions you may impose.

                        Access Investing I Morgan Stanley
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         interestsl"Rt"PRule6. J Refieffiom .Judgment.                 Exh.58Exh.J pg.7
          (b) Gro1fnds for Relieffrom a Final Judgmelft, Order. or Prcx:eeding. 011 motion andjusr terms.
         the court may relieve a party or its legal representatfve jmm aftnal jttd!?71tent, order. or
         procet:dingjor the fol/awing reasons:

         (1) mistake, inadvertence, surprise, or excusable neglect.;

         (2) newly disc.overed e11id211ce that.. with reasonahle diligence. crml,d not have been tfi.!;C_Overed in
         rimi: lo move/or a new trial under Rule 59(b):

          3) Fraud whether previously called inirinsic or extrinsic), misrepresentarion, or misconduct by

          An oppossing party


         (c) 1iming and Ftfect of 1he Motion.

          {l) Amution un.du rule 60 (b) must be tr1J1de wUhin a reasonable st.me and.for reasons (1) (2) (3)
              /'lo more than .a year qfter the e,ury of ck Ju.dgemen1 or order or the dme of the, proceeding.


         Fed. R. CiY. P. 8. To .rnrvi'I-V? a moliOJi to dismiss. a claim ' 'must contain .~1iflicient fac1110I ma/fer.
         Accepted as true, ·to state a claim to relief that is plausible on its face . "


               Judge is expected to recuse himself pursuant to 28 U.S, C. § 455 Under§ 455 (a), recusal is
         mandatory in • any proceeding in which his impartiality might reasonably be questioned." Under
         § 455(b), a judge is expected to disqualify himself whenever any of the five statutorily
         prescribed criteria can be sho,vn to exist in fact; eveo if no motion or affidavit seeking such relief
         h.as been filed, and regardless of whether a reasonable person would quesuon the judge's
         impart1ality.
              Section 455(b) he shall also disqualify himself in the following circums1ancess.

         (~) He knows that he, individually or as a.fiduciary, or his spouse or minor t.:hild residing in his
         household has a financial interest in the su~ject mailer in con!mveny or in a party to the
         proceeding, or any otht!r interest thaJ coll Id bJ? :mbs-lantially qffec/i:d hy the ou1come of the
         proceedings

         (l[.)(4) "'JitKmr.;krl it tere,w" mean ownership of a legal ur equ;rabfe imerr:st. h(Jwever small

         (June 25. 19-18, ch. 6-16, 62 Stat 903: Pub. L 93 - 512. § I, Dec. 5, 197-1, 88 Stal. 1609: Puh. 1~
         95 598, title !I, § 2U(a). (b). Nov. 6, 1978, 92 Sim. 2661: Pub. L 100-702. title X K 1007, Nol'.
         19, 1988. 102 Stat. -1.667; Pub. L 101 -650, J.itle 111, § 32I, Dec. I. 1990, JO./ Stat 51 Ji.)

                                                  CONCLUSIONS

              This Moti01:'l. for Relief and Recusal is based on wholly ne\"-' foe~, related whisllt: blower
         iufom1ation, ·willful blindness, fraud, misconduct, and discovered evidence unknown at the time
         of the original CompWnt filing Plaintiff could not reasonably kno,.,, the financial dealings with
    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 139 of
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                                                                 N THE CIRCUIT COURT OF THE
                                                                 11 TB Jl.iD ICLAL CIRCUIT IN ANTI
                                                                  FOR DADE COUNTY. FLORIDA

                                                               GENERAL JURJSDICTION DIVISION

                                                                            CASE -:--:O: 2007-1240'7-cal

                .US Bank ,N.A.                                      April 1.20 I 0
                          Plaintifl-"(s)
                   ,_
                 \ :, ,

                 Leroy Williams
                          Defendant(s)


                               ORDER OF. IUSMJSSAI , WITH PREJlJDJCE

                   This action was heard on the defendants motion to dismiss for lack of prosecution
                 Served on April 11 ,2008. Tne court finds that ( 1) notice prescribed by rule l .40 (e)
                 Was served on April 11 ,2008; (2) their was no record activity for the year preceding
                 Service of the foregoing notice; (3) no stay bas been issued or approved by the court
                 And (4) no party has shown good cause why this action should remain pending.
                 Accordingly,
                  IT IS ORDERED That this action is Dismissed for lack of Prosecution v.rith Prejudice
                  DONE AND ORDERED in chambers, at Miami. dade county, Florida this 31th day of
                  March, 2010.                                                       ~ _ l         {)
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                                                                                             VAi.ERiE MANNO SCHURR
                                                                                             CtRCLirt COURT JUDGE




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                                                                                       "-MONA BRUNO #79806 -·

Bk 27244 Pg 4193 CFN 20100237159 04/09/2010 12:47:17 Pg 1 of 1 Mia-Dade Cty, FL

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                    Quora                                         ,_
                     Are JP Morgan and Chase the                          Exh.58 Exh.M
                     same?



                     W hat are_some simple steps_!__can take !_o_ _
                     protect my privacy online?
                     Many people believe that they can't do anything to
                     protect their privacy online, but that's not true.
                     There actually are simple ...




                     1 Answer


                            Dan Mahoney, Executive Director at
                            JPMorgan Chase (-    -pres ent)



                    The basic answer is yes. JPMorgan Chase is one
                    big comp any. Different names are used for b randing
                    purposes . The JP Morgan name is used for higher
                    end LOB and products Hke investment banking, the
                    largest corporate relationsh~ps and private banking
                    for the wealthy. Chase is used fo r lower end
                    products retail branch banking, business banking
                    (less than $20M in sales) and commercial banking
                    (annual sales less than $500M) .
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                                                                                         p·g.2

                               Are the roots of Morgan Stanley
                               and JPMorgan Chase the same
                                (i.e. JPMorgan & Co.)? What are
                                their histories?



                                What are some simple steps l ca.n ta.Ke to
                                protect my privacy online?
                                Many people believe that they can't do anything to
                                protect their privacy onlir.e, but that's not true.
                                There actually are simple....


                                                  Continue Reading                   >

                                3Answers



                                t      Shreyans Malani, studied at London
                                       School of Economics and Pofitical
                                       Science


                                JPMorgan Chase & Co. is the parent holdiflg
                                company of Cha-se(Commerical Bank) and
                                JPMorgan(fnvestment Bank).

                                John Pierpont Morgan (J.P. Morgan) rounded J.P.
                                Morgan 8, Co., which is the predecessor to Morgan
                                Stanlcey and JPMorgan Chase.
                                As a result of the GlaS!i-StegaU Act cf 1933, J.P.
                                Morgan & Co. was broken up, it spun off its
                                inv~stment banking activities into Morg;,n Stanley.

                                J.P. Morgan & Co. continued to operate as a
                                commercial bank. However, in the 1990's it starte-d
                                to rebuild its rnvesrm~nt ban _ing werations . In




                               RELATED QUESTIONS {MORE ANSWERS BELOW)


                                wna, is me ntstory or JP Morgan Chase as
                                a merchant b-an~,?
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 143 of
                                     597            Illlln lllll Ill llll NII IIHI rtll III llll




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                      STATE OF AAIZOW.
                      ro.MTY OF MARICOPA

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                                               597
                      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR

                                     MIAMI DADE COUNTY FLORIDA CIVIL ACTION
                                                                                               Exh.59

          U.S. B. -K, NATlON.i\L ASSOCfATIO 1
          AS TRltSTEE FOR RA.SC
          2005AAHL3.
          Plaintiff

                                                                        CASE NO: 2010-61928-CAO 1
          v.

          :.v1J\CK \VELLS


          Defendants,




                        MOTION AND Af'.!=IDAVIT FOR RELIEF, RECUSAL. VACATION OF ORDERS AND
                                                  MEMORANDUM OF LAW




      Pursuant to Florida Stat. 112.131 , Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
      Plaintiff MA 'K WELLS hereby files this Motion for Re.lief & R.ecusa.J and Supporting 'Memorandum
      regarding the .Im: 2S 2010 Sama11tha Ruiz Cohen Fine review of tbe record and Final .Judgement Order,
      Exhibit.J. based on the following facts new information, Just terms, judiciaJ misconduct, fraudulent grounds
      and discovered conOict of personal investment interests on Financial Disclosures ofJudgcs and officers of this
      Court (Exhibit!s # B) Attached- TJ.S. BA.NK Special Situation Property Funds Account Page: 42. IFRS 2018
      Tables 9-13. SEC Filings- U.S. BA. K Florida Subsidiaries, Judge .A.Jan Fine Financial lnterests & Property
      Disclosures).


      Florida Rule Z.160 {H) Sars A J_ullge m,r,.: Vacate lter orders for Conflict oflnterest 17teodore R. Bundv V.
      Judge John A. Rudd Fl. Rule 2.160 (DJ (1) Fl. Code Jud. Conduct. Camm JE(I) A Judge slrall .d isqualifr
      frhnself wlcere imparliiliify mighr reasonablv_be questioned Rufe 2.160-tD) (1) grounds to cfisqualify is
      yartv fears Judr:e is Biased Fl Statue J12.312 (8) Judge can't ltai•e a cot1f7ict of Interest!


      Judge Samantha Rui2 Cohen must Recuse herself for an open obvious Conflict of -Interest because she's

      doing business with US Bank and helping them to make money so that she can make money by
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 145 of
                                     597
      foreclosing and taking (stealing) our property while acting as the Judge on the case on our property,
                                                                                                                  Exh.
      not on case's Merits but for to make her and them money Illegally. Here's proof: In her Form 6, from
                                                                                                                  59
      Tallahassee called FULL AND PUBLIC DISCLOSURE OF FINANCIAL. form 6 for 2021 Says on line 3,

      $162,130.00, 4. $32,695.84, 5. $896,316.65 . And on the Form 6 of 2022 Line 4. $137,506.36, 5.

      $153,455.04, 6. $54,410.00, 7. $6,208.70, 12. $874,506.7413, with Wells Fargo with these Assets

      with WELLS FARGO BANK and Wachovia owns WELLS FARGO which is U.S. BANK, Exh. D2. And on
      the Form 6 for 2021 for Voya Retirement on line 2. $221,156.57. And Voya Retirement in 2022 line

      8. $251,663.08. and Voya Retirement is US Bank, Exh. E.2 . And 2021 Form 6 on line 6. BMW Financial

      is $10,152.00, and 2022 on line 13 is $4,512.00 .,nd BMW Financial is US Bank, Exh . E.3. All adding

      up to $2,804,727.01: Judge Samantha Ruiz Cohen is Doing Business U.S. BANK, US BANCORP,

      WACHOVIA, WELLS FARGO, VOYA FINANCIAL AND BMW F!NANCIAL WHICH IS ALL U.S. BANK. Who
      has ruled in favor of US BANK. This is a Horrible Confict of Interest against us and there's more. I have
      found that our case was directed to other Judges in this sess Pool all with the same Conflict of interest
      like Judge Valerle manno Schurr a Judge we had never met jumping into our case after Judge Zabel
      dismissed U.S Banks Lawsurt against me with Prejudice because they never had or owned the Note
      and then one year later Judge Valerie Manno Schurr got $995,000 from U.S. Bank according to her
      form 6 financial Disclosure Affidavit, Exh.F. And then suddenly inserted herself into our case without

      ever meeting us and dismissed the case with Prejudice like Judge Zabel did, Exh.G. So as to avoid the
      Law which says another Judge cannot change another Judges order in the same Circuit Court so she
      made the same Order so she cou ld change her own Order to dismiss without Prejudice and got
      another $,1 million dollar plus $400,000 dollar money asset from GMAC which is U.S. Bank and then
      she changed her own Order to Dismissed without Prejudice Exh.H. And then received a $2.4 million
      money asset from Wells Fargo/Wachovia plus a $400,000 dollar money Asset from GMAC which is
      U.S. Bank Exh . I. According to her form 6 Financial Affidavit to circumvent Judge label's Dismissal with
      Prejudice! E2<h.J . And then these wicked Lawyers Foreclose without notice to us and we went threw
      a 10 year fight see the Docket for the 2010 case which had no notice no assignments, no Note and no
      Mortgage Correctly to U.S. Bank from Axiom Bank see Exh.K. then Maurice Symonette did a Quite
      Title Surt and after 10 years Judge Valerie Manno Schurr shows up again and I showed her the Evil
      which she had done by taking money ($995,000) From GMAC/U.S. Bank to stea l our property even
      though we were making the payments. This is Home Title Fraud in its utmost and when she saw she
      was caught from her own form 6 Affidavit and evil Judgments she Recused herself especially after

      we paid for News paper ,ads and Rad io TV Commercials Exh.T Terling on her and knowing that we
      have turned her over to the FBI as Samantha Ruiz Cohen must do because she has the same conflict
        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 146 of
                                             597




                       21 Form 5 - Full and Public Disc:osure of . inanciai Interests                                    Exh.59 Exh.C pg. 1
                                                                                                                      Filed w ith CO:'. : _,~ 11/2022


                  General .Information
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 147 of
                                     597


             ~    21 Form 6 - Full a1 d Public Disclcsure of Finan ial In ems s                                              Exh.59 Exh.C pg.2
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 148 of
                                     597                  Exh.59 Exh.D pg.1                                                     .                                       -~              .

         FOR.l'vt 6                                                 FULL                 '.\ D P UBLIC DISCLOSU RE                                                                      2020 .



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   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 149 of
                                           597
                                     U.S. Bancorp - Wiki. ..            •
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                                            en.wikipedia.org
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                    == 1 American ba nk hold ing comp any            [!E.1bancorp
                    based in Minneap olis, Min nesota, and
                    incorporated in Delaw are_l4l It is the
                    parent company of U.S. Bank National
                                                                                    ----
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                    Association, and is the fifth largest                                            =
                    banking institution in the United
                    States.l5l The company provides
                    banking, investment, mortgage, trust,
                    and payment services products to
                    individuals, businesses, governmental
                    entities, and other financial institutions.    Corporat e headqu arter:., US Banco!p Center,


                                                                  Trade name          U.S. Bank
                    As of 2019, it had 3,106 branches and         Comp11ny type       Public
                                                                  Tntdc-d aa          NVSE; USBt!
                    4,842 automated teller machines,                                  S&P 100 component
                                                                                      S&P 500 c omponent

                    primarily in the Western and Midwestern       ISIH

                                                                  lndu5try
                                                                                      US9029733048
                                                                                      Banking
                                                                                      Financial services
                    United States. [21In 2023 it ranked 149th     Founded             July 13, 1863; 161 years ago
                                                                  Headquarters        U.S. Bancorp Cent!!'r.
                    on the Fortune soo,( 61and it is                                  Minneapolis, Minneso1a, U S
                                                                  Number of           3,067 branches and 4,n1
                                                                  locations           au1omaIed te!ler ,r;a chines
                    •considered a systemically important          Key peop le         Andr ew Cecere
                                                                                      (Chairm:m. Pres,def"lt and CEO)

                    bank by the Financial Stability Board. The    Products            Con!;umer 8.inking. Corpo rate
                                                                                      Banking, ln~ur.ince,
                                                                                      lnve:itment ban~mg. Mortgage
                    company also owns Elavon, a processor                             loans, Private banking. Pr ,11a1e
                                                                                      equity, V/ealth management,
                                                                                      Credit cards. Fmanc1al
                    of credit card transactions for                                   Analysis
                                                                  Revenue             .i USS28. 144 billion (2023)
                    merchants, and Elan Financial Services,       Operating           6, 1 50.000.000 United States
                                                                  inco me.            dollar (2020)

                    a credit card issuer that issues cred it      Net Income          T USSS.429 billion (2023)
                                                                                     T USS663.491 blllion (2023)' 11
                                                                  Total assels
                                                                                      .. USS53.660 bilfion (2023)
                    card products on behalf of small credit       Total rquity
                                                                  Number of           n.ooo c2022)
                                                                  employees
                    unions and banks across the u.s.!71           Subskiiaries        Elan Financial Services
                                                                                      Elavon
                                                                                      Talech

                    U.S. Bancorp operates under the second-       C.pilal ralio
                                                                                      Syncada
                                                                                      10.B'ls Tier 1 (20 17)
                                                                  Rating              Long Term Senicr Debt
                    oldest continuous national charter,                               Moody's: Al (1012016)
                                                                                      S&P: A+ ( 10/2016)

                    orig inally Charter #24, granted in 1863                          F,ich: AA (10/ 2016)
                                                                                      DBRS. AA (10/ 2016)
                                                                  Webs:ite            mortgage ..isbar.k. come' tJf
                    following the passage of the National                         Footnotes / references
                                                                                            12::,1

                    Bank Act. Earlier charters have expired
                    as ban s were closed or acquired, raising U.S. Bank's charter ,
                                                                                                                          £,
                    number from #24 to #2. The oldest national charter, originally ~
  VS f~VlhUi4       granted to the First National Bank of Philadelphia, is held by
is ·wtLL-S r~\("~   Wells Fargo, which was obtained upon'its merger with
                    Wachovia.l 8l


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 150 of
                                     597
                                                                               Exh.59
                                                                                     2
      Voya VARIABLE FUND~ BuYS
      PNC Financial Services Group
      Inc, McDonald's Corp, Baxter ...
       insider


      In this article:


         C                      RCL                          GSCHX       *              TMO
         +1. 04%
                    *            0.84%
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      Investment company Voya V RIABLE FUNDS
      ( urrent . o folio) buys PNC Financial Services
      Group Inc, McDonald's Corp, Baxter
      Jnternational Inc ViacomCBS Inc, Bank of
      America Corp, sells Fiserv Inc, Citigroup Inc,
      Act ivision Blizzard Inc,            us~ Ban~
                                               -- - -- -·-         . ~
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      Constellation Brands Inc during the 3-months 4:f.'. 7
      ended 2021Q3, according to the most recent
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 151 of
                                     597

   Business                                                        Exh.59
                                                                   Exh.E3

    U.S. Bank Enters Co-
    brand Agreement With
    BMW to Issue New Cards
    With Enhanced Digital
    Experiences, Greater
    Value to Customers
   July 22, 2019, 11:00 AM EDT

       U.S. Bank Enters Co-brand Agreement With BMW
    to Issue New Cards With
      Enhanced Digital Experiences, Greater Value
    to Customers
    Business Wire

    MINNEAPOLIS - - July 22, 2019
   U.S. Bank , the fifth-largest bank in the
   United States , has entered into a
   c o - brand agreement with BMW Financial Services
   NA; LLC to issue credit cards
    th ~t   will     rlAlivAr Anh~n0Arl rlinitAl                PxnPri~n~A~
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 152 of
                                     597
                                                                                                        Exh.59
                  US Bank owns bmw financial service                                                             X

       All      News                   Maps                        ln1ages                   Videos        Shoppin~
       -
             http ://www.ctvalley.org , bn·,v.,,'-fin2 ...                                                             ••
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    ~MW Financial Services NA Enters into
   iCo -Brand Agreement with US Bank to ...
   t

   1
   , BMW Financial Services NA, LC announced today a co-
  , brand agreement with U.S. Bank to offer new credit
       cards featuring an enhanced digital experience and ...
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       Boothe Memorial Park ...
       ,Sun. May 15                                                                                                >

                   • also ask                                                                                          •
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   ' Vho is BMW finance_/~   d by? .
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   Which bank ls BMW Finan cial Servi                                                                             V
    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 153 of
                                         597


                                                                                            Exh.59Exh.G
                                                                 L'i THE CIRCUIT COURT OF THE
                                                                 11 ni JUDICLAL CIR.t'UTT IN M"'D
                                                                  FOR DADE CO U1'rTY, FLORIDA

                                                               GENERAL JURI SDICTION DIVISION

                                                                          CASE ~O: 2007-12407-cal

                 US Bank ,N.A.                                    April 1.20 I 0
                        Piaintiff(s)

                  Vs.

                 Leroy Williams
                        Oefendant(s)


                            ORDER OF,J)JSMTSSAJ , WITH PREJUDICE

                   This action was heard on the defendants motion to dismiss for lack of prosecution
                 Served on April 11 ,2008. The court finds that (1) notice prescribed by rule 1.40 (e)
                 Was served on April 11 ,2008 ; (2) their was no record activity for the year preceding
                 Service of the foregoing notice; (3) no stay has been issued or approved by the court
                 And (4) no party has shown good cause why this action should remain pending.
                 Accordingly,
                  1T IS ORDERED That this action is Dismissed for lack of Prosecution with Prej udice
                  DONE AND ORDERED in chambers, at Miami, dade county, Florida this 31th day of
                  March , 2010.




                                                                                     VAU;RIE MANNO SCHURR
                                                                                     ClRCUl't COURT JUDGE




                        ----
Bk 27244 Pg 4193 CFN 20100237159 04/09/2010 12:47 :1 7 Pg 1 of 1 Mia-Dade Cty, FL

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 154 of
                                     597




                      IN TH£ ClRCUT COlJ°R.T OF TJ:{E ELEVENTH JUDICIAL ClRCt:IT •                                      Exhibit 59
                              IN -~"'D fOR MIAMI-DADE CO UNTY, FLORID.-\
                                                          CIVIL AC11Oi'\                                                Exh.H
            U . BA.'1/K, i'U,.,
                      Ph in tiff,
                                           C..4..SE NO.        200i-!240i-CA
                                           OlV!SI01"i          3:..




            LEROY WILUAMS: MARK \>ff;.LLS; rRA.NKLlN
            CRF.:DJT 1,Ju"IACf.l'l'fE~T CORPORATION: CITY
            O F. "ORTH MlAMT;
                          Dc.fendaor(s).




                    THL c.:..USE ba, i:i~ come on before the COtJrt, ex p;mc. pur=tto ,fie Motion fil,:,c! by 1b-: Pi2.int:ff. punuan:

            tC'I Sccrion 70'.:.07 Florida Statutes !'.!005). and the Court being   ,herwise fully advised in the prcmi~ it is.

                    ORDERED Ar-;D ADJUDGED as follows ;

                     I.        The \Ze be and the same he,e.J;y is dismissed. bm wri.lk1u1 prejudke 10 the :'umre ng.nts of L'ie Plaintiff to



                     ..,       All Counts of the Complaint a~st Dcfeodancs: ltROY \VI L.LIAM$ ; MAR..1< . "ELLS:

            FR..A.'.'-JKLDl CR£DlT MANAGEMENT CORPORAT10t-:; ClTY OF NORTH MIAMI. are herd,~, dismissed.



                    3.         An)! scheduled fom:l~surc sa.k is ca.ncderl.




                                                                                        S~rial 1366€522
            FTLE_NUM8ER F0701Z148                                                       DOC_ID: MDi0502




Bk 27343 Pg 949 CFN 20100451678 07/06i 2010 15:32:32 Pg 1 of 3 Mia-Dade Cty. FL
Case1 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 155 of
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    I                                 597

                                                                                                                                                                 Exhibit.59
                                                                                                                                                                 Exh.H pg.2
                      4.        The Nctic.e of Lis Pendcns filed by Piaimiff and m:crded in the pu blic records of \.l!..i,.Ml-DADE

             Ce>unry. Fiorid.i. rc.gard lng tlie. be!ow-d~cribed prvp,:rt:V

                                  LOT 105, BISC:\YNE GARDENS SECTlO 'F PART 1.,>.CCORDrNGTO
                                  THE PLAT 11iEREOF, AS RECORDED f>i ?LA i BOOK J.J., PAGE 46. OF
                                  THE PUBLIC RECORDS Of MIAMI-DADE COlNTY. FLOR.rDA.

             he and same h=b1 is c:tncde-d. vacated. discharged :ind shail he .:if oo fur.her force- or eff:c,, Md t,'lc Ckrk is ~ere.by

             Jirectc<l co ~or<l this Order ro rcfiect :i=e.

                                ':he ~,11.al $1.:m.mary Judgmcm hereioforc cnt.crcd on Au.gusi 09, :'.007. ce and m~ same hereby is~

             aside :ind shall bi: of no fun her fore<: e r effect

                      6.        Th¢ Pl::iintiff requests t.lui the original l'<ote ar.-d Mortgage be rerurncd to th< Plainriff and

             pho,os1.;1ic cop;._-s shall h-e i •b tiniced in th~ rr place.

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                           JUN2 3 2010                                       V    :¥LfuER.. M: N :0 SCl-nJRR
                                                                             Circui\ Coun Judge

             Copies rumrshcd to:                                                                                                                   ~RIE MANNO SCHURR
             Flo,aid,a Def-au!, La-..-Grom>. P.L.                                                                                                  CtRCUIT COURT Jllooe
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  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 156 of
                                       597
   FORM6                        FULL AND PUBLIC DISCLOSURE OF                    20~~
                                     FINANCIAL INTERESTS - ..-.. .a11·s s\Oll---~.,__-----1
                                                                                                                         ~1c\\ECEN0l
                                                                                                     FOR OFFICE
                                                                                                     USE ONLY:                 .I~~ z ~ 1U1\\

        II
         Hon Valerie R. Manno Schurr
         Circuit Judge
                                                                  PROCESSE                                        ID Code

                                                                                                                               111111111
         Judicial Circuit (11 Th)
                                                                                                                  ID No.
         Elected Constitutional Officer                                                                                                 210380
         73 W FLAGLER ST DADE COUNTY COURTHOSUE RM
         1105                                                                                                     Cont. Code
         MIAMI, FL 33130
                                                                                                                  P. Req. Code


CHECK IF THIS IS A FILING BY A CANDIDATE            □
                                                                                                                Manno Schurr , Valerie R.

                                                                PART A- NET WORTH
Please enter the value of your net worth as of December 31, 2009, or a more current date [Note Net worth is not calculated by subtracting your reported
habilitles from your reported assets, so please see the instructions on page 3.]

                         Mynetworthasof         V'--?C'e(}~]-'K ; \ ' 20~was$ 3 ( -3S- I, l.,Q '.                                     cc
                                                                   PART B - ASSETS
HOUSEHOLD GOODS AND PERSONAL EFFECTS:
 Household goods and personal effects may be reported In a lump sum 1f their aggregate value exceeds $1 ,000. This category includes any of the follQwing ,
 if not held for investment purposes: jewelry, collections of stamps, guns, and numismatic items; art obJects; household equipment and fumis!'lings; clothing;
 other hoosehold items, and vehicles for personal use

  The aggregate value of my household goods and personal effects (described above) IS$ _ _/_S-'--Z___,-1f--"c"--c-'·D=--'--=c"-?['-=-------,---

ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
              DESCRIPTION OF ASSET (specific description is required - see Instruct!




                                                               PART C - LIABILITIES
LIABILITIES IN EXCESS OF $1 ,000:
                NAME AND ADDRESS                                                                                                    AMOUNT OF LIABILITY



                          P.c .

JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                           AMOUNT OF LIABILITY




CE FORM 6 - Eff 1/2010                                         (Continued on reverse side)                                                          PAGE 1
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 157 of
                                     597




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                                                                                                 {-~_.,: ~fCD!CL.:..L CIR.CUTT IN A..l."-1)
                                                                                                 -FOR DADE COL~ l Y. FLORIDA




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                Accord.1,.gly.
                  [T IS ORDERED Ths1 mi~ action ~ Dismiss::d for lack of Prosecution wi::h Prejudice
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 158 of
                                     597


                            MIAMI-DADE COUNTY CLERK OF THE
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                            HARVEY RUVIN                                                                      Exh.59 Exh.J pg.1
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         CIVIL, FAMILY AND PROBATE COURTS ONLINE SYSTEM


          US BANK (NA) VS WIUJAMS. LEROY




                                                                             Judicial Section:   CA3 7

               Consolid;,ted Case No. :   :-.::A




          ~ Parties


          ~, Hearing Details
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                                                                           Event
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                                                                                        FROM MACK L W ELLS
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 159 of
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                                                                                                         TO   .t..CATE LA ST OROEP. & RE:TAIN ORIG .ORDER

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 160 of
                                     597

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 161 of
                                     597




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 162 of
                                                                        Exh.59
                                     597




                                        Affidavit


                    ! MACK WELLS SWEAR THAT THIS IS A MOTION AND AFFIDAVIT

                  FOR RELIEF, RECUSAL, VACATIONS OF ORDERS AND M EMORANDUM

                  OF LAW AND I AM .A WITINESS THESE EXHIBITiS A THROUGH Z6, ALL

                  ARE TRUE COPIES OF EXH1BITS AND YOUR MOTION FOR RECUSAL OF

                  JUDGE SAMANTHA COHEN.




                                                          MACK WELLS

                                                        15020 $. RIVER DR.

                                                         MIAMI, FLA. 33167




         Jdy::Ht.       ~              NOTARIZED THIS LITTER ON BEHALF OF MACK WELLS JR.

          WHO SIG N BEFORE ME ON THIS 17itl DAY OF JULY, 2023 WHICH PRODUCED FLORIDA.

          DRIVER LICENSE TO SHOW IDENTIFICATION WHICH EXPIRES 6/ 25/ 2028.




                                                 JU!JYTTE JOSEPH
                                                 Notar;Pvblk
                                                 Stat• of Florld'a
                                                 (.omrniHH317684
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 163 of
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              V.
               . S, B                     .A. ,       TRUSTEE FOR


              Defenda-nts,




                                       COR                               £RONICA DIAZ MOTION AND AfflOAVrT FOR REUE.F,
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 164 of
                                     597

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       Financ.ial inlr!rests ts a 8.ank ffi.!!' s ooing business witl1, because she's domg bu!>in~ witll U,5. Bank

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        ARG-0 8        K h VS. BANI!:. £.xh. El. tnd U.
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       3. Her N:a 'ent 9t:udt<nt loan ls Wells Fargo an-d Wrfh Fo.tg'Q is US .Bilnk., Exh. El .:ind El. N.aV1eot l$

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       US Bank, Exh..Ul. and ITT,.



       US. Bank rs the same Bank that sh€'> p.ass.ing Orders on against us th3t's foredos,n-g,, hkh
       is a ~jor conflict of In· erest aga inst us., xh.a2, S3, and M. An<i here's more, I a o nave
      found rhat our ca~ was dfrected ta you and fot.1r other Judges. lfke Judge Scl,l~slnge

       Exh.BBl. Judge De, La, O Exh.8B2 and Judge Rebull sho n in· their Publ ic Oi~losu.re of

      Fmaooa l Records F-orm 6 ho all had the s,ame Conflict of Interest in ttns poot of Judg-es a..s
      Judge Veromca Oi~z so ·o!) mu5l:

      ~SQUAUFY, RRUSE YOORSRF Al'ro VACATE YOUR ORDERS ON DlfR PROPERTY 1S02.0 S. ftlvr:;R

      00. MlAMi F'!... 331S7 iN CASE# 10-61928 £xb. 81. SZ, 8.3. ~rid B-4.



                                                         f CTUAL SAQ(GRO.U D

      I. On 11/19/19 Def~ntian              Judie eronka Diaz i5Slled an a:der Exh.A. aga·ns Plain ·tt Mad<
        _ens to .a\-e            he house on ~arne mortgage that was d r.smis.s.ed with Prejudice in

       fo me--r ca~ M: 07-124070.01 wh-e e U.S. Ban.Jc ~Ot.ild never prodvce the promis.sory
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 165 of
                                     597
                                                                        ,,..
     FORM6                                             FULL AND PUBLIC DISCLOSURE                                                         .                            2018
                                                      I  OF FINANCIAL INTERESTS
                                                                                                                                    I    FOR OFFICE USE ONLY:

                                                                                                                                                 FLORIDA
                                                                                                                                           COMMISSION ON ETHIC!
                                                                                                                                                         JUL O1 2019
                ••••••••AUTO""ALLFORAADC 331 T4 P1 42 31 2
                Hon Veronica Diaz                                                                     PROCE SSED
                Circuit Judge                                                                                                                            RECEIVED
                Judicial Circuit (1 .1Th)
            .   Elected Constitutional Officer
                Ste 9000 Richard E Gerstein Justice Bldg                                                                    ID Code       Illllll lllll lllll lllll lllll lllll llll llll
                1351 NW 12th St Rm 209
                Miami, FL 33125-1636                                                                                        ID No.       258440
                11 11 1111 11 111II111 1h1111 • 1•1•11 Iht 11 11111111 I1uli1ll1ll 1 ill ·I•
                                                                                                                            Cont. Code

                                                                                                                            Diaz, Veronica
  CHECK IF THIS IS A FILING BY A CANDIDATE                             □


                                                                                 PART A - NET WORTH
  Please enter the value of your net worth as of December 31, 2018 or a more current date. [Note: Net worth is not cal-
  culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]


             My net worth as of .,...-            V.1e .. ~l                                   , 2o_lg__ was$             ~D5, R53
                                                                                      PART B-ASSETS
  HOUSEHOLD GOODS AND PERSONAL EFFECTS:
     Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1 ,000. This category includes any of the
     following, if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects; household equipment and
     furnishings; clothing; other household items; and vehicles for personal use, whether owned or leased .

     The aggregate value of my household goods and personal effects (described above) is$                                -tS: ODD
 ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
                        DESCRIPTION OF ASSET (specific description is required - see instructions p.4)                                                VALUE OF ASSET

 l 1).1\\ <- ~an                                                                                                                                  J:i.Ll ,J/2,   0


 I(' JV\A. ~Kl llw                                                                                                                                1%1) 'ti?&
 A ,.,1_·.                                                                                                                                        ID~ '5aD

                                                                                 PART C - LIABILITIES
 UA     LITIES IN EXCESS OF $1,000 (See instructions on page 4):
                   NAME AND ADDRESS OF CREDITOR                                                                                                  AMOUNT OF LIABILITY

 ~ /1 ,ft 11\.\ ( ~)Ak\i (IV~)                                                                                                                   1}l. 1t 55. 00
 _.,1.. 1~ "Ci 1\/ti\ f\ rl
                                        -                                                                                                            tf. ~00.0.J - -

 JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
              NAME AND ADDRESS OF CREDITOR                                                                                                       AMOUNT OF LIABILITY




 CE FORM 6 - Effective January 1, 2019                                                     (Continued on reverse side)                                                       PAGE 1
 Incorporated by reference in Rule 34-8.002(1 ), F.A.C.
      Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 166 of
                                           597
                                                                       PART D - INCOME
 Identify each separate source and amount of income which exceeded $1 ,000 during the year, including secondary sources of income. Or attach a complete
 copy of your 2018 federal income tax return, including all W2s, schedules, and attachments. Please redact any social security or account numbers before
 attaching your returns, as the law requires these documents be posted to the Commission's website.

  D       I elect to file a copy of my 2018 federal income tax return and all W2's, schedules, and attachments.
          (If you check this box and attach a copy of your 2018 tax return , you need not complete the remainder of Part D.]

 PRIMARY SOURCES OF INCOME (See instructions on page 5):
    NAME OF SOURCE OF INCOME EXCEEDING $1,000




 SECONDARY SOURCES OF INCOME [Major customers, clients, etc. , of businesses owned by reporting person-see instructions on page 5]:
              NAME OF                                   NAME OF MAJOR SOURCES                   ADDRESS                             PRINCIPAL BUSINESS
          BUSINESS ENTITY                                 OF BUSINESS' INCOME                  OF SOURCE                            ACTIVITY OF SOURCE




                                      PART E - INTERESTS IN SPECIFIED BUSINESSES [Instructions on page 6J
                                                  BUSINESS ENTITY# 1                BUSINESS ENTITY# 2                         BUSINESS ENTITY # 3
 NAME OF
 BUSINESS ENTITY
 ADDRESS OF
 BUSINESS ENTITY
 PRINCIPAL BUSINESS
 ACTIVITY
 POSITION HELD
 WITH ENTITY
 I OWN MORE THAN A 5%
 INTEREST IN THE BUSINESS
 NATURE OF MY
 OWNERSHIP INTEREST

                                                                     PART F - TRAINING
                         For officers required to complete annual ethics training pursuant to section 112.3142, F.S.
                              0        I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.

                                OATH
  I, the person whose name appears at the
 beginning of this form, do depose on oath or affirmation
  and say that the information disclosed on this form
 and any attachments hereto is true, accurate,
 and complete.

                                                                         (Print, Type, or Stamp Com~ed Nam~ •                    PubliCJ             ...,.

                                                                         Personally Known   -~L_~-- (OR Produced Identification _ _ _ _ __
 SIGNATURE OF REPORTING OFFICIAL OR CANDIDATE                            Type of Identification Produced _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

If a certified public accountant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepared this form for you, he or
she must complete. the following statement:
I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, prepared the CE Form 6 in accordance with Art. II, Sec. 8, Florida Constitution,
Section 112.3144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief, the disclosure herein is true
and correct.




                            ~~re                                                                                          ~
Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign the form under oath.

       IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                         0
CE FORM 6 - Effective January 1, 2019                                                                                                                PAGE 2
Incorporated by reference in Rule 34-8.002(1 ), F.AC.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 167 of
                                     597
                                                                                          &i, .~f £,<l-t . '43
                                                                                                    FLORIDA
                                                                                              COMMISSION ON ETHICS
       Form 6A. Disclosure of Gifts, Expense Reimbursements or Payments, and WaiverJUL
                                      of Fees and Charges                              0 1 20!9

                                                             00,orc~sED
             All judicial officers must file with the Flrrl:l\ o~fflb'on on Ethics a list of all
                                                                                                   RECEIVED
      reportable gifts accepted, and reimbursements or direct payments of expenses, and waivers
      of fees or charges accepted from sources other than the state or a judicial branch entity as
      defined in Florida Rule of Judicial Administration 2.420(6)(2), during the preceding
      calendar year as provided in Canons 5D(5)(a) and 5D(5)(h), Canon 6A(3), and Canon
      68(2) of the Code of Judicial Conduct, by date received, description (including dates,
      location, and pmpose of event or activity for which expenses, fees, or charges were
      reimbursed, paid, or waived), source 's name, and amount for gifts only.

      Name:           ✓t{Q(\·, CA J.. '1:51 DA-               Work Telephone : 2:{)5 54 'i/ 5:'.130

      Work Address: \'3QS ~o.)                 rL 5J. •20-tJudicial Office Held: C-1 fCv~.{-
                         fY\ ·,Ci't, yt.... 331 2. 5
            1. Please identify all reportable gifts, bequests, favors, or loans you received during
               the preceding calendar year, as required by Canons 5D(5)(a), 5D(5)(h), and 6B(2)
               of the Code of Judicial Conduct.

            DATE                DESCRIPTION                       SOURCE                  AMOUNT
                                                                                      $
                                           '
                                     \l lk                                            $
                                                                                      $
                                                                                      $

                                D        Check here if continued on separate sheet

           2. Please identify all reportable reimbursements or direct payments of expenses, and
              waivers of fees or charges you received during the preceding calendar year, as
              required by Canons 6A(3) and 6B(2) of the Code of Judicial Conduct.

            DATE                            DESCRIPTION                              SOURCE
                           (Include dates, location, and purpose of event or
                             activity for which expenses, fees, or charges
                                   were reimbursed, paid or waived)

                               \I ,IA-


                               0         Check here if continued on separate sheet

                                    CONTINUE TO PAGE 2 FOR OATH

      FO/m 6A 3, /9
      As Amended by SC/8-648                        Page I of 2
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 168 of
                                     597


                                                                                                   £,lk,l,l
                                                                                                   k.;ch, /.\4
                                                               OATH

       State of Florida

       County of ffi\ ()(y\\ - )>"'-Gk,

       I,  ✓l/1)0\  ca.. ).          Jy,
                                   oA , the public official filing this disclosure statement,
       being first duly sworn, do depose on oath and say that the facts set fo1th in the above
       statem~~rrect, and complete to the best of my knowledge and belief.


                      ofRe~ttin ~·at)f
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                                                                                            AIUII.GONZALF.Z
                                                                                         : MV COMMISSION# FF9371.SJ
                                                                                                                      J

                                                                                     "     EXPIRES Nowmber 18, 2019
       (Signature of Officer Authorized to Administer Oaths)                     ..,,.~u                   .com


       My Commission expires               11   /1 ~ I/2tJ I 1
                                                I


       Sworn to and subscribed before me this

       __/_Y~__                      day of         -J IJ tJ i..   , 20 /   ti




      form 6A J;J.9
     As Amended hySC/8-6-11/                                Page 2 of 2
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 169 of
                                     597




                                                    - g.
      Case
Filing#    1:24-cv-23015-SC
        102719168             Document01:31:17
                    E-Filed 02/04/2020 21-1 Entered
                                                PM on FLSD Docket 09/09/2024 Page 170 of
                                               597

                                                                                       Ex½. ,l
        IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
        CIRCUIT IN AND FOR MµMI-DADE COUNTY, FLORIDA                                   £.~~,r£L
        CASE NO: 2010-061928-CA-01
        SECTION: CA05
        JUDGE: Veronica Diaz

        US Bank (na)
        Plaintiff( s)

        vs.

        Williams, Leroy
        Defendant( s)
        ______________;/
              ORDER DENYING MOTION FOR JUDICIAL DISQUALIFICATION FILED ON
                                       01/08/2020

             This matter came before the undersigned Judge upon Defendant's, Mack Wells, and Non-
        Party's, Maurice Symonette, January 8, 2020 Motion for judge Schlesinger to have a Healing to
        Recuse and Vcate his Order ("Motion"). Pursuant to Fla. R. Jud. Admin. 2.330, the Motion is
        DENIED as legally insufficient.

        DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 4th day of
        February, 2020.




                                                             2010-061928-CA-01 02-04-2020 1:27 PM
                                                                Hon. Veronica Diaz

                                                                CIRCUIT COURT JUDGE
                                                                Electronically Signed



          No Further Judicial Action Required on THIS MOTION

          CLERK TO RECLOSE CASE IF POST JUDGMENT



        Copies Furnished To:


  Case No: 2010-061928-CA-0l                                                                      Page I of2
   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 171 of
                                        597
                                                                             &k ~~J
      Altanese Phenelus , Email : yvaldes@miamidade.gov                      f_x}i . J3z_ pl;l:~
      Daniel Hurtes , Email : BRFLEservice@BlankRome.com
      Daniel Hurtes , Email : DHurtes@BlankRome.com
      Daniel Hurtes , Email : EMora@BlankRome.com
      David S Ehrlich, Email: David@EhrlichLawLLC.com
      David S Ehrlich , Email : DEhrlich@EhrlichLawFL.com
      Giuseppe Salvatore Cataudella, Email: CourtXpress@firmsolutions.us
      Giuseppe Salvatore Cataudella, Email: FL.CourtDocs@brockandscott.com
      Giuseppe Salvatore Cataudella, Email: FLeFileTeam@brockandscott.com
      Jennifer L Warren, Email: jwan-en@northmiamifl.gov
      Jennifer L Warren, Email: cityattorney@northmiamifl.gov
      Jessica J Fagen , Email : FLeFileTeam@brockandscott.com
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      Jonathan S Wilinsky , Email : FLCourtDocs@brockandscott.com
      Jonathan S Wilinsky, Email : CourtXpress@firmsolutions.us
      Jonathan S Wilinsky , Email : FLeFileTeam@brockandscott.com
      Laura Ashley Jackson , Email : FLCourtDocs@brockandscott.com
      Laura Ashley Jackson , Email : CourtXpress@fnmsolutions.us
      Laura Ashley Jackson , Email : FLeFileTeam@brockandscott.com
      Maurice Symonette, Email: BIGBOSS1043@yahoo.com
      Mamice Symonette , Email : BigBOSS@Clerk.com
      Stephen Christopher Wilson , Email : scwilson862007@yahoo.com
      Tania Bartolini, Email: info@baiiolinilaw.com
      Tania Ba1iolini , Email : tania.baiiolini@bartolinilaw.com
      Willnae Lacroix , Email : FLCourtDocs@brockandscott.com
      Willnae Lacroix, Email: FLeFileTeam@brockandscott.com
      Willnae Lacroix , Email: courtxpress@FirmSolutions.us




Case No: 2010-061928-CA-01                                                         Page 2 of2
     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 172 of
Filing# 102861463 E-Filed 02/06/2020 12:16:09 597
                                              PM



         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA                                    E.xh.h/
                                                                                         £xh . B3 p, . J
         CASE NO: 2010-061928-CA-01
         SECTION: CA05
         JUDGE: Veronica Diaz

         US Bank(na)
         Plaintiff(s)

         vs.

         Williams, Leroy
         Defendant( s)

         - - - - - - - - - - -I
                        ORDER GRANTING MOTION TO RESET FORECLOSURE SALE


                 THIS CAUSE having come before the Court on the Plaintiff's Motion to Reset

         Foreclosure Sale, and the Court having heard argument of the parties, having reviewed the file

         and, being otherwise duly advised, it is


                 ORDERED AND ADJUDGED:


                 The Plaintiffs Motion to Reset Foreclosure Sale is hereby GRANTED.

               The clerk is directed to reset the foreclosure sale for April 6, 2020, by electronic sale at
         www .miamidade.realforeclose.com.




   Case No: 2010-061928-CA-01                                                                            Page 1 of 3
   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 173 of
                                        597



      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 6th day of
      February, 2020.




                                                       2010-061928-CA-0102-06-202012:02 PM
                                                           Hon. Veronica Diaz

                                                             CIRCUIT COURT JUDGE
                                                             Electronically Signed



        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



      Copies Furnished To:
      Altanese Phenelus , Email : yvaldes@miamidade.gov
      Daniel Hurtes , Email : BRFLEservice@BlankRome.com
      Daniel Hurtes , Email: DHurtes@BlankRome.com
      Daniel Hurtes , Email : EMora@BlankRome.com
      David S Ehrlich , Email : David@EbrlichLawLLC.com
      David S Ehrlich , Email : DEhrlich@EhrlichLawFL.com
      Giuseppe S_alvatore Cataudella , Email: CourtXpress@firmsolutions.us
      Giuseppe Salvatore Cataudella , Email : FL.CourtDocs@brockandscott.com
      Giuseppe Salvatore Cataudella , Email : FLeFileTearn@brockandscott.com
      Jennifer L Warren , Email : jwarren@northmiamifl.gov
      Jennifer L Wa1Ten, Email: cityattorney@northmiamifl.gov
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      Jonathan S Wilinsky , Email : FLeFileTeam@brockandscott.com
      Kara Fredrickson, Esq , Email : f1courtdocs@brockandscott.com


Case No: 2010-061928-CA-0l                                                            Page 2 of 3
   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 174 of
                                        597
                                                                       fx.'n ' "j
                                                                       Exh.133 P~-3
      Kara Leah Fredrickson , Email : FLeFileTeam@brockandscott.com
      Kara Leah Fredrickson, Email: CourtXpress@frrmsolutions.us
      Kara Leah Fredrickson , Email : FL.CourtDocs@brockandscott.com
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      Laura Ashley Jackson , Email : FLeFileTeam@brockandscott.com
      Maurice Symonette, Email: BIGBOSS1043@yahoo.com
      Maurice Symonette , Email : BigBOSS@Clerk.com
      Stephen Christopher Wilson, Email: scwilson862007@yahoo.com
      Tania Bartolini, Email: info@bartolinilaw.com
      Tania Bartolini , Email : tania.bartolini@bartolinilaw.com
      Willnae Lacroix, Email: FLCourtDocs@brockandscott.com
      Willnae Lacroix, Email: FLeFileTeam@brockandscott.com
      Willnae Lacroix, Email: courtxpress@FirmSolutions.us




Case No: 2010-061928-CA-01                                                   Page 3 of3
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                                      597


     IN THE CIRCUIT COURT OF THE ELEVENTH
     JUDICIAL CIRCUIT IN AND FOR MIAMI-DADE                              Exh.61
     COUNTY, FLORIDA                                                     Exh.B4
     CASE NO.: 2010-CA-61928

     U.S. BANK NATIONAL ASSOCIATION, AS                                               . -~-.-·
     TRUSTEE FOR RA.SC 200~AHL3,                                                                 \.0


               Plaintiff,
     V.

     LEROY WILLIAMS, et al.,

               Defendants.
    - - - - - - - - - - - - - - - - - -I
                    ORDER ON DEFENDANT'S AMENDED MOTION TO DISMISS
                                FORECLOSURE COMPLAINT

             THIS CAUSE having come before the Court upon Defendant's Motion to Dismiss

   Foreclosure Complaint, the Court having heard oral argument on said Motion and the Court being

   otherwise duly advised in the premises, it is hereupon:

             ORDERED AND ADJUDGED that Defendant's Motion to Dismiss Foreclosure

   Complaint is hereby GRANTEDe

      Q LY\-~{ d,.



             DONE and ORDERED m Chambers m Miami, Miami-Dade County, Florida, on

   November        li'.io19.

                                                        Circuit Court Judge
                                                                              VERONICA A. DIAZ




   140383.04630/ 1222 J7991 v. I


VVL~c__t_                                     --
      Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 176 of
                                           597



   FORM6                              FULL AND PlTBLIC DISCLOSURE OF
                                           FIN AN CI AL INTERESTS                                                                 --------------
                                                                                                                   FOR OFFICE             COMMtSSION ON ETHICS
                                                                                                                   USE ONLY:                 OATf HECEIVEO

                                                                                                                                  ID Code
             I11 II 111111111 II11 ll1ll 1111l1, II111 I1I I 1111 I I,I 11IIII,1111 l, II
             Hon Valerie R. Manno Schurr                                                    3
                                                                                                                                               11111111
                                                                                                                                               •210380•

             Circuit Judge                                                                                                        ID No        210380
             Judicial Circuit (11Th)
             Elected Constitutional Officer
             73 W Flagler St Ste 1105                                                                                             Conf Code
             Miami, FL 33130-4763
                                                                                                                                  P Req. Code


                                                                                                                                  Manno Schurr, Valerie R .
CHECK IF THIS IS A FILING BY A CANDIDATE                       0

                                                                              PART A -- NET WORTH
Please enter the value of your net worth as of December 31 , 2010, or a more curre nt date [Note                   Net worth is not ca lculated by subtracting your reported
hab,hties from your reported assets, so please see the instructions on page 3 ]

                              My net worth as of           f), CE r·, .G•(' e. . '6 l           20
                                                                                                                11 _0·v
                                                                                                     10. was $ _:J..,_,_      i c.:"7 1 . c1..)
                                                                                                                         i_s-__,_r __ L _ _
                                                                                                                                          L_
                                                                                                                      1


                                                                                  PART 8 -- ASS ETS
HOUSEHOLD GOODS AND PERSONAL EFFECTS :
  Household goods and pers on al effects may be reported in a lump sum 1f the ir aggregate va lue exceeds S1 ,000 Th is category includes any of the following .
  1f not held for investme nt purposes Jewelry, colleci1ons of stamps, guns. and numismatic items. art obJecis. househo ld equipment and furnishings ; cloth ing .
  oth er household items. and vehicles for personal use

  Tne aggrega te value of my household goods and persona l effects (descnbed above,l ,s $ ---'-;)'-'-/- '_
                                                                                                         .. :....:,:',..-+_
                                                                                                                          ( _·'-"(~:-'(,..
                                                                                                                                        · -~-·_._ ,'._ (._-_'_ _ _ __

ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
                   DESCRIPTION OF ASSET (specific description is required - see instructions p.4)




                  \ '     I    .( \                                ) ~rril:a(_ot..,     e. .~c•r ~ /,-      t ~.             ':
             - ( ~( ) l ~ -\                                                                          - - ---




                                                                              PART C - LIABILITIES
LIABILITIES IN EXCESS OF $1 ,000 :
                NAM.E AND ADDRESS OF CREDITOR




JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE :
             NAME AND ADDRESS OF CREDITOR                                                                                                          AMOUNT OF LIABILITY
     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024                 Page 177 of
                                                    ···----- ·-- - . - - -----·· ----·-- ·---- --------- •-··-- ---
                                          597




                                                                  PART D - INCOME
 You may ETTHER (1) file a complete copy of your 2010 federal income tax return, including all attachments, OR (2) file a sworn statement identifying each
 separate source and amount of income which exceeds $1,000, induding secondary sources of income, by completing the remainder of Part D, below.

 0      I elect to file a copy of my 2009 federal income tax return. (If you check this box and attach a copy of your 2010 tax return, you need not complete
        the remainder of Part D.]
 PRIMARY SOURCES OF INCOME:
     NAME OF SOURCE OF INCOME EXCEEDING $1,000                               ADDRESS OF SOURCE OF INCOME                                     AMOUNT

                                                                                                                                                      to.ao




SECONDARY SOURCES OF INCOME [Major customers, clients, etc., of busin             ses owned by reporting person-see instructions]:
            NAME OF                         NAME OF MAJOR SOURCES                             ADDRESS                           PRINCIPAL BUSINESS
        BUSINESS ENTITY                       OF BUSINESS' INCOME                            OF SOURCE                          ACTIVITY OF SOURCE




                                                  PART E -- INTERESTS IN SPECIFIED BUSINESSES
                                                                                    BUSINESS ENTITY# 2                        BUSINESS ENTITY# 3
NAME OF

ADDRESS OF

PRINCIPAL BUSINESS

POSITION HELD

I OWN MORE THAN A 5%

NATURE OF MY


        IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                          0

                           OATH                                          STATE OF FLORIDA
                                                                         COUNTY OF        M. C ~ U. t -            ~ A.. C:, C...
                                                                                                                                    c.=~-
I, the person whose name appears at the                                                                                        / _ _ _ day of
                                                                         Sworn to (or affirmed) and subscribed before me this ~=--'
beginning of this form , do depose on oath or affirmation
and say that the information disclosed on this form
and any attachments hereto is true , accurate ,
and complete




                                                                         (Print, Type, or Stamp Commissioned Name of Notary Public)

SIGNATURE OF REPORTING OFFICIAL OR CANDIDATE                             Personally Known         ><!      OR     Produced Identification _ _ _ __
                                                                                              '
                                                                         Type of Identification Produced


FILING INSTRUCTIONS for when and where to file this form are located at the top of page 3.
INSTRUCTIONS on who must file this form and how to fill it out begin on page 3.
OTHER FORMS you may need to file are described on page 6.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 178 of
                                     597



                                                                                                     ~~ , l,i         E~h .AA q1 ~
                                                                                                                   COMMISSION ON ETHICS
                                    JUDICIAL QUALIFICATIONS COMMISSION FORM 6A                                        DATE RECENED
                                                       Canon 68(2), Code ofJudldal Conduct
                                                                                                                      JUN 2 3 2011
                                                                GIE[ QISCLQSVBE
     All jadldal offlcen mast ftle with the Commialon on Bthkl on or before IJdl.1 of each calendar
     year on the form set forth below a 11st of all pfts received dlll'IJll tile previous calendar year of a
     valae In excess of $100.00, as provided In canon 5D(S) and Canon 68(2) of the Code of Judicial
     Conduct.
     NAME:              ·'vo. . ~ e f- l ~                               5 ~1Lt Rf- TELEPHONE: 305 - 3'--i c.~ ·- -10d ~
     ADDRESS:                 ~,      Wes·              -~o.        ef:- <jt1cJe t- \2.co n l 10~- V1Alo V\<.~-,f l 2::i~t~
     POSmON HEW:                      --- l'K0 l     ~ ;-~     '" S ( , cC _(.j   C
     Please Identify all pfts you received du.rlJII the precedln1 calendar year of a value In excess of
     $100.00, as required by Canon SD(S) and Canon 68(2) of the Code of Judicial Conduct.

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     I certify that the foregoing 11st is complete, true an~ con-ect.                                 \.YI
                                                                         JUDGE
                                                                              C(/                      CL
                                                                        OAill
     STATE OF FLORIDA
     COUNTY OF                   ~,.L..>--l 1 - I'.:) O..Q c

     Swof1' to (or a"'"8ed) and subsaibed before me this -2.,_day  I r.JI of        Ul::::?:G
     by \J C1 \ f t2- t f " ;1..1 ftt::' NC S c. i JU t, t-- (name ofpenon making statement)
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        (NOTARY SEAL)


      i',.s::.~~a,'<' JESUS FELIPE VII.AOMAT
     . - . ~ • MYCOMMISOONI00975140
       ~                EXPIRES: Ju~ 26, 2014
      "~Ito, ,~o..~"'   Bonded T1vu Budget~ StMCeS             (Name of Notary Public-Typed, Printed or Stamped)

     Personally Known
     Type of ldentlftcatfon
                                       X             OR Produced ldentlftcation _ __ _
     Produced _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     (ORIGINAL OF THIS FORM FILED WITH COMMISSION ON ETHICS; COPY FILED WITH JUDICIAL
     QUAUFJCATIONS COMMISSION)
     04/11
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 179 of
                                     597

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              Pl.'\ I:~ l'iFf,
              Vs.
              MACK WELLS
              t:ffENDA"lT


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 180 of
                                     597



                                                                                                                                          -
     FORM6                                FULL AND PUBLIC DISCLOSURE                                                                      2016
Please print or type your name, mailing
address, agency name, and position below:
                                                     I
                                            OF FINANCIAL INTERESTS
                                                                                                                 J
                                                                                                                          FOR OFFICE USE ONLY:

   LAST NAM E -         FIRST NAME -          MIDDLE NAME:
                                                                                                                           FLORIDA
SCHLESINGER                                     JOHN                         CHARLES
  MAILING ADDRESS:
                                                                                                                     COMMISSION ON ETHICS
73 WEST FLAGLER STREET                                                                                                     JUL 03 2617

ROOM 1202                                                                                                                  RECENEO
  CITY :                                                   ZIP :         COUNTY :

MIAMI                                                  FL                 33 130
  NAME OF AGENCY :
STATE OF FLORIDA -- 11TH CIRCUIT
  NAME OF OFFICE OR POSITION HELD OR SOUGHT :
                                                                                                           PROCESSED
CIRCU IT JUDGE
  CHECK IF THIS IS A FILING BY A CANDIDATE                         0

                                                                       PART A -- NET WORTH
 Please enter th e value of your net worth as of December 31, 2016 or a more cu rren t date. (N ote: Net worth is not ca l-
 cu lated by su btracting you r reported liabi lities from yo ur reported assets, so please see the instruction s on pag e 3.)

             My net worth as of                    June 20 ,                  , 201L_ was$             28 ,834 ,751 .25


                                                                         PART B -- ASS ETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS :
  Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1,000 . This category includes any of the
  following . if not held fer investment purposes: jewelry ; collections of stamps . guns. and numismatic items; art objects; household equipment and
  furnishings; clothing; ether household items ; and veh icles for persona l use, whether owned or leased.

    The aggregate value of my household goods and persona l effects (described above) is 5 250,000.00

 ASS ETS INDIVIDUALLY VALUED AT OVER $1 ,000 :
                        DESCRIPTION OF ASSET (specific description is requ ired - see instructions p.4)                          VALUE OF ASSET
1228 Alfonso Avenue , Coral Gables, FL                                                                                        $3,7 00,000.00
1991 Ben Miller Road , Deep Gap, FL                                                                                              800,000.00
323 Tollgate Shores Drive , lslamorada, FL                                                                                    2, 000,000.00

CONTINUED ON PAGE TWO

                                                                       PART C - LIABILITIES
LIABILITIES IN EXCESS OF $1 ,000 (See instructions on page 4):
                NAME AND ADDRESS OF CREDITOR                                                                                   AMOUNT OF LIABILITY

NONE -0-                                                                                                                       -0-




JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE :
             NAME AND ADDRESS OF CREDITOR                                                                                      AMOUNT OF LIABILITY

NONE                                                                                                                           -0-




 CE FORM 6 - Effective January 1. 2017                                     (Continued on rev~e side)                                           PAGE 1
 lnr.nmnr:=itP.rl hv reference in Rufe 34-8.002(1). F.AC
       Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 181 of
··--- - -- - - - - - - - - - -              597

                                                                                                                                          Ex~. (pi
                                                                                                                                         E4-t, BB\ p~ -3
               FORM6                                 FULL AND PUBLIC DISCLOSURE                                                                      2017
           Please print or type your name, mailing   I OF FINANCIAL INTERESTS                                                      FOR OFFICE USE ONLY:
           address, agency name, and position below:
                                                                               I
             LAST NAME -
           SCHLESINGER
                                 FIRST NAME -
                                          JOHN
                                                      MIDDLE NAME:
                                                           CHARLES
                                                                                                                                    '200 I d}3
            MAILING ADDRESS :
           1351 NW 12 STREET #415                                                                                     PROCESSED
                                                                                                                                    FLORJOA
                                                                  ZIP :
                                                                                                                              COMMISSION ON EThi-....
            CITY :                                                              COUNTY :
          MIAMI                                                   33125          MIAMI-DADE                                       AUG O1 2018
             NAME OF AGENCY :
          STATE OF FLORIDA 11TH JUDICIAL CIRCU IT                                                                                  RECEIVED
            NAME OF OFFICE OR POSITION HELD OR SOUGHT :
          CIRCUIT JUDGE

             CHECK IF THIS IS A FILING BY A CANDIDATE                     0

                                                                              PART A - NET WORTH
           Please enter the value of your net worth as of December 31, 2017 or a more current date. [Note: Net worth is not cal-
           culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.)
                                                       July 1                              18        $29,88 1. 734.10
                      My net worth as of                                              . 20 - - wa s$


                                                                                PART B - ASSETS
           HOUSEHOLD GOODS AND PERSONAL EFFECTS:
             Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1 ,000. This category indudes any of the
             following , if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects; household equipment and
             furnishings; clothing; other household items; and vehicles for personal use, whether owned or leased.
                                                                                                                 500,000.00
              The aggregate value of my household goods and personal effects (described above) is $

           ASSETS INDIVIDUALLY VALUED AT OVER $1 ,000:
                                 DESCRIPTION OF ASSET (specific description is required - see instructions p.4)                               VALUE OF ASSET
          1228 Alfonso Ave, Coral Gables, FL                                                                                            $3,700,000.00
          1991 Ben Miller rd, Deep gap, NC                                                                                              $800,000.00
          JLJ to ll gate Shores Ur, l slamorada, J- L                                                                                  $2,000,000.00
          Continued on Page two


                                                                              PART C -- LIABILITIES
           LIABILITIES IN EXCESS OF $1 ,000 (See instructions on page 4):
                           NAME AND ADDRESS OF CREDITOR                                                                                  AMOUNT OF LIABILITY
          None                                                                                                                          -0-




           JOINT ANO SEVERAL LIABILITIES NOT REPORTED ABOVE :
                        NAME ANO ADDRESS OF CREDITOR                                                                                    AMOUNT OF LIABILITY

          None                                                                                                                         -0-




           CE FORM 6 • Effective January 1 2018                                    (Continued on reverse side)                                          PAGE 1
           lncorporalPd by reference in Rule 34-8.002( 1), F AC
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 182 of
                                     597




                                        IN THE CfRCUIT COUl,T OF Tl IE EI.E\.'l.: f\TH
                               JUD!CIALCIRCUIT IN AND FOR MIAMHlADECOlJf\TY, FLORIDA
                                                    CIV IL i\CT10 1
                                                                                                                  -~ ><h. l:> I
              US BANK N.A.
                                                                                         C1 SE# 10-61928
                                                                                                                  Ex~ -~BZ~- 1
             PLAINTIFFS

             Vs.

             M1\CK WELLS

             DEFENDANT



                               MOTION FOR jUDGE DE-LA-0 TOR .CUSE HIMSEJ,,£FROM
                               ~A~I:; #10-6 19;;!8 J\t',10 TO VACATE_FORECL_O~IJRF.
                           QBDER fOR CI-\SE ~10..:.6_192fl FOR HIS CONF)J_q_OF JNif;JtJ:.S..T




             Cooies-flew MAC!( WELLS 11ehMg Pro-~+re, e stJ~ ju<lge Migu el M. De La 0; says
             th at ClT f BANK on his form 6 Full ::incl Publi c Disclosu, e Of Fin ,1n cia l Interests is a
             13ank doing Business with CIT! BANI< !Jecc1use lte's do ing hu sin e!>s with US Bank and
             hclpi ng them to make money so th;:ir he can make money liy forc cl o~ mg and taking
             uur property while acting as the judge to c;ike the propl'rty not on h, s Merits but for
             ~P make him ,md them monl'y Ill egally. 1lcre' s proof, Judge MiguPI M De La O is dong
             business with CIT! BANK as seen in hi!i FOl<M 6 rage 4 line 11, From Tallahas.see
             c,llled ..-Ul,L AND PUBLIC OISCLO,·URE OF Fl NANCl1\L form. EXH 1\ , ClTl BANK is
             CITY CROll P EX !! . U, and CITIGROUP is MORGAN STAN LL::Y EX H. C, ,111d MORGAN
             STAN LEY is US Bi\NCO RP. F.XH. fl. and US BANCORP is US B/\NI, 1:XI-I. E. Which is a
             111aIor C.onflict of Interest. Who he lt;,s nil0d in fovor ot , EX! I. F. T h.1 t •~ n Conflict of
             Interest ,P•ainst us and there's more. 1lwve found that our case w .is ii 1rccted to him
             in thi s Pool, So he must recu e himself and v~1c;1tc his Order. L::xhi bit, C. So D~· La 0
             you must Recuse YOUH SELF ,mcl VACATE YOUR ORD ER ag.~in st ys, EXH. I.
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 183 of
                                     597
                                                CONFIDENTIAL                                                                 £.xh .e~3 r~. l

   FORM6                                  FULL AND PUBLIC DISCLOSURE                                                                     2017
Pleaae print or ty~ your name, malffng    I OF FINANCIAL INTERESTS                                                    FOR OFFICE USE ONLY:
add,..., agency name, and poeltlon IMlow:
                                                         '          I
  LAST NAME - FIRST NAME - MIDDLE NAME:
    de la o                    Miguel          Manuel                                                               ~40,11(
 MAILING ADDRESS:
     73 West Flagler Street, Room 1407                                                                         PROCESSED
                                                                                                                        FLORIDA
                                                                                                               COMMISSION ON ETHICS
 CITY :                                                ZIP :         COUNTY :
   Miami                                                33130            Miami-Dade                                   MAY 0 4 2018
 NAME OF AGENCY :


 NAME OF OFFICE OR POSITION HELD OR SOUGHT :
                                                                                                                    RECEIVED
      Circuit Judge                      - - 11th Judicial Circuit
 CHECK IF THIS IS A FILING BY A CANDIDATE                      □


                                                                   PART A- NET WORTH
Please enter the value of your net worth as of December 31 , 2017 or a more current date. [Note: Net worth is not cal-
culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]

           My net worth as of December 31                                , 20 ......!2_ was $ 3 , 2 51 , 4 8 2 . 5 5


                                                                     PART B -- ASSETS                . -,. ,
HOUSEHOLD GOODS AND PERSONAL EFFECTS:                                    ,

   Household goods and personal effects may be reported in a lump sum If their aggregate value exteeds $1 ,000. This category indudes any of the
   following , if not held for investment purposes: Jewelry; collections of stamps , guns, and numismatic Items: art objects: household equipment and
   furnishings; clothing; other household Items; and vehicles for personal use, whether owned or leased.

   The aggregate value of my household goods and personal effects (described above) is $                $100,000.00
ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
              DESCRIPTION OF ASSET (specific description Is required • see Instructions p.4)                                    VALUE OF ASSET
 Home residence                                                                                                            $2,000,000.00
 AmeriTrade (Simple IRA)                                                                                                      $500,000.00
 Comme rcial Holdings LLC                                                                                                     $231,009.23
 AmeriTrade {trading account)                                                                                                   $11,046,14

                                                                   PART C - LIABILITIES
LIABILITIES IN EXCESS OF $1,000 (See Instructions on page 4):
                NAME AND ADDRESS OF ~REDITOR                                                                                 AMOUNT OF LIABILITY

  Cit i bank Home Credit Line ($300,000.00 secured by residenc ~)                                                                             -0 -
  N/A
  N/A                                                       '
  N/A
JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                    AMOUNT OF LIABILITY

 N/A                                                                                                            -
 N/A
  N/ A
CE FORM 6 , Effective Januaiy 1, 2018                                  (Gontinued on reverse side)                                           PAGE 1
Incorporated by refete<lce in Rule 34-8.002(1), FAC.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 184 of
                                     597                                   (?;                                                         fxh.
                                                                                                                                      E.xh . B\?J3 P5 :L
                                                                   PART D -- INCOME
Identify each separate source and amount of Income which elCceeded $1 ,000 during lhe year, induding secondary sources of income. Or attach a complete
copy of your 2017 federal Income tax return, including all W2s. schedules, and attachments. Please redact any social security or account numbers before
attaching your returns. as the law requires these documents be posted to the Commission's website.

□        I elect to file a copy of my 2017 federal income tax return and all W2's , schedules, and attachments.
         [If you check this box and attach a copy of your 2017 tax return, you need not complete the remainder of Part D.)

PRIMARY SOURCES OF INCOME (See Instructions on page 5):
   NAME OF SOURCE OF INCOME EXCEEDING $1 ,000                                 ADDRESS OF SOURCE OF INCOME                                 AMOUNT
   State of Florida                                                                                                                   147,571.98



SECONDARY SOURCES OF INCOME (Major cvstomers, clients, etc.. of businesses owned by reporting person--see instructions on pag~ 5):
             NAME OF                                 NAME OF MAJOR SOURCES                    ADDRESS                            PRINCIPAL BUSINESS
          BUSINESS ENTITY                              OF BUSINESS' INCOME                   OF SOURCE                           ACTIVITY OF SOURCE




                                      PART E - INTERESTS IN SPECIFIED BUSINESSES [Instructions on page 6)
                                                  BUSINESS ENTITY# 1               BUSINESS ENTITY# 2                        BUSINESS ENTITY# 3
NAME OF
BUSINESS ENTITY
ADDRESS OF
BUSINESS ENTITY
PRINCIPAL BUSINESS
ACTIVITY .
POSITION HELD
WITH ENTITY
I OWN MORE THAN A 5%
INTEREST IN THE BUSINESS
NATURE OF MY
OWNERSHIP INTEREST

                                                            PART F ·· TRAINING
                         For officers required to complete annual ethics training pursuant to section 112.3142, F.S.
                            0 I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                       STATE OF FLORIDA Miami-Dade
                                OATH                                   COUNTY OF
 I, the person whose name appears at the                                                                                30
                                                                       sworn to (or affirmed) and subscribed before me this     day of
 beginning of this form, do depose on oath or affirmation                 Apri 1                 . 20 19 by _s_a_r_a__
                                                                                                                     K_a_t_e_M_a_s_ _ __
 and say that the information disclosed on this form
                                                                                     ~ ~}                                         '
                                                                       (Signature of Notary Public--State of
                                                                          Sara Kate Mas                        ,..._,_ _ _ _ _..,.,....,_...,.__...,
                                                                       (Print, Type, or Stamp Commission

                                                                       Personally Known _X
                                                                                         ___
                                                                       Type of Identification Produced

If a certified public accountant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepaned this form for you, he or
she must complete the following statement:

I, - - - - - - - - - - - - - - - - - - - - prepared the CE Form 6 in accordance with Art. II, Sec. 8, Florida Constitution,
Section 112.3144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief, the disclosure herein is tru·e
and correct.




                            Signature                                                                                    Date
Pre aration of this form by a CPA or attorney does not relieve the filer of the responsibility to si&n the form under oath.
       IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                       □
CE FORM 6. Effective January 1. 2018                                                                                                              PAGE 2
lncol)>Or8ted by reference in Rule 34-8.002(1), F.A.C.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 185 of
                                     597                      £.xh. I~
                                                              E.xh. BB3 f>'d .=>
                                  PART 8 - ASSETS

   DESCRIPTION OF ASSET                              VALUE OF ASSET
   Commercial Stock HoldinQs, LLC                    $37,500.00
   Novo Mater LLC                                    $35,000.00
   Promissorv Note from Pedro Romero                 $35,000.00
   Promissory Note from Commercial Stock Holdinqs    $7,000.00
   Papino LLC                                        $10,000.00
   TransAmerica Life Insurance Policy Cash Value     $9,821 .73
   AmeriTrade (401 K rollover)                       $131,029.83
   Fidelity Balanced Mutual Fund                     $33,570.10
   MBNA America Investment                           $5,062.63
   Citibank Checking Account                         $32,381 .17
   Discover Savings Accounts                         $72,117.86
   2007 Toyota Camry Hybrid                          $3 ,000.00
   2013 Hyundai Sonata Hybrid                        $9,000.00
                DEN TIAL •N
                           p. IF f
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 186 of

             CO                      597~x~ . (o I £,\h.8~3 P1 .:-1 o<L-f'(p
                                         .
                                                                               (FLORIDA
                                                                       DCOMMISSION ON ETHICS     PROCESS E
                                                                                                                                            I 'f
                     1                            -                          MAY O4 2018
   Form 6A, Disclosure of Girts, Expense Reimbursem~nts o.· P11:;mrrits, lll}c.J Wu Ivers of Fees and Charges

   A II judicial officers must file with the Florida Commission on Ethics a list of al I reporiabh: gifts, reimbursements or direct          RECEIVED
   payments of expenses, and waivers of fees or charges accepted during the prt"ceding calendar year as provided in Canons 5D( 5)(a)
   and 5D(S}(h). Canon 6Al3). and Canon 68(2) of the Code of Judicial Conduct, l>y date received, description (including dates,
   location, and purpose of event or activity for which expenses, fees, or charges were reimbursed, paid, or waived), source's name,
   and amount for gifts only.
                                                                  73 W. Flagler St, Room 1407, Miami, FL 33130
   Name: Miguel            M. de la 0                     Work Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Work Telephone: 3 0 5 - 3 4 9 - 7 0 7 8                Judicial Office Held: Circuit               Judge
   I.   Please identify all reportable gifts you received during the preceding calendar year, as required by Canons SD( 5l(a),
   5DC5)(h), and 68(2) of the Code of Judicial Conduct.

                                                  DESCRIPTION                                   SOURCE                             AMOUNT
           DATE
     5-8-2017                            FAWL Installation                   Cole Scott & Kissa ~e                            !;,130
     7-25-2017                            Judicial Luncheon CABJl.              $105
      10-21-2017                          DCBA Gala        Cole Scott & Kissa1 ~ $125
                                                                    .
       12-9-2 017                         Installation Gala ABCJ TA             ~3UO
                                                                                        ·-


   o Check here if continued on separate sheet

   2.    Please identify all reportable reimbursements or direct payments of expenses, and waivers of fees or charges you received
   during the preceding calendar year, as required by Canons 6A(3) and 68(2) oflhe Code of Judicial Conduct.

                                                           DESCRIPTION                                                      SOURCE
              DATE                    (Include dates, location, and purpose of event or activity
                                       for which expenses, fees, or r.harges were reimbursed,
                                                           paid, or waived)
   4/3-7/2017                        Nat. Comouter Forensics Seminar Hoove                                Al. U.S. Government
    5/22-24/2017                     AJS Conference NaolP~ Fl. $534.20                                     State of Florida
    6/23/2017                        UEAC Mtq., Boca Raton, $57.38                                       State of Florida
    7/21-24/2017                      Circuit Judqes Conf Orlando $1019.19                               State of Florida
                                             .
   o Check here if continued on separate sheet

   OATH
  State of Florid11 .  d
  County of M1 ami - Da e

  !,Mi guel M• de la, e public official filing this disclosure statement, being first duly sworn, do depose on oath and say that
  the facts set forth • the abov statement are true, correct, and complete to the best of my knowledge and belief.




                                                                                 ,, 11 ,,,,,,            SARA KATE MAS
  (Signature of Officer Authorized to Administer Oaths)                      l~~-,.,_ Notary Publ\c • State of Florida
  My Commission expires _ _ _ _ __
                                                                           ~ ): e.1,. )•:f.§       commission# FF 203550
                                                                           f • M.'.X""'f My comm. Expires Feb 25, 2019
  Sworn to and subscribed before me this                                       ;;; o2?'0,~--- 8on"ed through National Notary Assn.
                                                                                    11         v11;u; ; : ~. . . . . . . . . . . . .'11
  __3_o_ _ _ day of April                                                       ,,,,.,. .,\ ~ ~

  3/18 (As prescribed in Canon 6),
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 187 of
                                     597
                                                                                                          --
                                                                                                           -
                                        IN THE CIRCUfT COURT UF THE ELEVENTH
                              JUDICIAL C!RCU IT IN AND FOR MIA vl/-U1,DE COU 'TY, FLORIDA
                                                          GVIL1,CTIC•N

              US B1\NK N.A.
                                                                                       U\S[# 10-61928
              PLAINTIFFS

              Vs.

              MAC K WELLS

              DEFENDANT




                          MJ)TLOJ'JFQRJlJDGE THOMAS REBULl TO RECUSE HIMSELF FROM
                        CASU..10-61,928 l:.O_R HIS CONFLICT 01< INTERF,$'..f AND \'.'....AJATE HIS
                        ORDER TORESCHEDULESALEJ.5020 S, RIVER DR MIAMI FL.33167




             Comes now MACK WELLS acti11g Pro-Se here states .lJcl g :.I.t!QMA REJ.lULL. says
             that BB&T BANK on his form 6 Full and Public Discli,:-:un: v f ri ni-l1K1 al lnteresls 1s a
             Bi.lnk he's doing 13usiness with . because he's doing h •1s i11e$:; w nh l. S l!ank and
             helping them to make money so that he can rnake nwney by fo rc.. clos ing and tJk1n g
             our property while acting as the Judge to take the p perty and nol u11 Lile Meri rs of
             the case but for to make him and tJ1em money Ill egal ly. Here' s proof, Judge I!.LQMJ\_.$
             R~BUL_L is dong business with NATIONS STAR BANK as seen in hi:; FOJH.:I 6, from
             Tallahassee called FULL AND PUBLIC DISCLOSURE OF FINA ' CI J\ L lorn1. EXH . A,
             NATIONS STAR l3ANK is MORGAN STANLEY EXl·L B, and ;ind MUl<GM ST/\NLEY is
             US BANCORP, EXH. 0, and IJS BANCORP is US l:lANK EXH. I·:. th same US Bank th.n's
             fo1•eclosing, Which is a major Contl ict of Interest aga i nst 11~ and th e r e's more, EX 11. 1.
             I also have found that our case was directed to you i11 th is Po I, so 1udge
             REP.MflERTO you must Recuse YOUll SE LF.




                                                                          ~ 15020 S. HlVEn DR.
                                                                             MIAMI l' L. J:l167
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 188 of
                                     597                               ,lo                                                             0-h i

    FORM 6
                                                                   CONFIDENTIAL
                                                 FULL AND PUBLIC DISCLOSURE
                                                                                                                                      Ex~ - BB5 flJ · t
                                                                                                                                                        2017
Pleaseprintortypeyourname,mailing                  OF FINANCIAL INTERESTS                                                       FOR OFFICE USE ONLY:
address, agency name, and posltlon below:

  LAST NAME - FIRST NAME - MIDDLE NAME:

 REBULL THOMAS JULIAN
  MAILING ADDRESS:

   73 West Fla ler Street

   Room 800                                                                                                            FLORIDA
  CITY :                                               ZIP :         COUNTY:                                     COMMISSION ON ETHtCS
  Miami                                                33130          Miami Dade
  NAME OF AGENCY :                                                                                                         JUL O2 2018
     Eleventh Judicial Circuit State of Florida
  NAME OF OFFICE OR POSITION HELD OR SOUGHT :
                                                                                                                           RECEIVED
   Circuit Jud e
  CHECK IF THIS IS A FILING BY A CANDIDATE                     0
                                                                                                                  PROCESSED
                                                                   PART A-- NET WORTH
 Please enter the value of your net worth as of December 31 , 2017 or a more current date. (Note: Net worth is not cal-
 culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]

           My net worth as of                 December 31                 , 20 -1.I_ was $ _5..,__,5. ._.9. . _, .,_90.. . ,0. . . ,. ._6.. ._1______


                                                                     PART B -- ASSETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
  Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1 ,000. This category includes any of the
  following , if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects; household equipment and
  furnishings; clothing: ether household items; and vehicles for personal use. whether owned or leased.

   The aggregate value of my household goods and personal effects (described above) is S __,_3....S.....,...Du.Gu.OL..>J.O'-"O'----------               --

ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
              DESCRIPTION OF ASSET (specific description is required - see Instructions p.4)                                               VALUE OF ASSET




                                                                                                                                       $      1,611.36
 Northwest Mutual Life Insurance                                   PART C -- LlABILITIES                                                   46,332.68
LIABILITIES IN EXCESS OF $1,000 (Soe instructions on page 4):
                NAME ANO ADDRESS OF CREDITOR                                                                                            AMOUNT OF LIABILITY

                                                                                        X




JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                               AMOUNT OF LIABILITY




CE FORM 6 - Effective January 1, 2018                                  (Coobnued oo reverse side)                                                        PAGE 1
lnco<poreled by reference In Rule 34-8.002(1). FAC .
 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 189 of
                                      597                                                                                                                            bl\-t.i>I
                                                                                                                                                                     £)(\.i. B85 fS- z_.

                                                                                       PART D -- INCOME
 Identify each separate source and amount of income which exceedeo $1,000 during the year, including secondary sources of income. Or attach a complete
 copy of your 2017 federal income tax return, Including all W2s , schedules, and attachments. Please redact any social security or account numbers before
 attaching your returns, as the Jaw requires these documents be posted to the Commission's website.

 0        I elect to file a copy of my 2017 federal income tax return and all W2's, schedules. and attachments.
          [If you check this box and attach a copy of your 2017 tax return, you need not complete the remainder of Part O.J

 PRIMARY SOURCES OF INCOME (See Instructions on page 5):
     NAME OF SOURCE OF INCOME EXCEEDING $1,000                                                     ADDRESS OF SOURCE OF INCOME                                         AMOUNT

     State of Florida                                                                                                                                         160,688.00
      Universitv of Miami                                                             Coral Gables, FL                                                             8,700.00
 SECONDARY SOURCES OF INCOME {Major customers, clients. etc., of businesses owned by reporting person- see instructions on page 5):
             NAME OF                                          NAME OF MAJOR SOURCES                                    ADDRESS                             PRINCIPAL BUSINESS
          BUSINESS ENTITY                                       OF BUSINESS' INCOME                                   OF SOURCE                            ACTIVITY OF SOURCE




                                              PART E - INTERESTS IN SPECIFIED BUSINESSES (Instructions on page 6]
                                                         BUSINESS ENTITY # 1                           BUSINESS ENTITY# 2                            BUSINESS ENTITY# 3
 NAME OF
 BUSINESS ENTITY                                    NIA
 ADDRESS OF
 BUSINESS ENTITY
 PRINCIPAL BUSINESS
 ACTIVITY
 POSITION HELD
 WITH ENTITY
 I OWN MORE THAN A 5%
 INTEREST IN THE BUSINESS
 NATURE OF MY
 OWNERSHIP INTEREST

                                                                                      PART F - TRAII\ING
                              For officers required to complete annual ethics training pursuant to section 112.3142, F.S.
                                     □        I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                                           STATE OF FLORIDA
                                           OATH                                            COUNTY OF                  X\A.. ~   0   f'\,,o,,/   -~ ~
  I, the person whose name appears at the                                                  Sworn to (or affirmed) and subscribed before me this           2)::Z     day of


                                                                                               ~                                                                   ll--,~ ...... \ l
 beginning of this form, do depose on oath or affirmation
                                                                                                                        , 20 \ 'Yby             ~r----,
  and say that the information disclosed on this form
                   ~         __ ·-
                       . --_.,...                                                              ~ ...                       ~t--
  and any attactim~ ...~,I,'~'
                    j         ,,111 ,,,,
                                                              ,..._   -   -   _   _    -                 ----------
                                                                                           (Signature of Notary Public--Slate of Florida)
  and complete! ~•rat~~v
                      "              0
                                      {',,,           SARA KATE MAS               •
                   •(( ~ •t\ Notary Pubf/c - Stale of Florida ~                                           ~ r o . - . \~~ 1',A-Q....~
                                                                                       )
   ..---:               • . :·. _··/J!s ::            Commission;; FF 2035                 (Print. Type, or Stamp C o ~ a r n e of Notary Public)
                                                          ~
     7/4
  ......
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                               .---~-' -->•' ',~t~y
                                  . ..
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 SIGNATURE OF REPORTING OFFICIAL OR -tANOfi:JATE( '
                                                      Ge
                                                        ::m:J.:.m.pJre:f'.?.:b 2 .
                                                                ,.h .. '-.   ~,
                                                                                   19 l
                                                      - ~.- -~:- . ··-· ... u~~-Assr._i)
                                                                                           Personally Known

                                                                                           Type of Identification Produced
                                                                                                                                OR       Produced Identification



If a certified public accountant liceAsed under Chapter 473, or attorney in good standing with the Florida Bar prepared this form for you, he or
she must complete the following statement
I,                                                            prepared the CE Form 6 in accordance with Art II , Sec. 8, Florida Constitution,
Section 112.3144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief, the disclosure herein is true
and correct




                                  Signature                                                                                                        Date
Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign the form under oath.

       IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                                                      □
CE FORM 6 - Effective January 1, 2018                                                                                                                                        PAGE 2
Incorporated by reference in Rule 34-8.002(1), F.A.C.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 190 of
                                     597


   Form 6A. Disclosure of Gifts, Expense Reimbursements or Payments, and Wail'ers of Fees and Charges                                      JUL O2 2018
   All judicial officers must file with the Florida Commission on Ethics a list of all reportable gifts, reimbursements or direcb~r}-1VED
   payments of expenses, and waivers of fees or charges accepted during the preceding calendar year as provided in Canons ~~1
   and 5D(Sl(hl, Canon 6AC3}. and Canon 68(21 of the Code of Judicial Conduct, by date received, description (including dates,
   location, and purpose of event or activity for which expenses, fees, or charges were re imbursed, paid, or waived), source's name,
   and amount for gifts only.                                                                                                         '-,J
                                                                                                                                                 ::rJ
   Name:     Thomas ,J Rebull                            Work Address: 73 West Flagler St , S-800, Miami, El                             33130   0
   Work Telephone: 305-349-6237                          Judicial Office Held: --'C=ir-"'c-"'u-'-'it__,J"-'u"-'d~g;;a.;e:,,:..________           0
                                                                                                                                                 m
   l.   Please identify all reportable gifts you received during the preceding calendar year, as required by Canons 5D/5)(al.
   SD(5J(h), and 68(2) of the Code of Judicial Conduct.
                                                       u,
                                                                                                                                                 en
  s=======:::::;;:::=========;;:======:::::;;;:=======;ffl
                   DESCRIPTION   SOURCE        AMOUNT  C
                 DATE
       05-0
       07-25-2017
       10-21-2017
        12-07-2017
         12-09-2017                      Installation Gala                       ABOTA                                    300.00
   o Check here if continued on separate sheet

  2.    Please identify all reportable reimbursements or direct payments of expenses, and waivers of fees or charges you received
  during the preceding calendar year, as required by Canons 6A(3 land 68(2) of the Code of Judicial Conduct.


                                                          DESCRJPTION                                                     SOURCE
              DATE                   (Include dates, location, and purpose of event or activity
                                      for which expenses, fees, or charges were reimbursed,
                                                          paid, or waived)
       08/23/17                      Presenter in D.C. NACM & IACA                                      National C:enter fnr St;:itp ~rn 1 ts




   □   Check here if continued on separate sheet

  OATH
  State of Florida       () I'\ O ,:-
  County of t"' 1 fir 1-    ,,    (;.

   --r1-- C .-d J .(l t.', ✓ l l
  I,                    '       the public official filing this disclosure statement, being first duly sworn, do depose on oath and say that
  the facts..set forth in the above statement are true. correct, and complete to the best of my knowledge and belief.
   -$~ ' i / l ~
  (Signature ofRe~g Official)                                     •


  (Signature of Officer Authorized to Administer Oaths)

  My Commission expires _ _ _ _ __
  Sworn to and subscribed before me this

  - - ' - - ~ - - - day of_~
                           -~~~·=:::;=:-:::::..._,, 20

  3/18 (As prescribed in Canon 6).
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 191 of
                                     597



                                      Affidavit                    Exh.61



                 I MACK WELLS SWEAR THAT THIS IS A MOTION AND AFFIDAVIT

               FOR RELIEF, REtUSAL, VACATIONS OF ORDERS AND MEMORANDU M

               OF LAW AND I AM A WITINESS THESE EXHIBITIS A THROUGH Z6, ALL

               ARE TRUE COPIES OF EXHIBITS AND YOUR MOTION FOR RECUSAL OF

               JUDGE VERONICA DIAZ.




                                                   MACK WELLS

                                                  15020 S. RIVER DR.

                                                  MIAMI, FLA. 33 167




                                   NOTARIZED TH IS LETTER ON BEHALF OF MACK WELLS JR.

       WHO SIGN BEFORE ME ON THIS 17TH DAY OF JULY, 2023 WHICH PRODUCED FLOR1DA

       DRIVER LICENSE TO SHOW IDENTIFICATION WHICH EXPIRES 6/25/2028.




                       -....__/
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 192 of
                                       597



                                                                                                                      Exhibit 62
                      IN THE CIRCUIT COURT OF THE ELEVENTfI JllDlCIAL CIRCUlT •
                              [N AND FOR MIAMI-DADE COUNTY. FLORID.A.                                                 Exh.CC
                                           CIV1L ACTION

            LIS BANK. N.A..
                         Pb in tiff.
                                             CASE NO.             2007-12407-CA
            vs.                              DIVISION             32




            U:RO't' \VILLIAMS; MARK WELLS; FRANKLIN
            CR£DIT MANAGEMENT CORPORA TJQN; CITY
            OF SORTH MlAMJ;                                                                                                       N
                                                                                                                                  cf\
                                  Defendant(s).
                                                                                                                                  -c
                                                                                                                                      ~      ·-o
                                                                                                                           -- -       "••'   0-'.'C
             fL"-;AL ORDER 01s~cASE. CANC£y,-"G FORECJ...OSlJRt: SAJ,,£. CANgur;;c ~o:ns;                                                    or-
                  LrS PENJ)fNS. A.'\'-0 SETTLlli.G:&SIDF m:~~L.SUMJ\1ARY .,-,.;nmitE~T AND S~TtTIJIING
                          •     •                    PHOTOSTATIC~-<;


                    THlS CAUSE having ecroe on b<;fore the C0-art, e:,r p.arre. pursuant w tr.c Motion fikd by ,he P!aint: fl~ pursu:ml

            ro Section 70::!.07 Florida Starutes i'.!OC5). and the Court bemg other.vise fully ad ised m ttie i,rc:mise i! is,

                    ORDERED AND ADJUDGED as follows ;

                     I.          The~ be a.>1d the same hcteby is dismis.~e:d. but wirhoui prejudice io tlle fucure righIS of the Plaintiff<o

            bring an acrion iO foreclose the morrga c •.vhiett is the sub~ct matter of the illStallt ca.us~.

                     ..          All Cou.ru:s oftru: Complaint against Defendanrs: LEROY \VlLLUMS: fVIARK WELLS;

            FRANKL~ CREDIT MANAGEMENT CORPORA TIO ·: CHY Of NORTH MlAMI; are hereby dismi$~ed.



                    3.           Any scheduled fureclcsu.re sale is c.ance!e'..i.




                                                                                       SeriaJ 13666522
            FILE_NUMBER; F07012148                                                     OOC_ID: M010502




Bk 27343 Pg 949 CFN 20100451678 07/06/2010 15;32:32 Pg 1 of 3 Mia-Dade Cty. FL
                       Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 193 of
                       ;i

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                        I                                   597
                  i
              f

     l
         ,r
                                                                                                                                                              Exhibit.62
 l
t'                                                                                                                                                            Exh.CCl
                                      -1.       The Notice of Lis Pendens filed by Piaintiffruid recorded in the pubHc records of!\.1lA:Vll-DA DE

                             County. Florida. regarding the be!ow-de;cribed pr.Jperi~ -

                                                   LOT !05, BlSC.-'\ YNE GARDENS SECTlON F PART I. ACCORDING TO
                                                   THE PLAT TIIERE0F, AS RECORDED N PLAT BOOK J.! , PAGE 46. OF
                                                   THE PUBLIC RECORDS Of Mi.AMI-DADE COCNTY. FLORIDA .

                             b-c and same hereb)' is eiu,cekd, vac:ned, d ischarge,:! and shall be of no fur-.her fo;,;e or '!!fee:. and the Clerk is hereb;--

                             directed t0 re-cord this Order ro re11e~t ~me.

                                      ~         The :'ln;il Summary JuJgrn~m heretofore erm:ri:d -,n A.ugill>, 09, 2007, l:e and L'le same hericbj is set

                             a:s1de and shall be of no funhe: force c1r effei;L

                                       6.       Th<! P laintiff requests 1.h,11 ,he original 1--'ou? and Moniage be re1ur.,-..-d to the Plaioriff illld

                             phoros1a1ic ~opics shall be subs-1iwced in thetr pl;ice.

                                      :lO~E AKD ORD€RE.P 1,1 Cl'..:imbcrs in \.llAMi•D.-\DE Coullty. fluricia. mis                                            day of

                                                      _ _ . '.;010.



                                            JUN 2 3 2010                                 vA{EICT£R..MAN'"NO SCHURR
                                                                                         Circuit Coun Judge:

                             CopJe$ fumis.li ... d to:                                                                           'WN..ERJE MANNO SCHURR
                             FJo,.ida D-cfuult Law Grom,. P.L                                                                    ClRCUIT COURT JUDGE
                             ?.O, Bo>: 25-0l 8         •
                             Trunpa_ Florida 336:?.2-50 18
                             Ail pnrties en the anached service list.
                             "v7◊ l 1!~S-M010502
                             GMAC {:O!.'V-ah,-·c:n




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Bk 27343 Pg 950 CFN 20100451678 07/06/2010 15:32:32 Pg 2 of 3 Mia-Dade Cty, FL
•. .. ...
            Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 194 of
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                                                                                                                                 11111111111111111 IIIH lilll llli]ftll 11111111
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                                                                                                                                          DR Bk 28033 p9 1695i (lpg)
                                                                                                                                            RECORDED 03/13/2012 16:05:0-t
                                                                                                                                            HARVEY RUVIH, CLERK OF COURT
                                                                                                                                            MIAMI-DADE COUNTY, FLORIDA
                                                                                                                                           .:LAST PAGE


                                                                                                                                                      Exh.61 Exh.C
                       CORRECTIVE ASSIGNMENT OF MORTGAGE
                                                                                                                    SPACEfOl&fCOWIJrtO~LYf.S.tMJ.16

                     MERS phone nwnbcr: I•888•679-63 77
                     MTN: 100176105062733202

                     Fffl!. VALUE R.ECElVE.D, the undcr5igned. .MORTGAGE ELECTRO.NJC REGISTRATION SYSTEMS,
                     INCORPORATED AS NOMINEE FOR AXIOM FINANCIAL SERVICES, ("Assignor") whose address is
                     P.O. Box 2026, Flint, Ml 48501 , ffligned, rusforred and conveyed to : U.S. BANK NATIONAL
                    ASSOCU TION AS TRUSTEE FOR RASC 200SAIIL3, ("A,signee") whose address is 1100 Virginia Drive,
                    Fon Washington, PA 19034, its successors and/or assigns, all of the righ~ tit'e. ond in1eres1 of Assignor in and to
                    !hat certain Mortgage (the "Mortgage") dared June 30, 2005. and recorded July 29, 2005. in Offici:il Records B_ook
                    23623, at Page 3231, of the public records of M.IAMl•DADE County, Florida, encumbcnng the followmg•
                    described real propcny;

                               LOT !OS, BISCAYNE GARDENS SECTION F PART I, ACCORDING TO THE PLAT
                               THEREOF , AS RECORDED IN PLAT BOOK 44, PAGF. 46, OF THE PUBLIC
                               RECORDS OF MIAMI-DADE COUNTY, FLORIDA

                     as the same may bi,vc been amended from time to time.

                    The purpose of this Corrective Assignment of Mongage is to correct the A.lsignment of Mortgage rcc-0rded on
                    Jl/20/2008 at 09:41:11 in 2008R09416l6, of the official records of Maimi.Dadc County, Florida, by Harvey
                    Ruvin, Clerk of Coun.

                              • Changed to MORTGAGE ELECTRONIC REGISTRATION SYSTE.MS, INCORPORATED
                              AS NOMINEE FOR AXIOM FINANCIAL SERV!CES as MORTGAGE ELECTRONIC
                              REGISTRATION SYSTEMS, INCORPORATED AS NOM1NEE FOR HOMECOMINGS
                              FINANClAL LLC is not a valid entity                 •

                              MORTGAGOR(S): LEROY WILLIAMS

                      if Jr: \
                           IN Wl:z:rss WHEREOF, Assignor has executed and delivered this Instrument on
                                                           2012.



                                                                         By:__,,L.-,/-------.--~.,...,,..,._+.,.....,.
                                                                         Print
                                                                         Title:




                   STATE OF
                                     PennsYlvania
                                             J rj-
                  COUNTY OF          }lafilgQtlle

                          ;1!'I lore~~~nt was acknowledged before me this
               J:;1 Cqlle '1Jlt;;
                                                                                          / I/ . day of
                                                                                       2012 by
                                      .1. .._ C'"".._eyfor and on behalf ofMORTGAGrnECTRONI
                                                                               GISTRA TION
                                                                                                           _1
                 SYSTEMS, IN CORPORA TED AS NOMINEE FOR AXIOM FINANCIAL SER ICES who is personally
                 known   t7 me. .       •         M         /
                   C/-...,,-/.Shl....£..;         /I~~
                 1'/elaf}' Public:           /.       /.        _
                 Mycommm,ontxpc-es: I            Af ~~                                               COMMONWl!ALTH Of' PENNSYLVANIA
                   R..ccording requested by, prepared under the supervision of and return 10:                     NOTARIAL SEAL
                    Ken Pon.c-r                                                                           CHRISTIN!; MORALES,               Plibic
                    Florida Default Law Group, P.L
                   P.O. Box 25018
                   Tampa, Florida 33622•5018
                                                                                                                                           28, 2015
                  FIOO~t 160-0MAC MORTGAGE. LLC,



                 [TNSERTDOC "M900l05.rtf' KEEP_FONT]




                   Book28033/Page1695                                          CFN#20120182835                                                           Page 1 of 1
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 195 of
                                     597



                                                        io ,s i ' betvr~Jn P                                   Exh.61
                            .                n a ,d . Aorga                                                    Exh.D1
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 196 of
                          o-   Question597                         •
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            L""'\_ SM· Follow
            \i- f Updated 9y
                                               CO'J
                                              (01         0
                                                                     •           X


             RelatedWhat's the relat!onship between JP Morgan
            and Morgan Stanley? Is the Morgan in each of their
            names the same person? Were they once one firm?
            Are they connected at all now?
            JPMorgan Chase & Co. is the parent holding company of
            Chase(Commerical Bank) and JPMorgan(lnvestment
            Bank).

            John Pierpont Morgan (J.P. Morgan) founded J.P. Morgan
            & Co., which is the predecessor to Morgan Stanley and
            JPMorgan Chase.
            As a result of the Glass-Stegall Act of 1933, J.P. Morgan &
            Co. was broken up, it spun off its investment banking
            activities into Morgan Stanley.

            J.P. Morgan & Co. continued to operate as a commercial
            bank. However, in the 1990's it started to rebuild its
            investment banking operations. In 2000, it merged with the
            Chase Manhattan Bank, and JPMorgan Chase was formed.
            In 2004, it acquired Bank One, Jamie Dimon ( current CEO
            of JPMorgan Chase) was one of the executives who came
            from Bank One. During the financial crisis, JPMorgan
            Chase also acquired Washington Mutual and Bear Sterns.
            Today, JPMorgan Chase is the largest Bank in the world
            with over US$2.6 trillion in assets.
            Morgan Stanley continues to operate as an investment
            bank.
            137. 7K views • View 127 upvotes • View 1 share          1 of 14 answers

              ◊ Upvote • 127       ◊       0 3 0      1                        ...
                         111                  n                      (
        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 197 of
                                              597 - Wiki...
                                  o- U.S. Bancorp                         ••
                      X     V     -o
                                             en.wikipedia.org                                    CJ                  •

                     .=~_1 American bank holding company
                                                                         [!I3bancorp
                      based in Minneapolis, Minnesota, and
                      incorporated in Delaware_ [4] It is the
                      parent company of U.S. Bank National
                     Association, and is the fifth largest
                      banking institution in the United
                     States.f5l The company provides
                     banking, investment, mortgage, trust,
                     and payment services products to
                     individuals, businesses, governmental
                     entities, and ot her financial institutions.   . Corporate headquarters. U.S Bancorp Cen1e,.
                                                                                       in Mmneapolts
                                                                    • Trade name       US. Bank
                     As of 2019, it had 3, 106 branches and          Company type Public
                                                                     Traded as         NYSE: USB ~
                     4,842 automated teller machines,                                  S&P 100 component
                                                                                       S!.? 500 component

                     primari ly in the Western and Midwestern        11
                                                                     sN
                                                                                       US9029733048
                                                                                       Banking
                                                                     lndustry

                     United States. [21In 2023 it ranked 149th
                                                                                       Financial services
                                                                     Founded           July 13, 1863; 161 year!. ago
                                                                     Headquarters      U.S. Bancorp Center,
                     on the Fortune 500)61and it is                                    MinneapohG, Minnesota, U.S.
                                                                     Number of         3,067 b1anches and 4,771
                                                                     focations         au10mated tel!er mach1nec
                     considered a systemically important             Key p~le          Andrew Cecere
                                                                                       (Chainmm. Pret.ident and CEO)
                     bank by the Financial Stability Board. The Products               Consumer Banking. Corporate
                                                                                       Banking, Insurance,
                                                                                       Investment banking, Mortgage
                     company also owns Elavon, a processor                             loans, Private banking, Pm1a1e
                                                                                       equity, Wealth managemen1,
                                                                                       Credl't cards, Financial
                     of credit card transactions for                                   Analysis
                                                                    Revenue            • USS28.144 billion (2023)
                     merchants, and Elan Financial Services,        Operating          6, 150,000,000 United States
                                                                    income             dollar (2020)

                     a credit card issuer that issues credit        Net income         'f' USSS.429 billion (2023)
                                                                    Total assets       'f' US$663.491 billion (2023)l1l

                     card products on behalf of small credit        Total equity
                                                                    Number of
                                                                                       A US$53.660 biflion {2023)
                                                                                       77,000 (2022)
                                                                    employees
                     unions and banks across the u.sPJ              Subsidiaries       Elan Financial Services
                                                                                       Elavon
                                                                                       Talech

                     U.S. Bancorp operates under the second-        t:.->pital ratio
                                                                                       Syncada
                                                                                       10.8% Tierl (2017)
                                                                    Rat ing            Long Term Senior Debt
                     oldest continuous national charter,                               Moody"s: A1 (10/2016)
                                                                                       S&P: A+ (10/2016)

                     originally Charter #24, granted in 1863                           Fitch: AA (10/2016)
                                                                                       OBRS: AA( l0/2016)
                                                                    Website            mortgage.usbank.com r! '
                     following the passage of the Nat ional                        Footnotes/ references
                                                                                            l2li3l

                     Ba nk Act. Earl ier charters have expired
                     as banks were closed or acquired, raising U.S. Bank's charter
VS ~~htMi> ➔         number from #24 to #2. The oldest national charter, originally
                     granted to the First National Bank of Philadelphia, is held by
5 V\JElLS ~f.\i~o
                        Well s Fargo, which was obtained upon its merger with
                    ·,· WachoviaJ8]


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                                                                                                                            .,,,,,..,
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                       f>rl.ncipa\ amount of 3-200% senior notes due 202S.

                        ln addition, Equrnix c.omp!eted a conrurrent t~r,-der
                        offer for any and alt of its outstanding 5.375%, s.sr.l-or
                                                                                                                            Exh.61
                        notes due 2022, 5.375% 5enior notes due 2023, and                                                   Exh.E2
                        5.750% senior notes due 2025, wf-.ich were paid for
                        ,'i.th the proceeds from the senior notes offering_

                         Goldman Sa.ch$ & Co. LLC, BofA S{Mlr:ties, !P.C.,
                         Citigroup Global Mar!<ets Joe., J.P. M:m,;an Se;;urltieS
                         LLC, $arclays Capita! ln ~ J ~ l ~ e c : - - ·                                                     ~
                         LLC, MUFG Securities AmericaS Inc , RBC Capt-ral
                         Markets. LLC, SMBC Nikko Sec.;ritl: .s America, inc.,
                         TD Sacuryties (VSA) LLC, Deutsche Bank Securities
                         lnC.; fNG Flr~ncial Markets lLC, BNP Paribas
                         Secumies Corp~ HSBC Securities \{)SA} Inc•• MizUho
                      Securities USA U.C, Wells Fargo Secur"ties. ~LC.
                      PNC Capital M.arkets LLC, Sc-ot'-a Capita! (USA: Inc.,
                 ~ n v e s 1 m e n t s . Inc. are rui the
                          1.mdel".(riters frrvorvad in the offering

                          Equinix, an Am.enc.an muJtinatiMa! company
                          headquartered in Red,.._nod City. California. ;:;oJ':.;ieciS
                           more than 9,800 companies dilactly 1o their
                           customers and partners inside the ·-NOrtd's most
                           interconnected data oenwrs. Tod~'. tusinesses
                           leverage the Equ1n'ix interconnoctioo platform in 52
                           stre.tegic mar'i<..ets across the Armmcas, As!a-Pacific.
                           Europe, the Middle E.ast and Afri:C9.

                           Thia Dsvls Poil< co!l)orate team inch.to~d par-:.nsrs
                            Alan F. Oe.nenberg (Picture) and Emily Roberts and
                            associates All DeGolia and Caitrn Moyles Cunnane.
                            Partner Rachel D. Kleinberg provided tax a,..,~ and
                            associate J. Taylor Arabian provided 1940 A.ct acMce.
                            fllVOlY8U ~ -i,amor. Toy~ Ara,,:,i::m                                  O;, vi£ Poi!< &.
                            ,fL t--. ~,.J-..   ~- u~ I'\:: n,..~"'•~-.   n-~•;- n .... 1... 1> \.a.r----~ -·-u- .,,, ._,.
   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 199 of
                                        597


                                                                                                          Exh.61
                                                                                                          Exh.K
                                                                   IN nrE CIRCUIT COURT OF THE
                                                                   l 1™ JUDICIAL CIRCUIT IN AND
                                                                    FOR DADE COUNTY, FLORIDA

                                                                 OENcRAJ. JURISDICTION DIVISION

                                                                            CASE NO: 2007-12407-cal
                 US Bank. .N.A.
                        f>faintiff(s)
                                                                    April 1.2010

                  Vs.

                 Leroy• Williams
                        Dcfcndant(s)


                           ORDER OF,J)JSMISSAJ \\.'ITH PREJUDICE

                   This action was heard on the defendants motion to dismiss f.or lack of prosecution
                 Served on April 11,2008. The court frnds that (I) notice prescribed by rule l.40 (c)
                 Was served on April 11,2008; (2) their was no record activity for the year preceding
                 Service of the foregoing notice; (3) no stay has been issued or approved by the court
                .And (4) tto party bas shown good cause why this action sbou!d remain pen.ding.
                 Accordingly,
                 1T IS ORDERED That this action is Dismis...c:ed for lack of Prosecution with Prejudice
                 DONE AND ORDER.ED in cruunbers, at Miami, daclc county, Florida this 31th day of
                 March, 20TO.


                              APR 06 201:•
                                                                          _I i&r1.ev      N{l_
                                                                          CIRlWTT COURT JUDGE


                                                                                     \JAU;RJ~ MANNO SCHURR
                                                                                     CJ~CUrT COURT JUDGE


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 Case
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                                       597



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 18-CV-22211-GAYLES
 CARL ERICKSON

        Plaintiff,
 V.

 RALPH W. CONFREDA, JR., et al.,

        Defendants.
 - - - - - - - - - - - - - - - -I

                                      ORDER OF RECUSAL


       • PURSUANT to 28 U.S.C. § 455, the undersigned Judge to whom the above-styled cause is

 assigned hereby recuses himself and refers the case to the Clerk of the Court for reassignment.

        DONE AND ORDERED in Chambers at Miami, Florida this 28th day of June, 2019.




                                                     DARRIN P. GAYLES
                                                     UNITED STATES DIS
            Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 201 of
                                                 597




                         Case l :18-cv-22211-DPG Document 5 Entered on FLSD Docket 06/24/2019 Page 1 of 8




                                                                    UNITED STATES DISTRICT COURT
                                                                  . SOUTHERN DISTRICT OF FLORIDA
                                                                                                 Case No. l~cv-22211-0AYLES
                           CARL ERICKSON,
                                       •                       Plaintiff,
                           Y.


                           RALPH W. CONFREDA. JR..
                           US BANK NATIONAL
                           JP MORGAN CHASE BANK                                                          JUN 2~ 2019
                           CARL A. LUBETSKY
                           ALAN WASERSTEIN                                                                4NO~lA E. NC>ai.E
                                                                                                         CLl:~I\ 11.S. Olst CT,
                           KENNETH ER[C TilENT                                                           s. D. OF fl.A .· MIAMI
                           TERRANCE W. ANDERSON et al.,
                                            Defendants,
                           -------------"}

                                                           • MOTIONS FOR RELIEF & RECUSAL AND MEMOJlAN""DUM OF LAW
                                Pursuant to .Federal Rules of Civil Ptoeedute ·Rule 60, Plaiiitiff Carl '.Eiiclcs.on heteby .files
                           this Motion for Relief & Recusal and Supporting Memorandum regarding the June 261\ ·20'16 •
                           Iudge Darrin Gayles sua sponle r~iew of the record and Dismissal Order [Document #4] based
                           on the following facts, new information, just tenns, judicial misconduct, fraudulent grounds and
                           discovered conflict of personal investment interests on Financial Disclosures of Judges and
                           officers of this Court {Exhibits Attached-JP Morgan Chase Special Situation Property Funds FRS
                           Account Page 42, FRS 2018 Tables 9-13, SEC Filings-US Bank Florida Subsidiaries, Gayles
                           financial Interests & Property Disclosures}
                                           ~.;?'t,:"'1"1
                                                                            FACTUAL BACKGROUND
                                       1. On June 11\ 2018, Plaintif(Carl Erickson filed a civil action Complaint [Document #IJ
                          <~ng .Fraud causea of action fur violations of Federal tort Jaws, banking real estate security
                           :. •.                                             -
                          •-assets r~tion violations and racket~Jing statutes.
                                   •       •                                     '
                             .. --~ The Complaint was based upon precedent USDC related filings accepted by non-biased
                           ~ o a t jurists that contained wrbatflii (l) Ii short and plain statement ottbe grounds for the
                           coorii ·jutisdii:t\on; (2) a short and plain statement of the claim showing that the pleader is
                           cm~:~ :~er; and (3) a demand for the relief sought under Fed. R Civ. P. 8.
                                       3, ·Oq June 26"' 2018, Judge Gayles issued and Dismissal Order a ~11a ,f/JfHlle review of t~e

                                                                                     {1}




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket
                                                     1l.   09/09/2024 Page 202 of
                                     597




              Case 1:18-cv-22211-DPG Document 5 Entered on FLSO Doc!<e1 06/24.'201~ Pc..ge 2 of 8




                re<:otd as a quasi-defense nttorn,!y for named Defendants and his personal im •,::strnent 1~artners
                including U.S. Bank 1111d J r. Morgc1n Chase
                     4.    Plaintiff Erickson has nov. subsequemly provided t 1e United Stak-; D pan .Jem of
                Justice (USDOJf spt;eific newly discovered whistleblov.-er 1,1forma:ioo an<l det;iiled records
                regarding hundreds of million~ of dol!a1s in c~:po£ed frauduler.t foreclNure cl;,i111s madi: by the
                Defendants and Court officer;; in this ac,ion.
                                                            l\.lEMORA NDUM OF LAW
                     The Plniutiff maintains timely Con~titutioaal due process civii righis fu~ . ule oJ F:elicf to
                ;eC1pen t his. action for frau d 2nu amend the cmnplnim t,, include :hif n•"" 1•~ittc1·al foct
                information i.nd rnquire Judge Gayle, recusal t,ased on e>,.posed financi al con!l i,t:. o:·i,1te:ests
               FRCP Rule 60 - Relic('from a Jwlgme11t or Urda

                (ft) Grw111dsjor Reitef jrum a Final Judgmem, Ord:1r. or Prot·i! ,ding(};, 111oi/rl!11111,I 111.\11.:m-1.\,
               lht! ~·our/ ma • rd1,•, 1i: <-1 par~v ur its legal r epr<t.1ental h't! from a }mrl j udK7>u!m. or,ler. nr
               pmceedm!{for 1hefo!lt:,m1f! reason.\:

               I /J mistake_madl'ette11ce. .\'/Jf/'n•·,;. or erc11.~~1hle negle,:I;

               (Z.J 11ew(v di1covered evi~11ce 1hm, w11h rea.1v11ahle dilige11c.-, c·mld 1101 Jia,•e hre,1o'•5.:011tred in
               rime to mon:fi,r (I new trial 1111da Rufr -9(b):

               (3) fraud (whiJrher pr<:l'ion1·{v called i1t1r msir: or cxmnsic). mr r ,,preseme11irm, r>;· mism nd 1ct by
               an oppusing p any;

               (c) 'flmi11K ,md fJ_fecr c?,f 1h11 A!otiw.

               iJ i Timing. A motion 1md,:r· J?,tlc 60r7,) 11111.\'f he mro.k within a re:r.,oiuible tune- .»rdfo•· r,·mons
               (1 J, (1), and (3) IIL' m ore 1har1 u year after the emry v.f the j11d;<m~111 or <irder or 1h• ,krt,• o • ,1,,-
               proceeding.

               Fed N.. Civ. P. 8. 7;., s111,•ive r. 111<m o11 to dismi.,:~. a claim •·must ;o,rf(lill .mffic'<•·:I. fc:, u,al 71a11er,
               nc<..'i!pti:d as tml!, tu '.wate a dwm w re.'hf thm 's pfau.iible 011 it.•,fa c:, ••

               flaintiff) SD c:il)gd "S,wjgma Comulain1" pleadings .nrt ReJ Judica!a based u~on :lllll~
               banking real estntt> fraud complaint filinp atablished und~r presiding Feder;tl mli1:e~
               settled by forlv ei~bt s1ale sworn Attorney Gener: Is of the IJ:1ited States of Amer ica.

                     A federal judge is expected to recuse himself pursuant to 78 U.S.C' § 455. Un c1                      s~5 S(a}.
               recusal is mandatory in "any proceeding in which !'ti s impartiality migh: m ,scma!:>ly be
               ques.tioned" Llnder § 455(1>). a judge is expected t·.l disqualify ltimselfwhen ver any of the five

                                                                        12]
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 203 of
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               Case L18•Cv-22211-DPG Document 5 Entered on FLSD Docket 06l24i20W Pa,;;e 3 of a



                 starutorily prescribed cr,terin -:,u1 be shown to exis, in fact; even-if no mntio n o: affoJ.::vir seeking
                 such relief has been tiled . and regardless of whether a reasonable pe, son would q:1e,tion the
                _judge's impartiality.
                      Sec1iu11 -IJ5(b; /-Le Jha!I also disqual{fJ' himse(f m thi! (o/lowmf{ dr,·um.'Ctr.m:.c:~:

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                (..lmw 25, i9-I8, ch. 6./6, 62 Sterr. 91Jti: F11b. !.. 'IJ 512, § I, Oec. J. f'}?-I. ~8 Stat. 1fif.i !/. JV1. J..
                05 59.11, rifle fl. f J J.l(a). ('1.i Nm·. fi. J9 7R, 92 Stm. :Z61fl; Pub. , .. JO!j.. ~02, i'i!lr ) { !'10. A'cw.
                19, 1988, 102 Stal. -166-:': /'11{1, I.. (}/ ·65U, fil/c Ill, ,v 321. nee. ' j()'}()_ /(}. / Sra 1 ,; 1 ' ·'

                                                         C'ONCLUSJONS

                     This Motion for Relief and R~r.usr,l is hased on wholly ncw fa.crs. n:la, e<l wh•stle :>lower
                informnti1Jn, willful blindness, fraud, miscondue1. aod discoverej evidence unl,•w wn at rr.e time
                of the original Complaii1t filing. Plaintiff could not reasonably_} now the fiuiu1cia! dt·-ilinp with
                Defendants of a yet to 'te assigned judge before the ori1,rinal Complaint filing As i:.wfou ~ly
                displayed by his s11a sponte Dismissal Order. due to cited improi:er financial con l;m ,1fi1,1crest.
                Judge Gayles is incapable ro proceed impartially and without animus against P \-Se P!aiuiff or
                further exercise unbiasl!'d judic:al duties required for due proce~s .ustice in this e,1•,e.

                     Judge Gayles has creditor !onn history with Defendant J P. Morgan Ch,~ ihi.t I l\used
                preferential quid pro quo treatment by his sua spm,re review anc, dismissal Or'1 ,· Judge Ci1ty!P.,
                has significant exposed im·estor financial interests in :he subje<:t mt1t\er i1 ct,n~r< ,.,.e,s;- am' ,~ith
                Defendant~ U.S. Bank and J.P. Morgan Chase that will be subS'antially r egn: j,· ;ly r:Tectc-d by
                the outcome of these prneceding, whw the Plaintiff''u!tim'ltely p ·evaits: ·




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 204 of
                                     597



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             Case 1:18-cv-22211-DPG Document 5 Entered on FLSO Docket 0Si24.120'-!: Page 4 of 8




                                                 REQUIRED RELlEF
                     Pursuant 10 Federal R11l;:s of Ci vi l Procedure Ruf~ 60, Plaintiff requi:.:i. Relief fr<>m tht
               June 26~\ 20i& Dismissal Order [Document #4) basect upo1 1l1e starl'd faci,. jus t tetrns, du~d
               miscouduct, .Rule 60 gmurtds and newly <lis.:overed banking n ai staI.C fra11J' ,_ = -n 01f1ce1 !>
                     Said Reopening Relief~ •0uid require the recusa! of Jud:;c G:·\~I..!•• from l11s; n J a.1y fH:u, ~
               related U S. Bank a11d .l P Morgao Chase banking real estatr fra \1d c:ises in th i$ Di strn,1.        The
               Dismissal Order R.t"lietalso retruires that a!l oaaies be reins1;;1.cd to 1hcir pri , 1 pc , i'io1 ~ in 1his
               a.. ion re.quiring Clerk issu1~nce of Summons upon the Deli' ndams and allH \' ti ,<: fiit ,.g c:' a
               ~lotion rn Amend th~ Complaint for cause, grou nd, and reason; staterl l,~rein.



               filed : 6.!24/19

                                                                          Carl Ericb,n-Plaimiff

                                                                         PO Box 37Gt84 Miami FL 3.- 13 7



                                                C'ERTlflCATE OF SERV IC E
                      ! HEREBY CERTIFY chat on 24th day of Jur.e. 2019 a ff J I.'. and et,rreei r ll 'Y < 1· 1h<
               foregoing was provided via tJ1 ;~ oun\; electro mc tiling system .o the atlorne.ys -:i re:c,rd




              Sen:ed: 6/24: J9
                                                                  Carl E.rickson-Pla•miff

                                                                PO Box 3700b4 i\,fomi FL 3.1!37




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       Case 1:24-cv-23015-SC Document 21-1 Entered
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                      case 1:18-cv-2221l·DPG Document 5 Entered on FLSD Docket 06/24/2019 Page 8 of 8




                          Complaint - Oepartmen~ of Justice

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·,:.                 1.
                          IN THE UNITED STATES DISTRICT COURT ... 555 4th. Street, NW.
                          } Washington, DC 20&30.)) THE STATE OF ALABAMA, ... Montgomery, Al 36130'.
                          ) ) THE STATE OF ALASKA ,. ) 1031 W. 4th. Avenue, Ste .... 420
                          Montgomery Street Front ... Virginia, and the Ofatrlct of Columbia by and through their
                          undersigned attorneys ...          •
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 206 of
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                Case 1:18-cv-22211-DPG Document 5 Entered on FLS.D Docket 06/24/2013 Page 5 of 8


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 208 of
                                     597



   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
   IN AND FOR MIAMI-DADE COUNTY, FLORIDA

   CIRCUIT CIVIL DIVISION

   CASE NO. 2019-030415-CA-01
   SECTION: •CA 20
                                                   •REASStGNEO B'f BUtltl ./J A .0.J\-
   JAMES BUCKMAN                                    FtUNG TO SECTION.     Y'.! -       •
        Plaintiff(s),                               PER ORDER OF AUM •.JUOOB. '.s; ·~
   vs.
   LANCASTER MORTGAGE CO
          Defendant(s)....,
                                               I
                                                   ~:!•·~19
                                                    .
                                                        "\S·               4\,11L,q
                                                                           Jll
   ---------------
                                    ORDER OF RECUSAL

        • THIS CAUSE, came before-the Court sua sponte; and the Court being fully advised in ·  (   J                          .




   the premises, it is hereby:
                                                                                          • .. ,          , -:::>    ' r ·:
                                                                                       :: ::' ,.-:        ~- ·       ~::-, .

          ORDER~D AND ADJUDGED                                    .              :'. _·:';~ti[$          :          g
          1. That the undersigned Circuit Court Judge hereby recuses·~ t}imself fg)m further
             consideration of this case.                              ~-i;/     -     ;_2;
                                                                                       . --             I':-;)      ~} .       :i
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          2. This. case shall be reassigned to another section of the Circuit Ci~Divi~n in1
             accordance with established .procedures.

   DONE ANO ORDERED in chambers, at Miami, Dade County, Florida, this 17th day of

   October, 2019.



                                                   William Thomas


   Mailing Service List:
   JAMES BUCKMAN, 1977 NE 119TH RD i MIAMI, FL3318t
   MAURICE SYMONETTE, 4711 L J PARKWAY, -UNIT 4208, SUGARLAND, TX 77479
   LANCASTER MORTGAGE CO
   ONE WEST BANK
   EMC MORTGAGE BANKERS LLC
   MORTGAGE ELECTRONIC REGISTRATION SYSTEM
   DEUTSCHE BANK NATLTR CO .
   MERS .
   SERVICING AGREEMENT SERlES RAST 2006 A 8- ·
   RESIDENTIAL ASSET SECURITIZATION TR 2006 A8 + •
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 209 of
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                                       IN THE ClRCUJT WURT OF "HE ELEV ENTII
                             JUDICIAL CIRCUIT IN AND r-QR MIAM!-0/\0 E COllNTY, FLORID/\
                                                       CIVl LACTION
                                                                                                            &h. QZ..,
             US BANK N./1.
                                                                                  CA SEU lU-61 92 8
             PLAINTIFFS

             Vs.

             MACK WELLS

             DEFENDANT




                     M OTION FQ.R LUDGLTJ-10.M&L. WILLIAMS TO ECUSE HIMSELF FROM
                             CASE #10-61928 FOR HIS CONFLICLOfJNTEREST




            Comes now MACI( WELLS acting Pro-Se here states Jud ge THOMAS _L, WILLIAM~.
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            is a Bank he's doing Busi ness w ith. because he's doing busi11 es~ wi th US Uank ancJ
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            our property while acting as the judge to take the pro perry i1 1H.l 11 ot 011 th,~ Merits of
            the case but for to make him and them money IJiegaily . Here 's pro f, ju(lge I1fOMAS
            L. WILLIAMS_is dong bus iness with BB&T BANK as :;een in his FD M 6, From
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            13ank that's foreclosing, Which is a major Conflict ofl11terest.1gJi11 sc Ls t111tl ther ·s
            more, EXH. J, I also have found that our case was direct ed ro you ill l11is Pool, so
            Judge REEMBERTO you must Recuse YOUR SELF .




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 210 of
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         culated by subtracting yow reponed liabilities from your reported assets, so please see the instructions on page 3.]

                       My net worth as of July 1
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             The aggregate va!uo of my hovsctiold IJ(>(lds aM personal alfocto (described above ) •• $ $20,000
                                                                                                                                   -
         ASSETS INDIVlDUALLY VALUED AT OVER S1 ,000:
                       DESCRf PTfON OF ASSET (specific doscriplion Is 1-oquirod - r.oo in struclions p _., )                                  VALUE OF ASSET

        Home ( Miami, Florida)                                                                                                           S565,000
        Bank Account                                                                                                                     $11 ,000
        Retirement                                                                                                                       $140.000



                                                                                       l'ART C - LIAB1V1'11::S
         LIABtLITIES IN EXCESS OF $1,000 (Seo Instructions on p;,ge 4):
                         NAME ANO ADDRESS OF CREDITOR                                                                                      AMOUNT OF LIABILITY

        Wells Fargo Mortgage (Mortg~ge) Atlanta, Georgia                                                                                 $416,000
        TCF Bank (second Mortgage) Wayzata, Minnesota                                                                                    $53,000
        Am erican Educational Services (student loan) Harrisburgh , Pennsylvania                                                         $49,000
        Toyota Camry Miami, Florida                                                                                                      $26,000
         JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE.
                      NAM E AND ADDRESS OF CREDITOR                                                                                        AMOUNT OF LIABILITY




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 211 of
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           I.                                                             prepared the CE Form 6 in a.:cordance w :1, An II , Soc. 8, Flonda Consl11ut1M,
           Section 112.3144 , Florida Slatutes, and the in~ou ctions to the form. Upon my rea~on,bl• ~.nc-.vle.dgo nd be tit!' f. \0 1! cisdos uru herein 1~ true:
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  ICM A ;<           Mandy DeFilippo, managing d-ire tor and hea~"-
                     risk management for fixed income. currency nd
  cf!/) oR 9AV      commodities at Morgan Stanley, opened the
 ~'A
 -- l
      tvl Y         annual ICMA conference as tlte new chair of the
                     board on Thursday.
                    She has replaced Martin Egan, vice-chairman of
                    global markets client board at BN P Paribas . Jean-
                    Marc Mercier....
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Case 1:24-cv-23015-SC 10:29
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                      principal amount of 3.200% senior n tes due.2029 .

                      In addition, Equinix completed a concurrent tender                                                                          £.x\-i.~ I
                      offer for any and all of its outstanding 5.375% senior
                                                                                                                                                  Ext,,. \2-3
                      notes due 2022, 5.375% senior notes due 2023, and
                      5. 750% senior noles due 2025, which were paid for
                      with the proceeds from the senior notes offering.
                              - · ·-- -- ----- -- - --- .- ------·- - -- -
                      Goldman Sachs & Co. LLC , BofA Securities, Inc.,
                      Citigroup Global Markets Inc., J.P. Morgan Securities
                      LLC, Barclays Capital Inc., Morgan Stanley & Co.
                      LLC, MUFG Securities Americas Inc. , RBC Capital
                      Markets, LLC, SMBC Nikko Securities Arne ica, Inc.,
                      TD Securities (USA) LLC, Deutsch Bank Securities
                      Inc., ING Financial Markets LLC, BNP Pari as
                      Securities Corp., HSBC Securities (USA) In c., Mizuho
                      Securities USA LLC, Wells Fargo Securities, LLC,
                      PNC Capital Markets LLC, Scotia Capital (U SA) Inc.,
                      and U.S. Bancorp Investments, Inc. are all the
                      underxriters involved in the offering.

                      Equinix, an American multinational company
                      headquartered in Redwood City, California, connects
                      more than 9,800 companies directly to tl"leir
                      customers and partners inside the world 's most
                      interconnected data centers. Today, businesse -
                      leverage the Equinix interconnection platform in 52
                      strategic markets across the Americas, Asia-Pacific,
                      Europe, the Middle East and Africa.

                      The Davis Polk corporate team included partners
                      Alan F. Denenberg (Picture) and Emily Roberts and
                      associates Ali DeGolia and Caitlin Moyles Cunnane.
                      Partner Rachel D. Kleinberg prov! ed tax advice and
                      associate J. Taylor Arabian provided 1940 Act advice.

                      Involved fees earner: Ta ytor Arab ;ar, -· Om, ~, r,_,'k &
                      \!11-.,...J,, ... ,.u . A Ji n ..... r'~• i-   r,..,,.., .. ~ ... r-1 .... u   ... L"" -~ - ·- • . •. , , .   " , __
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                          fCMA members elect new Chairman and new
                          board m .mbers - bobsguide.corn                               (K"1 {~ I
                      .   r...1av 4. 2017    Click here for the full list o f ICM.ti.
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    ICJM ,s               board members .. .. London: Mandy DeFilippo.
                          Morgan Stanley International PLC, London ; ...
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                          (! 1 Morgan Stanley , h!ue~t;onds PDF

                          Blue Bonds - Morgan Stanley
                          Sep 18, 2019 • International Capital Market
                          Association (ICMA)-a ... LLC (collectiv ly." Mo rgan
                          Stanley"). Members SIPC. recommend.



                          rnJ Linkedln · ul< , mend dtlf11,µpc,
                          Mandy DeFilippo - Morgan Stanley •· Unk din
                          Represents Morgan Stanley with industry
                          organisations, including the ICMA, ·here she is
                          Chair of the Board , .. . Member of the Ex ecutive
                          Board.
          Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 215 of
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                    Wachovia Bank is a wholly oJmed
                    subsidiary of Wells Fargo & Compan y. Thei
                    purchase of Wachovia Corporation by Wells
                    Fargo was completed on December 31,
                    2008. Wachovia was the four··h-larg e-st
                    bank holding company in the US base d on
                    total as sets .




                    PEOPU AL.SO 1-\SK



                    What ban k too k over Wachovia?


                    What is the history of Wachovia Bank?


                    What time does 'IVachovia Bank Open?


                    How to access a Wachovia checking accou nt?



                    Wachovia Is Now Wells Fa rgo - W ells
                    Farqo                             -
Case 1:24-cv-23015-SC 10:56
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                                      597
                       Wells Fargo to Buy Wacho ia in $15.1
                       Billion Deal - The .. .
                       https://dealbook .nytimes.com/ ... /03 /well s-farg

                      Ocl 03, 2008 • Wells Fargo said early Fr'i ay that it
                                                                                                                                                                                -- l
                                                                                                                                                                                Ex.~,~
                      wou ld merge with Wachovia - including the .                                                                                                              [)(~. -rz..
                      troubled Charlotte bank's banking opera i- i ns - in
                      a $15.1 billion all-stock merger.. The
                      announcement comes on ly four d:.1ys after ..



                      Welcome to Audi Wichita I Audi Sales &
                      Service in Kansas
                      https://www.audiwichita.com

                      Experience firsthand the exhilaration that omes
                      with driving an impeccably designed Audi <- t Audi
                      Wichita, where the sleek new models in our
                      showroom are all designed with ti e utmost luxu ry
                      in mind. Our expert staff will help guide yot i to tll ...



                      Audi e-tron I The first purely electric
                      SUV from Audi ...
                     https://www.audiusa.com/models/audi - c lron

                     A new era of electric is here. tv1ee1 the Auel , e-·
                     tron®, the only electric SUV built wi th Audi DI' ,r:,,
                     With ample space for everyday life, long-ra nge
                     capabil ity and exhilarating performance wit11
                     quattro® all-wheel drive, this is way more than



                     Bank Owned Homes I REO proper'                                                                                                                       a__
                     Wells Fargo
                     https;//reo.wellsfargo.com

                     Note: Employees and family memb:rs residing
                     • •• ;,1,&,..   ,,..._... ..   , J...,. . .., ....... r,   . ...._ (   \././, ... JI ,..   I. _ ,,,,_.,....   o ..,,. I .   .l',.•I   /\.   !t .·•
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                    wells fargo owns wachovia                        Q_   Ex~. ~J
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                   -ALL     IMAGES    VIDEOS     NEWS     SHO PING




                    Does Wells Fargo own Wachovi a?

                    Wachovia Bank is a wholly owned
                    subsidiary of Wells Fargo & Company. The
                    purchase of Wachovia Corporation by Wells
                    Fargo was completed on December 31,
                    2008.

                    Wachovia Ba nk - Banks ar und til e W.. .
                    www.relbank s.com/ north-america/ usa1wachov i.. .




                    PEOPLE ALSO ASK


                    Wl1en did Wells Fargo take over Wachovi a?       ·,


                    Is Wells Fargo a good bani<. to bank with?


                    When did Wachovia Bank change their name         ,,
                    to Wells Fargo?


                    What did Wel ls Fargo do?                        v



                    VVachovia Is Now Wells Fargo - W 11s
                    Fargo
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                      Wachovia Dealer Services Reviews and                           £~,T'/
                      Complaints @ Pissed ...
                      https://wachovia-dealer-services .p issedconsu ..

                      My wife and I purchased an Audi A4 financed
                      through WFS (Wachovia ~e~ler.Services) and
                      have always paid our monthly on time, never
                      missed a payment. fn Apri l 2012, we decided t radt·
                      in our Audi for a Volkswagen CC and of course ...



                      Audi Financial Services l A di Australia
                      https://www.audi.corn.au/au/web/en/financi~l-se...

                      We offer indivi dually tailored finance solu tions t hat
                      suit your budget, your lifestyle and your new Audi.
                      Because no-one understands Audi veh icles like we
                      do. If you are an existing Audi Financial Services
                      customer and have been affected by ...



                      Top 8 Reviews of Wachovia Deale,·
                      Services
                      https://mythreecents.com/reviev,s/wachovia-d...

                     WESTMINSTER, MARYLAND -- In October of
                     2005, I purchased a 2006 Tiburo fina nced trough
                     Wachovia dealer services . My husband co -signed
                     for me. In May of 2008, I leave my job t o find rny
                     car gone. I called the police LO re1 art that it was...



                     Wells Fargo to Buy Wachovia in $1 5.1
                     Billion Deal - The ...     .        a._
                     https://deal book. nytimes.com/.. ./0 3/welIs

                     Oct 03, 2008 • Wells Fargo said early Frida y t hat i~
                     would merge with Wachovia - including the
                     troubled Char-low,: udt tt<.. !> udt 1r..111~ vperations - in
                                                                 I~ -    7 ,p   ,1111   UV /U .

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                 Q.       us bancorp sell rating reaffirmed at ...
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            lfl'JJ..   Seeking Alpha
                                                                                                       ~x.h , u f
             \:.,      https://seekingalpha.com , article


            U.S. Bancorp (USB) Morgan Stanley US Financials,
            Payments & CRE ...
            Jun 11, 2024 - U.S. Bancorp {NYSE:USB) Morgan Stanley US Financials,
            Payments & CRE Conference June 11 , 2024 1 0:1 5 AM ET. Company
            Participants.



                       longportapp.com
                       https://longportapp.com , ... , News


            1832 Asset Management L.P. Sells 39,728 Shares of
            U.S. Bancorp ...
            Finally, Morgan Stanley reaffirmed an "equal w eight" rating and set a $45.00
            ta rget price on shares of U.S. Bancorp in a report on Frid ay, June 21st.
            Thirt een .. .



                       Tipranks
             Ill       https://www.t ipranks.com , the-fl y


            U.S. Bancorp price t arget raised to $54 from $47 at
            Morgan Stanley
            Ju l 30, 2024 - Morgan St anley raised the firm's price target on U.S. Bancorp
            to $54 from $47 and keeps an Equal Weight rating on t he shares.

            Missing: seH reaffirmed



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            'iii'
                       CNN
                       https://www.cnn .com , stocks , USB
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            USB Stock Quote Price and Forecast
            View U.S. Bancorp USB stock quot e prices, financial information, real-time
            forecasts, and company news from CNN .




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                       https:// www.defenseworld.net , u-...


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                              US Bancorp to Buy Wachovia Tru st,
                              Custody Operations ...
                              https:/;www.plansponsor.com/us -bancorp -to -b

                             May 11, 200 7 · November 29 I 200 5
                             (PLANSPONSOR.com) - US Bancorp I c1s
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                             announced that US Bank, N.A. ha s entered n
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                             agreement to purchase Wachovia Corpora ,on·s
                             corporate trust and institutional cu stody books ...
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                             How a big US bank laundered billions
                             from Mexico's ...
                             https:i/www.thegua rdian.com/w rlci /~·01 1 ~II- r,·o

                             fa.pr 02 . 2011 - In March 2010, Wachovia sett ler l he
                             biggest action brought under the US bank secre .y
                             act, through the US ...

                             Author: Ed Vulliarny



                             U.S. Bancorp - Wikipedia


                        ~· ~                                          -----
                            https://en.m .wikipedia.org/wik1/ U.S._Bancorp

                           ~~S . l:sancorp (stylized as us bancc r p) ,~j an
                            American bank holding con,pany b ased in
                            Minneapolis, Minnesota, and incorporated i 11
                            Delaware. It is the parent company of U.S..... r k
                            National Association, which is the !:ith largest ba ..
                            HeJclquarters. US Bancorp Cen .er ...
                            Revenue: US$ 22.057 billion (2017)
                            Founded· September 9, 1968; 51 y _ c11 -s -i qo
                            Number of employees: 74,000 (Septeri 1tJel'



                            The Long-Term Case for Wells Fargo
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                        IN THE COURT OF ELEVENTH JUDICIAL CIRCUIT IN AND
                                 FOR MIAMI DADE COUNTY, FLORIDA

         US BANK NA.
                                                                                CIVIL DIVISION
                                  Plainti ff.                                   CASE NO. CA-01 2010-61928
         \ "S .


         MACK WELLS

                                  Defendant.
                                          - - - -- - --
                                                                   I

                               NOTICE OF PRODUCTION FROM NONPARTY
         TO:      US BANK NA



         YOU ARE NOTIFIED that, after 10 days from the date of service of this notice, the undersigned will apply
         t o the clerk of this Court for issuance of the attached subpoena directed to who is not a party, to
         produce the items listed at the t ime and place specified in the subpoena. Objections to the issuance of
         t his subpoena must be filed with the clerk of the circuit court within 10 days.

         I cert ify that a copy of this document was ( x ) mailed ( x ) faxed and mailed ( x ) e-mailed('/') ha nd-
         delive red to the person(s) and/or their legal representatives on 2/27/20.                    I)

         Other party or his/her attorney (if representedj_             Other Non-Party-VERONICA DIAZ

         Blank Rome, LLP                                           73 W Flagler St Ste 308
         500 E Broward Blvd Ste 2100                               1\11iami, FL 33130-1707
         Fort Lauderdale, FL 33394-3023                             vdiaz@judll.flcourts.org
         Office: 954-512-1800                                      305-349-7078
         email : dhurtes@blankrome .:om




                                                                  Signature of Party
                                                                  s/Mack Wells-Plaintiff
                                                               15020 S. River Drive Miami FL 33167
                                                                      786-859-9421
                                                                  BigBoss1043@yahoo .com




         Florida Supreme Court Approved Family Law Form 12.931(b), Subpoena for Production from a Nonparty (11/15)
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 226 of
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                                                                   Lxh .lol
                 IN THE couRT OF ELEVENTH JUDICIAL CIRCUIT IN AND [xh. Y2-
                               FOR MIAMI DADE COUNTY, FLORIDA

   US BANK.NA.
                                                                          CIVJL DIVISION
                            Plaintiff,                                    CASE NO. CA-01 2010-61928
   vs.

   MACK WELLS

                           Defendant.

  - - - - -- - - -- - - - - - - - - -I

         SUBPOENA FOR PRODUCTION OF DOCUMENTS FROM NO NPARTY
   THE STATE OF FLORIDA TO: VERONICA DIAZ

                                                              nd
   YOU MUST go to (place} Elks Lodge-Artium-5150 SW 2 Ave_ Miami FL on {date} 3/13/2020 at {time}
   12p.m. and bring with you at that time and place the following:

  Any information and court officer specific documentation evidentiary correspondence,
  electronic data, agreements,fil..?s, contracts and records regarding personal,family, and trust
  controlled interests in Federally regulated US Bank, Deutsche AG, JP Morr:an Chase, Bank
  of America and Wells Fargo/Wachovia involvit,g loans, real estate ho:ising and rental
  properties located within the jurisdiction of this Court. Included in the Subpoenaed
  Production of Documents are all political action committee names and contacts of Miami
  Dade County attorneys, law firms, title companies, realtors, closing agents, financial
  institutional investors and holding companies that are campaign contributors. Also required to
  be produced is all ex-parte correspondence records ofyou and your representative agents with
  Judges and court officers in this action involving the Defendants.




  These items will be inspected and may be copied at that time. You will not have to leave the original
  items.

  You may obey this subpoena by providing readable copies of the items to be produced to the party or
  his/her attorney whose name appears on this subpoena on or before the scheduled date of production.
  You may condition the preparation of the copies upon payment in advance of the reasonable cost of
  preparation. If you mail or deliver the copies to the attorney whose name appears on this subpoena
  before the date indicated above, you do not have to appear in person .

  You may be in contempt of court if you fail to: (1) appear as specified; (2) furnish the records instead
  of appearing as provided above; or (3) object to this subpoena.




  Florida Supreme Court Approved Family Law Form 12.931(b), Subpoena for Production from a :',lonparty (11/15)
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 227 of
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    You can only be excused by the person whose name appears on this subpoena and, unless excused by
    that person of the Court, you shall respond as directed. This part to be filled out by the court or filled in
    with information obtained from the court:


    If you are a person with a disability who needs any accommodation in order to
    participatr: in this proceeding, you are entitled, at no cost to you, to the
    provision of certain assistance. Please contact:

    {identify applicable court personnel by nane., address., and teleµ•hone number}
    at least 7 days before your scheduled court appearance, or immediately upon
    receiving this notification if the time before the scheduled appearance is less
    than 7 days; if you are hearing or voice impaired, call 711.

    Dated : - - - - - - - -

                                                      CLERK OF THE CIRCUIT COURT (SEAL)


                                                      By: - - - - - - - - - - - - - - - - - - -
                                                          Deputy Clerk



    I CERTIFY that I gave notice to every other party to this action of my intent to serve a subpoena upon a
    person who is not a party to this action directing that person to produce documents or things without
    deposition. I also certify tha"': no objection under Florida Rule of Civil Procedure 1.351 has been received
    by the undersigned within 10 days of service of this notice, if service was by hand-delivery or
    appropriate facsimile transmission, and within 15 days if service was by mail ore-mail.

    Dated : 2/26/20

                                                                    s/Mack Wells-Plaintiff
                                                               15020 S. River Drive Miam i Ft 33167
                                                                   786-859-9421
                                                                 BigBoss1043@yahoo .com




    Florida Supreme Court Approved Family Law Form 12.93l(b) , Subpoena for Production from a Nonparty (11/15)
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         Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 229 of
                                              597
    FORM6                                  FULL AND PUBLIC DISCLOSURE OF
                                                FINANCIAL INTERESTS
                                                                                                                   FOR OFFICE         COMMISSION ON ETHICS
                                                                                                                   USE ONLY;
                                                                                                                                         IJATE RECEIVED
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                 Hon Valerie R. Manno Schurr
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                 Circuit Judge                                                                                              ID No        210380
                 Judicial Circuit (11Th)
                 Elected Constitutional Officer
                 73 W Flagler St Ste 1105                                                                                   Conf Code
                 Miami, FL 33130-4763
                                                                                                                            P Req. Code


                                                                                                                                Manno Schurr, Valerie R.
CHECK IF THIS IS A FILING BY A CANDIDATE                             0

                                                                                     PART A - NET WORTH
 Please enter the value of your net worth as of December 31, 2010, or a more current date [Note Net worth is not calcu lated by subtracting your reported
 hab1hties from your reported assets , so please see the instructions on page 3)

                                 Mynetworthasof                 l\:(bE(nQ('f<...'6 \ . 2ofilwas$ 41D~, ()cm. LV

                                                                                         PART B -- ASSETS
HOUSEHOLD GOODS AND PERSONAL EFFECTS:
  Household goods and personal effects may be reported 1n a lump sum If their aggregate value exceeds $1 ,000 This category includes any of the following ,
  if not held for investment purposes Jewelry, collectIons of stamps, guns, and numismatic items, art obJects, household equipment and furnishings ; clothing ,
  other household items, and vehicles for personal use

                                                                                                 .I ) z.)- ~ • . - C'c··
    The aggregate value of my household goods and personal effects (described above) 1s $ _ ___,<"X:;,__...,_:....~,__+, - - ' "c"'        c C'
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ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
                        DESCRIPTION OF ASSET (specific description is required - see instructions p.4)




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                                                                                     PART C- LIABIUTIES
LIABILITIES IN EXCESS OF $1,000:
                NAM AND ADDRESS OF CREDITOR




JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                                      AMOUNT OF LIABILITY




CE Form 6 Eff<>et,ve Janua,y I , 2011 Refer to Rule 34-a 002(1 ), FA C               (Continued on reverse aide)                                             PAGE 1
     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 230 of
                                          597

                                                                         PART D - INCOME                                Ex~ .bl Exh.,A.A V9,2..
 You may EITHER (1) file a complete copy of your 2010 federal income tax return, including all attachments, OR (2) file a sworn statement identifying each
 separate source and amount of income which exceeds $1 ,000, including secondary sources of income, by completing the remainder of Part D, below.

 □          I elect to file a copy of my 2009 federal income tax return. [If you check this box and attach a copy of your 2010 tax return, you need not complete
            the remainder of Part D.]
 PRIMARY SOURCES OF INCOME:
   NAME OF SOURCE OF INCOME EXCEEDING $1 ,000                                    ADDRESS OF SOURCE OF INCOME                                           AMOUNT

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 SECONDARY SOURCES OF INCOME [Major customers, dients, etc., of businM;ses owned by reporting person-see instructions]:
                NAME OF                              NAME OF MAJOR SOURCES                       ADDRESS                               PRINCIPAL BUSINESS
            BUSINESS ENTITY                            OF BUSINESS' INCOME                      OF SOURCE                              ACTIVITY OF SOURCE

          t\. \ nf\ ~




                                                           PART E - INTERESTS IN SPECIFIED BUSINESSES
                                                    BUSINESS ENTITY# 1                    BUSINESS ENTITY# 2                          BUSINESS ENTITY# 3
 NAME OF
 Al ,c,,u,-,-,- l=NTITY                            f\\ nnC"
ADDRESS OF
RI IC::ll'.11:::c,c:, l=NTITV
PRINCIPAL BUSINESS
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            IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                               □

                                 OATH                                        STATE OF FLORIDA
                                                                             COUNTY OF        M , ~ U ( - I::,J,,,.C:,C:..

 I, the person whose name appears at the                                     sworn to (or affirmed) and subscribed before me this       /5-~- day of
beginning of this form , do depose on oath or affirmation
and say that the ,nformalion disclosed on this form                             J"~~                          20{Lby    '1_ \~ e. ;'° W.itNrJO ~ kfY'"
and any attachments hereto is true, accurate ,                                                                           L/
                                                                                  4                           r_
and complete                                                                     /V
                                                                                   ,,-1                  -      -~     ·- - ·- .. ·---            ·-
                                                                             (Signtjof Notary Public-State of F11)•, ~iDOi75140
                                                                                                                    *          .. EXPIRES: July 28, 2014
                                                                              Ts-s \.) s,                      t) IC: No~A.rTiwlludgit~S.-
  l[}DCQia Jl l
                                                                                                      J:""_
                                                                             (Print, Type, or Stamp Commissioned Name of Notary PubUc)

SIGNATURE OF REPORTING OFFICIAL OR CANDIDATE                                 Personally Known
                                                                                                  -><
                                                                                                  >
                                                                                                                   OR   Produced Identification


                                                                             Type of Identification Produced


FILING INSTRUCTIONS for when and where to file this form are located at the top of page 3.
INSTRUCTIONS on who must file this form and how to fill It out begin on page 3.
OTHER FORMS you may need to file are descri bed on page 6.

CE Fom, 6 Effeci1ve Janua,y 1. 2011 Referto Rule 34-11002(1). FA C                                                                                             PAGE 2
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 231 of
                                     597

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                                                                                                                       COMMISSION ON ETiilCS
                                     JUDICIAL QUALIFICATIONS COMMISSION FORM 6A                                           DATE RECENED
                                                          Canon 68(2), Code o f ) ~ CoDcluc:t
                                                                                                                          JUN2 3 201i
                                                                  GIF[ QISCLQSVBE
     All jadldal officers must file with the Commlaton on BthiCI on or before bl1l..1 of each calendar
     year on tbe form set forth below a list of all pits received dlll'fnl die prevlou calendar year of a
     val■e In exc:ea of $100.00, as provided In canon SD(S) ad canon 68(2) of the Code of Judicial
     Conduct.
     NAME:            ·~ ( -.(_   \e f_ ~ ~              v~l a \ )N- ~   5 ~1y. KL TELBPHONE: ?:D5 - 3 l-{(} ·- -l 0d °\
     ADDRESS:                3         W es ·                lo     ·e f-.   c 5 t , ~e +       l2con l 10s.- VVllC.d'\t~-,FL ~?>:, 13 0
     POSmoN HELD:                      --- tr<_{;       u ;-t ~ ) t , JJ_cjP
     Please Identify all pits you received during the precedln1 calendar year of a value In excess of
     $100.00, as required by Canon SD(S) and Canon 68(2) of the Code of Judicial Conduct.

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    I certify that the foregoing 11st is complete, true an~ correct.
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                                                                         JUDGE

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    STATE OF FLORIDA
    COUNTY OF    k,~)--l \ - r::> A.-D e

                                                                                                                 .20J..L




     ~,~'. ~~(,"' JESUS FELIPE \111.AOMAT
    * . ~ • MY COMMISSION I DO 975140
     .,.~ , .           EXPIRES: July 26, 2014
      ~'to,r,.O..f)   Bonded 1lvu illldgtt Nay $tMces             (Name of Notary Pabllc-T)'ped. Printed or Stamped)

    Personally Known
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    Produced _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    (ORIGINAL OF TIIIS FORM FILED WITH COMMISSION ON ETHICS; COPY FILED WITH JUDICIAL
    QUAUFJCATIONS COMMISSION)

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 232 of
                                     597
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                                                                                                                                   f;.4 , BB) 1111
                                             IN THE CIRCUIT COURT OF THE ELEVB'NTi-1
                                 JUOICl1\l. CIRCUIT IN AND FOR MIAM I-DAD E COUNTY, FLOR IDA
                                                                                                                                   p~-.j_        -
                                                         CIVI L ACTION

              US BANK N.A.
                                                                                                  CASE# 10-61928         (A01
              Pl,\l:'fflFFS
             Vs.
             MACK W ELLS
              llffENDAN T


                                        M_OTION FOR !Ul_)GE TQfil~J[SJ;Ji!N S~LF FR.QM
                                              AND T ~ T E FOREC!i.OSURE
                              OB.lltR FOR CASE # 10-619211.fO.RJi!S.kONFLICT_ OJ7JNT~RESI

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             Curne.s now MACK WELLS acting Pro-Se here states jJdgf> j ohn :ichlesi11~~oit!st ~
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             l\nd 82 w hi ch is a Busine~ss Judge john Schlesinger is dong busirkss Mtir.gan Stejl! ey
             as see n in his FORM 6 page,] . lrne, 3. Fr om Ta!la hass~e r;i lled FIILL AND PlJBCic :
             DISCLOSU RE OF FINANCIAL Exhibit, C. Which is a rm·jo r Confl ict of Interes t He's
             worth 5.8 Milliun with Zero debt. Sd1l ~singer has dor c busi nes~ w ir i1 MERS as seen
             on the public record Exhibit, F. Who is the en tity that is the entity who assigned our
             Mortgage to US BANK, Exhibil, G. Who he has ru led ii'. favor of. Tha t \.s a Conflicr of
             lnlerest as I said Judge Sch lesinger is also doing busi r.ess with Mc, rg an Stanlt!y,
             Exhibi t, B. Who is the sanie as! P MORCAN l::xhibit, D. Who is domg business and is
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                                                                       FL. 33 167 #786-£lS9-9·1-2 1
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 233 of
                                     597


    FORM6                                 FULL AND PUBLIC DISCLOSURE                                                                     2016
Please print or type your name, mailing
address, agency name, and position below:
                                                 I
                                            OF FINANCIAL INTERESTS
                                                                                                               I       FOR OFFICE USE ONLY:

  LAST NAME -         FIRST NAME -         MIDDLE NAME :
                                                                                                                         FLORIDA
SCHLESINGER                                  JOHN                         CHARLES
  MAILING ADDRESS:
                                                                                                                   COMMISSION ON ETHICS
73 WEST FLAGLER STREET                                                                                                  JUl 03 Z617
ROOM 1202                                                                                                               RECEIVED
  CITY:                                                 ZIP :         COUNTY:

MIAMI                                              FL                  33130
  NAME OF AGENCY :
STATE OF FLORIDA -- 11TH CIRCUIT
  NAME OF OFFICE OR POSITION HELD OR SOUGHT :
                                                                                                         PROCESSED
CIRCUIT JUDGE
  CHECK IF THIS IS A FILING BY A CANDIDATE                      0

                                                                    PART A -- NET WORTH
 Please enter the value of your net worth as of December 31, 2016 or a more current date . [Note: Net worth is not cal-
 culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]

            My net worth as of                  June 20,                   , 20 17             was$   28 ,834,751.25


                                                                      PART B -- ASSETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
   Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1.000. This category includes any of the
   following , if not held for investment purposes: jewelry: collections of stamps, guns , and numismatic items: art objects: household equipment and
   furnishings: cloth ing ; other household items: and vehicles for personal use, whether owned or leased .

    The aggregate value of my household goods and personal effects (described above) is $ 250,000.00

 ASSETS INDIVIDUALLY VALUED AT OVER $1 ,000:
               DESCRIPTION OF ASSET (specific description is required - see instructions p.4)                                  VALUE OF ASSET
1228 Alfonso Avenue, Coral Gables, FL                                                                                     $3,700,000.00
1991 Ben Miller Road , Deep Gap, FL                                                                                           800,000.00
323 Tollgate Shores Drive, lslamorada, FL                                                                                  2,000,000.00
CONTINUED ON PAGE TWO


                                                                    PART C - LIABlLITIES
LIABILITIES IN EXCESS OF $1 ,000 (See instructions on page 4):
                NAME AND ADDRESS OF CREDITOR                                                                                AMOUNT OF LIABILITY

NONE -0-                                                                                                                    -0-




JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                   AMOUNT OF LIABILITY

NONE                                                                                                                        -0-




 CE FORM 6 - Effective January 1. 2017                                  (Corfinued on reverse side)                                          PAGE 1
 Incorporated by reference in Rule 34-8.002(1), F.AC.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 234 of
                                     597                                 (pi                                                         &~.
                                                                                                                                     Ex}a .BBl pt3:3
      FORM6                                  FULL AND PUBLIC DISCLOSURE                                                                         2017
 Please print or type your name, mailing
 ad~ress, age_ncy n~me, and 1>9sition below;
                                                        I
                                               OF FINANCIAL INTERESTS
                                                                                                                          I c2 D O I d).:3
                                                                                                                               FOR OFFICE USE ONLY:

    LAST NAME -           FIRST NAME -           MIDDLE NAME:
 SCHLESINGER                       JOHN               CHARLES
   MAILING ADDRESS:
  1351 NW 12 STREET #4 15                                                                                         PROCESSED
                                                                                                                                FLORIDA
   CITY :                                                      ZIP :         COUNTY:
                                                                                                                          COMMISSION ON EThi-.~.
 MIAMI                                                         33125         MIAMI-DADE                                       AUG O1 2018
    NAME OF AGENCY :
 STATE OF FLORIDA 11TH JUDICIAL CIRCUIT                                                                                        RECEIVED
   NAME OF OFFICE OR POSITION HELO OR SOUGHT:
 CI RCUIT JUDGE

   CHECK IF THIS IS A FILING BY A CANDIDATE                            □


                                                                           PART A - NET WORTH
  Please enter the value of your net worth as of December 31 , 2017 or a more current date. [Note: Net worth is not cal-
  culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]
                                                  July 1                               18       $29,881 ,734.10
              My net worth as of                                                  , 20 _ _ was$



                                                                             PART B - ASSETS
  HOUSEHOLD GOODS AND PERSONAL EFFECTS:
    Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1 ,000. This category indudes any of the
    following, if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects; household equipment and
   furnishings; clothing ; other household items; and vehides for personal use. whether owned or leased.
                                                                                                             500,000.00
      The aggregate value of my household goods and personal effects (described above) is $

  ASSETS INDIVIDUALLY VALUED AT OVER $1 ,000:
                          DESCRIPTION OF ASSET (specific description is required - see instructions p.4)                                 VALUE OF ASSET
 1228 Alfonso Ave, Coral Gables, FL                                                                                                $3,700,000.00
 1991 Ben Miller rd , Deep gap, NC                                                                                                 $800,000.00
 J.LJ 1011gate :Shores Ur, lslamorada, f-'L                                                                                        $2,000,000.00
 Continued on Page two


                                                                           PART C- LIABILITIES
  LIABILITIES IN EXCESS OF $1,000 (See instructions on page 4) :
                  NAME AND ADDRESS OF CREDITOR                                                                                      AMOUNT OF LIABILITY
 None                                                                                                                              -0-




 JOINT ANO SEVERAL LIABILITIES NOT REPORTED ABOVE :
              NAME AND ADDRESS OF CREDITOR                                                                                          AMOUNT OF LIABILITY
 None                                                                                                                              -0-



  CE FORM 6 • Effective January 1, 2018                                        (Continued on reverse Side)                                         PAGE 1
  Incorporated by rg,ferliWlee in Rule 34-8.002{1 ), !=.AC .
       ··,-_
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 235 of
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                                    JUD ICIAL CIR CU IT IN AND FOR MIAMI- DA DE (l_;!Jf\TY, FLORJ()A
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                US f3A!'iK N.t'\.
                                                                                                       CASE;J. l0 -6 19:i'.B
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               PLAINTIFFS

               Vs.

               M:\ CK WELLS

               DE FEN DA:'iT




                                    ~NHQNJO!l.Jll.QGEP~~LA-Q TQ. .RillJS__E H.!M,SJJEF~.QM
                                   C!\,SJ! ~10--6 1928 r\ND TO.VACATE FORECLOSURi1
                               QllDER FOR C;\_SE # 10:.fJ.192R FOR I-11S CQ~f:J,.lC'f OF !NT E.n_i;:s:r




               C.i;.;-,;e:~--n,~ 1: ,\ IA : H n ~ ~ judge Miguel "I. fie I.a 0 , say.,
               lbi t CIT! B,\:'-!K fJn his form /, Full .1nd Puhlic Disclosure Ut l'·in;ir.,:ial Interests is ,1
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               ou1 rroperty· while acting ,1,; th e Judge to r.-lke tlte property not on hi s :vlPrtl's but f..>r
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               c.i\led H JIL 1\N D PU fl!..\C DISCU 1$1 IHI: OF Fl 'iAN(];\L forn1. EXl-1 ,\, Cl'\"\ 1:1 ,\ N Ki-,;
               UI'\' GRO l l r, EXf i. IJ. Jnd CIT! GROlJP i'., \10R r; r\ \l STA, 1Ll.:n•:Xl l. r, rrnd MORG.•\l,
               Sl'ANLEY is US BAf'iCORP. EX H. D. ,ind US B,\l\COR P is lJS BANK l:'<H . E. Which is J
               m,11or C:ontlict of l ntcrest. W11 ,) lw h;,s ~lll C'd i 11 t.:,vor nr. EXII. F. Th.:i t ,,,. .1 Co n tlictof
                Interest Jg;i in•;t us and there·s more. I ha\ c touiid ;:h?.t our case \,\'<lS ,j1rrcred to him
               111 thi~ Poui, So he mus t recu:;1-· himsel f ,in d v;u att' his Order, bli i ~1ir, C. So OL• l.. :i ()

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   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 236 of
                                        597

                                                 CONFIDENTIAL
    FORM6                                         FULL AND PUBLIC DISCLOSURE                                                                            2017
Please print or type your name, malling
addre•~• ag!nc~ name, and l'QCltlo_n below:
                                                 I OF FINANCIAL INTERESTS I
                                                             +4 -   •   4-
                                                                             -·    ·--     -
                                                                                                                                         FOR OFFICE USE ONLY:

  LAST NAME - FIRST NAME -
   de la 0                           Miguel
                                           MIDDLE NAME:
                                                                        Manuel                                                         cQ40,l1(
  MAILING ADDRESS:
     73 West Flagler Street, Room 1407                                                                                              PROCESSED
                                                                                                                                          FLORIDA
                                                                                                                                    COMMISSION ON ETHICS
 CITY :                                                  ZIP :                      COUNTY:
   Miami                                                   33130                          Miami-Dade                                     MAY 0 4 2018
  NAME OF AGENCY :


  NAME OF OFFICE OR POSITION HELD OR SOUGHT :
                                                                                                                                       RECEIVED
      Circuit Judge - - 11th Judicial Circuit
  CHECK IF THIS IS A FILING BY A CANDIDATE                              0

                                                                                  PART A -- NET WORTH
 Please enter the value of your net worth as of December 31, 2017 or a more current date. [Note: Net worth is not cal-
 culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3 J

            My net worth as of December 31                                                 , 20 _!:?._was $ 3,251,482.55


                                                                                    PART B -- ASSETS                       .
                                                                                                                       '       ,,
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
   Household goods and personal effects may be reported in a lump sum if their aggregate value exteeds $1 ,000. This category includes any of the
   folloWing , if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic Items; art objects: household equipment and
   furnishings; clothing: other household items; and vehicles for personal use , Wihether owned or leased.

    The aggregate value of my household goods and personal effects (described above) is $                                  $100,000.00
 ASSETS INDIVIDUALLY VALUED AT OVER $1 ,000:
                      DESCRIPTION OF ASSET (specific description Is required • see instructions p.4)                                             VALUE OF ASSET
  Home residence                                                                                                                              $2,000,000.00

  AmeriTrade (Simple IRA)                                                                                                                       $500,000 . 00
  Commercial Holdings LLC                                                                                                                       $231 ,00 9.23
  AmeriTrade (trading account)                                                                                                                    $11,046,14

                                                                                  PART C -- LIABILITIES
LIABILITIES IN EXCESS OF $1 ,000 (See Instructions on page 4):
                NAME AND ADDRESS OF CREDITOR                                                                                                   AMOUNT OF LIABILITY

   Citibank Home Credit Line ($300,000.00 secured by res idencE~)                                                                                           -0 -
   N/ A
   N/ A
   N/A
JOINT ANO SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                                      AMOUNT OF LIABILITY

  N/A
  N/ A
   N/ A
 CE FORM 6 - Effective Janual)' 1, 2018                                                  {Continued on reverse side)                                       PAGE 1
 lncorporaled by reference in Rule 34-8.002(1), F.A.C.
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 237 of
                                       597                            fx\.,. '=> J
                                                                                                                                                       E.xh . B\:J3 p~ :z_
                                                                       PART D -- INCOME
Identify each separate source and amount of income which ex<;eeded $1,000 during the year, including secondary sources of income. Or attach a complete
copy of your 2017 federal income tax return, including all W2s, schedules, and attachments. Please redact any social security or account numbers before
attaching your returns, as the law requires these d~cu_ments b_e posl!!d _to the CC>mmiss_ion'.s website.

□         I elect to file a copy of my 2017 federal income tax return and all W2's , schedules, and attachments.
          (If you check. this box and attach a copy of your 2017 tax return, you need not complete the remainder of Part D.)

PRIMARY SOURCES OF INCOME (See Instructions on page 5) :
   NAME OF SOURCE OF INCOME EXCEEDING $1 ,000                                      ADDRESS OF SOURCE OF INCOME                                                     AMOUNT
   State of Florida                                                                                                                               !;,147,571.98
  .I:' .LU 1...0.J.1.e':Jc:: o.r: Law                                                                                                                      ,?--'VVV. VJ.
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                                                                                                                                                                   VVV.Vv
SECONDARY SOURCES OF INCOME {Major customers, clients, etc", of businesses owned by reporting person--see instructions on page SJ:
             NAME OF                                   NAME OF MAJOR SOURCES                       ADDRESS                                    PRINCIPAL BUSINESS
          BUSINESS ENTITY                                OF BUSINESS' INCOME                      OF SOURCE                                   ACTIVITY OF SOURCE




                                        PART E - INTERESTS IN SPECIFIED BUSINESSES [Instructions on page 6)
                                                      BUSINESS ENTITY# 1                BUSINESS ENTITY# 2                              BUSINESS ENTITY # 3
NAME OF
BUSINESS ENTITY
ADDRESS OF
BUSINESS ENTITY
PRINCIPAL BUSINESS
ACTIVITY
POSITION HELD
WITH ENTITY
I OWN MORE THAN A 5%
INTEREST IN THE BUSINESS
NATURE OF MY
OWNERSHIP INTEREST

                                                                       PART F • TRAINING
                            For officers required to complete annual ethics training pursuant to section 112.3142, F.S.
                                   □     I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                           STATE OF FLORIDA          Miami- Dade
                                    OATH                                   COUNTY OF

 I, the person whose name appear$ at the                                   Sworn to (or affirmed) and subscribed before me this               30                day of
 beginning of this form. do depose on oath or affirmation                     April                   . 20 l 9 by       Sara Kate Mas
 and say that the information disclosed on this form
                                                                                         .::......-___ ~                   •l
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 and a n N a t t ahe
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                     " rue
                        e,naccurate,
                             ts                                            (Signa ture of Notary Public--State of FlorJ.daL      _
                                                                                                                                        -          -- -- - --
 and complete.                                                                Sara Kate Mas
                                                                           (Print, Type, or Stamp Commission~
                                                                                                                 •      ,,,~!!':!~,,
                                                                                                                     €' ;t.··~ - ~      ~Y
                                                                                                                                             ~

                                                                                                                                                        SARA ICATI= l,IAC,
                                                                                                                                       . Rtlllli; Public • State of F!orlda
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                                                                           Personal! Known       X            011 ~- • J..      1 ~9Jili~fi3\li'lsslon # FF 203550
                                                                                    Y
                                                                           Type of Identification Produced      (,
                                                                                                                   --.t,~~~,.:-        y omm. Expires Feb 25, 201S
                                                                                                                     ',,,,~r,i,••'' Bonded l!:Il!luJ ~coal W.q Asso 1
                                                                                                                                                                                  •
 SIGN'ATURE f'F REPORTING OFFICIAL OR CANDIDATE

If a certified public accountant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepared this form for you. he or
she must complete the following statement:
I,                                                             prepared the CE Form 6 in accordance with M " II, Sec. 8, Florida Constitution,
Section "112.3144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief, the disclosure herein is true
and correct




                                  Signature                                                                                            Date
Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign the form under oath.
        IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                                                 D
CE FORM 6 • Effective J:>nuary 1. 2018                                                                                                                                   PAGE 2
tncorpor.,ted by reference in Rule 34-R002(1}. F.A.C.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 238 of
                                     597                     Sxh. i l,
                                                             E.Xh. BB3 P<d .:>
                                 PART 8-ASSETS

  DESCRIPTION OF ASSET                             VALUE OF ASSET
  Commercial Stock HoldinQs, LLC                   $37,500.00 - -
  Novo Mater LLC                                   $35,000.00
  Promissory Note from Pedro Romero                $35,000.00
 -Promissory Note from Commercial Stock Holdings   $7,000.00
  Papino LLC                                       $10,000.00
  TransAmerica Life Insurance Policy Cash Value    $9,821 .73
  AmeriTrade (401 K rollover)                      $131,029.83
  Fidelity Balanced Mutual Fund                    $33,570.10
  MBNA America Investment                          $5,062.63
  Citibank Checking Account                        $32,381.17
  Discover Savings Accounts                        $72,117.86
  2007 Toyota Camry Hybrid                         $3,000.00
  2013 Hyundai Sonata Hybrid                       $9,000.00
                          llFfQf NTIAL
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Case 1:24-cv-23015-SC Document 21-1 Entered
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                                              PROCESSEDCOMMISSIONONETHICS
                                                                            I'{ (FLORIDA
                                                                -l./ o<'tlp Page
                                                              09/09/2024          239 of


 Form 6A. Disclosure of Gifts, Expense Reimbursem~nts o.· P11:;me'1ts, a1) u W!iivers of Fees and Charges
                                                                                                            •                                     MAY O4 2018

 All judicial officers must file with the Florida Commission on Ethics a list 0L1II repo riabh: gifts, reimbursements or directR ECEfVED
 payments of expenses, and waivers of fees or charges accepted during the prl'ceding calendar year as provided in Canons 5D(5 )(a)
 and 5D(5}(h), Canon 6A(3), and Canon 68(2) of the Code of Judicial Conciur t, by date received, description (including dates,
 location, and purpose of event or activity for which ex?enses, fees, or charges were reimbursed, paid, or waived), source's name,
 and amount for gifts only.
                                                          73 W. Flagler St, Room 1407, Miami, FL 33130
 Name: Miguel M. de la 0                           Work Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 Work Telephone: 3 05-34 9- 7078                        Judicial Office Held : Circuit Judge

 I.    Please identify all reportable gifts you received du ri ng the preceding calendar year, as required by Canons 50( 5 )(a).
 5D(5l(h). and 68(2) of the Code of Judicial Conduct.


                                                DESCRIPTION                                SOURCE                                        AMOUNT
               DATE
    5-8-2017                           FAWL Installation                    Cele Scott & Kissa e                                   $130
    7-25-2017                           Judicial Luncheon                      CABA                                          $105
    10-21 - 2017                        DCBA Gala                         Cole Scott & Kissai ~                                $125
                                                                                              .
      12-9-2017                         Installation Gala                     ABUl'.l\                                       ~300

  o Check here if continued on separate sheet

 2.    Please identify all reportable reimbursement~ or direct payments of expensrs, and waivers of fees or charges you received
 during the preceding calendar year, as required by Canons 6A(3J and 68(2) oflhe Code of Judicial Conduct.


                                                          DESCRJPT!ON                                                            SOURCE
             DATE                   (Include dates , location, and purpose of event or activity
                                     for which expenses, fees, or charges were reimbursed,
                                                          paid, or waived)
  4/3-7/2017                        Nat. Computer Forensics Seminar Hoove                                   Al. U.S. Government
   5/22-24/2017                 AJS Conference Naoles Fl. $534.20                                           State of Florida
   6/23/2017                    UEAC Mtg., Boca Raton, $57.38                                             State of Florida
   7/21-24/2017                  Circuit Judoes Conf Orlando $1019.19                                     State of Florida
                                            .
                   ~




  o Check here if continued on separate sheet

 OATH
 State of Florid~ .
 County of M1arn1 -Dade

 l,M igue 1 M• de la, e public official filing this disclosure statement, being first duly sworn, do depose on oath and say that
 the facts set forth • the abov statement arc true, correct, and complete to the best of my knowledge and belief.


                                       I)

                                       ~~
                                                                                 ••"""••                     SARA KATE MAS
 (Signature of Officer Authorized to Administer Oaths)                      _.:-'p~'"-,                Notary Public • State of Florida
 My Commission expires _ _ _ _ __
                                                                           ff
                                                                           t                /:~}:f. § Commission ;; FF 203550
                                                                         ,~f ":,,"','!.....,1<:J!.0,'l My Comm. Expires Feb 25, 2019
 Sworn to and subscribed before me this
                                                                                  ',,,,,r:f,;,\':.'' Bended through Nati onaI Not"""
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 __3_0_ _ _ day of_A_p_r_i_l_ _ _~ 2 0 ~.                                  '· ..,.7" " - ' ~ '


 3/18 (As prescribed in Canon 6).
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 240 of
                                     597



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             US BA NK N.i\.

            PLAINTIFFS

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            \li\CI< WELLS

            Dr:F!,N DANT




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            0111· prope rly 1vhi le acting as rhe judge to take the pr pcrt.v aml no, u11 the Meri rs of
            lilt c1se hut r(, r to make him ,111 d tbem 111,1 111:y Hlrii;.oiily. Here' s prn,d. Judge J l!.Q/\11\S
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                                                                                      MIAM I FL. J:!167
    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 241 of
                                         597                                                                                          f:Ah ,~i

    FORM 6                                FULL AND PUBLIC DISCLOSURE
                                                                     CONFIDENTIAL                                                    Exk-Bf:35 flJ · (
                                                                                                                                                     2017
Pleaseprintortypeyourname,mailing
address, agency o~ma, and position below:
                                            OF FINANCIAL INTERESTS                                                             FOR OFFICE USE ONLY:

  I.AST NAME -         FIRST NAME -         MIDDLE NAME:

 REBULL . THOMAS JULIAN
  MAILING ADDRESS'.

   73 West Fla ler Street

   Room 800                                                                                                            FLORIDA
  CITY:                                                  ZIP :         COUNTY:                                   COMMISSION ON ETHICS
   Miami                                                 33130          Miami Dade
  NAME OF AGENCY :                                                                                                         JUL O2 2018
      Eleventh Judicial Circuit State of Florida
  NAME OF OFFICE OR POSITION HELD OR SOUGHT :
                                                                                                                          RECEIVED
   Circuit Jud e
  CHECK IF THIS IS A FILING BY A CANDIDATE                       0
                                                                                                                 PROCESSED
                                                                     PART A-- '.'l'ET WORTH
 Please enter the value of your net worth as of December 31, 2017 or a more curren t date. [Note: Net worth is not cal-
 culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]

            My net worth as of                  December 31                  , 20 --1L was $ ~5-5~9......,_90~0~6~1_ _ _ _ __


                                                                       PART B -- ASSETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
  Household goods and personal ef:ects may be reported in a lump surn if their aggregate value exceeds 51,000. This category includes any of lhe
   fo llowing, if not tieid for investment purposes: Jewelry; collections of stamps, guns, and numismatic items: art objects; household equipment and
   furnishings; clothing. ottler household items: and vehicles for personal use, whether cwned er leased.

    Th,: aggregate value of my household goods and persona! effects (described above) is S ........_3..,_5,.,.,.....
                                                                                                                Q"-'Qu...OL....UQ_,.,O'--- - - - - - - - --   -

 ASSETS INDIVIDUALLY VALUED AT OVER $1 ,000;
               DESCRIPTION OF ASSET (specific description is required - see instructions p,4)                                             VALUE OF ASSET




  ABA Retirem nt
  CITI IRA                                                                                                                            $     1,611.36
 Northwest Mutual Life Insurance                                     PART C -- LlABILITIES                                                46 ,332 .68
LIABILITIES IN EXCESS OF $1,000 (See instructions on page 4) :
                NAME AND ADDRESS OF CREDITOR                                                                                           AMOUNT OF LIABILITY

                                                                                            X                                         3




JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                              AMOUNT OF LIABILITY




·cE FO'<M 6 - Effective January 1. 201B                                   iCor.!inued en reverse side)                                                   PAGE 1
 incor;,orated oy rererence in Rule 34 a 002(1). F.A.C
   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 242 of
                                        597                              ~~.l,I
                                                                                                                                                                                        Ex~. 885 ffi,Z-
                                                                                                              PART D -- INCOME
 !dentify each separate source and amount of income which exceeded S1 ,000 during the year, including secondary sources ofincome. Or attach a complete
 copy of your 2017 federal income tax return , Including all W2s , schedules, and attachments. Please redact any social security or account numbers before
 attaching your returns. as the law requires these documents be posted to the Commission's website.

 D       t elect to file a copy of my 2017 federal income tax re turn and all V\/2:s, schedules, and attachments.
         [If you check this box and attach a copy of your 2017 tax return. you need not complete the rema:nder of Part D.J

 PRIMARY SOURCES OF INCOME (See instructions on page 5):
    NAME OF SOURCE OF INCOME EXCEEDING S1 ,000                                                                          ADDRESS OF SOURCE OF INCOME                                       AMOUNT

   State of Florida                                                                                                                                                               160,688 .00
       Universitv of Miami                                                                               Coral Gables, FL '                                                           8,700 .00
SECONDARY SOURCES OF INCOME [Major customers , c:ients, etc.. of businesses owned by reporting person-see instructions on page SJ:
             NAME OF                                                           NAME OF MAJOR SOURCES                                    ADDRESS                              PRINCIPAL BUSINESS
          BUSINESS ENTITY                                                        OF BUSINESS" INCOME                                   OF SOURCE                             ACTIVITY OF SOURCE




                                                          PART E - lNTERESTS IN SPECIFIE D BUSINESSES [ln stru cti ons on page 61
                                                                              BUSINESS ENTITY# 1                            BUSINESS ENTiTY # 2                        BUSINESS ENTITY# 3
NAME OF
BUSINESS ENTITY                                                    NIA
ADDRESS OF
BUSINESS ENTl1Y
PRINCIPAi. BUSiNESS
ACTIVITY
POSITION HELD
VVlTH ENTITY
I O1/v'N MORE THAN A 5%
INTEREST IN THE BUSINESS
NATURE OF MY
OWNERSHIP INTEREST

                                                                                                         PA.RTF - TRA l'.\ING
                                      For officers required to complete annual eth ics training pursuant to section 112.3142, F.S.
                                                □         I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                                                                STATE OF FLORIDA
                                                     OATH                                                       COUNTY OF               '(\A..~ 0 ~ -~..._,ll._....
 I, the person whose name appears at the                                                                        Sworn to (or affirmed) and subscribed be!ore me this        2..--,~    day of
 beginning of this form, do depose on oath or afflrmat,on
                                                                                                                    ~                      , 20_\"'t :,y                              [l._,~ '-4. \ \.
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 and say that the information disclosed on this form
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 and any atlachm<;,,,L.?.,_,<;;, ~- ·-
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                                                                                        --   ___ ..-
                                                                                                                          ~
               I ,,,,.,~~~'',,,                                         SAR                                     (Signature of Notary Public--State of Florida)
 and complete! / ~ '      • u~<,',,
                              :                                                A KATE MAS
                      )r 1~ •: ~§ Notary Pub/./c - State of Florida '                                                          ~.ro.__             \Ce.A:.~ l'V'--Q~
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                                                != Comm/ss~on    # FF 2035    ~                                 (Print . Type, or Stamp C o L ~ a m e of Notary Public)


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                                         /'        :: do~                • 19                                   Personally Known                   OR      Produced Identification
   X        .--z:;"-=,                    .,.        ..     ~•:• • -~--: ~-   :~~   -~~_:·   • ..   SST;.~)
 SIGNATURE OF Rl:PORTING OFFICIAL OR.¢ A)rt;li:,i\T-f[ ' •                                                      Type of Identification Produced

If a certified public accountant :,censed under Chapter 473, or attorney in good standing with the Florida Bar prepared this form for you, he or
she must complete the following statement:
I,                                                           . prepared the CE rom, 6 in accordance w ith Art. ll. Sec. 8, Florida Constitution,
Section 112.3144, Florida Statutes, and the instructions to the form . Upon my reasonable knowledge and belief, the disclosure herein is true
and correcL




                                            Signature                                                                                                                Date
Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign th e form under oath.

       IF ANY OF PARTS A THROUGH E ARE CONTII\UED ON A SEPAR4TE SHEET, PLEASE CHECK HERE                                                                                                        □
CE FORM 6 - Effective January l. 2018                                                                                                                                                           PAGE 2
lnco'Foratec by reference !r. Rule 34- 8 002P t FAC.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 243 of
                                     597


  Form 6A. Disclosure of Gifts, Expense Reimbursem ents or Payments, and Waivers of Fees and Charges
                                                                                                                                                                    JUL O2 2018
 All judicial officers must file with the Florida Commission on Ethics a list of all reportable gifts, re imbursements or direcbc:['J:!VEO
 payments of expenses. and waivers of fees or charges accepted durin g the preceding calendar year as provided in Cano ns ~ ~
 and 50(5 )(h), Canon 6A( 3l. and Canon 6B(:!} of the Code of Judicial Conduct, by date received, description (including dates,
 location, and purpose of event or activity fo r which expenses, fees, or charges we re re imbursed, paid, or waived), source's name,
 and amount for gifts on ly .                                                                                                                                             ·-V
             Thomas j Rebull                             Work Address : 73 West Flagler St, S-B00, Miami, El                                                   33130
                                                                                                                                                                          ::u
 Name :
                                                                                                                                                                          0
 Work Telephone: 305- 349-6237                           Jud ic ial Office Held : _C="-'ir-"'c""'u""'it'-'J"-'u"--d""-g_,_e"'-_______                                     0
                                          m
  I.
                                          en
        Please identify all reportable gifts you received during the preceding calendar year, as required by Canons 5D(5)(al.

                                          en
 50( 5 )(h). and 68(2) of the Code of Judicia l Cond uct.

 i;:::=======;;=======rr========n========,ffl
                                                 DESCRJPTION                                       SOURCE                                                A:v!OUNT         C
                DATE

       05-0
       07-25-2017
       10-21-2017
        12-07-2017
       12-09-2017                          Installation Gala                       ABOTA                                                              300.00
  o Check here if continued on se parnte sheet

 2.    Please identify all reportab le reimbursements or direct payments of expenses. and waivers of fees or charges you received
 during the preceding cale ndar year, as required by Canons 6A( 3) and 6B{2) of the Code of Judicial Conduct.


 iI                                                        DESCRJPTION                                                                                SOURCE
 I
 I           DATE                    (Include dates , location, and purpose of event or activity
 iI                                   for which expenses, fees, or charges were reimbursed,
                                                           paid , or waived)
       08/23/17                      Presenter in D.C . NACM & IACA                                                      National Center for St~to rm hs




  o Check here if continued on separ,.lle sheet

OATH
State of Florida        {) p J i.:.
County of f"' 1 fir I -      f


1,1 1-- ~c-J J •fl e .t, .~h~ ~ublic official fi ling th is disclosure statement, being firs t duly sworn, do depose on oath and say that
         0

t h ~ t fo rth in the above statement are true, correct, and complete to the best ofmy knowledge and belief.

      -~~1(~~
(Signature ofReport rng Otlic:al)                                        i1"--:·~~~~     ...6::~~~..,..._.~e.-?
                                                                        "]      ,,,uu,,,
                                                                        'J ---t~~v "<,~7--:.
                                                                        1• ~ ~ •
                                                                                                                SARA KATE MAS
                                                                         1'/;. •  •• '<>·~ Not ary Publie
                                                                                                        • • State ot Florida
(Signature of omcer Autho rized to Administer Oaths)                    'j ~-/ ij • ;g Commission # FF 203550
                                                                         • . _-::,"o,c ,,,cfl;_~--- BMy clComm
                                                                                                           d
                                                                                                               . Expires Feb 25 201 c :'
                                                                                                                               ,    •
My Commission expires _ __ _ __                                                '1, 11111 \ '
                                                                                          ......-~-;. ~;~.,!t-:~gh Nationa! 1':c!.:.-v/:~::·
Sworn to and subscribed before me this                                                                   ~,.-"'\.   --- ~~'"'..·:., ~ .. ';· "'   •




_ '---
   _ '<__ day of                      -~                   ,20    \~ .

3/1 8 (As prescri bed in Canon 5).
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 244 of
                                     597



                                      Affidavit                        Exh.61



                I MACK WELLS SWEAR THAT THIS IS A MOTION AND AfFIDAViT

              FOR RELIEF, REtUSAL, VACATIONS OF ORDERS AND MEl'v1ORANDUM

              Of LAW AND I AM A WITINESS THESE EXHIBlTIS A THROUGH Z6, AU

              ARE TRUE COPIES OF EXHrBITS AND YOUR MOTION FOR RECUSAl OF

              JUDGE VERONICA DIAZ..




                                                   MACK WELLS

                                                  15020 S. RIVER OR .

                                                  ;,.'\lAMl, FL.A. 3316 7




                                   NOTARIZED THiS Lt:TTER ON BEHALF OF rvlACK W ELLS .lF.

      v\/HO SIGN BEFOR!: ME ON THIS 17TH DAY OF JULY, 2023 W'HICH PRODUCED FLORlDA

      DRIVER UCENSE TO SHOW IDENTIFICATI ON WHICH EXPiRES 6j25/2028.
   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 245 of
                                        597



                                                                                                         Exhibit 62
                     L'i nu; Cl.RCUlT COL""RT O.F THE ELEVENTH JU DICIAL ClRCIJIT ;
                               TN A..'-:0 FOR MJAMI-DADE COUNTY. FLORID.-\                               Exh.CC
                                                c'iVlL ;, CTI ON

            us BA.'\'K, r,u,....
                      Plaintiff.
                                             CASE NO.     .2007-l 240'7-CA
            vs.                              DrYISIO!'-   32




            LE ROY \VILUAMS; MARK \\'E.LLS: FRANKLIN
            CREDIT MA.i'IAGEMI:'\T CORPORATION; CITY
            OF .' ;ORTH ML-\MJ;
                               Defru d a □ t (~ ).
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            FfLE_NUMBER F07012148                                            ooc_,o- Mornso2




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          .,   1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 246 of
          '                                    597
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                                                                                                                                                                Exh.CCl
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                                                            LOT 105, 8iSCAYNE GARDENS SECTION f PART 1. ACCORDING TO
                                                        TI-!£ PLAT TI-l.l:.REOF, AS RECORDED i>l ?LAT BOOK -1.1. PAGE '16. OF
                                                        THE PeBLJC RECORDS OF M.iAMl-DADE CQU-.TI. FLORIDA.




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                •. ,.·;c,:ei ~"1usn-.."'d to .                                                                                                  VALERIE MANNO SCHURR
                ~l0r ;.j;,i D~ fau 1; L1w CJro1.p. P L                                                                                          CtRCUIT COURT JUDGE
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 247 of
                                     597
                   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT JN AND FOR ·

                                  MIAMI DADE COUNTY FLORIDA CIVIL ACTION                        Exh.62


      U.S. BANK, NATIONAL 1\SSOCIATJON,
      AS TRUSTEE FOR RASC
      2005AAHL3,

       Plaintiff

                                                                      CASE NO: 2010-61928-CAO l
      v.

      i\lU\CK WELLS


      Defendants,




  MOTION AND AFFIDAVIT FOR RELIEF, RECUSAL, AND RECONSIDER HER OROER AND REVERT
                           BY VACATING HER ORDER AND MEMORANDUM OF LAW




  Pursuant to Florida Stat 112.131.. Florida Rule 2.160 (H). and Federal Rules of Civil Proccdur-: Ruic 60,
  Plaintiff M.ACK WELLS berchy files this ?v1otton for Relief & Rccusal and Supporting Mc1n0r,mdum
  rcgsrding the_ Vi vianne Del Rio 05/04/2022 review of the record and Final Juclgerni:nt Order, Exh. 119 bused on
  (he following facts. new information , just terms,judicial misconduct, fraudulent grounds and discovi:red
  conflict or personal investment interests on Financial Disclosures of Judges and officers of this Court (Exltibit
  0 # l Attached- U.S. BAKK Special Situation Proocrtv Fumb Account Pa2:e 42. IFRS 2018 Tables 9-13. SEC
  Filings~ U.S. BANK Florida Subsidiaries. Judge Alan Fine Financial Interests & Property Di sc losures).


  Florida Rufe 2.160 (11) Says A Judge mft.y Vacate her orders for Conflict o[bzterest Theodore R.. B_m ulv Jl.
  Judge John A. Rudd Fl. Rule 2.160 {D) (1) FL Code Jud. Conduct. Canofl 3E{l) A Judge shall di5qualifv
  !ti1n5eff where impartialitv migltf reasonabl)I be questioned Rule 2. I 60 (D) (I) grounds to disqualifv is
  parti:fear;,,· Judge is Biased Fl. Starne 112.312 (8) Judr:e con 't have a conflict o(Interest !


  Judge Vivianne Del Rio must Recuse herself for an open obvious Conflict of Interest because she's doing

  bu5iness wlth US Bank and helping them to make money so that she can make money by foreclosing and
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 248 of
                                     597



                                                                                             Exh.62
   taking (stea[ing) our property while actin~ as the Judge on the case on our prof)erty, not on case's Merits but

   for to make her and them money Illegally. Here's proof: In her Form 6 Affidavit Oath from Tallahassee called

   FULL AND PUBUC DJSCLOSURE OF FINANCIAL Says:




  2. form 6 for 2019 on line 2. , Exh. 0. She got $750,215.00 with FRS which is Financed by the SBA.

   Exh. 1. which is U.S. Bank, E.xh. 2.

  3. form 6 for 2019' Exh. (0). On line 3 she got, $15,403.00 and on line 4 she got $5,691. doing

  business with AIG which is J.P. IV1organ, Exh . 6, 6A, 6B, 6C, 6D, 6E, 6F, JP IV1organ which is U.S.

   Bancorp, Exh.4, 19. And U.S. Bancorp is U.S. Ban k Exh . 5 and SB .




  And on her 2020 Form 6 Full and PubJie, Disclosure of Financial Tnterest In 2020 on line :c.,

  Exh . 0. Line 2. She got $943,141.00 with FRS which is Financed by the SBA. Exh. 1. which is U.S.

  Bank, Exh. 2.

  3. Exh. (O). On line 3 she got, $15,403.00 and on iine 4 she got $5,691. doing business with AfG

  which is J.P. Morgan, Exh. 6, 6A, 6B, 6C, 6D, 6E, 6F, JP Morgan which is U.S. Bancorp, Exh.4,

  19. And U.S. Bancorp is U.S. Bank Exh. 5 and SB.

  4. Exh. (0). And on line 4 she has $44,000 with E-Trade Which is Morgan Stanley Exh.3, and

  Morgan Stanley is J.P. Morgan, Exh. 87 and Exh. 118, 118A, 118B, 118( and 1180 Page 1 and

  Page 2. which is U.S. Bancorp, (Exh.4, 19). And U.S. Bancorp is U.S. Bank Exh. 5 and 58.
   Case
Filing f./. 1:24-cv-23015-SC    Document 12:24:22
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                                                                                                                                           597
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                                                                                                                                                                                                                                             Exhibit 0
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 250 of
                    11:16            597            ~a 5G
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                                                                                                                  Exhibit 62                  Exhibit 1
                                       frs re-tiremeni: is the SBA
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               A!I             t~evf·:.         .:_... /;:.;.;>;:~-;           i tY'a;i2:;   \/! d0i::-.;            ~l~ ;;:;£




               The Florida Retirement System {FRS) Pensioc
               Plan, also kno-vvn as the Defined Benef;: Plan . is
               one of the lamest nublic retirement c,lans in the
                                                  V                   ~                                   •



               U.S. and comprises tou ghly three c:uarters of                                            0




               tc,tat assets under State Beard of
               Admir,astration {SBA} manage m,2~nt.

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               People also ask

               itVr-ic t type of rett(t:-"'nc:1~ i c,1,30 ,s FRS '?


               Vvho owns F!ori;.:3 Re:ire;1~er-i System?


               Is F'RS the sarne as .1. 01 ~?


               \,\ 'hat does FRS st~nd ior- :0 Sociai Sec urity?                                                                           ··:'"




                              AA                • Q frs retirement is t                                                    ~;
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 251 of
                    11:10            597             •O



                                                            Exhibit 62      Exhibit 2

               ~ey benefits: loan a.:nounts up to $5 n-iil!ion .
               Additional $2 rnmion direc... f .1nding ' y u:s.
               Bank (SBA 1 {a) . ari assu loan) Terms uo to




                SmaH Bu.:iness .Adrninistration (SBP,) Loa:1s -
                US Bank




                People also ask




                To be con~;;cier1;,d fo r .e:,n SBA loar.. you i:eed ro aopl1• for 8
                corwe'lticnal !oar; u;;dE- .S8,; guid€>li ries 1.vitr-1c,,e of tr,-$'
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                       .~ Q the sba is financed by us bank
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 252 of
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               0           morganstanley. corn/w    Exhibit 62   Exhibit 3



                --              i\1organ Stanley                  a.




                           E*TRADE is now E*TRADE
                           from Morgan Stanley




               SHARE THlS


                     in f      ~



               lots of choices. however you want to
               inve st



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                                                                   I
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 253 of
                                     597



                      principal amount of 3.200% senior not.es due 2029.

                      In addition, Equinix completed a conc.Jrrent tender
                      offer for any and all of its outstanding 5.375% ser.ior
                      notes due 2022, 5.375% senior notes due 2023. and
                      5. 750% senior notes due 2025, which were paid for
                      with the proceeds from the senior notes offerin .

                        oldman Sachs & Co. LLC, BofA Securities, Inc.,
                      Citigroup Global Markets Inc., J.P. M:xgan Securities
                      LLC, Barclays Capital ! n ~ C o .
                      LLC, MUFG Securities Americas Inc., PBC Capital
                      Markets. LLC, SMBC Nikko Securities America. Inc~,
                      TD Secu~ities (USA) LLC, Deutsche Bank Securities
                      Inc., ING Financial Markets LLC, BNP Paribas
                      Securities Corp., HSBC Securities (USA) Inc.. Mizuho
                      Securities USA LLC, Wells Fargo Securities, L.LG,
                      PNC Capital Markets LLC, Scotia Capital (USA:-Inc.,
                      and U.S. BaocorP, lnves~ments, Inc. are all the


                      E·quinix. an American multinational company
                      headquartered in Redwood City, Caiifornia . co .riects
                      more than 9,800 companies directt:1 to their
                      customers and partners inside thG world's most
                     interconnected data centers. Today, businesses
                     leverage the Equinix interconnection platform in 52
                     strategic markets across the Ame~.cas, Asia-Pacific,
                     Eu;ope, the Middle East and Africa.

                      The Davis ~olk corporate team induded pa1ners
                     Alan F. Denenberg (Picture) and Emily Roberts and
                     associates Ali DeGolia and Caitlin Moyies 1.,unnane.
                     Partner Rachel 0. Kleinberg provided tax advtce and
                     associate J. Taylor Arabian provided 1940 ,~ct advice.

                     lnvotvad fue~ ttamer: Tator Arn'Jia~ DP vis Poik &.
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                    About U.S. Bank
                   U.S. Bancorp {NYSE: USB) is the.parent company of U.S. Bank,"'-            '
                   one of the largest commetciru banks in the United States. and its
                    subsidiart        .S . .Bank Wealth Management and U.S. Bancorp
                  ~r"°4:i;a;::rue;"rnts, Inc.. The CQmpaoy operates more than 3,000
                     banking offices and nearly 5,000 ATMs, _and provides a
                     comprehensive line of banking, brokerage, Insurance, investment,
                   mortgage, trust and payment-services PfOQucts to: consumers.
                      inesses and ins i ions.

                   1                   .   .                                                      .

                       Investment products and servfoas a.re:

                       t-Jot a Deposit • Not FOIC Insured • May Lose Value •
                       Not Bank Guaranteed • Not Insured by ·any Federal
                       Gov-emm,mt Agency


                   F<ir U-.8. Bank:

                   ® Equal Housing lender. Credit products ar& offered by U.S. Bank National
                   Association and s.Ub}ect fo normtd credit approval. Deposit product~ offered by
                   U.S. Ba-nk Natlonal Association. Mem~r-FOJC. ~

                   U.S. Bank ls not respo0$ib~ for and does riot g~tee thtt products, services
                   or perlonm,nce of U.S Banco.p ln11estmants.



                   Investment pro.duets an<l aervices are available Uirou~ U.S. Bancorp
                   Investments. the ma~lng name for U,S. Bancorp lnvo.stm~nts, l!)C.. member
                   FiNAA and fileQ, an invemmoot advloor and a broflerage s1.1bsidt.,,y of .U.S.
                   Bancorp and affil~e of t,J ;$ ; Bank,
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 255 of
                                     597


                                                                 Q.       oo     Create account Log in          •• •




            ·- U.S. Bancorp                                                                J7A 201anguages v

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            From Wikipedia, the free encyclopedia

                "US Bank" redirects here. For other uses, see Bank of the
                United States.
            U.S. Bancorp (stylized as us bancorp) is                       U.S. Bancorp
                                                                   - - - - - - - - -··                            -
            an American bank holding company                 tmlbancorp
            based in Minneapolis, Minnesota, and
            incorporated in Delaware.l41It is the
            parent company of U.S. Bank National
           Association, and is the fifth largest
            banking institution in the United
           States.l 5l The company provides
            banking, investment, mortgage, trust,
            and payment services products to
            individuals, businesses, governmenta l
            entities, and other financial institutions.    Corpo,ste headquarters.US Bancorp Cef'!1er,
                                                                         in Mmr.~apolts
                                                          Trade nnme          U $ . Bank
           As of 2019, it had 3,106 branches and          Company type Puohc.:
                                                          Traded ns           NYSE· USBL•
           4,842 automated teller machines,                                   Sl.P I 00 component
                                                                              S&P 500 component

            primarily in the Western and Midwestern       ISIN
                                                          Industry
                                                                              l.159029733048
                                                                              Banking
                                                                              Financial ser\'ices
            United States.l21In 2023 it ra nked 149th     Founded             July 13, 1863: 161 years ago

                                                          Headquarters        U.S Bancorp Center,
            on the Fortune soo,[61and it is                                   Minneapolis. >.i'innesota, U.S.
                                                          Number of           3,067 branchts and 4,nl
                                                          locallons           automated teller machines
           considered a systemically important            Key people          Andrew Cece,e
                                                                              (Chairman, President and CEO)

           bank by the Financial Stability Board. The     Products            Consumer Ban~ing, Corporate
                                                                              Bank1ng, ln surar.ct?,
                                                                              Investment banking. Mortgage
           company also owns Elavon, a processor                              ioans, Private banking, Pi1'1ate
                                                                              equity, Weolth monagemem.
                                                                              Credrt cards. Finunci.,I
           of credit card transactions for                                    Analysis
                                                          Revenue             4 USS28.144 billion (2023)
           merchants, and Elan Financial Services,        Operating           6.150,000,000 United States
                                                          income              dollar (2020)

            a credit card issuer that issues credit       Net income
                                                          Total assets
                                                                              -Y USSS.429 billion (2023)
                                                                              Y US$663.491 billion (2023)ftl

           ca rd products on behalf of small credit       Tota l equity
                                                          Number of
                                                                              la. US$53.660 billion (2023)
                                                                              n.ooo (2022)
                                                          employees
           unions and banks across t he u.sVl             Subsit!iuries       Elan Financial Services
                                                                              Elavon
                                                                              Talech

           U.S. Bancorp operates under the second-                            Syncada
                                                                              10.8¾ Tier l (2017)
                                                                              Long T6m Senior Debt
            oldest continuous national charter,           Rating
                                                                              Mavdy's: Al (1012016)
                                                                              S&P: A+ (1012016)

            originally Charter #24, granted in 1863                           F, tch: AA (10/2016)
                                                                              OBRS: AA (10/ 2016)




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 256 of
  A._                                597___ Exhibit 62 Exhibit 6
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    J.P. Morgan
    Partners With
    AIG On
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 257 of
                                     597
                                                                            Exhibit 62        .Exhibit 7
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                      Document 21-1 Entered on FLSD Docket 09/09/2024 Page 258 of
                                     597
                                                                                             Exhrbit 62                    Exhibit 8


                    J.P. organ Par~ners \.'Vith AlG On
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 259 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 260 of
                                        597
                                                    Exhibit 62 Exhibit 10
                              insights by J,P. MOfgan




                     ~J.P.lvlorg,a11
                     ASSET MANAGEMENT
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                         J.P. Morgan Helps401k
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 261 of
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                                                                            Exhibit 62     Exhib-r.: ·11
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                   Smart Retirement Plus !ncom Option                           0




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                     IN THE CIRCU IT COURT OF THE ELEVE NTH JUDICIAL CI RCUfT IN AND FOR

                                        M IAMI DADE COUNTY FLORI DA CIVIL ACTIO~


               MAURlCE SYMONETfE
               And MACK \1/ELL'
                Plaintiff
                                                                   CASE NO: 20 10-61928-CAOI
                V.


               U.S. BANK, NATIONAL ASSOCfATION.
               AS TRUSTEE FOR RASC
               2005 AHL3. MERS. FRANKLYN
               CREDIT MANAGEMENT CORP and
               A.,"'\lOM FINANCIAL SERVICES
               Defendants,


                                                   MOTION TO DISM ISS

            Comes uow MAURICE SYMONETTE and MACK WELLS with motion to Reconside r Ask.ing
            tha t all of Judge Valerie Manno Schurr's Orders be Vacated from 2007 until now which is
            l\1AURICE SYMONETT'E's Quiet Title Lawsuit. Because she Recused herself. Rule 1.540 (b)
            says (2) Newly discovered Evidence (3) Fraud and Misconduct (4) Judgment Order is void; (5)
            Prior Judgment (Judge Zabers prime Judgment was Dismissal with Prejudice which must be
            upheld . On motion and upon such terms as are just, the court may re live a party or a party · s
            legal representative from a final Judgement, decree, order. or proceeding for tbc following
            reasons:

                2. Newly djscovered evidence (we discovered her Form 6 Full and Public Discfosure of
                   Financ ial lntere-st and the PartJJerships and ownershi ps of the Banks involved to work
                   the Conspiracy by giving Judge Valerie Manno Schurr gifts of Monies to take the
                   property from the Homeowners which by due diligence could not ha e bee □ discovered
                   in time ro move for a new trial or rehearing; because we just got the records from the
                   State showing that in 2008 on the Docket Mack Wells finally put in a Motion to Dismiss
                   with Prejudice because Lawyers wouldn't follovv t he Judges Orders to bring in the Note
                   Exh. (C) we also saw that Judge Zabel did a Dismissal with Prejudice in 2008 and three·
                   witnesses with Affidavits have sworn to have seen this and iL was on the record wit.h
                   Judge Zabers signature that we typed up saying the case is dismissed with Prej udice
                   0410712009 as indicated on the Docket of which I now have the Red stamp Certified
                   Copy of the Docket see Exh. (C) line number (10) and we now found
                3. Fraud and Misconduct using Horrible Conflict of interest in violation of FI. Rules 2.160
                   That in 2008 Judge Valerie Manno Schurr received $995,000 on her Form 6 Full
                   Public Disclosure of Financial Interest $91,000 from GMAC and $129.000 from Well
                   Fargo T hat's Partners with GMAC and U.S. Bank ExJ.1 .(DD) on her Fom, 6 Ful l and
                   Public Disclosure Of Financial Interest line number (5,6, and 7) B.




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         4. Judgment Order is Void because in 2010 on the Docket Judge Valerie Manno Schurr
             whom we have never seen put                                      _
         5. (Changing Prior Judgment) in the same Dismissal with Prejudice with our typing but
            with her name and signature and the Judge that Dismissed the Case wid1 Prejudice Exh.
            (F3) as seen on the Docket line (11) this was done because the Law says that no Judge of
            the same Circuit Court can change the Order of the Judge in tbe same Circuit Court so
            she made her own order that did not Change Judge Zabels Order exactly one year after
            Judge Zabels same Dismissal with Prejudice hoping we would not check this, s~ that sbe
            can then therefore only her Order and get paid to change her own Order so that it
             wouldn't be Criminal. This was done to Save Judge Zabel, the L1wyers and U.S.
            Bank/GMAC BA K from being caught and the Conspiracy to steal the property
            concerning Judge Zabel doing a Judgement against Homeowners without an actual
            Complaint or Certified Copies of the Note. Allonge. Mortgage and Assignment or as
             Florida Statues states: No Judgments should be rendered until after the Original Copy of
            the Note Allonge. Mortgage and Assignment and other Docs on the record yet they did
            that wl1ile the Homeowners where making payments to Axiom Bank on time this is a
            felony and a Conspiracy. Because at tbe time during Judge Valerie Manno Schurr
            Dismissal with Prejudice Judge Valerie Schurr received from Wachovia, Bank of
            America $650J)O0 line (9) as seen on her fonn 6 Full and Public Disclosure of Financi,tl
            Interest those Banks are Partners with U.S. Bank and GMAC see Exhbs (EE) and she
            received $128.000 from Wells Fargo and $410.000 from GMAC the Fake Servicer of
            the Homeowner's Note.
            Then without notice to the Homeowners knowing that because we knew tbe case was
            Dismissed with Prejudice and that we would no longer check on Court Records to find
            out that Judge Valerie Manno Schurr had a private secret Ex Parte Hearing with U.S .
            Bank's Lawyers and changed lier ( Judge Valerie Manno Scburr's) Order which
            illegally and effectively changed Judge Zabel' s Order from Dismissal with Prejudice to
            Dismissal without Prejudice to give see Docket Case number 07-l24D7-CA-OJ line ( 14)
            of the Docket and Exh.(F and F2) 08/25/2010 U.S. Bank the right to file another
            Foreclosure Lawsuit against the Homeowners all without their knowledge as seen on a
            2010 61928-CA-0l prosecuting the same case that was Dismissed with Prejudice of
            which we found out by mistake that tJ1ere was another Foreclosure Suit against the
            property. And after 20 IO Judge Valerie l\.fanno Schurr did this she suddenly has
            $ 1,000.000 from City National Bank, Wachovia, Bank Of America which are aJI
            Business Partners of U.S Bank and GMAC Bank see Exh .(FF) line (7) she indicates
            another $400.000 from GMAC the Fake Servicer of the loan and part of th e Conspiracy
            to steal the property and get out of trouble from Federal S.E.C Fraud and crimes against
            the Court and the property owner to hide the MERS Fraud of lying about selling Notes
            on the Market as proven by tbe Cusipone Expert" s Affidavit showing that U.S. Bank
            National Association As Trustee never had any ownership of the Leroy Williams
            Mortgage because Axiom Bank sold the Note to Fidelity Strategic Fund which is on the
            Market until today, Exh.(A) and when you do the SEC Edgar Search under US Bank
            National Association as Trustee there is no Axiom Note in their Pool of Notes Exh. (ZC
            and J). Judge VaJerie Manno Schurr admits to these crimes by Recusing herself from
            Malllice Symonette 's ca.se who asked her to Recuse for Crimes misconduct and
            Conflicts of In terest see_ Exh. ().According to Rule 1.540 (b) (c) (d) (e)
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           1. That the judgment, or order has a prior judgment of Dismissal with Prejudice on the Docket
               of Case Number 07-12407-CA-07 line (IO and 11) and that Judgme~t of Dismissal with
               Prejudice must be returned to Dismissal with Prejudice and void and or strike the 2007-
               12407-CA--01 and 2010-61928-CA-Ol case because Judge Valerie Manno Schurr recused
              herself because I brought this to ber attention that she -did this Crime and Scheme. this title
              must be cleared and also because she did not default them wJ1en it took them 6 months to
              answer my Lawsuit that must be Defaulted but wasn ' t Defaulted because Judge Valerie
              Manno Schurr helped them because City National Bank gave her $400,000 which is
              business partners with U.S. Bank. GMAC, Royal Bank of Canada. Wachovia and Wells
              Fargo are all Business Partners and one big happy Family this is a Horrible Conspiracy and
              Conflict of Interest to steal Property from helpless Black People this is Racism and
              Descrimination in the utmost so therefore we demand that this case be Reconsidered from
              the beginning of this case until today this case must be DefauJted and Returned to Dismissed
              with Prejudice




                                                                       15020 S. River Dr.
                                                                       Miami Fl. 33167




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     FORM6                                               FULL AND PUBLIC DISCLOSURE                                                                                         2020
                                                           OF FINANCIAL INTERESTS                                                                  FOR OFFICE USE ONLY:
                                                         I                                                                                 I

         ••uu••AUTO**ALL fOR ANJC 331 T3              Pl 98 337                       FLORIDA
         HON SAMANTHA RUIZ COHEN                                                 ~OWISSION ON ETHICS
         CIRCUIT COURT JUDGE
         Judicial Circuit (11th)                                                             JUN 2 5 %121                        ID CODE           Illllll lllll lllll,111111111111111111

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         Elected Constitutional Officer
                                                                                                                                 IDNO.             47078
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         73 W FLAGLER ST
                                                                                             RECEM:D
                                                                                                                                 CONF. CODE
         MIAMI FL 33130-1724
         IIf 11111 ••I II I' 1I''111,, 11, 1,. 11,, 1,., i., 1111111, 111, IIII111 II I• I                         ~)            Cohen, Samantha Ruiz


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  CHECK IF THIS IS A FILING BY A CANDIDATE                                □                             ,.,.~-·-

                                                                                     PART A- NET WORTH
 Please enter the value of your net worth as of December 31, 2020 or a more current date. [Note: Net worth is not cal-
 culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]

            My net worth as of                      Plo.rc.~ .3 \ {                               , 20 ~ was $ d 1                  ~:/\J I l \..\ <a ,i d_
                         ,..

                                                                                             PART B - ASSETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
    Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1,000. This category includes any of the
    following , if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects; household equipment and
    furnishings; clothing; other household items; and vehicles for personal use, whether owned or leased.

    The aggregate value ofmy household goods and personal effects {described above) is$                                      a,s:l 000 • riD
 ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
                        DESCRIPTION OF ASSET {specific description is required - see instructions p.4)

 Hofl\e. PriMo.,v Re.~ieieNce                                                                                                                       .,          VALUE OF ASSET

                                                                                                                                                             l 1 ~ 00, O O 0 . CD
 Vo'/Q        Ret\('~l'I\Jt{* -                                                                                                                    ~            a~\, 15b.5',
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LIABILITIES IN EXCESS OF $1,000 (See instructions on age 4):
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                                                                           ef S;:l1            C - LIABILITIES
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                NAME AND ADDRESS OF CREDITOR                                                                                                                 AMOUNT OF LIABILITY

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JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                                                    AMOUNT OF LIABILITY

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 CE FORM 6 - Effective January 1, 2021                                                         {Continued on reverse side)                                                      PAGE 1
 Incorporated by reference in Rule 34-8.002(1), F.AC.
     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 267 of
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                                                                       PART D - INCOME
 Identify each separate source and amount of income which exceeded $1,000 during the year, including secondary sources of income. Or attach a complete
 copy of your 2020 federal income tax return , including all W2s, schedules, and attachments. Please redact any social security or account numbers before
 attaching your returns, as the law requires these documents be posted to the Commission's website.

 □        I elect to file a copy of my 2020 federal income tax return and all W2's, schedules, and attachments.
          [If you check this box and attach a copy of your 2020 tax return, you need not complete the remainder of Part Dl

 PRIMARY SOURCES OF INCOME (See instructions on page 5):
    NAME OF SOURCE OF INCOME EXCEEDING $1,000                                     ADDRESS OF SOURCE OF INCOME                                         AMOUNT




SECONDARY SOURCES OF INCOME [Major customers, clients, etc., of businesses owned by reporting person-see instructions on page 5]:
            NAME OF                                 NAME OF MAJOR SOURCES                          ADDRESS                              PRINCIPAL BUSINESS
         BUSINESS ENTITY                              OF BUSINESS' INCOME                         OF SOURCE                             ACTIVITY OF SOURCE




                                     PART E - INTERESTS IN SPECIFIED BUSINESSES [Instructions on page 61
                                                 BUSINESS ENTITY # 1                  BUSINESS ENTITY# 2                           BUSINESS ENTITY # 3
NAME OF
BUSINESS ENTITY
ADDRESS OF
BUSINESS ENTITY
PRINCIPAL BUSINESS
ACTIVITY
POSITION HELD
WITH ENTITY
I -OWN MORE THAN A 5%
INTEREST IN THE BUSINESS
NATURE OF MY
OWNERSHIP INTEREST

                                                                   PART F - TRAINING
 This section applies only to officers required to complete annual ethics training pursuant to section 112.3142, F.S. [See instructions p. 6]
                             0        I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.

                               OATH                                      STATE OF FLORIDA IY1 '
                                                                         COUNTY OF
                                                                                                     ...
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 I, the person whose name appears at the                                 Sworn to (or affirmed) and subscribed before me by means of
 beginning of this form , do depose on oath or affirmation               ~hysical presence or
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 and say that the infonnation disclosed on this fonn
 and any attachments hereto is true, accurate,
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 and complete.


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                                                                         Personally Known _ __ _              OR     Produce

                                                                         Type of Identification Produced _ __._,S_L:::...__D::__...L . - , , ; ' - - - - - - - - - -


If a certified public accountant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepared this form for you, he or
she must complete the following statement:
I, _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _, prepared the CE Form 6 in accordance with Art. 11, Sec. 8, Florida Constitution,
Section 112.3144, Florida Statutes, and the instructions to the form . Upon my reasonable knowledge and belief, the disclosure herein is true
and correct.


                           ~~re                                                                                                  ~
Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign the form under oath.

      IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                                     □
CE FORM 6 - Effective January 1, 2021                                                                                                                        PAGE2
Incorporated by reference in Rule 34-8.002(1 ), F.AC.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 268 of
                                     597
                       . 11:01




                       Wachovia Bank is a wholly Olf;ned
                       subsidiary of Wells Fargo & Company. Th,~
                       pu rchase of Wachovia Corporation by Wells
                       Fargo was completed on December 3'!,
                       2008. Wachovia was the fou rt h-largest
                       bank holding company in the US based on
                       total assets.




                       What bank took over Wachovi a?


                       What is the hi sto ry of Wa chovia Ba nk)


                       vVhat time does Wachovia Bank Open?


                       How to access a Wacl1ovia cl1ecking account?



                       vV ...ic.; l1o vi--1 Is Now \A/ell s Fc.1r g o - W dl '.'::
                       Farqo                                      -
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 269 of
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    Voya VARIABLE FUND$ Buys
    PNC Financial Services Group
    Inc, McDonald's Corp, Baxter ..
    insider


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    (Curreni Pc:r fc;UrJ) buys PNC Financial Services
    Group lnc7 McDonaldrs Corp, Baxter
    jnternational Inc, ViacomCBS Inc, Bank of
    America Corp, sells Fiserv Inc, Citjgrcup Inc,
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    Activision Blizzard Inc, (U.S. B~ncorp, _/liS' L;~ _), )):~v'l'\
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    Constellation Brands Inc during the 3-months ~ 7
    ended 2021Q3, according to the most recent
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 270 of
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                                                   Exhibit 62   Exhibit 21


          .S. Bank Enters Co
       ·. rand Agreement w·th
      BM • to Issue New Card
        ith Enhanced o· gita
      Experiences, Greater
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         U.S. ank Enters Co-bran Agreem~nt ' • t 6MW
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        INNEAPO. IS -- July 22          1   2019

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                                         597




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/ Assets
! Househotd goods and personal effects r.,ay be re ~ort~d n a lump sum if their aggrega:e value exteeds $1,000. Th;5 c::itegc ,
    lncludes any of the following, if not held for investment pwposes : iewelry; coifections of stamos. guns, and numisrr.at c ,: e"'1'i
! art objects; household eqi.,ipment and furnishings; cloth·ng. other ho·~sehold items; and vehicle$ for personal use . whe,ne·
\ owned or leased.

    The aggregate value of my househo:1 gcods and persona effect is S 210,00C.O0.
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f
• ASSETS INDIVIDUALLY VALUED AT OVER $1 ,000:

     Oe.scriptlo n of Asset                                          Vakle of Asset

I    Home -Primary Residence                                         $ 1.850,0CO.00

     House at 2955 south Miami avenue, Miami FL 33129                S 930,000.00
     House at 16256 sw 97th street M ia'11i FL 33196                 S 375,ooo.oo
     wells Fargo savings                                             $137,506.36

     wells Fargo savi ngs iQ                                         $ 153,1155.04

I wells fargo checking
J
                                                                     $ 54,410.00
                                                                                                                                                                           l
                                                                                                                                                                            '

I wel·ls fargo checking (Payret Property Management)                 S 6,208.70

I' Vo'{a retirement                                                  S 251,663.08
     Invesco Retirement (In name of spouse)                          $ 744,636.20

     Luks retirement (In name of spouse)                             $ 160,551.81                                                                                           l!
I Alliance Bernstien !m name ot spou5P.)                             $532 ,198.00
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    LI ABILITIES IN EXCESS o ; $1,000:

! N:aMe of Creditor                  Address of Creditor                                                                              Amo~.mt of Liabit;t)
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    Wells Fargo Mortgage             po box 66C278 )al as. Tx 7526£                                                                  • S 874 ,506.74
    ~MW Financial Se rvice~          po box 3608 D1,;bl1". OH 430Hi-D306                                                         ... .$ 4.512...00   ..
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 272 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 273 of
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                                     597
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                                                                                                                f_~t
                    Chase & Co. raised their price objective
                    on shares of U.S. Bancorp from $55.50 to
                    $58.00 and gave the cornl?any aRneutrat"
                    rating in <J research note on Monday,
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                      ovembe r 4t~ Citigroup lowered sharesJ
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                   C~:~.l!~.~.:Effrom a dneutrar' rating to
                    a-~'sell" rating a.nd decreased their price ~·
                    target for the stock from $54.00to
                    $49.00 in a research report on Tuesdayt
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                    October 8th. Morgan Stanley restated a
                    "seW'! rating and issued a $6200 price
                    target (up previousfy from $61.00) on
                    shares of U.S. Bancorp in a research
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                    report on Monday, November 18th.
                    Credit Suisse Group restated a (7hoidn
                    rating and iss·ued a $55.00 price target on
                    shares of US. Bancorp in a research
                    report on Thursd~y. September 12th.
                    Finally, UBS Group lifted their price
                    target on shares of U.S. Bancorp from
                    $56J)O to $58.00 and gave the stock a
                    "neut ra I" ra ting ma
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                    Monday, October 21st. Four ,nvestment
                    analvsts ha.J@ 1:Jl"Sd et 12 s @£1' with a sen
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                      princ~pa.l amount -Jf 3.20tJto sen..>or notes due 2029.

                      ;n addition. Equinix ~'i1Pleted a concurrent tender
                      offer fer any and ail of its outstanding 5.375% sen:,:'.1,r
                      notes due 2022. 5.375% senior notes due 2023. and
                      5.750% senior notes due 2025, which ,-ter-e pard fur
                      v..'fl:h the proc~s !mm the s~i,ic'f" notes offe-ring.

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             -- _¾aniu:'s~ BaQ::?JP]trlvestments, Inc. are ati ~
                     underxrlters involved in the offering.

                      E'quirnx, an American muJtinationa1 company
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                     strategic markets across the Amencas. As~a,cific, •
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                     Tne- Da\'is Poik corporate team inc~ud~d parlnf:.rs
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 293 of
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         CORRECTIVE ASSIGNMENT OF :rvrOR TGAGE
        MERS phone nurnoer, l-888-6i9-153 77
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        FOR VALUE RECE.IVED, the w1dmigncd, !'>10RTGAGE ELECTROl',lC R£GISTRATIO~ SYSTI:.'o{S.
        INCORPORATD> AS NO,tTh'EE FOR AXJ0.\ 1 FINAl~ClAL SERVlCE.S. ("Assi~} ~ e t:rio= ts
        P.O. Box 2026, Flmr. Ml 48501, assi gned, transferred and conveyed to: i_:_s_ !IAl'lt< NATION.-'J..
       ASSOCIATION AS TRVSTIE FOR RASC Z005AHL3. ("Assign~•) who.se addn:s.s i.s I mo Yi,;;rci! Dr,,.,,
       !'ort Washingto11. P.'\ 19034, its 51!""...c=ts andt'or assigns. all of the rigb~ title, o.nd interest of -~ goer in -:_'1<1 m
       tlra: certin Meng;,~ (tl:e •Mor..gagei date<! June 30, 2005. and recorded July 29, 2005. in Offic12I R.econl5 o_;-,ok
       :3623, at Pnge 323i , of the public records of MIAMI-DADE CoUllry, Florida. encumbering the followmg-
       <ie=ibed real ?Tvll=Y'

                LOT 105. BISCAYNE GARDENS SECTION F PART I, ACCORDING TO THE PLAT
                THEREOF . AS RECORDED IN PLAT BOOK 44, PAGE 46, OF THE PUBLIC
                RECORDS OF MIAMJ-DADE COUNTY, FLORIDA

       as the= r.:ay t :n e b= an=ided from time to time.

       The pur;,osi, oi ll:is Ccrrective Assignment of Mortgage is 10 correct the Assignment of Mortgage recorded on
       1l/2Cl2008 a: 09-4 1: l i in 2008R09416!6, of the official records of Maimi-Dade Cowity, Florida, by Harvey
       RlNin. ~ k oi Coun.

                • Cbnged to MORTGAGE ELECTRON1C REGfSTRATION SYSTEMS, INCORPORATED
                AS ~O~tiNEE FOR AXIOM FINANCIAL SERVICES :is MORTGAGE ELECTRONIC
                REGISTRATION SYSTEMS, INCORPORATED AS NOMINEE FOR HOMECOMINGS
                FINANCIAL LLC is not a valid eotiry

                MORTGAGOR($): LEROY WILLIA-MS

        {1 IN wyz:rss WHEREOF, Assignor has executed =:I delivered !his lnstrumem on
             Jr \.                             ,2012.
        V




      STATE OF
                     Pennsvlvania
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            ~ ~ r e ~ ~ e n t was acknowledged before me :his                    / If
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   Jacqne.L"J.,_, .._,._Cel~;forandoa bebalfofMORTGAGEELECTRONI       ISTRATION
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     ~c,L:;,4~ &k
     Notary Public:           /.    /.    -
     My commission expL>-es: / <7r!' J-D6

      Recording ~ c d by, prepared under the supervision of nnd return to:
      Ken Porter
      Florida Default L>.w Grouo, P .L.
      P.O. Box 25018         •
      Tampa, Florida 33622-50 18
     F1 005i l ~ C MORTGAGE. LLC-




      Book28033/Page1695                                              CFN#20120182835                                                                Page 1 of 1
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 295 of
            Quora                    597                ,~;)?.p~~jn\~f ,_
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                                           co:,
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           Are the roots of Morgan Stanley and
           JPMorgan Chase the same (i.e.
                                                                            •
           JPMorgan & Co.)? What are their
           histories?
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              Answer          Follow     Req uest      Detai ls                                   More

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           JPMorgan Chase & Co. is the parent holding company of
           Chase(Commerical Bank) and JPMorgan(lnvestment
           Bank).

           John Pierpont Morgan (J.P. Morgan) founded J.P. Morgan
           & Co., which is the predecessor to Morgan Stanley and
           JPMorgan Chase.
           As a result of the Glass-Stegall Act of 1933, J.P. Morgan &
           Co. was broken up, it spun off its investment banking
           activities into Morgan Stanley.

            ◊ Upvote          ◊    0   0                                                                   ...
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 296 of
                             U.S. Bancorp
                                      597 - Wiki ...             •
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                                                          en .wikipedia.org
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           := 1 American bank hoi ding company                                     [IDbancorp
           based in M inneapoli s, Minn esota, and
           incorporated in Delaware.f 41 It is the
           parent company of U.S. Bank National
           Association, and is the fifth largest
                                                                                                                                                                    ---
                                                                                                                                                                    .,,.,,.,,.
                                                                                                                                                                    txh-~2-
           banking institution in the United
           States.l 5l The company provides
                                                                                                                                                                    Ex~ .4,
           banking, investment, mortgage, trust,
           and payment services products to
           individuals, businesses, governmental
                                                                                Corporate he-adqua rter~ u '.~ &.-,,)~orr. r: .. ,\ i..,.
           entities, and other financial institutions.
                                                                              Tr,1de n<1111c             US. Barile
           As of 201 9, it had 3,106 branches and                             Company type f-\.blir:
                                                                              Trndcd ;1s                 i,.'f-S[ U:.:B; •
           4,842 automat ed teller ma chines,                                                             s~.r    I r.W component
                                                                                                         'S:t.1'> 5",nJ component

           primarily in the Western and Midwestern                            Industry

           United States.[ 21 In 2023 it ranked 149th                         Founded                    July 13, 1863: 16 1 year~ ago


           on the Fo rt une soo,[ 61and it is
                                                                              Numbe r of                 3,067 r. 1,m:h.-:. and 4,77i
                                                                              locations
           considered a systemi call y imp ortant                             Key people                 Andrew Cecere


           bank by the F·inancial Sta bi lity Board. The                      Products                   1· .• ,i. p; ·,· 1 [i,1 11!,.1w1.r,,111-:r.l ..

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           company also owns El avon, a processor                                                        !"1tHl$, p, ,.,,itl•• h.1r.L1HJ. P,,,, 'II ~
                                                                                                          ~,1111y. \'/.:.,,1:h 111.Jn..1.wn,;: 11!.
                                                                                                         C1 r ~lil l ,1fll , f u ::1't.ll
           of credit card transactions for
                                                                              Revenue                     .,; v;;~28 . 144 b1lho11 {2023)

           merchants, and Elan Financial Services,                            Operttflng                 6,150,000,000 United StJtes
                                                                              income                     dollor (2020)   •

            a credit card issuer that issues credit                           t~t:I income               T USSS.429 brllron (2023)
                                                                                                         T USS663 491 bollron (2023i '
                                                                              T t>l.;1! .t!;!..clt.

                                                                                                           , USSSJ.660 billion (2023)
           card products on behalf of small credit                            Tott1I uq11i17
                                                                              Number of                  77.000(2022)
                                                                              employees
           unions and banks across the u.s_!7l                                                            El.rn Fmanc1al Service~
                                                                                                         [1:,vn n
                                                                                                         ·1.,!,~ I,

           U.S. Bancorp operates under the second-                            C:lpitol tMio               10 9t.) l1t"·I I (2017}

                                                                              Rating                     Long Term Senior Debt
           oldest continuous national charter,                                                           :,:•.:cd•, ·· A 1 (10i2016)
                                                                                                         ~.':.F"· A+ ( 1012016)

           originally Charter #24, granted in 1863                                                       Fn:: h· AA (10/20 16)
                                                                                                         Dl:RS AA (10/2016)
                                                                              Website
           following the passage of the Nation al                                                     Footnotes/ referenc es
                                                                                                                  !::!

           Bank Act. Earlier charters have expired \._
                                                     ----------~
           as ban s were closed or acquired, raising U.S. Bank's charter ••\
                                                                                                                                                               fr
           number from #24 to #2. The oldest national charter, originally 'j
           granted to the First Nati onal Ban k of Phil adelphia, is held by
           Wel ls Fargo, which was obtained upon its merger with
           Wachovia. [s]    /~--,- -- -----.__...-- - - - -- -
           1 . _ _ _ . - --   --   .........,,.•••
         12
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 297 of
                                     597




                       principal amount of 3,200% senior notes due 2029.

                       In addition, Equinix completed a concurrent tender
                       offer for any and all of its outstanding 5.375% senior
                       notes·due 2022, 5.375% senior notes due 2023, and
                       5.750% senior notes due 2025, which were paid for
                       with the proceeds from the senior notes offering.
                      - - - - - - - - - - - - - - - - - - - - ---.
                  /    G o ~ Sachs & Co. LLC, BofA Securities, Inc., " "
                 (     Citigroup Global Markets Inc., J.P. Morgan Securities    1---·
              I        LLC, Barclays Capital Inc., Morgan Stan_ley &_Co. K~
             ./        LLC, MUFG Securities Americas Inc., RBC Capital          \
                       Markets, LLC. SM8C Nikko Securities America, lnc..           ,
                       TO Securities {USA) LLC, Deutsche Bani< Securities           /
             I         Inc., 1NG Financial Markets LLC, BNP Paribas
             r         Securities Corp., HSBC Securities (USA) Inc., Mizuho
             (         Securities USA LLC, Welts Fargo Securities, LLC,
             !
             \         PNC Capital Markets LLC, Scotia Capttal (USA) Inc ..
         ~ - a n d U.S. Bancorp Investments. Inc. are,_a_I_1th_e____~ /
                underxriters involved in the offering.

                       Equinix, an American multinational company
                       headquartered in Redwood City, Calffomia, connects
                       more than 9,800 companies directly to thek
                       customers and partners inside the world's most
                       interconnected data centers. Today, businesses
                       leverage the Equinix interconnection platform in 52
                       strategic markets across the Americas, Asla~Papfic.
                       Europe, the Middle East and Africa .

                       The Davis Potk corporate team included partners
                       Alan E Denenberg (Picture) and Emily Roberts and
                       associates AU De Golia and Caitlin Moy!es Cunnane.
                       rartner Rachel o. Kleinberg provided tax aavivc and
                       associate J. Taylor Arabian provided 1940 Act advi-ce.

                       involved fees eamar: T.ayl-or Arabian - Davis Polk &
                                               -   Q        . .
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 298 of
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           Case 1:18-cv-22211-DPG Document 5 Entered on FLSD Docke1 06124/2J19 <:la~e 1 of B




                                        UNITI:D STATES DISTRICT COURT
                                        SOl!TFIERN J)JSTRlCT OF fLORlCA


             CARL ERICKSO. ·,
                            Plaintiff,
             y


             R.ALPH W_CONFR£DA. JR ..
             US BA.-..,1< , 'ATlONAf
             JP MORGAl\ CHASE B-\NK                                                        J!JN 2'I 20IS
             CARL A LL:BETS.K Y
             .-\.LA.!'-: WASERSTEN
             KE. : rETHERICTRENT
             TERRAi'iC.E W ANDERSO N ct al .
                                   Defendants.


                              MOTIONS FOR RELlEF &. RE(USAL AND MI:MORA . Ol :\I .PJ:J.iill

                     Pursuant to Federal Rules of Civ:l Proceclure Rule 60, P'a imiff Carl Enc, .in ht:re.,\ fii e;
     /       1hi:1 ;\,iotion for Relid 't Recus:il :md Supporting l\lemorandum re-6ar ing tnc: Jun•! .261 , 20 i6
             Judge_Darrin Gayles s1m spo111<! review of the reoord and Dismi.;sal Order [Do::ume it #41 based
             on the follo wing facts_ new information. jusr terms_1urlicial mi! conduct frau du em :,'101.nls and
             di5covercd cont1ict of per.,onal ia ·.,estrnem imeres1s on Finarcia! Di~lo:ru re • of Jud_;;~.s and
             officers ofthi; Court (Exhibits Attached-JP ~Jorgan Ctme Spec at Situaw in Prowrt, Funds F'r<.S
             A.cCQunt Page 42_ FR - 20 18 Tabies - \ 3. SEC Fi lings- US 8 · nk fl,Jri,:a S.ibsi iar1cs. Gayles
             i7ina ncial L-1te1-e5ts & Properly Disclo>uresJ
                                                    r;,\CTLI AL BACKGR01-'ND
                  l . 011 June.;'\ ZOJS. Plaintiff Carl Erickson tiled a ci\'il action Cvmpla\1.1 ; 0<, Jm ~,u tt l j
             'iiing Fraud causes of action for "iC':a1ions of Federai tort la·vs. banking 1ea! estate : ecuritv
             asse-ts re!,'lllation vioiations and racketeering s.atutes
                 :     The Complailll was based upon precedem USDC rdated fili ngs c.ccept~rl b_:, non bia~ed
             profr,si::n.il 1uri.r;; that contained ,whatim ( l) a shorr and plai!l sta1eme1:I of d•i: gro Jnds tor ihe
             co iir!"s , •risdic:tio n: (2 } a short und plalll s-ratemem of the c.eim sho~ mg .t a, th,· ple::ler is
             emit lec to relief: al:d (3i a demand fort he relief sauf'1t under Fei . R Ci, P ~
                       On June 26'h 20 18. Judge Gayles issued and Dism !ssal Order a _,11, , -v ~,1;1,· r,vie\\ of tile


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 299 of
                                     597




           Case l:18-cv-22211 -DPG Document 5 Entered on FLSO Dockel 06/24;:".0lS- P«ge 2 of 8




             record <I> a quasi-defen.sc attorney foi uamed Defondar.ts and his per"5-:mal in .-str.ent !'BrtneIS
             including L! S. Bank and J f> ,'vlor~an Chase
                   4     Piointiff Encl-so           has nov. subs-."tJUently provided i 1e United S!ah. D. pan .1em or
             Justice (USDOJl spe1:irk newly discc,vei-ed whi ~Llebfo,,.,er i 1form;,1ion and ,:;~ i!ed records
             regarding hundreds of millions 0f dollars in cxpo~ed fraudultr.t for-eclornTe d ui ms mad by the
             Defendams arid Court officers in ,his action
                                                              ,\.JEM ORA I\/UUM OF LA \ t
                   The Plaintiff maintain:; timd~ Cvn~titut iona l due procesi, ~ivii rig ,rs fer '{ ule 6) Re li ef rn
             reoptn this ac(ion for fraud and amend the complaint tu jnclud~ :hi5                                          r,,' w   n:ateriol facr
             information and requ ire Judge Gayle~ recusai based on exposed financ ial cod td:. O' iate ·esrs
             FRCP Rule 60- Rt!ltc,: from a Jwlgn11:,,t or Urda

              (h Grow ,J.~ ji,r Relii!_./_fr,im a Final J11dpni!J11, Ord.tr. or Pro,_•.,, ,dinR I Jn mot1i ., , an i 111.1. /<!!'ms,
             th.! ....Yn11·1111ay re/11. 1 11': !.I par~v vr 11., i..:gc,J r f,1prtt.,e.nta,;vf! from af nai jud,!nfe111 ,·,r,, /er, ,Jr
             prrx:eed1111(jor rhefollnvmg reasons:

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             12) 111!wiy disco~·ereti evidence rhm. u-irh remv,wf>/1.' di/!ge11ce. c1uld not ha,-e /- ;e,1 tf.1 ,:mi:rei.1 i11
             w11i: fo r111H ·. :fi1r u 11ew rrfa! 1111dt!r !<.ult: 59(b) :

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             an upµo~llfl! pany:

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            pmceeJing.

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             Plaintiff's so caned "S.19tgun Coaml:iint'· pJeadine.s m Res Judicata based u0-0 1 Mill.~
             bao kiog rul esure fr•ud c:oni plaint filings esta bli!hed under presidin g Feden1J!!.!ill·rll
             set1led by fortv eight m11e 5Worn Anoroey Genrr I~ or the Uilltt d States of Ame ·ca.

                   A fede ra l judge is expected to recuse himself pursuant to '.< 8 U.S.C § 455 llnce,                                    s:i5 5(aJ,
            recusal is mandatory in "any proceeding in which !lis impartial ny migh: rersona ly be
             qu~ioncd" L"nde,- ~ 455(b). a judge is expected I·) disquali fy 1,imselfwh enn,:f an/ ,)flh~ five

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 300 of
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             Case 1:18--cv-22211-DPG Document 5 Entered on FLSD Docket 06/24/ 019 Paqe 3 of 8




               sramrorlly pre.,crib.;d crirerrn .:on be shown t.:> c.xi~; in fa,;1 e, ,~JJ it nc mrJtion c-, affi davit seeking
               ;uch relief ha~ beer, ti led. :ind regardless of whether a reaso11-11hle p . son .,,_,u ld q•.;e;tion the
              judge's impnmali1y.
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              household. lias af,11a11cial ime,~sr 1111h11 subject 11wrter /;1 ,·rm/ro1't'r ~•· or ;,,,, 1u 11_r tn rh,·
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              prOCt'edm;::s

               id)(J) ..[!na11ewl i111erest " mean, u•mersl11p UJ u /;:gal 01 eqmt, ·Ne rnI1:r.,s,. 111, u ·r r e/ .1m, ,I

              r:Ju11e 25. 19-18, .:h. fi./6. o:.? Stat. Y08: Pub. l. 93- 51], / I , nee. 5. /';~.J 'IN Sl!il. ! M,Y P11 '1. I.
              'J5 5Q'1, title fl, § 21-l(aj, (hi Nm ·. 6. 19 7!!, 92 S1a1. ]611/ . Fuh. / .. JOO- -02. 11! /r l'. j 170 '. i\i'.,1.
               /9, J'J8?1, 102 Stf.il. -166 -;'; !'ab. 1. IOI 650, ii/le 111. .,· 32 /, nee. ' !fJ'JV. ID-I .\tu, 51 n.j

                                                         cnNCLUSIONS

                      This ~lotion for Relief and Recusa i is based 011 wholly 11,-w tac1s. n: lat               ""-h-s1le lower
              in formation, 1villfu! blindness, fraua. misconduct. and discoverd evidence u,.k,.0 wn at 1Jie tim,.
              cf the original Complaint filing Plaintiff could not reasonably ~11uw !he tinanc1nl d alin:-s w.th
              Defendants of a yet tu l::.e assigned judge before the original Complai n! filing As ~-re,:1ou~ly
              dispiayed by his sua sponle Dismissal Order, due to cited impro~er finan cial c:                  tlrm     fimerest,
              Judge Gayles is incapable w proceed impartially and without animus against Pr, Se P!ai,.tiff or
              further exercise unbias.:c.i 'udic:al duries required for due process ustice in t his cn ,e.

                      fodge Gayle~ has creditor loan history wirh Defondam J P \.!organ Ch"se 1h,.t I u e<l
              preferential <ruid pro r;1w treatmem by his sua )JIOIW review an dismissni Orde, Judge Ci'l.yl e~
              has significant e>:posed investor financ ial interests in .he SL!bjec, matter in co:1.r\ erSi' am ' >A•i lh
              Defcndanr~ lJ.S Bank and J.P Morgan Chase that will be sub,antialiy ::l!gafr. dy a:fecwd by
              the outcome of these proceedings when the Plaintiff"u!ti mqre ty p ·evails"




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 301 of
                                     597




           Case l.18-cv-2221.1-DPG Document 5 Enten~d on FLSl) Docket 06i 2•:./2011= Page 4 of 8




                                               REQT.TIRED RELIEF
                   Pursuam ro Federal Ru!~ of Ci,d Proc-edure Rul ~ 60. P!ai11tifi· re.qu H:~ Relief from the
             Ju ne ::6'1,, 2018 Dismissu! Order (D-:x:umerrt #4] basea upc,1 the startd facr<. jt,.;I terms. cited
             misconduct. Rule 6<:· grounds and newly discovered bankin!!- n,al e3tnie fraud C\ co.;n otfic.e rs.
                   Said Reopening Relief l•Oltid ,t:quire the recusal .:if Juli~e G:tylcs from his r.n1 a.1y futur e
             related l.l S.. Bank :md J P Morgan Chase banking ieal estatr fraud CJses i 1his Dist ict The
             Dismiss.al Order Relie1 Rlso requires t'1 a1 ail oar.:,es be rems t.!!ed to th<!1r tin r po:si ·01 ; in L'lis
             a 1..1 ion requiring Clerk issuan1,;e of Summons upon the Defendants and aH·' w th,: fi! ,ng 0             2

             Motion rn Amend tbs: Compin'nt for ca.use. grounds and rearon; stated h~rei n.



             Filed· 6/2'1/ l 9

                                                                         Carl Ericksun-Plaindr
                                                                        PO Box 370(84 Minrn1 FL J ., 137



                                               CERTlFrCf'\TE OF SERVICE:
                     i HEREBY CERTIFY that ,n : 4th day of Jut:e. 2019 a 1ue and correct c,ipy (!(the
             foregoini was prQvidcd via th=s Coim ' s. electrnn ic til.ing system .o the atKrneys ,')r' re~'C•l'd




             Served . 6/24.' l9
                                                                 Carl Erickson-Plamt iff

                                                               PO 'Box 3700&4 1\.1'1,!mi FL 33 !37




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                           principal amount of 3.200°/o senior niJtes due 2029 .

                           ln addition , Equinix completed a co current tendH •
                           offer for any and all of its outstanding 5_375c10 senior
                           notes due 2022. 5.375% sen:or notes due 2023, and
                           5.750% senior notes due 2025 , whi ch were oaid fo•            Exh ( -':I   L   ,1

                          :ith :h€ proceeds from the senior notes offe nn~ - ~                • IL) L ~ . ~ '\

                           Goldman Sachs & Co. LLC. BofA Securit;es . lnc.,
                     /     Citigroup Giobal Markets Inc., J.P. Morgan Secu rities
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                           TD Securities (U SA) LLC, Deutsche Bank Se ~l! rities          \
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                 i         PNC Capital Markets LLC, Scotia Capital {USA 1Inc.,        /
                     \)    and U .S . Bancorp Investments. Inc are all :he     /
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                           Equ1nix, an American multinational cornpar.y
                           headquartered in Red wood City, California. l:onnects
                           more than 9,800 compan ies directly to their
                           customers and partners inside the world's mo st
                           intercon nected data centers . Today, businesse •
                           leverage the Equinix interconnection platform i 52
                           strategic markets across the Ameri~s. Asia- Pacific,
                           Europe, the Middle East and Africa.

                           Th e Davi s Polk corpo rate team ,nc:uded parmHs
                           Alan F. Denenberg (Picture) and E ily Robertf and
                 associates Ali DeGolia and Cai tlin Moy!es C nnane.
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                    Wachovia Bank is a wholly 011.ned
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                    Does vVells Fargo own Wachovia?                         Exh~~z
                    Wachovia Bank is a who!/ y ovmed                        £xh.,8
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         \1ACK WELLS

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         Other p.arty or his/her attorney (if representedl          Other Non-Party-VERONICA DlAZ

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                                                                    Signatur.= of Party
                                                                    s/Mack Wells-Plaintiff
                                                                15'120 S. Riv r Drive Miami FL 33 ~S7
                                                                        786-859 -9421
                                                                    BigSoss1043@yahoo.com




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         i11 rrru:rional im 1estor • and holding compa11 its that are campaign co11tributorc.. Also required J.o
         be pro-dw:~d is all a-parlt' correspo11d,nct records of yo a.n.tf yo ur reprl"Ur./1,•tin og~na with
         Judg~l ,mi court offturs ilt thb uction ill•·afring the Dc_f, nda11K




         The$e Hems will be inspected anc n:ay bt> copie-d at th at t ime. You wm001 have 1;, tuve t he original
          ,ems.

        You may ooev his s•Jbpoe.na by providing readab 1e c pies of t·1e items to be prod ceo to the pa , or
        h.f5/her anorney wht.i>C name appear~ on this subpoen;:i on or b-efore he schcdul~d date of prod ction,
        You ma)' condition the preparat ion of the coptl!s t.opon pz:y:nent in ad ~nee of the •easonabtt cos, or
        p-repamion. If you mail or deli~. he copies to the attorney vlhose name apµea,s on this subpoenil
        oofor~ the date iri<licated above, you do not have to appear in person .

        You m, y b~ in contempt of c~rt :f you f.i! to: (1) dPl)eilT as ~~ified; (2) furni sh tht: records instead
        of apµc-arIDI as provided above-; or {3) object to this stibpoena,




        Ronda Supreme Covrt Approvetl family L;iw Ferm l2 .93l(b), Subpoena for Proouc-..>en from a .' lo np~'1)' {ll/ l.S
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 322 of
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                                                                                       Exhibit 62 Exhibit 75
          You can only be excused by thE: person who~e narr,~ appears on this wbpoem :;r,d, unless P-lKus.ed by
          that person of the Cou , you snail respond as dire_ted, This part to be filled (XJt t,y the court or filled m
          withinfon11ation obtain~-d from the court:


          If you are a person with a disability w,10. nee s any accommadatJon in order to
          parti-dpatr· in this proceeding, you are entitled, at no cost to you, to th-e
          provision of certain assistance. Please contact:

          {identify appJicoble cc,urt personnel by none, address, and telephone number}
          at ledst 7 days before your scheduled court appearance, or i rmedlatety upon
          receivi ng this notification if the time before "he sched uled appea rance is less
          than 7 days; if you are hearing or voice impaired, call. 711.

          Dared: _ __ _ _ __ _

                                                                     CLER !< OF Tt-tE ClRCUrT ..::01.JR (SF,L)

                                                                     6y : .
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          I CE:RTIFY that l s--~t: notice to e"~ry other /:}arty o this acti.on of my intent t o ,,e rv!: a su~oena upon a
          p'"rs.or. who is n.ot a p:.rty to this act10:i d\rectir:g that i;;ers011 ,o produce docum t·ts or thi s witho rr
          d~pos.ition. I also certify tha: no DbJe-cticn under Florida Rule of Civil Procedure lJ~l ha:-.. bee n n~ce ived
          by the 1.mdersig~d within 10 oays of service or th!S no r,ce, it s.t1"1:ce was by hand-ddi11cry or
          appropria-re facsimile transmission, and within 15 days if s.e<Vice was by maH or~- a,,

          Dated; 2/ 26/20

                                                                                   .s/Mack Wells-P!alntiff
                                                                               1S020 S. River Dri--.1'.? ~ bm, Fi_ 3 316 7
                                                                                  786-859-942
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 323 of
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                                                                                                                           Exhibit 62 Exhibit 7 6
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 324 of
                                     597

                                                            Exhibit 62 Exhibit 77
      N 11-IE CfRC IT COURT OF THE ELEVENTH
      JUDIClAL C[RCUJT IN AND FOR ~HA\11-D ADE
      COU"\:TY. FLORJDA
                                                                                                           ......,
      CASE NO .: _t) I 0-CA-61928                                                          - -.... ::...
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      LEROY \\'JLLL.\MS, el a!..

               Defendants.


                    ORDER O       DEFENDANT'S ,.\ .MENDED MOTIO, TO DJSt\lISS
                                     FORECLOSURE COM1'LAl1'ff

              THIS CAUSE having come before tJ,e Court upon Defendant's Motion to Dismi ·s

     Foreclosure Complaint. the Coun h:.wing heard oral argumem on said Motion and the Court bei □

     olherni se duly advised in the premises. it is hereupon:

              ORDERED AND ADJUDGED that Defendant's Mmion to Dismi. s Forcciosure

      Complaint is hereby GR.     TEDe




              DONE and ORDERED               Ch::i.mbers in Miami. Miami-Dade Co U;1t:,-. Florid-a. on
                    .it.                in


     November      li   . 2019.


                                                          Circujt Court Judge
                                                                                V£1lON1CA A. DL'-Z




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      FJUD                                                       Exhibit 62 Exhibit 78 pg.1
      U.S. Bank, National Association, as Trustee for        TN THE Cl.RCUfT <:OURT OF THE
      RA.SC 2005.AJ-lLJ                                      ELEVENTH J D!CLA.L CfRClJlT
                                                             IN AND FOR MlAMI
      Plaintiff,                                             DADE COUNTY, FLORIDA
      vs.
                                                             ClRCUIT CIVIL OiV!SIO .•
      Leroy Williams; Unknown Spouse ofL°'-~Y
      WiUiams; James Littlejohn a/k/a Jame '-· Jolin.        Case No. 2010-61928-CA-0 I
      James; Unknown Spouse of James Littlejohn ~A
      James L. Jolin ; Hoke Wifoams; Un.known Spouse of
      Hoke Williams; Mack Wells; Unknown Sp-0use of
      }.,fa.ck Wells; Curtis McNeil; Unknown Spouse of
      Curtis McNeil; Symonerte Limited Partnership;
      Deutsche Bank, 1ationa1 Trust Company, as Trustee
      for Franklin Credit Trust Series l; Miami-Dade
                                                                                   ·~ :::
      County, Florida: State of Florida, Department of                            ·.r: ,--<:: .
                                                                                  f - ~_,.-
      Revenue; Unifund CCR Par1ners, G..P.; Suntrust                                 ~-   .- i


      Bank; City of North Miami, Florida and Tenant #1

      Defendants.
      _ _ _ _ _ _ _ _ __ _ ____ _ _ __ !

                                  FINAL JUDGME T OF FORECLOSURE

            THIS, CTION y,,as beard before the Coun on Plaintiffs Final Judgrrlen: on November
      29 2017 on. On the evidence prese-nted, IT IS ORDERED AND ADJ DGED that Plaintiffs
      Final Judgment is GR.\.NTED against alJ Defendants listed by name: Leroy WH!iams: Un.known
      Spouse of Leroy Wtliiams; James Littlejohn a'k/a James L. Jolin, James· Unk:nO\v'JJ Spouse of
      James Litt! job.o AKA James L Jolin· Hoke \Villiams-; nknovm Spouse of Hoke Williams;
      Mack WeU.s· Unknown Spouse of Mack WeUs; Curiis McNeil; Unkno..,,'Il Spouse of Curtis
      . 1cNeil; Symoncne Limited Parmership: Deutsche Bank National Trust Compan;, as Tm.stee for
      Franklin Credit Trust Series I; Miami-Dade County, Florida; Stale of Florid.a, Qepartrnent of
      Revenue: Utl.ifund CCR Partners, G.P.; Suntrust Bank: City of North Miami . .Florida..

      l.      Amount Due and Owing. Plaintiff is due:

           Principal due on the note secured by the mortgage foreclosed:          $448,000.00
           lnte-rest good thru l 1t29/ l 7                                        $307,333.74
           L':!te Charges                                                             $137.20



                                                                                    Fil" # 13-F0'286S
        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 326 of
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                                                                     Exhibit 62 Exhibit 78 pg.2
                   Prior Servicer Escrow Advance                                                 $160,443.94
                   Tax.es 2013                                                                      $6, 09.l 9
                   Taxes2014                                                                        $6,901 .04
                   Taxes 2015                                                                       $7,48g. 14
                   Taxes2016                                                                        $7,534.96
                   Flood insurance 2011                                                             $2,301.75
                   Flood Insurance 2015                                                             $6.085.68
                   flood Insurance 20 J 6                                                           $6,021.27
                   Flood Tnsurance 2017                                                             S!,500.00
                   Hazard Insurance 2014                                                            $6,352.83
                   Hazard Insurance 2015                                                            $6. 146.00
                   Hazard Insurance 2016                                                            $6262.00
                   Hazard 1nsurance 2-017                                                           $2, l 97.36

                    Attorney's Fees Total                                                           54.689.00

                   Co urt CostsJ N ow Tax~d:
                   Expert Affidavit                                                                     $14.00
                   Service of Process                                                               $1 ,935.00
                   .Publication, otice of Action                                                      $230.00
                   Additional Costs:
                   BPO                                                                             $1,302.00
                   Property Inspection                                                             Sl,172.25
                   Maintenance                                                                       $340.00
                   GR.\ND TOTAL                                                                  $991,297.35

              2.      Tnteres l The grand total amount referenced in Paragraph I sh.all bear interes1 from tJus
              date forward at the prevailing legal rate of interest: in accordance with Section 55_03, Florida
              Statues.

              3.     Lien on Property. Plaintiff, whose address is ]661 Worthington Road, Suite 100, West
              Palm Beach, florida 334i 6, holds a lien for the g.rand total sum superior co all claims or estates
              of the defendant(s), on the follo,ving described property in Miami Dade Cornty. Florida:
              LOT 105. BISCAYNE GARDENS SECTION "F" PART l, ACCORDING TO THE
              PLAT THEREOF, AS RECORDED 1N PLAT BOOK 44, PAGE 46, OF THE P UBLlC
              RECORDS OF ~fL.6,.JvU-DADE COUNTY, fLOR1DA.
                    Property address: 15020 Somh River Drive, Miami, FL 33167

              4.     Sale of pr operty. lf the grand total amount with interest ac the rate described i.n
              Paragraph 2 and all coses accrued subsequent to this judgment ai-e not paid, tbe Ckrk of the
              Court s~JI se!l ~e subject property at pu?lic sale o~ ~ M• _3 0 W'8 _ . ~~ 9:00_A.~
              to lhe h.igh€-St bidder for cash after hav1r'.lg first give nouce 3.S required by S<!'ct:JOn 4;:i.0;1,


               Case No. 2010-6 I 928-CA-0 I                    2                                   File# 13-F0286S


_ _ 1 __
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 327 of
                                       597


                                                                       Exhibit 62 Exhibit 78 pg.3
          Fiorida Statutes.       The subject          properry    shall    ~     sold    b-    ekctror.ic     sale    at:
          ·wv,rw,rniamidnde.realforeclose.corn.

          5.           Costs. Plaintiff shall advance all subsequent costs of tbis action and sh.all be reirobu.-rs,.."il
          for !hem by tbe Clerk if plaintiff is not the purchaser of the property for sale, provided., howeve-,
          that the pUtchaser of the property for sale shall be responsible for documenuuy stamps affLxed to
          t:i'i e ce.rt:.ificate of tiUe. Lf plaintiff is the purchaser, the Clerk shall credit plamtiff s bid v.,ith the
          total sum ·with interest and costs nccruing subsequent to Hus judgment, or suc h pa.rt of it. as is
          necessary to pay the bid in full.

          6.      Distribution of ProceM On filing the Certificate of Title, the Clerk _hall distribute the
          proceeds of the sale, so far as they are sufficient. by paying: first, all of me plaintiffs cosL<:;
          second, documentary stamps affixed to the Certificate; third, plaimiff' s aaomeys· fees; fourth,
          the total sum due to the plaintiff: Jess the items paid, plus interest at lhe rate prescribed in
          paragraph 2 from this date to the date of the sale; and by retaining any remaining amount
          pending the further order of this Court.

          7.       Right or Possession. Upon filing of the Certificate of Sale, defe:ndan t(s) and all persons
          claiming under or against defendant(s) since the filing of !he Notice of Lis Pendens shal l be
          fort--closed of all estate or claim in the: propeny. except as to claims or rights under Chapter 718 _
          or Chapter 720, Fla. Stat. if any. Upon filing of the Certificmc of Title, the person oarnc<l on the
          Certillcate of Tick sha1J be kt into possession of the property, subject to the provisions of the
          Protecting Tell:111ts at Foreclosure Act of 2009, whicb was extended until 12/J 1il4 by the D<Xld•
          Frank WaU Street Reform and Consumer Protection Act.

          8.      Jurisdiction. The Court retains jurisdiction of this action to enter further orders that are
          proper, including, without lirojtatioo. writs of possession and deficiency judgments.

          9.      Attorney Fees, The Court finds, based upon the affidavits presented and upon inquiry of
          counsel for the plaintiff, that 19.& hours and a S2 380.00 flat fee wer..: reasonably expended by
          the plaintiff's counsel and that an hourl y raic of $85.00-$215.00 an<i a Oat fee of $2,380.00 is
          appropriate. PLAINTlFF'S COUNSEL REPRESENTS THAT THE ATTORN'F.Y f EE
          A\ ARDED DOES NOT EXCEED ITS CONTRACT FEE \\t1TH THE PLAfNTIFF. The Court
          finds that there are n.o reduction or enhancement factors for considera1ion by the Court pursuanr
          to Florida Patient's Compensation Fund v. Rowe. 472S2d11 45 (Fla.I 985).

           l 0. The court finds that the JegaJ description contained i.n the subject Mongage recorded io
          Official Records Book 23623, at Page 3231, of the Public Records of lviiami-Dade County.
          Florida, is incorrect. Said Mortgage is hereby reformed to reflect the c.orrect legaJ description as
          follows:

          LOT 105, BfSCA YNE GARDENS SECTTO .• "f" PART I. ACC ORDING TO THE
          PLAT THEREOF, AS RECORDED fN PLAT BOOK 44, PAGE 46. OF THE PUBLIC
          RECORDS OF MJAMJ-DADE COUNTY, FLORJDA.

          l 1. The Court finds that Plaintiff is ent.itled to an equitable lien agai1L<;t Defend.ant, Jarms
          Liulejo.bn AKA James L Jolin, Hoke Wi lliams, 1ac.k Wells, Curtis McNeil. Symon ue
          Lim ited PartneiShip 's interest in the subject property. superior to the interes of the Defenda.nts.



          C:i.scNo. 2010-61928-CA-0l                           3                                      Fik ,'# f 3-F02S6S


_L __ _
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                                                                           Exhibit 62 Exhibit 78 pg.4
     IF THI- PROPERTY IS SOLD AT PUBLIC AUCTIO , THERE MAY B£
     ADDITIONAL M01''EY FROM TH£ 'ALE AFTER PA YMENf• OF PERSO NS WHO
     ARE E iTITLED TO BE PAID FROM THE SALE PROCEEDS PURS UANT TO THE
     FL~A.L JUDGME!'!"T.

     IF YOU ARE A SUBORDINATE LIENHOLDER CLAJMING A RJ GHT TO FUNDS
     REMAL1'ITNG Lli"TER THE SALE, YOU MUST FILI A CLAIM WITH THE CLERK
     NO LATER THAN 6-0 DAYS AFTER THE SALE. IF YO U FArL TO FILE A
     CLAlM; YOU WILL NOT BE ENTITLED-TO ANY REMAINlNG FU. DS.
         DONE AND ORDERED in C..n-ambers in Miami Dade Coilllty, Florida, this _ _ day of
     _ __ _ __ _ , 2fl'."7.

                     DEC I 9 2017

                                         Circuit Judge


     Plaintiff sh.all serve aJ I parties named on the      rvice Iist and • occupanf' at property address

                                                     Service List

     Willnac LaCroix., Esq.                      FINAL ORDERS AS TO ALL PARTIES
     Attorney for Plaintiff
     Brock & Scott, PLLC
                                                 SRS OISP0S\110N fl              7
                                                 NUM3ER - -~ 11:.....:2::....__---=-::.
     i5011'.l\v' 49 th Street, Suite 200         1liE COURT OfS'i !SSES THIS CASE ~GMlST
     Fort Lauderdale. FL 33309                   AMY ?ARTY tlOT US1!0 rN nns f!HAL OR.OER
                                                 ORPRE~OUS OROtR{S). THiSCASE IS CLOSED
     Miami-Dade County Florida                    AS TO i\1,1 PA!HIES .      .       Job.n.Sdu • er
                                                                 Jud ts ln\tt':! s              Judge
     c/o Alt:mese Pheoelus Esq.
     l 11 NW 1st Street
     Miami. FL 331 _g
                                                                                                                          I
     yvaldesr1Ymiamidade.gov

     City of North Miami (City)
     Jenni.fer L. Warr~n
     i76 N.E 125th Street
     North Miami, FL 33 16J
     cityattomey@,northm iamifl.gov


     Hoke Williams
     UKJA 15020 South River Dri ve
    Miami FL 33 l 67



     Case No. 20 l 0.61928...('A..(J I                      4                                         File 14 IJ-F0286S
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 329 of
                                     597



                                                                  Exhibit 62 Exhibit 78 pg.5
      Uni:fund CCR Partners, G.P.
      d o CT Co11X)ration System, Regisrered Agent
      IWO South Pine Island Road
      Plantation, FL 33324

      Deutsche Bank I ational Trus1 Compsny. as Trustee for Franklin Credit Trust Series f
      c/o Legal Departm<::nt
      1761 E. SL Andrew Place
      Sama Ana, CA 92705

      Unknown Spouse of Hoke WiJl iams
      15020 South liver Drive
      Miami, FL 33167

     Unkmiwn pouse of Jam~ Littlejohn AK.A. James L. Jolin
     8 I 52 NW I 5th Manor, Apt FC2R
     Plantation. FL 33322

     Littlejohn a/k/a James L. Jolin, James
     UK/A 150_0 South Ri ver Drive
     Mfami, FL 33 167

     Sum.rust Bank
     c/o Alisha Smi,h.. R..A.
     40 Technology Parkway Souch, Suite 300
       orcross, GA 30092

     Sr.ate of Florida_ Department of Revenue
     Clo Executi ve Director, a registered agent or any o ther person authorized to accept service of
     proccess
     2450 Shumard Oak BouJevard
     Tallahassee. FL 32399

     Leroy Williams
     8152 NW 15th Manor, Apt. FC2R
     Plantation.. FL 33322

     L'.nknown Spouse of Mack Wells
     15020 Soulb River Drive
     Miami, FL 33 l 67


            1
     Case   0 . 20 l 0-6 I928•CA-0 I                 2                                  File II I 3-F02868
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 330 of
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                                               Exhibit 62 Exhibit 78 pg.6
      The Unknown Sp0use of Leroy Williams
      UK/ A 15020 South River Drive
      Miami, FL 33167

      The Unknov,.11 Spouse of Curtis McNeil
      L/¥JA 15010 South River Drive
      Mjami, FL 33167

I     Mack. Wells
l     UK/A l 5020 S0·.:.~ River Drive
      Miami. FL 33167

I     Curtis Mc1\eil
      L/K/ A l 5020 South River DriYe
l
i
      . 1iami. FL 33167

      Symonctte Limited Partnership
       Ul(JA l 5020 South Rjver Drh·e
       Mimni FL 33167




                                               3                      File: t' I 3-FO:Z868
        Case No. 2010-6 1928-CA·Oi
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 331 of
                                     597
                                             Exhibit 62 Exhibit 79 p2. l
     FORt\il 6                                            FULL AND PUBLIC DLCLOSURE                                                                           20160
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                                                                                                                                    COMMlSSlON ON ETHICS
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   CH.ECK IF Tr.IS !S ' F,L;NG ~Y A CANDIDATE
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 333 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 334 of
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      Address: 73 Vv'EST FLAGLER STRE::T. ROOM 1202 MtP-.MI FL Position: CIRCUtT JUOGc


      Please identify all gjfts you received during the preceding calendar year of~ value in excess of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 335 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 336 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 337 of
                                     597




     Part B Continued, Assets                      Exhibit 62 E~hibit 80 pg.3

     TOTAL FROM PREVIOUS PAGE                             $7,000,000.00

     Quail Heights , Part Owner in Apartment
      Buildings
      240-260 Hackensack, NJ                              $2,000,000.00

     Trent Boyett, LLC, Part Owner in
       Apartment Building: 350 Prospect Ave, NJ           $300,000.00

       Part Owner in Suncap Investments. real             $450,000.J0
       estate investment group

     Fore Hearts, Part Owner in three commercial          S800,000.00
      Properties:
      2650 Rt 516 Old Bridge, NJ
       735 E. Hazelwood Avenue, Rahway, NJ
      220 Rt 1 7, Hasbrouck Heights, NJ

     Santander LLC: Owner of Duplex 216-218               $'?50,000 .00
      Santander Ave, Coral Gables, FL

     First Crt1zens Bank                                  $279,572.1 o

     Morgan Stanley Brokerage Account                     $179 695.00

     State- of Florida Deferred Compensation              $458 728. 75

     Federal Thrift Savings Plan                          $728. 759.25

     Evensky and Katz Brokerage Account                   $16,459,479.00

     200, Ferrari 550 Maranello                           $180,000.00

     2014 Porsche 911 Turbo Cabriolet                     $110,000.00

     2013 Met"cedes Benz GL550                            $37,000.00

     2019 Honda Odyssey Van                               $38 000.00

     ?000 Hond;;i Ody:ssey Van                            $2,500.00
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                                    Exhibit 62 Exhibit 80 pg.4
     2008 Boston Whaler                           $38 obo.oo

     2015 Boston Whaler                            $70,000.00



     TOTAL ASSETS:                                 $29,881,734.10
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~ Santander                                                                                  Exhibit 62 Exhibit 81




      Small Business Administration (SBA) Lending
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             Debt Relief Payments for Your SBA Loan

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                                                              Exhibit 62 Exhibit 82
                Revenue                         •ss 6.128 billion
                                             (2018)- :.


                Net income                      US$1 .721 billi on
                                             (2 01 sr:
                Total as.sets                  US$160.518 billion
                                             (20 1 sf
                                                   l

                Total equ ity                    US$20.817 billi on
                                                     ! .. \
                                             (2018)l lj

                Number of employees          ~18,l 00 (December
                                             201 a)" l

                Website                      www.citizensbank. com ~



            Between 1988 and its 2014 initial public offering,
            Citizens was a wholly owned subsidiary of The Roya l
            Banko Scotla nd Group.i3I The group sold its last
            20.9°1o stake in the company in October 2015_(4]

            Citizens operates more than 1,008 branchesf5' a:1d
            over 3,100 ATMsl 61across 11 states under the
            Citizens Bank brand .f7l

            Citi zens ranks 22nd on the Li st of larges banks in _he
            United States in 2020.



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              https:// en.m.wikipedia.org . ,  597
                                                    Exhibit 62 Exhibit 83
                Royal Bank of Canada - Wikipedia
               Roya! Ban k of Canada is a Canadian mult inational financ;al
               services compa ny and the larg est bank in Canada by marke ...
                Number of employees : s.:;,3"i (2C2. i l
               Headquarters: Montreal, Quebec, Car.ad a, , oronto 0 , tario,
                ...,a ed3




                People also ask

               Is Royal Bank of Scotland the same as Roya l Bank of
                Canada?


                  lt is rebranding the Canadian opera ions of ABN Arnro,
                  which will soon be known as the Royal Bank of Scot.rand
                  NV (Canada) Branch . Feh 23, 201 v

                 CJ https://www.theglobeandmai!. com > ..
                  Royal Bank of Scotland rebranding in
                  Canada - The Globe and Mail

                                         More results


                Is the Royal Bank of Scotland the same as the Halifax?      v


               Which bank owns Royal Bank of Scotland ?                     v-



               What is Roya l Bank of Scotland now ca llee?                 v



               Are Roya l Bani< of Sc otland and Bank of Scotla nd the
               same?
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 343 of
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             f
             (   Overview        .'   Locatio s                Fees

             t.: t u: uav10 1. McKay :     1; •   ,w •.c.- •
             Headquarters: Tmonto. Canada                  Exhibit 62 Exhibit 84
             Assets under management: - 'J • u

             Revenue: 9.59 b.!11 n .~.u :_ '2CY 1

             Subsidiaries: RBC Capita l Markets. RBC D minion Securities.
             Ci y    atlonal Sa nk. Moneri s. More




                            More about Royal Bank of Canada           >



             People also ask

             Is Royal Bank a US bank?


                 RBC Bank is a U. S. banking subsidiary which forme ly
                 operated 439 branches across six states in the
                 Southeastern United States. but now only offers cross-
                 border banki g se 'ices to Canadian travellers and
                 expcts.

                 \X. https://en.m.wi'kipedia.org , wik i

                 Royal Bank of Canada - Wikipedia

                                            More results



             Can I open an account a Royal Bank Onli ne?                      V




             Does Royal Bank of Canada still exis ?                           V
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                        pri.ncipal arnc4.!r.t of 3.200'% senior notes                                                e 2029.                     Exhibit 62
                        ·n ac-Oition, Equint( corn~ted a concJrrent ter der
                                                                                                                                                 Exhibit 85
                        offer for a: ,y ar.d alt of its outstandins 5.375% serior
                        notes due 2022. 5.375% senior note5 due 202 3. and
                        5.750% senior notes r:rue 2025, whi                                               were pad ·er
                          m.h tt,e proceeds frorn ths senior notes offering.

                        Goldman Sachs & Co. LLC, i3ofA Se::ur ·es, li1C.,
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                        LLC. Barc:i-ays Capital l ~Mo~ sin1:{t"cc.--~-
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                        Marke,ts. LLC, SMSC N ko S&C ; • s AmenlA , lnc.,
                        m Ssrujtias (U SA) LLC, Deutsch~ Bank Se.c.:JritieS
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                       customers and partners iOSR:ie the ·NOrid's mos:
                       interconnected d.a1a centers. Today, businesses
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                        strategic markets across tne .Arrre~cas, Asta-f'adfic.
                        Europe, t.he Middle Eas, and Africa.

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                       AJa.n F. Denenberg (Picture) and Emily Ro erts and
                       associates Ali DeGolia and Caitlin Moy¼es Cun .,-,ne.
                       Partner Rachel D. Kteinberg provided tax s..:wce and
                       associate J. Taylor Arabian provided 1940 Act advice.

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                                                 This pfan Is very similar to a 401(k) plan.

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             SMALL BUSINESS ADMINISTRATION (SBA} LOANS


             Tru st your business t o a
             Preferred SBA Lender.
             As part of our comm itment to the growth of small
             businesses nationwide, U.S. Bank is proud to be an
             SBA Preferred Lender spec ializing in providing Small
             Business Administration (SBA) loans. When your small
             business is looking to grow or expand, SBA loans can
             have many benefits such as smaller down payments,
             fixed and variable rate options and full amortizatior..

             With over 40 years of experience, U.S. Bank will
             partner with you to find the best possible financing
             options for you.



                                Contact an SBA banker          •


                                Get a recommendation




                                    usbank.com
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                               Michael Katz


         Wealth Management Advisor
         U.S. Bancorp Investments
         Primary office
         3480 W 38th Avenue
         Denver, CO 802 1


                            Office: 303.394. 7072



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GMACMOf18SiC                                                              (.)cwcu Loon Servicing, LLC
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      Mortgage Payment: '-" •        •                                               ~--····· ·· ····             lOOISVlllE. KY 40m-1719
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 354 of
                                     597




                                                                                                           ExJtibit 62
                                                                                                           Exhibit 95
                FOR.M 6                           FULL A."D PUBLIC DISCLOSURE OF
          ~ --------.....,                                                                                     - - ---------!
                                                                      FNA~CIAL IYTIRESTS

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 355 of
                                      597
                        o- U.S. Bancorp - Wiki ...             •
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                                  en.wikipedia.org
                                                                                        [:J                ••

         := 1 American ba nk hold ing compan y               (!Dbancorp
                                                                                                                Exh~bi·f- bZ
          based in Minneapol is, Minnesota, and
                                                                                                                E)(_hi h /t 01,
          incorporated in Dela ware.[4l It is the
          parent company of U.S. Bank National
         Association, and is the fifth largest
          banking institution in the United
         States .f5l The company provides
          banking, investment, mortgage, trust,
          and payment services products to
          individuals, businesses, governme~tal
         entities, and other f inancial institutions.     Corporate headquarters. US Bar.corp C<:nter,


                                                         Trade name           U.S. Bank
         As of 2019, it had 3,106 branches and           Company type Pub11c
                                                         Traded a-s           NVSE: USB e:,-
         4,842 automated teller machines,                                     S&P 100 component
                                                                              S&P 500 component

          primarily in the Western and Midwestern        !SIN
                                                         Industry
                                                                              US9029733048
                                                                              Bork1ng
                                                                              Financ,al serv1ces
          United States.[ 2l In 2023 it ranked 149th     Founde d             July 13, 1863; 161 yea r~ ago
                                                         Headquart ers        li S. 8.Jncorp Cemer,
          on the Fortune 500) 6j and it is                                    M1nneapoh:.. Minneso!a. U.S
                                                         Number of            3,067 branches and 4,771
                                                         locations            au1cma1ed teller machine,s
         considered a systemically important             ~y pN>ple            Andrew Cecere
                                                                              (Chairman. President and CEO)

          bank by the Financial St ability Board . The   Products             Consumer S.ink:ing. Corpora!e-
                                                                              Banking. Insurance,
                                                                              Investment bo11king. Mort~age
         company also owns Elavon, a processor                                !03ns, Private banlong. Private
                                                                              equ1.y, Wealth man:igemen1,
                                                                              Credit cards, Fmanc1.;;if
         of credit card transactions for                                      Ana lysis
                                                         Revenue              A USS28. 144 billion (2023)

          merchants, and Elan Financial Services,        Opet ;,ting          6,150,000,000 United St ate~
                                                         income               doll~r (2020}

          a credit card issuer that issues credit        Net income
                                                         Tot.i i assets
                                                                              T US$5.4 29 billion (2023)
                                                                              T USS663.491 billion (2023)[11
                                                         To l a! equ ity      A USSS3.660 billion (2023)
          card products on behalf of small credit        Number of            77.000 (2022)
                                                         employees
          unions and banks across the u.s.f7l            Subaidiaries         Elan Financial Services
                                                                              Elavon
                                                                              Talech

          U.S. Bancorp operates under the second-        Capil al ratio
                                                                              Sync.:ida
                                                                               10.8~ Tier i (201 7)
                                                         Rating               Long Term Sen ior Debt
          oldest continuous national charter,                                 Moodys: Al (1 0/2016)
                                                                              S&P: A+ (10/ 2016)

          orig inally Charter #24, granted in 1863                            F,1ch: AA {10/2016)
                                                                              OBRS: AA (10/2016)
                                                         Website              mortgage.ucb,rnl.:.com rl ✓
         following the passage of the National                             Footnoles / references
                                                                                    1,.:,1

          Bank Act. Earlier charters have expired
          as banks were closed or acquired, raising U.S. Bank's charter
          number from #24 to #2. The oldest national charter, originally
          granted to the First Nation al Bank of Phi ladelph ia, is held by
          Wells Fargo, which was obtained upon its merger with
          Wac hovi a.[8]


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             Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 356 of
                                                  597
   FORM6                        FULL AND PUBLIC DISCLOSURE OF                                                                                    2009
                                     FINANCIAL INTERESTS
                                                                                                     FOR OFFICE
                                                                                                     USE ONLY:



        II
        Hon Valerie R. Manno Schurr
        Circuit Judge
                                                                  PROCESSE                                        ID Code

                                                                                                                               111111111
        Judicial Circuit (11 Th)
                                                                                                                  ID No.
        Elected Constitutional Officer                                                                                                 210380
        73 W FLAGLER ST DADE COUNTY COURTHOSUE RM
        1105                                                                                                      Conf. Code
        MIAMI , FL 33130                                                                                          P. Req. Code


CHECK IF THIS IS A FILING BY A CANDIDATE            □
                                                                                                               Manno Schurr , Valerie R.

                                                               PART A - NET WORTH
Please enter the value of your net worth as of December 31, 2009, or a more current date [Note Net worth is not calculated by subtracting your reported
habilit1es from your reported assets, so please see the instructions on page 3.)

                         My net worth as of     Tuec-J (> b-' K ~ \ . 20 Q.51 was$ 3 / g s-// l.,c;z '.c:c

                                                                  PART B - ASSETS
HOUSEHOLD GOODS AND PERSONAL EFFECTS:
  Household goods and personal effects may be reported In a lump sum 1f their aggregate value exceeds $1 ,000. This category includes any of the following,
  if not held for investment purposes: jewelry, collections of stamps, guns, and numismatic items; art obJects; household equipment and furnishings; clothing;
  other hoosehold items, and vehicles for personal use

  The aggregate value of my household goods and personal effects (described above) IS$ _        _:/_S..: :l _-1~o~c~·D:;::__
                                                                                                                           ·'_,C"-f [\-=----- - -
ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
              DESCRIPTION OF ASSET (specific description is required - see Instruct!




                                                               PART C -- LIABILITIES
LIABILITIES IN EXCESS OF $1 ,000:
                NAME AND ADDRESS                                                                                                    AMOUN




                                                                                                                                            -3ffi. OD
JOINT ANO SEVERAL LIABILITIES NOT REPORTED ABOVE :
             NAME AND ADDRESS OF CREDITOR                                                                                           AMOUNT OF LIABILITY




CE FORM 6 - Eff 1/2010                                         (Continued on reverse side)                                                          PAGE 1
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 357 of
                                     597




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                                                                  FOR D..1.DE COC<TY. FLORIDA

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                 This action "·~ t ~d. on the defendants motion to dismiss fur lack of prosecuticn
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    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 358 of
                                         597



                                                                                              Exhibit 62 Exhibit 99
                     rN THE ClRCUlT COURT OF THE ELEVENTH JUDlCIAL CJRCUT •
                             IN A:"iD FOR MJAMl-DADE CO UNTY. FLORIDA
                                            C-fVlL ACTIO:X

            US BA."i'K, N.A.,
                      Pfaintiff,
                                          CASE NO.             2007-114-07--CA
                                          DIYI.SlO N           32




            LEROY \.v1LLl..\l\1 ; MARK WELLS; FRANKUN
            CREDIT l'\'UNACE.MENT CORPORATION; CiiY
            OF :-.ORTH ML.\:\-IT;
                         Defelldan t(s).

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             F!>' .-\ L ORDER DIS'J'~CASE., CANCE.1.-p:c FOREq,osuRE S-AY:. CANql..I!::iC-~•tI                                                   di-.
                   US Pf@fNS.. A:'.!D :iETilliG,J,.,.,.'>lJll:...F.~lMMARY ~GME~f AND S~l'.'f~JI]:'G
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                    THJS C.-'\USE having come r)n i:<:fore th"' Co:.m, ex p:irre. p,.irsuam ro dte Motion Hld by the P!ai.ndf. pi.:nu:mt

            to Sec-rkm 70~.07 Florida Sta.nrres r!OC5}. and the Cour: bemg_ o,h~ri.-Yi.se fully ad-vised in th-: premises, i, is.

                    ORDERED A:\D AD.P..JDGEO 2-S :olklws .

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                              ..\fl Counts of,h: Comp-laint again;;i Defondanr,,: LEROY Wi .LIA/\-!$ ; M,\RK WELLS:

            FR.ANKLN CREDIT /vl_;\NAGEMEN1 CORPORA TIOK ClTY OF NORTH ML'\ML an: hmb-y di.smi~d.




                                                                                         Serial 13"666522
            FilE_NUM8ER F0?01:i.14o                                                      OOC_iO; M01050:Z




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     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 359 of
                                          597

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                                                                                                       Exhibit 62 Exhibit 100
                         J             The Notic~ ofLis Pcndcn.s filed by Plaintiff and re-.:crde:d m the public recotds of~,l! A:\,l!-O.t . DE

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                                                                                Circuit Coun Jt dgc

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    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 360 of
                                         597


                                                                   Exhibit 62 Exhibit 101
                                                     Scrvke List


            LEROY WllUAM.S
            l .'."D20 South Riv<'.r Drive
            ',li:imi. FL ;3157

            FRANKLIN CREDIT MA NAGc\.lS-t T CORPORA Tt01',
            C o Co!f-Or:ttion .xrvice Company
            £201 !-fays St_ Su11e 105
            Talbh;;sse::, FL 3230 l ·2525

            CITY DF:--IORTH MJ,\..i'-11
            c ·o V, Lynn \'v'hitfidd .Esq .
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            776 NE !25th Srrtt1
            North Miami_ FL 33 l &l

            MARJ: WELLS
            ! 5020 South River Dri\"i~
            ~Eami fl. Jj !67




Bk 27343 Pg 951 CFN 20100451 678 07/06/2010 15:32:32 Pg 3 of3 Mia-Dade Cty. FL
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 361 of
                                     597           li'.Yhihit 62 E xhibit 102
  FORM6                               FULL AND PUBLIC DISCLOSURE OF                                                                                                    2010
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                                                 ·1 FINANCIAL INTERESTS (
                                                                                                                         ~OR OP'FICE        :~ ! 0 0 ON          ETH1CS
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              Hon Valerie R Manno Schurr
                                          II
                                                                                                                                                 11111111
                                                                                                                                                 •   1   l O !, C. 0 .,.

              Circuit Judge                                                                                                          IONo        210380
              Judtcial G1rcu1t {11Th}
              Bected C<>ns lutional Officer
                                                                                                                                     Con! Code
              73 W flao:er St Ste 1 "105
              Miami , FL 33130---A763


                                                                                                                                       Manno Schorr. Valerie R.
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                                                                                  PART A- NET WORTH
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                                                                                       PART B ·- ASSETS
HOUSEHOLD GOODS ANO PERSONAL EFFECTS:
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  d /\OI h• lo for !lflv>estment purpo~ 1ew!'t:ty . c o ~ ;;;f i·amp$, 91.ms. and numi:srr,:111(; lt!!m$. art cbjecl:$. hc,usehold eqi.;1pme n! a d fvrni!.h,r'Jli'S. d,th.ng
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ASSETS rNOMDU.AU.Y VAWEOAT OVER $1 ,000:
                    OESCRWTJON OF ASSET (sP4clfk OO!!Cription is requirod. si::-e instr~tioo" p..-4)                                                       ,VALUE OF ASSET




                                                                                  PART C - LIABlLlTlES
!.(ABILITIES IN EXCESS OF $1 ,000:
                 NA.ME ANO ADDRESS OF" CReOITOR                                                                                                      i dAMOli.NT OF LIA Billi"\'
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                   N,t,Mc AN.D AOORESS OF CREDITOR                                                                                                       AMOUNT 01" L.LAltl-ll,/TY




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 362 of
                                     597




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                                                                                    Exh.62 Exh.103


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                                ALL0NGE TO NOTE



            RE.SID9fflAL FUNDING CORPORATION




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 363 of
                                     597       Exhibit62. Exhibit 104                                                                                                     I



      FOR~f 6                                                               FULL AND PUBLIC DJSCLOSURE                2020
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                                                                              OF FIN. NClAL INTERESTS t FOR OFFtCE USE ONLY:

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          CIRCUIT COURT JUDGE
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   CHECK tF THsS rs A FIUNG BY A CANDIDATE                                                     D

                                                                                                                      PMH A - "IIET WORTH
  Please enter the valu-e of your net worJ. as or December 31, 2020 Cf a mere current date. [Note: Net worlh is not cal-
  culated by subtracting your repaned habilrties from yo_ur r$po rted assets. so please see the mstructons on page 3.J




  HOUS.EHOl D GOODS AND PERSONAL EFFECTS:
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 364 of
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      FORlvt 6                                                FULL ~D PUBLIC DISCLOSURE                                                                              2019
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        HOME       SECTOR/ECONOMIC DATA        DEAL TABLES      DIRECTORY      EVENTS CALENDAR       /.D'-'iER TISE   SUBSCRIBE                        Connecting lflOO sby P.rafesefOf"l:als.

       Home / News / Wells Fargo, BofA, JPMorgan, RBC Provide $125MM ABL Revolver for Oil States


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         Wells Fargo, BofA, JPMorgan, RBC Provide $125MM                                                                          U.S. Census Bureau - U.S. Department
                                                                                                                                  of Commerce
         ABL Revolver for Oil States                                                                                              March 2022 Construction Spending Report
                                                                                                                                  U.S. Census Bureau - U.S. Department
          February 11, 2021, 05:00 AM          Related: Bank of Amercia , JPMorgan Chase Bank, Royal Bank of Canada,              of Commerce
          Filed Under: Eoergy Services         Wells Fargo Bank
                                                                                                                                  Full Report on Manufacturers' Shipments,
                                                                                                                                  Inventories and Orders - March 2022
       Oil States International entered into a new $125 million asset-based rev lving credit agreement
                                                                                                                                    VIEW ALL SECTOR / ECONOMIC DATA
       with Wells Fargo Ban k as the administrative agent. In addition to ells Fa lenders ~__!2:,
       Credit Agreement include Bank of America, JPMorgan Chase Ba nk, and oya l Bank f ~
       Borrowing availability under the Credit Agreement is based on eligible U.S. receivables and                                FEATURED ARTICLES
       inventory. The Credit Agreement replaces Oil States' existing $200 million revolving credit facility.
       The maturity date of the Credit Agreement is February 10, 2025.                                                            Trinity Capital Expan ds into the
                                                                                                                                  Sponsor Finance Vertical
       The Credit Agreement contains customar.y representations, warranties, covenants, terms and                                 In May 2024, Trinity Capital announced its
       conditions for a facility of this type, including limitations on the accumulation of U.S. cash in excess                   expansion into the ...
       of $30 million, incurrence of additional indebtedness and liens, the repayment of other                                    by ABL Advisor Staff Writer
       indebtedness, the making of investments, the payment of dividends, the repurchase of shares of
       common stock and the sale of material amounts of assets.                                                                   Next Generation BOO Panel

                                                                                                                                  Charlie Perer meets with four next-gen
       Borrowings outstanding under the Credit Agreement will bear interest at LIBOR plus a margin of                             BDOs who discuss evolving ...
       2. 75% to 3.25%, based on the Company's availability under the revolving credit facility. The                              by Charlie Perer
       Company must also pay a quarterly commitment fee of 0.375% to 0.50%, on the unused
       comm itments.                                                                                                                  MOST POPULAR I ALL ARTICLES


       Oil States International, Inc. is a global provider of manufactured products and services to
                                                                                                                                  SPONSORED CONTENT
       customers in the oil and natural gas, industria l and military sectors. The Company's manufactured
       products include highly engineered capital equipment and consumable products. Oil States is
                                                                                                                                  CFG Merchant Solutions Underwriter
       headquartered in Houston, Texas with manufacturing and service facilities strategically located                            Academy
       across the globe.
                                                                                                                                  CFGMS is proud to announce our new
                                                                                                                                  program : Underwriter Academy ! Fast-track
                                                                                                                                  into a position with one of our producing
                                                                                                                                  underwriting teams .
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       Today's Other News

        Banc of California Expands Specialty Lending Team
        Commercial Bankruptcy Filings Increase 9% Year-over-Year
        Bain Capital Credit I nvests $1.SB Through Private Credit Group During Hl / 2024
                                                                                                                                                       LEARN MORE



       Most Popular

        1 1Voltera Secures First-of-its -Kind S100MM Debt Facility from ING and Investec
        August 14, 2024, 08:06 AM
        Filed Under: Chargmg Infrastructure




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                                           Exhibit 62 ~xhibit 110




          http s://www.finextra.com , press a ticle ) 7045 ') LL ..

     US Bancorp buys Wachovia corporate
     trust, custody units
     Source: US Bancorp. U.S . Bancorp (NYSE:USG)
      announced today that its lead bank, U.S. Bank N.A. ,
      has entered into a definitive agreement to purchase the
      corporate trust and institutiona l custody ...
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 371 of
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                                                      AFflO A V lT OF FACT Exhibit 62
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     STATE: OHIO
     COUNTY: FAIRFIELD



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satisfactory evidence, to be the person whose name is subscribed to above and ae-knowledged to me that
he executed the same in his authorized capacity.

I now affix my ,; 7         "~~d
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                                     Exhibit 62 Exhibit 114
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               EX-10.11 - SEC                        Exhibit 62 Exhibit 115
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               Timothy King, MBA - Licensed Real Esto'€
               Salesperson . ..
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               Feb 22, 2018 • Homecomings Financial Jul 2001 -
               Oct 2008 7 years 4 months. Irvine, CA Sales Lead2r
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                                                                Exhibit 62 Exl}ibit 116
                                                                 N THE ClRCU1T COURT OF THE
                                                                 l l rn JUDICIAL C[RCUlT IN A...l\D
                                                                  FOR DADE COUNn·, FLORIDA

                                                               GEN""ERA.I, JURlSDlCTION DTVISlON

                                                                          CASE NO: 2007-12407-oii

              USBank,N.A.                                         April 1.2010
                    Plamti.ffls)

              Vs.

              Leroy Wi U_iams
                     Defcndant(s)


                        ORDER Q.F.))J SMJSSAJ WITH PREJ1JDICE

                This action w·JS heard on the defendants moLion to dismiss for lack-0fprosecution.
              Served oo April l l ,2008. The court find-s that (I) notice prescribed by rule l .40 (c)
              Was servetl on April 11,2008; (2) their v.-as no record 3Clrvily for the year preceding
              Service of the foregoing not:iC(;; (J) no st..ay has been is:,-u.ed or approved by the c-0urt
              And (4) no ~rty ha.-. shov.-n _good cause ·why this action should remain pending.
               Accordingly,
               IT IS ORDERED That this action is Dismissed for lack of Prosecution with Prejudice
               DONE Al"ID ORDERED in cruunbers, at Miami, dadc county, Florida this 3 l th day of
               March 2010.                                                        } -,          Q/
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                             tJ'R O6 201:·        APR a5 7nm                  t   r~21')f) ~1~, "--
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                                                                                         ~Rlf; Ml•~~ SCHURR
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     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 376 of
                                          597

Morgan Stanley Maintains U.S.
Bancorp(USB.US) With Hold
Rating, Raises Target Price to $54
\t1oomoo News Jui 30 08:31                 Ratings                       ►      1min



J.S. Bancorp (USS.US)                                   45.540                  -1.13%



Morgan Stanley analyst Betsy Graseck
maintains $U.S. Bancorp (USS.US)$ w-ith a
hold rating, and adjusts the target price from
$47 to $54.

According to TipRanks data, the analyst has a
success rate of 48.0% and a total av.e rage
return of 3.3% over the past year.




                                                                     /
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 377 of
                 12:08-</            597            ., 5G • ·
                                       _. bing.com
                                                 Exhibit 62 Exhibit 118
               OCWEN LOAN SERVICING , LLC ! 851
               N.W.2d 727 (2014 ...
               https://www. leagle .com/decision/insdco20 140723 .

                ~P29. 2014 • ft 3.] Shortly afte the Note's
               execution, Homecomings sold it to its parent
               com pany - Residen· iai Funding Company, LLC. On
               March 7, 2007, Residential said the Note to GMAC.
               GMAC indorsed the Note in blank. GMAC ...



               Ocwen Financial (OCN) Unit Completes
               ResCap Asset Acquisitions
               https://www.streetinsider.com/Corporate+News/Oc ...

               Feb 19, 2013 • On Febru ary 15, 2013, Ocwen Loan
               Servicing, LLC, a Delaware limited liability company
               and a wholly owned subsid iary of Ocwen Financia l
               Corporation (NYSE : OCN), completed ...
                ltissing: Homecern tr:gs I \ ~st inc 1ude:
               Homeco mings



               A List of Recent Mortgage Mergers             1

               Closures and Layoffs
                           1

               http s://www .thetruthaboutmortgage.com/a-Es:- ..

               Nov 08, 2021 · Residential Capital LLC - cutting
               roughfy 1,000 jobs (GMAC company) Residentia l
               Finance of Cotumbus Ohio - reported ly "hacked 19
               branches yesterday and a regiona l manager," per
               read er tip ResMae Mortgage Corp. - cut 182 jobs ...



               SEE RESULTS FOR


               Homecomings Financial LLC {Organizat ion)
               Minneapolis,
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 378 of
                                     597



      FJUD
                                                               Exhibit 62 Exhibit 119
      U.S. Bank, Natiooal Association, as Trus1ee for          fN TffE CIRCUIT COURT OF TiiE
      R.ASC 2005AHL3                                           ELEVENTH JUDICIAL ClRCUJT
                                                               IN A.i"l'D FOR M1Ai\t1l
      Plaint-HI.                                               DADE COUNTY, FLORIDA
      vs.
                                                               CfRC U!T CIVIL DlVTS lON
      Leroy Williams; Unkn j wn Spouse of LO{~y
      Williams; J::i~~s Littlejohn a/k/a James L. JctlL1,      Case No. _o l 0-6 i 928 -CA-0 I
      iame.s; Unknown Spou e of James Littlejohn AK_A
      James L. Jo!in.~ Hoke Williams· Unknown Spouse- of
                                                                                                          ......,
      Hoke Williams; Mack Wells; Unknov,n Spouse of                                                       <:::'-
                                                                                                                             71
                                                                                                          -...,
      ~ack Wells: Curtis .1cNeil; Unknown Spouse of                                                   D                      r-
                                                                                                      M                  rr,
      Curtis McNeil: Symonette Limited Partnership;                                                  ~                   0
                                                                                                                        77
      Deutsche Bank National Trust Company, as Tnmec                                                 (C                 c_,
      for Frank..lin Credit Trust Series I; Miami-Dade                                             ;:,..
                                                                                                                      ---....
                                                                                                   ~
                                                                                                                      :v
      County, Florida: State of Florida, Departmen1 of
      Revenue; Uni.fund CCR Partners, G.P.; Suntrust
                                                                                                  -.. --
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                                                                                                                     ' ,
                                                                                                                    -::::,
                                                                                                                    :::- ;
      Bank; City of North Miami, Florida and Tenant#)
                                                                                                  --..J
                                                                                                                    ·-

      Defendants.

      - - - - - - - - - - - - - - - - -I
                                 FINAL JUDGME, T OF FORECLos· RE

            T.HlS ACTJON was .heard before the Court on Plajnti.ff s Final Judgment on o ·ember
      29, 2017 on. On the evidence present d, IT I ORDERED AND ADJUDGED that Plaintiffs
      final Ji.Ldgment is GRANTED against all Defendants listed by name: Leroy Williams: Unknown
      Spouse of Leroy Williams.; James LittJejohn a/k/a Jam~ L. Jolin, James; Unknown Spouse of
      James Littlej-0hn AKA. James L. Jo1in~ Hoke Will iams; Unknown Spouse of Hoke Williams:
      ~fack Wells; Unknown Spouse of l\fack Wells; Curtis .McNeil ; Un.known Spouse of Curtis
      McNeil; S:ymonctte Limited Partne.rship; Deutsche Bank Nationa} Trust Company, as Trustee for
      Franklin Credit Trost Series 1; Miami-Dade County, Florida; State of Florida., Qepartmem of
      Revenue; Uuifund CCR Panners, G.P.: Suntrust Bank.; City of North Miami, Florida.

      1.      Amo unts Due and Owing. Plaintiff is due:

            Principal due on the note secured by the mortgage for~cl osed :              $448 .000.00
            Inten:st good Lhru l 1/29/ l 7                                               $307,333.74
            L-a.teCharges                                                                    Sl 37.20



       Case No. 20 i 0-6 1928.CA-0 I                                                      File ~ I3-F02868
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 379 of
                                     597
                                                                              Exhibit 62 Exhibit 120
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       BooJ.:23S23/P~3231                  CFN#'.20050793767                                  Page 1 of:20
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 380 of
                                     597




                                                                            Exhibit 62 Exhibit 1~ 1
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                               Interest Only .ADJUSTABI\E RATE NOTE
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 385 of
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                                                                    .
                    JPMorgan Chase & Co. is the pa ren holding Exhibit 62
                    company of Chase (Comrnerical Bank) and    Exhibit 126
                    JPMorgan (lnvestmen Bank).
                 _.,
                    John Pie pont Morgan (J.P. Morgan) founded J.P.
                    Morgan & Co. , which is the predecessor to Morgan
                     Stanley and JPMorgan Chase.
                     As a result of the Glass-Stegall Ac of 1933, J.P.
                     Morgan & Co. was broken up, it spun off its
             ....... investment banking activities into Morgan Stanley.
                    --,. _________ .... - - -------- .

              J.P. Morgan & Co. continued to operate as a
              commercial bank. Howeve r, in the 1990 's it started
              to rebuild its investment banking operations. In
              2000, it merged with the Chase Manhattan Bank,
              and JPMorgan Chase was formed. In 2004, it
              acquired Bank One, Jamie Dimon ( current CEO of
              JPMorgan Chase) was one of the executives who
            • came from Bank One. During the financial cdsis,
                    JPMorgan Chase also acquired Washington Mutual
                    and Bear Sterns. Today, JPMorgan Chase is the
                    largest Bank in the world with over US$2.6 trilli on in
                    assets.
                    Morgan Stanley continues to operate as an
                    investment bank.



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                      e Bigges~ Mo ,eJ, aunder1 g Cases: Exhibit 128
                          Nachovia to Danske Bank




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                    achovia Bank Accused of Laundering
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                 Wort;




                 Wells Fargo bank says to
                 buy rival Wachovia
                 0 tober 3, 1008 - _0.43pm


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                 US bank\ ·ens F rgo said Friday i was buying
                 ri al~ achovia for 15.l billion US dollars in
                 stock> ending a go ·emment-backed pJan or
                 Citigroup to take over Wacho ria·s banking
                 operations.

                 Wells Fargo and Wachovia -signed a definitive
                 agreernen fo the merger of the two
                 companies" \vithout government assistance~
                 the D. -o finns said in a statement.

                 It sa1d the deal cove.red rall of 11 -achm,ia's
                 banking operation~ in a ,, bole compan _

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                  tlnov,li'tive crypto programs




                 US Bancorp buys
                   achovia corporate
                 trust, custody units
                 29 November 2005



                 Source: US Ban corp

                 U.S. Bancorp {NYSE:.USB) announced todsy that
                 its lead bank U.S. Bank, N .A., has entaed into a
                 definitive agreement to purchase the corporate
                 trost and instihrtional custody busj('Mlsses of
                 Wacho-43 Corporation (NYSE B).

                 As a resutt of thi s transaction, U.S. Bank Corporate


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                  Wachovia pays $160 mlll.lon to settle

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                 OCCUPY
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                 OF OWNING STOCK IN CORPORATIONS
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 AX IOM FINANCIAL SERVICES •
  10900 STONE LAKE BLVD SUITE 350
 AUSTI N tx. 78759·5867
                                                                                                      ~lhi:EIII
                                                                                                       PAYMENT SERVICES

   Dec. 1, 2006

 LEROY WILLI AMS
 15020 SO UTH RIVER DRIVE
 M IAM I FL 33167

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  PAYMENT DESCRIPTION

   Bank:                                            WACHOVIA BANK, NA
   Bank Account Number:                              ******0274
   Date of Transaction:                             Nov.30, 2006

  Payable To:                                       AXIOM FINANCIAL SERVICES
  Am ount of Payment:                              $2286.67

   Customer Reference:                             0001920274

   Dear LEROY WILLIAMS:

   Based on your authorization during our t eleph on e conve rsa tion at 9:45 A.M. Nov. 30,2006, we
   have in itiate d an aut omated clearing hou se (AC H) debit to withdraw t he amount descri bed
   above from your specified bank acco unt to ma ke t he pa ym en t th at you req uested . Incl uded in
   th e payme nt amou nt is the $8.00 'service fee t hat yo u also aut horize d.

   If yo u have questi ons, or wish to make co rrect ion s t o the info rmation listed above , please
   contact Col lection Department, at 188-83 2-7990.
   Tha nk you fo r your business.
                                                   AXIOM FIN ANCIAL SERVICES
                                                   10900 STONE LAKE BLV D.SU ITE 350
                                                   AUSTIN TX 78759-58 67




                                                          Im portant Informa tion
 Oo n" t give out you r bank account information over the phone uniess you know the compa ny and understand why the information is nessary
                                                         This is not a bill. Do not mail. payme nt.
                                                           Retain this letter for your records.
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 AXIOM FINANCIAL SERVICES
 10900 STONE LAKE BLVD SU ITE 350
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                                                                                                       PAYMENT SeRVlCES
 AUSTIN TX 78759-5867

   Jan. 1, 2.006

  LEROY WILLIAMS
  15020 SOUTH RIVER DRIVE
  MIAMI FL 3316i




 PAYMENT DESCRIPTION


 Btmk:                                     WACHOVIA BANK, NA
 Bank Account Number:                       ******0274
 Date of Transaction:                      Dec.31, 2006

 Payable To:                               AXIOM FINANCIAL SERVICES
 Amount of Payment:                       $2286.67

 Customer Reference:                      0001920274

 Dear LEROY WILLIAMS :

 Based on your authorization during our telephone conve rsation at 9:40 A.M. Oec. .31,2006,we
 have initiated an automated clearing house (ACH ) debit to withdraw the amount described
 above from your specified bank account to make the payment that you requested. Included in
 the payment amount is the $8.00 'service fee that you also authorized.

-.. If you have questions, or wish to make corrections to the information listed above , please
    co ntact Co llection Department, at 188-832-7990.
    Thank you for your business.
                                          AXIOM FINANCIAL SERVICES
                                          10900 STONE LAKE BLVD .SU ITE 350
                                          AUSTIN TX 78759-5867



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Don" t give out your bank account information over the ;;hone unless you know the company ana understand why tne info,mat:on is nessar)'
                                               This is not a bi li. Do not mail. payment.
                                                  Retcin this ietter for your records.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 395 of
                                     597




 ..\XIOM FINANCIAL SERVICES
 10900 STONE LAKE BLVD SU ITE 350                                                                          PAYMENT SawleES
 AUSTIN TX 78759-5867


Feb. 1, 2007

LEROY WILLIAMS
15020 SOUTH RIVER DRIVE
MlAMI Fl:)3167




PAYMENT DESCRIPTION


 Bank:                                       WACHOVIA BANK, NA
 S.1nk Account Number:                       ******0274
 Date of Transaction:                        Jan.31, 2007

 Payable To : •.                            AXIOM FINANCIAL SERVICES
 Amount of Payment:                         $2286.67

 Customer Reference:                        0001920274

 Dear LEROY WILLIAMS:


 Based on your authorization during our te lephone conversation at 9:00 A.M. Jan. 31,2007, we
 have initiated an automated clearing house (A CH) debit to withdraw the amo unt described
 above from your specified bank accou nt to make the payment that yo u requested. Included in
 the payment amount is the $8.00 'service fee that you also au thorized.

 If you have questions, or wish to make corrections to th e informat ion listed above, ple as§:'
 contact Collection Department, at 188-832-7990.
 Thank you for your business.
                                 AXIOM FINANCIAL SERVICES
                                 10900 STONE LAKE BLVD .SUITE 350
                                 AUSTIN TX 78759 -5867




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 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 396 of
                                      597



  .\ XIOM FINANCIAL SERVICES
   10900 STONE u\KE BLVD SUITE 350
  AUSTIN TX 78759-5867

  Ma r. 1, 2007

 LEROY WILLI AMS
  15020 SOUTH RIVER DRIVE
 M IAM I FL 33167

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    PAYMENT DESCRIPTION


    Bank:                                                       WACHOVIA BANK, NA
    Bank Account Number:                                         ***"'** 0274
    Date of Transaction :                                       Feb.28, 2007

    Payable To:                                                AXIOM FINANCIAL SERVICES
    Amount of Payment:                                        $2286.67

    Customer Reference :                                       00019 20274

    Dear LER OY WILLIAM S.

     Based on yo ur autho ri zation durin~ c.1 u 1 t elt>pl 1u 11 , , , 11 1, , , ,,,. t " o1, " • ; ; ' , .\ \ 1
     have ini t iated an automated clea ring hOU)t' \AC.ii i il,•1, ,1 1,, -.11, ,it,, 11 ,.,,., 11,.· ,11111 ,111 ; i , ,..,, ,,1 ,, .. 1
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     the paymen t amount is the $8 .00 'service feP th at vu 1; cih " r111th 1i 1 1;1· d

     If you have questions. or w ish to make' c.orrel lio11~ t u 11,,, 11ilu 1m.it11 ,1. i1~l•' " .11>, ,v , • 1ol, ,1·., ·
     contact Coll ectio n Depa rt ment, at 188 832 7'l'Hl
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                                                                AUSTIN TX , 8A q '-> ~h :




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 397 of
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                Axiom Financia l Services
                 10900 Stone lake B!vd Suite 35 0
                 Austin T:x 78759-5867

                April 1,·2007.- · •

                ~ROY         w·• ' !AMS
                15020 SOUTH RIVER DR!VE
                 i'l.:AM, FL 3:.lF.7

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                PAYMENT OESCRfPTION

                 Bank:                                                       WACHOVIA BANK, NA
                 Sank Accdtdif'Number:                                        "*****0274
                 Cate of Transacti0n:                                         March 30, 2007

                 Payable To:                                                 Axion Financial Services
                 Amount at Payment:                                          $2286.67

                 Cl.lstomer Reference:                                       0001920274

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                 Oear LEROY WILLIAMS:

                 Sa:ied on your autho;ization ::luring our teiephone CO/Wl:l,Sc!t!o n at !l:51 A.M ., March                                   30;ioo7, we
                  ~ave initiated·an automated clearing hCi.SE (ACH) ~ebit to withdraw the amo 1.1n! 0;.SCri!:::ed
                 above from your specified bank accoi.lr.:°to make the ;,ayr.,ent t hat you requested. Ir.duded in
                 the payment amount ls the $8.00 'service fee thc:t yce aiso authoiized.

                 If you have questions, or w;sr. to make corrections to tne fn fo rm ati on !istec above, please
                   i;or.tact Collection Depart..-;,er.t , at 188-8.32-7990.
                 Thank you for your business.
                                                                  Axicm =,nanciai Services
                                                                  10900 Stone Lake Blvd.Suit:: 350
                                                                  .~u~ in Tx 787S9-5867




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 398 of
                                     597




              Axiom Financial Services
              10900 Stone lake Blvd Su ite 350
               Austin Tx 78759-5867

              May 1, 2007

              LEROY       WILLIAMS
              15020 SOUTH RIVER DR IVE
              MiAM1 FL 33167
             1,,11111t1,1, ,11111-i,11,,1, 1, 11rL,, 111 1,, 111,, 11,111, Iii ,1,,1


              PAYMENT DESCRIPTION

              Bank:
              Bank Account Number;
                                  ..                                      WACHOVIA BANK, NA
                                                                           ******0274
              Date of Transaction :                                        April 30, 2007

              Payable To:                                                 Axion Financial Servi ces
              Amount of Payment:                                          $2286.67

              Customer Reference :                                        0001920274

              Dear LEROY WILLIAMS:

              Based on your authorization during our teiephone conversation at 10:00 A.M., April 30,2007, we
              have initiated an automated clearing house (ACH) debit to withdraw the amount described
              above from yo ur specifi ed bank account to make the payment that you requested . Included in
              the payment amount is the $8.00 'service fee that you a!so authorized.

              If you have questions, or wish to make corrections to the information listed above, please
                contact Co llection Department, at 188-832-7990.
              Thank you for your business.
                                                Axiom Financial Services
                                                10900 Stone Lake Blvd.Suite 350
                                                Austin Tx 78759-5867




                                                        Important Information
        Don" t g;ve out-yo ur bank account i nformation ove r the ;,hone unless you ,.,, ~w the company and underst and why the
        information is nessary
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 399 of
                                     597




            Axiom Fina ncial Se rvices
             10900 Sto ne lake Blvd Suite 350
             Austin Tx 78759-5867

            June 1, 2007

            LEROY WILLIAMS
            15020 SOUTH RIVER DRIVE
            MIAMI FL 33167
            T,,ll,,,ll, ,,,ll ,lh,l,,,l111 lll l,,,,,l l, 1!1 !11 ,l,ll\,,;l,I ,,!


             PAYMENT DESCRIPTION


             Bank:                                                        WACHOV IA BANK, NA
             Bank Account Number:                                          ******0274
             Date of Transaction:                                          May 30, 2007

             Payable To:                                                  Axion Financial Services
             Amount of Payment:                                           $2286.67

             Customer Reference :                                         0Gei1920274

             Dear LEROY WILLIAMS:

             Based on you r aut horization du ring our telep hon e conversation at 10:38 A.M., May 30,2007, we
             have initiated an au tomated clea ring house (ACH) debit to withd raw the amount described
             above from you r specifi ed bank account to make the payment tha t you requested. Included in
             the payment amount is the $8.00 'service fee that you also authorized.

             If you have questions, or wish to make corrections to the information listed above, please
               con tact Collection Depa rtme nt, at 188-832-7990.
             Thank yo u for your business.
                                                 Axiom Financial Services
                                                 10900 Stone Lake Blvd.Suite 350
                                                 Austin Tx 78759-5867




                                                      Important Information
       Don"t give out v.our bank account informa tion over the phone unless you know the company and understand why the
       information is nessary
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                                                         Retain this letter for your records.
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 400 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 402 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 417 of
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        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 419 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 421 of
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     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 422 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 424 of
                                     597                           Exh.63 pg1
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       ASSETS INDiVIDUA.LLY VALUED AT OVER ~1,0-00:
                     DESCRIPTION Of ASSET {:rpocific d~scrlption is niqulred • seo instructio <\S p.4)                                                           VALUE OF ASSET

      Security lnvestment- Acc.o.unts ~See- attached l~t)                                                                                                              85,1-87
      IRA Deferred Compensation Accounts                                                                                                                           250,000
      Personal Res\dence                                                                                                                                      1,500,000
      Ltd. Partner$hip lnl - Signature Gardens                                                                                                                       40,000
                          I                                                                                 Total Assets                                      1,875.187
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  . Wells Fargo Mortgage                                                                                                                                                     315,000
      Misce tlan eous Credit Cards                                                                                                                                             5,000
      Bank of Arnericr;i                                                                                                                             I                       104,000
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                    NAME AND ADDRESS OF CREDITOR                                                                                                            AMOUNT OF UA81LITY
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                                                                                                                                                                                      PAGE,
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 425 of
                                     597
                                                                                                 PART D - CNCOJ\t1E                            Exh .63 pg2
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          $eparate source and amoont of income which excee,,l~ $1 .000. \nclucling se--..oodaly sources of income. by comf'eting the rema.lnder of Part D. below.

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                      111,e remainder of Part D.1
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       Miami-Dade Clerk's Office                                                                Miami, FL                                                                                                           171,000
                                                                                                Miami, FL                                                                                                             ___._
       Signature Gardens
       Social Security                                                                          Miami Beach, FL                                                                                                     28,000



         SECONDARY SOURCE$ OF INCOME [Major custome~. ctie~. etc.. of businesses owned t,y reponing person-see mtructions]:
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                                                                           PART E - INTERESTS IN SPEC[FIED BUSINESSES
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         NAME OF                                                  Signature Gardens
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                                                      Exh.63 pg3
         Attached List

         STOCKS. BONDS. MUTUAL FUNDS, MONEY MARKET                   VALUE

          DPRS
                                                                        996.00
          Ballard Power Systems
                                                                        450.00
         Walgreen
                                                                     38,960.00
         Bank Deposrt Programs                                       44,781.00

         TOTAL                                                   $           Q
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    Net Worth




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 428 of
                                     597



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          Descript i on of Asset                                                                                       Va lue of Asset                                                                                              I
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 429 of
                                     597




   Description of Asset                                                                                       Value of Asset

   Merrill Lynch Rc.1ren:2nt .~ccount !nvestmem o-,er Sl,000-
   \/;:,nguard Mor, gag,2-B.:;d:co

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 430 of
                                     597


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  Liabilities

  LiAo lf iT! ES If\ EXCESS o;: Sl. 000

   Name of Credito(                                         Address of Cre ditor                                                                                Amourit of Liabifity

                                                            PO 3,Jx 991S17, \,le-bi le, .41, 35691                                                              $ ll, 183 .l.8



  ; 0 1'-IT ,\N 'J S~V~RA I U.-'d~,! LITi ES NO I R:POR TC D A60V!:: :

   Name of Credito r                                        Address of Creditor                                                                                 Amount of Liability

   f\';'/,




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  PR .r\•;,~•.!·'.Y ',OURC ES Or INCO fv1E :

   Name of Source of Income Exceeding $1,000                                                      Addre.ss of Source of Income                                         Amou1>t



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  S[CCF·JD.~.lfi SOU RCES Of· tNCOfv1E {Ma;or cust omer~. clie nts. etc oi busmcsses ov1nc::.J by repo11ing p;:rsnr.):

                                                                   Name of Major Sources of                                                               Principal Business
  Name of Business Entity                                                                                                           Address of Source
                                                                   Business' Income                                                                       Activity of Source
 ~ -
   !·j //1-
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 431 of
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  2023 Form 6 - Full and Public Disclosure of Financial Interests Exhibit 64 .5
                                                                                                      Filed with COE: 05/19/2024



  Interests in Specified Businesses




    Business Entity # 1

    N/A




 j Training
  This section applies only to a Constitutional or elected municipal officer. each of whom are required to complete annual ethics
  traini ng pursuant to Section 112;3142, F.S.

   0 I certify that I have completed the required trai ning under Section 112.3142, f .S.
   0 Required training under Section 1123142, F.S., not applicable to mer for this form year.




  Signature of Reporting Offida! or ~ndidate

  Under the penalties of perjury, I decl~re that I have read the foregoing Form 6 and that the facts stated in it are true.



  Juan Fernandez Barquin
  Digitally signed: 05/19/ 2024

  Filed with COE : 05/19/2024


                                                                                                                                            I



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                                                                                             Exhibit 65
                  IN THE CIRCUfT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR

                                  MlAMI DADE COUNTY FLORlDA CIVIL ACTION



            U. S. BANK, NA TlONAJ, ASSOCIA TTO1 ,
            AS TRUSTEE FOR RASC
            2005AAHL 3.

             Plaintiff

                                                                              CASE NO: 20 l 0-61928-CA0 l
             V.


            Iv1ACK \\!'ELLS


            Defendants,




         MOTION AND AFFIDAVIT FOR RELIEF,RECUSAL AN-D RECONSIDER HIM ORDER
           AND REVERT BY VACATING HIM ORDER AND MEMORANDUM OF LAW


        _Pursuant to Florida Stat. 112.131 , Florida Rule 2.160 (H) and Federal RuJes of Civil Procedure
        Rule 60, Plaintiff MACK WELLS hereby files this Motion for Relief & Recusal and Supporting
        J\,femorandum regarding tbe Brov,-• -nwyn Catherine t\.·fill er 05/04/2022 review of the record and Final
        Judgement Order, Exh. 119 based on the following facts, new information, just tenus, judicial
        misconduct fraudulent grounds and discovered conflict of personal investment interests on
        Financial Disclosures of Judges and officers of this Court (Exhibit Q # ) Attached- U.S. BA1\TK
        Special Situation Property Funds Accown Pa!:!e 42. IFRS 2018 Tables 9-13. SEC Filings- U.S.
        BANK Florida Subsidiaries, Judge Alan fine Financial Interests & Property Disclosures).


        Florida Rule 2.160 (H) Savs A Judge may Vacate him orders for Conflkt o(lllterest Theodore
        R. Bundi- V. Judge John A. Ruda Fl Rule 2.160 (D) (1) Fl. Code Jud. Conduct I Ca:no11 3£(1)
        A Judpe .-.hall disqu.alify himself whi:me iJ....rw_artialitv mi11lit reasonabfp be questioned Rule
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 433 of
                                     597

                                                                                          Exhibit 65
        2.160 (D) (I) groJJ.nds to disqualifi• i,; nartv fears Judge is Biased FL Statue 112.312 (8) Jurlge
        can 't have a conllict of Interest !


        Judge Brownwyn Cathimine Miller must Recuse himself for an open obvious Conflict of Interest

        because he's doing business with US Bank and helping them to make money so t hat he can make

        money by foreclosing and taking (stea ling) our property while acting as the Judge on the case on

        our property, not on case's Merits but for to make him and them money Illegally. Here's proof: In

        his Form 6 Affidavit Oath from Tallahassee called FULL AND PUBLIC DISCLOSURE OF FINANt";lAL

        Says:




        2. form 6 for 2012 on line 2. , Exh. 2. He got $95,000.00 with WELLS FARGO which is

        Financed by US BANCORP. Exh. 1. which is U.S. Bank, Exh. 2.

        3. form 6 for 2019' Exh. (0). On line 3 he got, $250,000.00.. doing business with Voya

        which is US Bank, Exh. 6, 6A, 6B, 6C, 6D, 6E, 6F, JP Morgan which is U.S. Bancorp,

        Exh.4, 19. And U.S. Bancorp is U.S. Bank Exh. 5 and SB.




        And o n hrm 2020 Form 6 Full and Public Disclosure of Financial Interest In 2020 on

        l ine 2 , Exh. 3. Line 3. He got $351,000.00 with Voya Which is US Bancorp Exh.3,

        which is U.S. Bank, Exh. 5 and SB
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 434 of
                                     597
                                                                                                                       Exhihit "" F .Yhihit ?. no- 1
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                                                                                                                                                                   -   ~



          FORM6                                FULL AND PUBLIC DISCLOSURE OF              2012
        Plo,..se prtr,t Of tyPt YQUr omna.•:
        addnau , agoncy Mme , and ~ b4ilow :
                                              -~~ I FIN~NCIAL INTERESTS I I FOR OFFICE USE ONLY: I                                                                     ..
                                                                                                                                                                                    ..




        LAST NAME -
       Miller, .Bronwyn C.
                           FIRST NAME -            MIDDLE NAME:
                                                                                     ~cwma
                                                                                       ....
                                                                                          n1.tr ~----
                                                                                          _,
        MAILJNG ADDRESS:                                                                                ,....,

       l351 Northwest 12th Street                                                        JUN l O7R1'l
       Suite 413
                                                                                                                                    y12\3
        CITY :                                            ZIP :                  COUNTY :

       Miami                                         33125                           Miami-Dade
        NAME OF AGENCY :
       Eleventh Judicial Circuit
                                                                                                                               PROCESSED
        NAME OF OfflCt: OR POSITION. HELD OR SOUGHT :
       Circuit Judge, Group 21                                                                                                       CONFIDENTIAL
       CHECK IFTI·HS ISAFIUNG BYACANOtOATE
                                .
                                                                  0                                                    . . .
            ..

                                                                             PART A - NET WORTH
       Ple:a~ ent<lr tl1e value of your net w-orth a,; ot Decemw 31 , 2012. or a more current dale. fNOU!: Net wonh is not <:alCl.llale<l by StJbtrading your repor1el"J
       liabi.tic:.s trom your reported assets, so µleast, see 1he l(l:;tr\idio11$ Ol1 page 3.)

                                          My ne-t worth as of June 15                                 20 l3         was$            940,000.00
                                                      .                                                                                              -·-·
                                    . .

                                                                                     PART B - ASSETS
       !-IOUS E.HOU:l GOODS ANO PERSONAi. EFFECTS:
          Household goods and persooal' el!ed:$ may~ reported in a lump sum if their aggreg~e valt.ie excee,ds $1 ,000. Thi$ category nv.:l~s any of.!he followir-19,
          if 11ot t\ekl for lo-vestment purp,o,;e,;: ~ r y ; <;Qlloctions or stamp:;, gum. and 01.!ITli$mlli:ic-itemz: art oti;eci$; hOuSMOI<! equiprne<1l ,md fumis~J'l{ls; ciothino:
           ot'le:f t'louse:nc!d items: ana 11ehieles focpernonal ure.

          Tr,e aggregate vaJoo of my llousehold goods and peraorn,J e!fecto {<:leS<;:rioed above) is S 2·50,000.0C

        ASSETS JNDlYlOUAU.Y VAJ.UEO AT OVER $1.,00():
                      0ESCRIP110N OF ASS!;T (apecffic daaeription ls roq,uir.d • so. instnicttom pago -4)                                                     VALUE OF ASSET
                                               .

       ING 404(B) Investment Account                                                                                                                                   130,000.00 .
   '                                                                                                                           ..

       UBS Investment Account                                                                                                                                               85,000.00
                                                                                                                           .

       Wells Fargo Investment Account/Oieckinii:/Savlngs Accounts/J.olnt                                                                                                    95,000.00
       Residence/Request for Address El(emption Previouslv Tendered                                                                                                    475,000.00
       T. Rowe Price Investment Account                                                                                                                                    35,000.00

                                                                             PART C - LIABILITIES
       UA.BILITIES IN EXCESS OF $1,00Q { ~ ,~wct1ona on ~go -4):
                           NAME AHO AOORE.SS Of CREDITOR
                                                                                                                                                      I AMOUNT OF UAS'iLITY
       SunTrust 8ank, P.O. 8-0x 4418, Center 645, Atlanta, GA 30302                                                                                                    115,000.00
       CitiBank, P.O. Box 790162, St. Louis, MO 63179                                                                                                                       18,000.00
       Sabadell Bank, 1111 Brickell Avenue, Miami, Florida 33131                                                                                                            20,000.00


       JOINT AND SEVERAL. L!ABIUTTES NOT REPORTED ABOVE:
                    NAME AND ADORES$ OF CREDITOR
                                                                            ..
                                                                                                                                                            AMOUWT OF LIABJU1Y




                                                                                 (Continued on ,.....,.,,.. aide)                                                             PAGE 1
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                                     597
                                                      RYhihit 6~ RYhih it 2 no- ?.
                                                                                                                                                                                                     --
                                                                         PARTD- J COM.E
    Yoo may EJTHER (1) fiJe a complete ,;opyofyoor2012 federal income tax return. iflcivcfing 811 wn, sdledul&, and strachments, OR (2) fiks a sworn sta\ement
    idenlilying each ~a!ale source and amount or iocome whidl exceeds $1 ,000, induding ~condary sources of Income, by c:ompletmg the r?mainder of Part
    D, t,e3ow.

    D        1~ct to file a copy of my 2012 federal income tax tetum .at1d ;111 wi:s, s~dules. al'ld attacnmet\1$..
             [If yoo ct,e(:l( this box ~od attach a COSJY of your ~12 ta:x return, you need no\ complet.e the remainder of Part D.J

    PRIMARY SOURCES OF INCOME {S&e irtstruetl00$ on ~ 5):
       NAME OF SOURCE OF INCOME EXCEEDING $1 ,000                                   AOORESS OF SOURCE Of INCOME                                                                       AMOUNT

                         State of Florida/Salary                            200 East Gaines Street, Tallahassee, Florida                                                                        136,752.64




    SECONDARY SOURCES OF INCOME [Major OJS!omers. cfienls. etc... of businesses owned lly reporting peBOn-see insL-ucoons on page 5):
                NAME OF                          NAME OF MAJOR SOURC£S                                 ADDRESS                                       PPJNCrPAL BUSINESS
             SUSJNESS ENilTY                       OF BUSINE:SS' INCOME                               OFSOURO:                                       ACTIVITY OF SOURCc


                                                                                                      --




                                 -
                                     PART E-l TERESTS lN SPECTFIED BUSINESSES flnstructioos on page 61
                                                BUSINESS ENTITY# 1                          BUSINESS ENTITY # 2                                   BUSINESS ENTITY # 3
                                                                                                           --
    NAME OF
    Al LC:::JNFJ::.C::: ENTITY
    ADDHESSOf
    ;u tC:::JNFC:::C::: FNTITY
    PRINCIPAL BUSINESS
    ACTNITY
    POSfTlON HELD
    \f\llTH ENTITY
    I OWN MORE THAN A 5%
    INTFRFc:::T rN TH E BUSINESS
    NATURE OF MY
    OVVNERSHlP INTEREST                          -
                                     -
              IF ANY OF PARTS A THROUGH EARE CO iTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                                                                      □

                                 OATH                                            STAT!: OF 1'1.0R1"1
                                                                                 COUNTY O.F         Ltl                 r,u, - b:Lde_
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    and say tn.it the rnfonnation disdosed oo this form                                               !J1PtJIIJv'11 e. m,ffY.
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    1100 complete.                                                                      (J}l
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                                                                                 (Print. Type, or Siamp Commissioned Name of Notary Pobric)

    SJGNATURE OF REPORTIN-G OFFICIAL OR CAHDtOATE                                Persol'l&lly Known             v-:::     OR   Prodvced lde<iti:fication


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    FILING INSTRUCTIONS for when and where to fH• thta form ara locata-d at the top of p-ag• 3.
    INSTRUCTIONS on wno mu,1 me tllls form and how tt> fill it out be-g[n on page 3.
    OTHER FORMS you may need to file lilr& dherlb&d on page 6.
       -
                                                                                                                                                                                                            ?AGE2
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 436 of
                                     597
                                                        Exhibit 65 Exhibit 0 01!.l
      FORM6                     FULL AND PUB LI C DISCLOSURE                          2020
    ~~:~::~~~~~~:;~~:::=~i:~~ow: oF FI NAN CIAL INTERESTS l...__F_O_R_O_F_F_,c_E_c_S_E_O,-N-L_Y_:_ ,..
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       lAST NAME -                FIRS        NA,~E -          MIDDLE NAME;
    MILLER                                               BRON\VYN                            CAT IERlNE_
       MAILING AOORESS :                                                                                                                           ~
    2001 SOUTHWEST 117TH .AVENUE                                                                                                      FLORIDA
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    MlAJ\-11                                                               33 175            )VHAM!-DADE       O                     RECEIVED 1 ,-- 1,
       NAME OF AGENCY ;
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      NAME o;: OH"JCE OR POSITlON HELD OR SOUGHT •
    JUDGE, APPELLATE DISTRICT
       CHECK iF TH!S IS ;,\ FILING BY A CANDIDATE                                      □
                                                                                                                   tr ~\dt)~
                                                                                           PART A- . ' ET W0 R1'H                                  I
      Please enter the value of your net worth as of December 31 . 2020 or a more current dale. [Note : Net worth is not cal-
                                    oorte-d liabilrties from your reported assets. so please see the instructions on page 3.]
      culated by subtracting your re_

                    My net worth 2-s of_J_
                                         u·_N_·E·_ _l_ _ __ __ , 20 2__1-                                     was$ _l _,6_4_0_
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      HOUSEHOLD GOODS AND J:>E;RSONA.L EFFECTS:
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       loll<Jwing, it not held for investment ou1POses: Jewell'/: coaections of stamps_ guns. and numismatic iiems; art {)Ojects: hous.enold equipment ;;tnd
       fvmishinl}S: dothing ; alhe-r hous.mold items: and vehides fc< p;;;rsonal use. vme(her owned or leased.

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      ASSETS lND!VIDUALLYVALUE0 AT OYER $1 .Dl)'(J :
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    RESI DE NCE                                                                                                                            700,000.00
    VOY A [NVES1:vfENT ACCOUNT                                                                                                             351.000.00
    NA.Tl01 WTDE ft 'VESTMENT ACCOUNT                                                                                                      18] ,000.00
    OR IENTA L INVESTMENT ACCOUNT                                                                                                          l25,000.00

                                                                                           P.\R·t C- LIA.BIUT1£S
     UAl31UnEs IN .EXCESS OF S1 ,00-0 {&>e :nstructloJ'tS on page 4):
                    NAl\41;: ANO ADDRESS at= CR!::OITOR                                                                                     AMOUNT 0:F LIABILITY

    SUNTR US T BA fK, P.O. BOX 4418 , CENTER 645, ATLA.1~TA. GA 30302                                                                     65,000.00




    JOINT AND SEVERAL UABlLITIES N-01" R!cPORTED ABOVE:
                 NAME.AND ADDRESS OF CREDITOR                                                                                               AMOUNT OF UAB!UTY




     Q: FQRI.; 6 . cOOCW<? Jarnwry 1. 202>                                                                                                               PAGt::.1
     t:l::x:irt'I Ol'a'le<: Dy rt:fe.r4flt..c: .-i R:v1e J..l:-8.002{1), FAC
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 437 of
                                     597          Exhibit 65 Rxhihit o nu , .
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                                                                                              PART D- !."< COME
      l~nflfy !!!ach 5epar;;:e source and amount ot income whtch excl!-!!d~d 51 .000 durm9 the \'ear. inctudin(J secondary SO\lCCeS of <!'.come. Or attadl a -c.omplete
      copy ot your 2-020 fedor.it income l1!x return. 1naudi~ all V>ns, se!'ledules , and at1idvnents. Pl eas~ re<l--act any ~ I s~Cllfity OI' accou.-,. numbers before
      att;,i;hing yoUI· retwn~. as !he Im,,· rc.-<,uires me~ documents be !X)~l!ld 10 !he Commission's webM11.

      □             I elect lo 6tE:! 3 copy of my 202-D federal income !J x relur.i and all w-z·s. schedtiles. alld att<1ctirnents.
                    (If you: che-ck th!s box an-i nttacil a copy o1 you:r 2020 tax return. )'{IU need .-.oi cornpl~te lt,e rema inder oi Pan OJ

      PRIMARY SOURCES OF INCOME (Sec ir,struction.s on page 5):
          NJ'..ME
              .
                  OF SOURCE. Of INCOME EXCEEDING S1 000                                   I                  ADDRESS OF SOURCE OF INCOME                                         AMOUNT

    STA TE OF FLORIDA                                                                         200 EAST GA l i ES STREET. TLHS, FL                                     168,665.76

      SECONDARY SOURCES O!= INCOMt: [Ma1or custo=<s, cbems . etc., of businesses owneo by reporting per&o:.--see ~lructmns on P"~ 5):
                          NAM:; OF                                          NA!.IE OF MAJOR SOuRCES                          ADDRES S                                PRINCJPAL BUSiNESS
                    0USiNESS ENTiTY                                           OF SUSINSSS' IN.COME         I                OF SOURCE                                ACilVITY OF SOURCE

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                                                      PART E -              INTER£ST I N SPE:ClF1£D BliSl,'dSSSES !lnstructions on p.i:;:t 61
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      O\NNcRSH1P INTE:RESr

                                                                                              PART F - TRAINING
        Thi.;; section applies only to officers requ,red to compleie annual ethics training pursuant to section 112 3142, F. S. {See ins true-Jons p. 6)
                                            □           I CERnFY TH AT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                                                                                                                                               -
                                                                                                  STATE OF FLORIDA
                                               OATH                                               COUNTY OF             MlO-Jn, ~ e .
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       z.n:i complete                                                                            '-:::fDrt ,_,_r,._ £_ ~ '.,__I._ ~....D--
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     s ho must cornple1e the follow <ng sta emenr-

     I,                                                               . prepared the CE Form 6 in accord ance with Art ll. Sec. Florida Constitution.            a.
     Secli<lr. 112.31« . Florida St:.hnes , and the i sln.rct1ons ro the form Upon my reasnn.ible ~nowledge and belief. the oisclosure tierein is true
     and corre-ci

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                                         Signature                                                                                                       Date
      f'rL'pll 1--alio n of tbis form by ; 1 CPA or anornty does mH -r clic-vc t he filer or rhc re:5ponsibllit)· to ~ii;; n lbc form under o:ath.

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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 438 of
                                     597


         Part B-Assets (Continuation )                 Exhibit 65 Exhibit O pg.3
         Wells Fargo/Investment/Checking/Sa vi ngs   20,000.00

         E-Trade Accounts                            17,000.00

         VHEIP Investment Accounts                   40,000.00

         United States Savings Bonds                 3,000.00

         Ally Bank Investment Accounts               13,000.00

         American Express Savings Accoun t           3,000.00

         Florida Pre-Paid College Ac.counts          55,000.00

         UBS Investment Accounts                     15,000.00
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 PageFLORIDA
                                                                           439 of
                                     597
             Form 6A. Disclosure of Gifts. Expense Reimbursements or Pay!11~nts, an i ~ N ONETHJCS
                                            off ees a nd Charues
                                                             0
                                                                   E~li~b1t 65         JUN O~ 2021
                                                                 Exh1b1t Opg.4
               All judicial officers must !"ile \\ ith the Florida Commission on Ethics a [jsr~VED
        reportable gifts accepted, and reimbursements or direct payments of expenses, and waivers
        of fees or charges accepted from sources other than the state or a judicial branch entity as
        defined in Florida Rule of Judicial Administration 2.420(b)(2), during the preceding
        calendar year as provided in Canons 5D(5)(a) and 5D(5)(h), Canon 6A(3), and Canon
        6B (2) of Lhe Code of Judicial Conduct, by date received , descriprion (i ncluding dates,
        location. and purpose of event or activity for which expenses, fees , or charges \\,.ere
        reimbursed. paid, or waived), source's name, and amount for gift' only.

        Name: BRONWYN MILLER                                                         ,            305-229-3200
                                                                                 'work Telephone: _ __ ~ - - - -
                              2001 SW 117 AVENUE MIAMI 33175                                          ,r= ·---•..,..,.._, =..~,.-,......_.._
        \\ ork Address: _ _ __ _ _ __ _ __ _ Judicial Offi e Held: _ _ _ _ __

               l. Please identify all reportable gifts. bequests, favors, or loans you received during
                  the prccecli11g calendar year, as required by Canons 5D(S)(a), 5D(5)(h), an<l 6B(2)
                  of the Code of Judicial Conduct.

         '     DATE     'i           DESCRIPTION                                         SOURCE               AMOUNT ·1
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               03/20    ! LUNCHEON TICKET/VIZCAYA                                SWANEE DlMARE              £1000.00
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               2. Please idcnti fy all reporta hie reimbursements or direct payments of expense., and
                  wai ers of fees or charges you received during the preceding calendar year, as
                  required by Canons 6A(3) and 6B(2) of the Code of Judicial Conduct.

         ! DATE          I
                                             DESCR !PTTO r                                            SOURCE
         I               , ( Include da1es, location , and purpose of event or
         I               ; activity for which expenses, fees, or charges
                         i         were reimbursed, p3.id or waived)
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                                             CONTI NUE TO PAGE 2 FOR OATH

                                                                       Page 1 of 2
        Form 6/\ Rev ised 4/21
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 440 of
                                     597


                                                                       OATH
         State of Florida

         Countv of                    (V\ i~ - QfiL-.1-e_
                   ,-                           . (I                                   Exhibit 65 Exhibit Opg.5
         I, {by         Wjon          I    n   M ..e <
                                               the public official filing this disclosure statement,
         being firs t duly svvorn. do depose on oath and say that Lhe facts set forth in the above
         statement are irue, co1Tcct. an,d ~ co the best of my knowledge and belief.


         (Signature of


         (Si gnature of Officer Authorized to Administer Oaths)

         My Commission expires_ _ _ _ _ __

         S\vom to and subscribed before rne Lhis

         ----'\"""s_,__+____. day of                .J Jr-...c:,..          , 20 Z-l




       Form 6. 3/ l O
       As A 11t~,,d,·d t>,· SC I .:5-64S                             Page 2 of1
    co Fl ENTIAL
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 441 of
                                     597
                                                                                                  Exhibit 67pg.1
           FORM 6                                                           FULL AND PUBLIC DISCLOS URE                   2020
                                                                              OF FINANCIAL INTERESTS
    Pl•~~ ~tin, or ~/Pt your nam11, mai~r,g
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                                                                                                            FOR OFFICE USE ONLY:
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    Scales                                                Edwin                                     A
          MAILl'.4G AOORESS·
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    2001 S. W. I 17th Avenue                                                                                                     COMMISSION ON ETHICS
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      CITY                                                                        ZlP               COUNTY
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      culateo by subtracting your reported iiabilities from your reported assets. so please see the instructions on page 3.]

                     My net worth as of Dec.:cm bcr 3 1                                                 . 2 0 ~ was S       3l '-I 7Dl. ( v.;r
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                                                                                                    PART 8 -   SSETS
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                                                                                  .            PART C -- LI .-\BIUTlf.S
    LIABILITIES JN eXCESS OF 51 ,000 (Sn instructi ont. on page 4) :
                                   NAME ANO ADO RESS OF' CREDITOR                                                                             I   AMOUNT OF UABlLri"Y

   ]\;one:




    JOIIH AND SEVERAL UABlLlri:ES NOT REPORTED ABOVE :
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 442 of
                                     597
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                                                         Exhibit 67 nP 2                                                                                                                        .
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      l! a cert,f;e,d P:' blJc accou;i,ant f:iccnsed .,nd.er Chapter L73. or attorney ·r, good standing wtth th!! F10<i(!;i Sar prepared lc:is form for you . he or
      s!'-~ mu ~t comp lele the fo!!co,,nf, ct;.ic:rnen1
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                  -                   • m·                                                                 PAGE 2
     ~ ! _ l . l ~t..-C.   D\l.elcrt.,"\:;cw:- R1.neJ .! '\ {r.'7( 1 ) f-A C-
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 443 of
                                     597

                                                               .     Exhibit 67 pg3
                                Part B of Form 6-Assets with Values

                       (un less otherwise indicated, as of December 31, 2020)




        $509,188


        200 1~1 Avenue; Un it #411

        St. Pete Beach, Florida 33706




        Investment Plans~



        Rollover IRA

        Raymond James

        $466,466

         (I n dividual holdings w ithin IRA attached as Exhibit A)



        Raymond J~mes Bank Dep_osit P_rogram (cash not included within other Raymond
        James Accounts)

        $71,678
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                                     597

                                                                  Exhibit 67 pg4
        Raymond James Appreciation Model Account

        $158,014



        (individual holdings within Account attached as Exhibit B)




        Raymond James Bond Model Account

        $124,825

        (Individual holdings within Account attached as Exhibit C}




        Historic Tours of America Retirement Plan

        Ingham Retirement Group

        $42,825 ($40,489 vested)

        (Individual holdings within Account attached as Exhibit D)




        Voya Deferred Compensation Plan

        $197,322

         (Individual holdings wrthin Account attached as Exhibit E)
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 445 of
                                     597

                                                             Exhibit 67pg5




         Stock HoldingsN alues:



        Anheuser-Busch lnbev                        7,311
        Apple Corporation                         106,443

        Caesa r' s Entertainment, Inc.             15,819
        Coca Co la Company                         27,017
        Comcast Corporation                        37,210
        Disney Corporation                        139,710
        DXC Technology                                774

        HP, Inc.                                   10,067
        Hewlett Packard Enterprise                  4,672
        Marriott Internationa l, Inc.              37,558
        McDona ld's                                29,.466
        Medtronic, PLH, SHS                         12,780
        Microfocus Intl.                              250
        Microsoft                                 248,111
        Netflix                                    54,073
        PepsiCo                                   144,901
        Southwest Airl ines                        30,342
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 446 of
                                     597

                                                               ·Exhibit 67 pg6
        Walmart                                            21,374

        Yum                                                27,105

        Yum China Holdings                                 13,342




        Personal Checking Account

        First Horizon                            $53,330

        Centennial Bank                              602

        Certfficate of Deposit

        Gulf Atlantic Bank CD (principa l)       $140,000
        Aggregate of Joint Accounts Held Nominally With Elderly Mother

        Center State Bank                        $112,597

        Promissory Notes {Principal Remaining)

        Owed by Ronald K. Heck (lakeside)        $18,251
        Owed by Ronald K. Heck {Wagner)           $59,155

        Owed by RPM Nautical Foundation, Inc.     $98,230
                                                     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 447 of

       ..                                                                                 597      November 30 to December 31, 2020

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       .Q.

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                                      RAYMOND JAMES®
                                                                                                                                                                                                                                                                        Your Portfolio
                                                                                                                                                                                                                                             l:c1:Scales !HA Accoun l No -
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Cash & Cash Alternatives
    Raymond James Bank Deposit Program ,►
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    Haymond Jamoll 83nk D~1>Qs11 P•o'1rM1 •!• - Sol~;,tod Swcop Oplion                                                                                                                                                                                                      0,() 1'\,                        :l; I 75

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    R11ymond Jarno~ Bank Deposil Pm g1 11m Total                                                                                                                                                                                       517,57:l,;o                                                           S1 .75

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    ES1 P.(.!aSJ..~ 1K!t! , l"te R.t1t1~11)1~:J .J,,n·lP.ti. Bank {\{,!f10~}1 ~ P; O•J1 .:,rr, L:Jn 1he Ll1~Jo rGti.:tn1:J1r~J \( ,Jl1~ Sra~e, r.llifll png,e.

    Es lirn._'ltr<J f!1ca10!-) Y,a~:I ~or F::JGDP ,vns t;Ctlcu ~w.tc.-c:i r..~ c,r 1~ .. ;·i.v:1.r.'l?O

Cash S. C..15h Alt orna1ives Total                                                                                                                                                                                                     SH,572.30                                                             S1 .75



Mutual Funds
    Open-End Funds
                                                                                                                                                                                                                   [siimated                  (slln-.a•ed                 In •,~,:,1 rn,y,\          c .. ~,. 13   !J}!i

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    1' ~1,.cnp l Klll     IS1•nil-Y.:I)                                                                                                    Cord Ba .. m                     P1111:-e                    V,'\lu &           Y,,,ld               rn~·-r~.,.-....:_,                ilOf I                   l!.,>f,Si

    NUV EN Al.I. AMERICAN                                                                                                                 ':-1:1,8:l:?.1 i'             S,12 .'.:20              ::.1s,103,11·1        ;1 2s,o                  S4\Xl,f'x:5                J 1,2 1'124               -:l: 1,:? 11 :211
    MUN ICIPAL BOND FUND                                                                                                                                                                                                                                                       ll i'2'%.                   B 72".'"~
    Cl.ASS t NIL (FMRX)

    PtMCO INCOME FUN D C LASS                                                                                                             :i; t1 ,:)..l7 2G             .,1 2. 11 0              St 2,516.1l8          4_&} %                   $6 11 AIJ                  $ 1,16'.) 'I              :i- 1,16!}.3.1
    12 N/1, (PONPX)                                                                                                                                                                                                                                                            10 30~;                    IO. ~lOo/o

    Opon- r:ncJ Fund, Toro!                                                                                                               $,' 5.231.:i.,1;,,                                     S27.G19.9f.l          ~1 !;_1>'.;;f~·Q.     S!, IDZ.5C                    :f2.38!_. :i ,            S2.~<80.57

M llhrnl f' unds Total                                                                                                                    S2G,239.il?                                            S27,(>10.0t1          3.99 %                S1.'102.tl6                                             52.380.57




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                                  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 448 of
                                                                       597      November 30 to December 31 , 2020

                      RAYMOND JAMES@
 E::xci'lc'HlQH-Trar.lflcl Pn1ducts (ETPs)
--------------.   . -------·------------------~ -··---~--·--------~. . _,.. .__.. .,., _____________________________
  Exchange-Traded Funds
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                                                              [ ,no                  1 <:-11\!                                           ~>f' (~7)f:            /\nnu:,I         f"J..'tlroc~   G!ik)O(
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  INVl:SCO SFNIOR LOAN ETF                                                                                      $10,300 .20               JS(l"~,
  j FlKLN)

       LOT 1                                                                                                     •2   ,268 ..:tl               M; ·            S3?9.89
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       LOT?.                                                                                                     S,1 _(!!.JI . 2          :-1 riG''~'

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  F.TF (l::EM)

       LOT1                                                                                                      .SB/3o'O l,;·l            1.-15~!-.,          S12 1.-1?.
       LOT 2                                                                                                          SJ61.r..g            1 '1~t~"'              , 5.2·1

       LOT3                                                                      s. ·2e, 6'.,                         S7i'G C1.i               ..-1':i'?-:

       LOT 4                                                                                                          S•l 1:, :1G          l.'15'!,

       LOT 5                                                                                                          ~:.i10.u~            I .•1 5'.I•

       LOl G                                                                                                          Sfrt il.7f..1        l.•·IGt-t

   1Sl·I/\RES TR MSCI 8-\f'E nr                                                                                 S14,083.84                 £ ~3 :.>,1          $;_1 16 .61
   (EFA}

       LOT 1                                                                                                    431 ~.2C6 'lt;             )
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       I.OT 2                                                                                                         s:1.:.;i.1s          ~ i ,ia ;            5i.0, 1S

        LOT3                                                                                                          '/r!!:J J;;.,                :;.;i,

   !SHARES TR con E S&P MCP           11J ('(lo)                                                                S27,349.77                 I i ~,, -.
   1:TF (IJM)

       LOT 1

       I.OT 2

       tOT 3

        LOT ,1

        LOT &                                                                                                                                                                    .. J f.f>",




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                                        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 449 of
                                                                             597      November 30 to December 31, 2020

                          RAYMOND JAMES®                                                                                                                             Your Portfolio (continued
                                                                                                                                                                           E•i r,c,1!0s IHI\ 1\f;count No

Exchange-Traded Products (ETPs) (continued) ·•·'
  Exchange-Traded Funds {continued)
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                                                                 t,l°l\o           l.;'rnt                  fotal                                          lr1,:;,c-n1.P        /\rm-tJ~1\        (~flOt
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  ISHAHES TR RUS 1000 GHW                                                                                             5241 . lt.0    S,:15,093. 18                                                          S. l\l,55(1 \:M
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           LOT 2                                                                                                                      $~!,89'.).(,

           LOT3                                                            &1691)1

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  F.TF (IWM)
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           LOT 2                             22 L((1 llJ'cb/ ;.>t) 1il     S 1-l7 l3f-i:1                                                                                                                    ,: 1.f(i, I '.°16

           LOT 3                                                                                                                                                                si:,931

           LOT 4                                                                                                      8 1' .,.G€ I

           LOT 5                                                                                                      $1• fi060       $4,001 G(l

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                                 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 450 of
                                                                      597     November :30 to December 31 , 2020




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Exchange-Traded Funds (continued)
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                                    n ,.Jt ,r,111•,     f:,, ~· •.l'Jlt~i          Cu:;1              f~-::-.~ I Bt~~,s                  P,·ire           Vi,Juo              '(i,il<J          ln t'<.Xl"!O   (LO,% )Pn                •I (J~·D'

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(MlNTj
s r o n S&P (.,lQl:l AL NATURA                                                                                                                      $ 13,389. 22
H~~SOU HCES fl!- jGNt~)

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     LOT 2
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     LOT,1                                                                    : J,' ' J.,V                                           . 14 ;-1;1.1

     1o r 5

V/\N 'l:CK VEC TORS GOLD                                                                                                                             S9,320.1 B
MIN F,AS ET F   /GOX}

     LOf 1

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VANGUA RD Hl{JH DIV!OEtJO
Yl(LO _TF (V YM)

     I.OT 1

     LOT 2

     I.O T 3

     LOT 4

     LOT 5



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                                                        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 451 of
                                                                                             597      November JO to December 31 1 2.020
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                                          •    RAYMOND JAMES®
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                         ..=             ~                                                                                                                                                                                                             Your Portfolio (cont=·nued
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    Exchange-Traded Products (ETPs) (continued) ,,
        Exchange-Traded Funds (continued)
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    Alternative Investments
         Alternative MutuaJ Funds '·
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          AJtBmativo Mutual Fund s Total                                                                                                                                                                             884,371.24                 fJ.OH%              $.82iJ. 11          s·13, ?113.BG                t~ 1{J,6)9 96


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    Port folio Total                           $466,466.90

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      t,t"f l l\ l1tl cln1 : t Jrt1r;t 1)t~
                                                      Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 452 of
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                                                                                                         November 30 to December 31, 2020

                          ~~RAYMOND JAMES®
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Cash & Cash Alternatives
     Raymond James Bank Deposit Program •11
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 Exchange-Traded Products (ETPs) ,,
     Exchange-Traded Funds
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    r,L,_ 5,;r,f)l f(,n    ,_s, , 14,                               Ou: 11ltly                 { \ t ('J 1.HfM J         C~)SI               C.oGl L\'.~s.,s               Pr 1,~t"          Vn!uo             Y~ ld               lr11:on-..,,          l-OGS) P r: I                      \, (l~:5 1

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              LOT 6                                                    '1/;;()'(1 ,).~;q)r:I '')           20        .)7 ~[1(1                     I .'.If-,() (Y.)   5$ 1.fii'O       ~, 1.8 J.12          r 1l5'tt                .~2(,1),';               :l7 7'..J'J..,              !S10 12
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     jFf/\)

             LOT 1                                                   1R;· rni 1 ;• '(J.' ?.0 18                    :, ~'.)f;?0               b l 1.,·•i'."t, tJ,I     .-t'2:1GO       H 'J.fAJ ,(,2        ? 13 0. ~              :i,~U(). 2 1               2f.~~ ~f\n               .1; 2 }()7 .1)0
                                    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 453 of
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                     ~   RAYMON•.D JAMES~)
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Exchan90-Tradl➔ d Products (ETPs) (continu ed)

  Exchange-Traded Funds (cont inued)
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        t.OT 2

        LOT 3                                                         3 1.5-17 .1(1

  ISHAR ES l H con E S&P M C p                                                                           S12,810.48
  Ell'  {UH)

        LOT 1

        LOT 2                                                            SS:18.88                                               1. 26 ,                                             Sl!,O Ot

        LO"! 3                                                                                                                                       S8 .fl.1

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  ISHAHES Hl RUSSELL 2000                                                                                513,72-1.?.{)
  ETF (IWM)

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        LOT :l                                                                                              $980 JO                                 ) 1.fl 2J

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        LOT 2                                                                                                                                                                         .S t ,I :,

  l~H/\HES Tfl !BOXX I II YO ETF                                                                          S2,269.HU
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        LOT 2                                                                                             S .0-li' (iO

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                                  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 454 of
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                         i RAYMOND JAMES®
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       ' r--
Exchange-Traded Products (ETPs) (continued) ~-
 Exchange-Traded Funds (continued}
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 I 1,--sr•,pbt)r.    tSf r11x1t       V LJ R' 111l•t           A<'ql lll I                 Cc..:!.t    Cor,I &,,;,s                      P,01           V11!u&              y ,;,Id        lr A"'On~         f,.t,~ll) Pct            (l.'lsi;}

  PIMCO AC Tll/E BONO                    l\)flCO '                                 -~: l t i:J 009       5 I.957. l fl         s1 i::u io         S2.149.09             2 66%               -%7 ,f.'8             9 H\ 0 ,        $ 1!3 1 !li
  EXCHANGE-TRADED FUND
  (BONO)

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         LOT 2                            1 000 OJO-Jl20'r.O                       $ 11-J 0$U               . 1130£">          si ·n. 1    w        $f 13 1 :           2 fS~c                $,"100              OOG%                S'(l.CIS

  PIMCO ENMN1CEO SHORT                  22.noo'· 1210:,:,)(170                     $ 10 1 ,JS)/)         :'J,U43.78            $102.CVeO          $2,244 .68             I .·1c;II\.        $2':, e,g             t} ()f,91,          1\1.   ,o
  MAHJHllY ACTM:
  EXCHANG E-TFIAOED FUND
  (MINll
                                                       I
  SPOH S&P GLOBAL NATURAL               8!-', ()((1                                  , 'i7 .97b          'i,3,&07 WI            S.•1-1 / 80      54 ,25<1-.1 0          ?.i'lJ~o           , 1 1(1.17            l 7.ll2';•       :St.4fi 47
  Hf.SOURCES ETF (GNfl}

         IOT I                          380JO l :?i l S,12()15                      ip.1;, t ~6          $ 1,220.137            &.40('-0         $1 .70H34              2 78~·,             ~,47 J~•             3~ 38"'•         :.;,.V)I'.) 77

         LOT 2                          ~.C(()             00, 1EV20 1Zl             ':i 1/ .-1 ,.()     S l ,'.176.W           $44. il:',O      S I .298 (i'."         2.78~~              ~-'.'i,. 1 '.l      (. r,i1i%         :.,78 2/:1)
         LOT 3                           i t, (Q~) r,i,n?.,-;;020                    ~~:)/ l)[;r,           Sff.J;l27           S,1.1.780           $00604              2.7B"I.             ~.t:•.~:l           ·17 l)/'l:,      s·,2:;, n
         LOT 4                          1() CK:V.1 ( ,:_t/(.'<.), 21),:(j            :;::32_(;:,9              ~26 b'J          $A4 ./00            $447 80             ?.78%               s.~2.t1n            37 I t%           $ ' 2 1. 21

  VAN EC K VECTOHS GO l.D               s•_;cco'                                     2, 10 ; , 4         S1,EiiJl 88            :~~mo~o          s:.l,001 .70              .b~J%           !W. 15               0-2.06%        i: 1,'.~!}(; 0 :'
  Ml~l Ef~ g Ef f {GOX)

         LOT 1                          ,\(}.f)(XI         1~,{li1 •2 I i           52 1 '.,fj(l            !:86;J ~•B          5--36.020        ~~1 ,,140 00           0~                    Si' GO            Piii84°o          $~, / (.~~

         LOT 2                          .:s 000 r:,,~ , 1r;,-:-,urn                  ~ 1fl lA<l             $8!0 10               'GO:?O         S I ,£,,'0 9'J         O.o.3'i'o             '~B 5S            l~. l ~l%         i;l~);> rj[)

  VANU UAAD HIGI-I fWI/ID[ N D        .:0 1 [t()O                                    '$ 1.-'.\:3')     SJ 2 u 1t:.R3            ,')\;)1 ,, 10   $36,695.51              :ua<t.           $116!>3 1              12 C,(\3/o     S-:1,crn.Bfl
  YI ELD ETF (VYMI

         LOT 1                         1~'5.(00 (), I •().,ti01B                     :t      20;.,     ~. 10,!)62. 70           '.:'9 1 S10     ~; 1:?,'.'.!;:H~$       1 1fNS            :;m          ,        1?.GO ..       51,, . 1 1!,

         LOT 2                         11-l:) C<A:• rir-.;o:¼~) 1B                   $8 1.:_,u)        :L I :\,1J:.-'!> i.11    £:9 .b 10       S:W, N ii 33            '. 1!1"           ,.':>JI)_'(;          t?. 2(1~Q      ::,1.T-::0.iX>

         LOT3                           ::,:)(}:,')        1( 11-;::•():~"0 l tl     ;01 .--.w ,         ~2. 4i.07              :i;U\ !; iO      .S:2 ,7.ttfJ ~~        ,1 18%              S/1 7 18            1,'.. IU'l¾      S/00 2~{

         101 <I                         ,., c,,:, 0 1'lY.! ·:X,211                   SH'.-? (f1:~        :,,;., ,i28-}JG        •;:~JI     (J    SJ.0 19.B-             r{ 1H~~            S'.f> 9: ~           11°J.l:16"••     :r.;;9( 1rt7
                                                           Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 455 of
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                                           RAYMOND JAMES~)
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::: x.ch <":111.ge-Tracicd Products {ETPs) (c ::m tinu ed) ••
   Exchange-Traded Funds (continued)
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                                                                                                       nm,,                                                                 '11 )1;\)                                                                        IN;tJ11~-                  1\nnll~tl                      ··::-.. -, ./) (ti                    ~~r 1n !'•I
                                                                                                  f-,:,1ui11-<I                                                 \· .os l 8f1~ :s                                                            Valuo                 y · Id                  ~-,r:,Jn'""             ,:t.c>S .IF·, I                                 Ile .,,, ,

              LOT 5                                                                                                                                                                                                                                                                       ssa.12

   f:)<cl1,111g            Ttttdo<l Fund15, Tola'!                                                                                                                                                                               St35,S83.01

Fxchango-Trttd"d P1oduct~ fot11I                                                                                                                             5102,207.'/8                                                                                                            52,627.73                        32.75 %                         S'.J3,1'175.2J




     Alternative Mutual Funds···
                                                                                                                                                                                                                                                           t t.1 in1.-">l ed            l:s11mr,\!'<.I
                                                                                                                                                                               ro i4                                                                           l ncr:nY?                    Annl r:il               l! M:-3l'1)(J< '\                 ;_;.(.rM r ~l &1
    1.~, >;:- • 1,r:1t..;;11   (;~'irnlJr•I'                                       _ .. ti£-'W 1li (              i\ll)(Jlil ~ !r,•.11.,,::,t1;-(I                Cntt B.i:1t-'~·                         P 1ICL-                             Vt1luo               Y1tki                    '· DfY~r          f ; t11n 0 1 ~Lo~::1               Cfl'P C"f /1.o:-,.::,)

     CAI.AMOS MAHKH Nl:UT11.I\L                                                    ,17,'.l,:lQS                                  :i ,1', i";} 3.1                   :i.l1,i .l~> ~Y:)               ~.i.3fl9()                         S6,57<k21                 tJ ~)~.,                   ,% )16
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     INCOME FUND CLASS I NIL                                                                                                                                                                                                                                                                                              ,s :·,;~.,                         1 u•
     (CM~llX}

     GATEW/\YFUNDCL/1.SSYN/L •                                                     ,i; r, J.~1•                                '.t·':i 6 1~1:'J t:(i                ~ ~, .f:.i 'ld ,; J             :; 313 r~,                         S6,0U.\l1                 1 I)(:,'>;,                                         !:- .3(>,),.t'.,
     NATIXIS ADVISOR                                                                                                                                                                                                                                                                                                      ?:~ .,:1~•·'~
     (GTEYX)

     Allc,1nativo Mulunl Funds lot,;!                                                                                       :;11,?8;.; :;:_,                      ~ '.i,   -:,:1:, :. .:1                                            $13,488.12                                                                      ':?.:. 1\)i, 3;,

N1 Brnnbvo 1,wo:almenfa rnlal                                                                                               511.Z!lll.!i0                                                                                            S13,<188. 1?.              0.98 %                     5132.67                   S2,190.32




Portfolio Total                            $15£3,014 .15



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  ,Jl.l ' •1)n~    d:-..njf'Tir; n1 .-~
                                                      Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 456 of
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                                      RAYMOND JAMES®
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                                                                                                   fat?,.{,              13         E'?r [_ 1 ( · 1                                                      r cl Scales - Boncl Model /1.ccount ~ •
Cash & Cash Alternatives
    Raymond James Bank Deposit Program ,,,
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    Raymo nd ,I mos Bank Ooposi1 Program •IJ - S(llo<i tod Swoop Or,tion

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     11nymond James Bnr,k D po sit Prog,am Tol.'.11                                                                                                                                                                   $3,557 .6-6                                                        S0.3 5

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Cash e C a s h AHorr1,aHvos Toi.al                                                                                                                                                                                    S3,5ti7.BS                                                         S0.35



Mutual Funds
     Open- End Funds
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                                                                                                                                            Co:.,•Gt1S.lf.i             P firf•           Vakto             Yh,ld              ,n,::,r,rr"'                 Lo~N                         ~Lu s ~;}
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     NUVF.EN HIGH YIELD                                                                                                                     :i:1G.hlfl23            S I , e:30      S18,078,4f>           5.00 %              .~.9(),1,,l~             $ 1.:2(-11'.22            $1,,?88.?. 2
     MUNICIPAL BOND FUND                                                                                                                                                                                                                                     7.F.7%                     7   o·,,o
     CLASS I Ni l (NHMAX)

     NUV EEN ALL AM EfllCi\N                                                                                                                ~-H~.1£>1.l t:I         ;i, 1222()      S1i,tl87.17           :}.15%              ~68. 1:;.,               ~l, J,328 .'1 4           Sl .~1~'8 t14
     MUNICIPAL BOND FUND                                                                                                                                                                                                                                    fl 2'2o/1.1               8.22%,
     CLASS I Nil {FMRX)

     PIMCO INCOME FUND CLASS                                                                             ~ \7 .4J7 5 G                      51i','1 [,1 •IH         ~ 12.11 <1      SI 'l .752.50         ~- .. %             W67J•:3                     $3 1<1 .9,1                2;'.1()1 .0 :?
     f2 NIL (PONPX)                                                                                                                                                                                                                                         1.0 1%                      1.72
     PION EER BONO FUND CLA SS                                                                                                                '£8.00•1 79           S 10. j '.'(J    59,464 .01           ~/ 'J3¾             .' ?77 ,;i()                '!,,/;j7.lfl              ~-570.1?.
     Y N/1. (PICYX)                                                                                                                                                                                                                                           H.,V, ~~                  6.~, ·

     Op <11 1- l::nd f' lmds 'Total                                                                                                         S50.20S ?~-                             $02,783.o:i           ,1,1 7%           i :',G f / .0Q             $:1,UG'<J 38              ,S.'1, ; 107 (3()


                                                                                                                                            $59,205,23                              &62.783.03           4.17 %             S2,617 .B9                                           53,•187 ,60
                                     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 457 of
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              ........ r---. RAYMONDJAMFB®
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ExchangH-Tradocl Products (ETP:~}
  Exchange-Trad ed Funds
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                                         Ot,anwy   A,; l ll Jti f'.d         (;n.,,J.I   (>;,st l,~~•~                            Vatue                Y!Cki          lncon· .      {t.c,,s .s) Pct           tLu•i!.i°,

  INVESCO SENIOH LOAN F !F                                                                                     S?-2200.     $5,M 'f .72            ) t!..(3q..       :,,197. ~6         \0 .B<~,q •.,
  {OKLN)

  !SHARES Hl JPMORGAN USO                                              8 107 '2'.i(,                                        $6,027 .32            ;: .(18~           :i23.'.l /9          R.('7~":
  F.MG (EMB)

  lSHAF\ES 1R IOOXX HI YO ETF                                                                                               S6,285.Gf)             ,1 ~18-~~         $'..i0'3.B6        so ~jQJ.,           Sf(lUG
   (tlYG)
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          LOT 1                                                                                                             "2.531 I .             ·•HB";"-          s1::,:~. ·n        12.n,; 0 (1

          LOr 2                                                                          S l . 11)6 ~(}        &!,7 '300      1,?22.:?Q           ,J       ~~;J       ~-5' .e l         10.2•~0.,           S 1'.ll,1

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  ISi 1/\RES TR '.J 7 YH rnE.AS 8D
  {IEI}
                                                                                         S4.f,&. 04                         55,053.2-1             l , I '"'°'        $!.:hhi             8.2        ~.
  JPMOflOAN UL TR/1-SHo r-n                                                                                                $13,611.72              1 .~V~fl.t        2.1 '!>a 1 4         t) (.(~a :,
  ltJCOME ETF (JPST)

  PIMCO ACTIVE BONO                                                                                                        $10,632.34              ?.f.i)I)':,       :;•a2 JJ;            ·~ 7[) ~j

  EXCHANGE-TRAD I) FUND
  {OOND)

          LOT 1                                                                                                             ,;:!°),9·J4 8.3        ~·.t~6~,.         ~· ,sn11             ,._, ?.!➔ ~ • -

          LOT 2                                                                                                             ;• ,i.€37 {ii          ::,,fiO~i;,       $12.3 14}            ·i o-,-o...

  1'1MCO ENl-lANCEOSHOHI                                                                                                   SI 1,326 .114           ,   1(,¾          313(1(:..$           (1,1 1 (lt1
  MA nm,TY ACTIVE
  EXCHANGE-TllADEO FUND
  (MINr)

          LOT 1

          LOT 2
          LOT 3
                                                      Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 458 of
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                                     ~0ll RAYMOND JAMF.S®
                                       Q.                                                                                                                                                         Your Portfolio (continued
                                     t---                                                                                                                                              F(l Scalos - Bond Moc1el Acco-1.lfi l No.

Exchange-Traded Products (ETPs) (continued) ,-
     Exchange-Traded Funds (continued)
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                                                                                 r.t1!1J            l il \•I                Toi ,1                                                     ~"ll'.'()1' 1)9       /l.<'V",; 1,(11         ( tr-.-, nr                   .:lf rn\ 1:r
     t ;us.(:'11pt 1un           p, ,YJ'.l d1                 1,~1nhly    A,· q,.1r :i-r l         { .nr. l         C.o&t & ,Stl;                r•,ic"'                   Valuo            YiL>i<J          ~c.'<l              (Le,$:;} P e l                        (I .:.~!.~:,

               LOT•I                                          12.0(1()   2,;::;: 10 19       •··1 . 1 f\HO           $1,2?0.28             $ 102.040                  S1 .22,t.ti        1.15%                Sl 4 12                 1)..3<1~.
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     Exchango-Tradod fundt. fowl                                                                                    S!">8,652.f37                                   $5-8,484.38          2 3'0~"'        $1,397.f-.O                  3 2~~.                   S1,8.11 /I

Exc h1111 90-- Tr.ldoc.l Produc ts Tot11I                                                                           S66,f3 52.67                                    558,404 .38         2.3 9%           S1,397.50                    3. ;?3%                  S i,8 31.'l t




Portfotio Total                               $ '124,825.07



  l "U 111 n C l,c,n l A;:i_·e;:, " I IJll.r~~ill:>.'.1J.>Q: , JJl1rnu,<· rn,.J1rt~111~<;£'.J;.:, In WTW 11rk1t11c,nc,I po•11,o n <fp{f<ds, f1ll o,. ,;orl, or rJownloacl up to I " 111,onlh,:, rJf ac11,•, ,, r,ncl ~"":      v,,1loblc, clelr:Psc,,   fC.kln $ ll•
  J: '.:. n1 irl l , l..rJC \ Jr11 ~ ~,1e .
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   Report Period Account Activity                                                                                                                                                                                  Exh_ibit 67 pg.19

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   i4."1"'1'le'""r, fu.1 ds f .ttra?;i.~lic A                               f. ,O)C,(l 'O,\       1)11!)                 O.!lu              00<1                om                 : ..204.] 0
   :\ m...~c,r; f-u~(b. "~\,;',tih \<1 i:J:..i;tl A                         ,_,..~ :; (,-Q        \) [ ()                0 QI)              Ms~                 (l()t)               , :~:s
   ~ :.;:-1 \rr"i    l-'..rtlC' r.;i::: r, M.:.ir l.c t'- k!'\ I            ': 5'!1 \H            ow                     Uutl               Oi:.0               0 (10                ~   0     ~                                                      ' ; iJ
   \ ;r:ic;a_rC 1:.-)U)ty l.!l\.'"'O:nc A d.:n                              .!_j...::;Ti          0 p                    Oiiil              f)f,0               0 .0f)               ;ft! t,k
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 460 of
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 461 of
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                                                                       Exhibit 67 pg.21
                                    Part D to Form 6-fncome Sources

             (Exceeding $1,000 January through December 31, 2020, unless otherwise
                                               indicated )




        State of Florida

        Jeff Atwater

        Chief Financia l Office r

        200 East Gaines Street

        Tallahassee, FL 32399-0356                           $169,840


        RPM Nautical Foundation

        111112 t h -Street, Suite 404
        Key West, FL 33040                                   $ 12,000


        Hans and Laur:a Gerth *

        851 Isabelle PL

        W insor ON N8S 3A8

        Canada                                                        O*




       Ronald K. Heck

       832 Terry Lane

       Key West, FL 33040                                    $1,395
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 462 of
                                     597


                                                                 Exhibit 67 pg~22

         First Horizon Bank f/k/a Capital Bank

         330 Whitehead Street

         Key West, FL 33040                                  $5,986


         Microsoft Corporation

         One Microsoft Way

         Redmond, WA 98052                                   $2,322


         PepsiCo

        700 Anderson Hill Road

         Purchase, NY 10577                                  $3,794


        Raymond James Financial

        88 Carillon Parkway

        St. Petersburg, Fl 33716                            $19,323**



        Waft DLSney Company

        P.O. Box 10000

        Lake Buena Vista, FL 32830                          $674*
        *While dividend/interest/rental income from these payors did not exceed $1000
        in calendar year 2020, such income from these payers has exceeded the threshold
        in past years.

        ** Includes cumu lative interest and re invested dividends on holdings in all
        Raymond J-irnP-. A ccou nt,;
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 463 of
           CQ NFIDE NTIAL Exhibit 67 pg.2J
                                     597
                                                                                                   COMM1k\:~ETHICS
          Form 6A. Disdosnre .of Gifts, Expense Reim bu.rsements or Payments~ and wiH~ 2071
                                         of F~ and Charges                         RECENED
                AH judicial officers muse file with the Florida Commission on Ethics a )isl of aJI
         reportable gifts accepted, and reimbursements or direct payments of expenses, and waivers
         of fees or charges accepted from sources other than the smte or a judicial branch entity as
         defim;d in Florida Rule of Judicial Administration 2.420(b)(2), during the preceding
         calendar year as provided in Canons 5D(5)(a) and 5D(5)(h), Canon 6A(3), and Canon
         6B(2) of the Code of Judicial Conduct, by date received, description (including dates,
         location, and purpose of event or activity for which- expenses, fees, or charges were
         reimbursed, paid, or waived), source's name, and amount for gifts only.
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            1. Please identify a11 reportable gifts, bequests, favors, or Joans you received during
               the preceding calendar year, as required by Canons 5D(S)(a), 5D(S)(h), and 6B(2)
               of the Code of Judicial Conduct.

            DATE               DESCRIPT[ON                              SOURCE                   AMOUNT
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            2. Please identify all reportable reimbursements or direct payments of expenses, and
               ,vaivers of fees or charges you received during the preceding calendar year, as
               required by Canons 6A(3) and 68(2) of the Code of Judicial Conduct.

             DATE                         DESCRIPTION                                      SOURCE
                          (Include dates, location, and purpose of eYent or
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                                   CONTlNUE TO PAGE 2 FOR OATH

                                                      Page I of2
         form 6A Revised 2/20
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 464 of
                                     597



                                                                            Exhibit 67 pg.24
                                                      OATH
         State of Florida

         County ,ofM~nrQe.;
         I,   ;:-d   I+. 5(! . . le>
                     k(,,--/V                   , the public official filing thjs dis.closure statement,
         being first duly sw , do dep()se on oath and say that the facts set forth in the above
         statement a          e, correct, and complete to the best of my knowledge and belief.


                ure of Reporting Official)

           9~alh4L
         (Signature of Officer Authorized to Administer Oaths)

         My Commission expires      <5/rb/202.J-f
                                        t
         Sworn lo and subscribed before me this

         - - ~·--·_~day of               Apri {             , 20   2J




                                                   Page2 of2
        form 6A Revised i./20
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 465 of
                                     597

                                                                               Exhibit 67. pg.2S
                                                   Edv,,in A. Scales
                                              2001S.W.117 th A enue
                                                Miami. Florida .33175


         April 6, 2021                                                                   FLOR!DA
                                                                                  COMWSSION ON ETHICS
                                                                                        APR OS 2021
         Florida Commission on Ethics

         ATTN: Chris Anderson. Executive Director
                                                                                       RECEfVED
         P.O. Drawer 15709

        Tallahassee. FL 3.2317-5709



        RE: Flnancial Disclosure Reporls for Calendar Year 2020
        Dear Chris:
        FirsL I hope you and yours are safe and doing well. Hopcfolly. wc·ll be back to normal soon.
        Enclosed please find the original of my Forrn 6, Full and Publ ic Disclos ure of Financial Imerests
        with its enclosures (i.e. Part B-Schedule of Assets. Exhibits A,8,C,D & E to same; Part D-
        Jncome Sources).

        Also. please find my completed fonn 6A (Disclosure of Gifts, Expense Reimbursements or
        Payments. and \Vaivers of Fees and Charges).
        Thank you very much. Chris, for your time, con.,.:;i deration and service io our State. If you have
        any questions, comme11ts. or concerns, or if l can ever be of any help to you on this end, please
        do not hesitate w let me know_


        Sincerely yours.




        Edwi n A. Scales
       End.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 466 of
                                     597

                                                                                          Exhibit 69
               UNITED STATES DISTR ICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA MlAMl DIVISION

  MACK WELLS AND MAURICE SYMONETTE

  Plaintiffs,
  CASE: 23-CV-22640-JEM
  V.


  U.S. BANK, NATIONAL ASSOCIATION,Et al.,

  Defendants.



               AFFIDAVIT FOR RELIEF, RECUSAL. VACATION O F ORDERS ANDMEMORANDUM OF LAW


   Pursuant to Florida Stat 112- 131 , Florida Rule 2. l. 60 (lI) and Fcdcrnl Rules of Civi l Procedure Rule 60, Plaintiff tvlACK
  \VELLS hereby files tl1is l\.fotion for Reli ef & Rccusal andSuppor1ing Memorandum regarding the Au~ust. 23' 2023 fose E.
  ~fart.inez review of the record and Fina1 Judgement Order, Exhibit.J. ba<;ed on I.he following facts, new infonnation, just icrms,
  judicial miscon<luct, fraudulent grounds and discovered conflict of personal investment interests on Financial Disdosures. of
  Judges and officers of this Court (Exhibit~# B) Attached- U.S. BA1\1K Special Situation Pmpertv funds Account Page 42.

  lFRS 2018 Tables 9-13 , S£C Filings- 2.fufl (1)) f lJ f[QUllt/S to disqua{i{y, i,; nar(y fears Juf/$e is Biased Fl. Sfatu.e
  112312 C~) Jtuf.r:ecrm £{tqre, a coaOfr;t a,([aterest ! Jose E. Martinez must Recuse himself for an open obvious
                            1




  Conflict of Interest because he' s doing bu siness with .US Bank and helping them to make money so that he can

  make money by forecl osing and t aki ng {stealing) our property while acting as the Judge on the case on our

  property, not on case's Merits but fo r them to make him and them money Illegally. Here's proof: In his Form 61

  from Tallahassee called FINANCIAL DISCLOSURE REPORT, for 2021 Says on page 4 11nes 3 and 4, that he made

  $250,000 w ith Iberia Bank, Exh. O. Which is First Hori.zon Bank, First Horizon Bank is Suntrust Bank which i-s US.

  Bancorp/ US. Bank, Exh. E. Judge Jose E. Martinez. is Doing Business U.S. BANK, US BANCORP I WACHOVIA, W ELLS

  FARGO, WHICH IS ALL U.S. BAN K. Who has ru led in favor of US BANK. This is a Horrible Conflict of Interest
  againsr us and there's more accord ing to Fl. Rule 2. I60 (lf) and (J) al l of your Orders must be Reverted back to the
  Original Judges Orders, once a Judge Recuses thcmsdves. Judge Gayles recused himself Exh.F & Marcia Cooke's
  Order's must be Rcv1.:r1ed back to the Original Judges Orders because ofConflicts Of lntcrest. None of these Judges or
  A"ttDrncy 's can do anything with the StateCourt because they're all doing business with U.S. Bancorp who's the Parent
  Company of lJ.S. Bank Exh.G which is owned by china (CIC). The Rucker Feldman Law cannot be used because ◊lrr
  case was never f-inishc<l. All t..11e State Court Judges from 7,:ihel down to Carlos f. npc7 rli<l On:lers ba.<:ed on g iving u .~ "
  chance t ;J prove rhat ihc Attorney ' s werewasting all oflbe time Exh H. not us but we were never given that oppornrnity and
  JudgeLopez refused to allow l\.fack \Velis who at the time was s ick to get a Lawyer to defend himself. The Attorney's fo r
  O.S. Bank were Ordere<l to bring in evidence that they owned the Note but never did. I have ti.)tmd that our case was
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 467 of
                                     597

    .                                                                                          Exhibit 69
   directed to other Judges in this sess Pool all with the same Connict of interest like Judge Valerie manno Schurr a Judge
   we had never met jumping imo our case after Judge Zabel dismissed U.S Banks Lawsu it against me with Prejudice
   because they never had or ovmcd the Note and then one ycar!ater Judge Valerie Manno Schurr got $995,000 from U.S.
   Bank according to her Form 6 Financial Disclosure Affidavit. Ex.h.J. And then suddenly inserted herself into ot1r case
  without ever meeting us and dismissed the case \>.,"ith Prejudice like Judge Z..abel did, ExhJ. So as to avoid the Law which
  says another Judge 1;,mnot change another Judges order in the same Circuit Court so she made lhe same Order .St) she
  could change her own Order to dismiss without Prejudice and got another $, I million dollar µ!us $400,000dollar money
  asset from Gl'v1AC which is U.S. Bank ant! then she changed her own Orderto Dismissed without Prejt1dice ExJ1.K. And
  tben recei ed a S2.4 million mooey asset from Wells Fargo/\Vachovia plus a $400,000 dollar money Asset frorn
  G 1AC which is U.S . Bank Exh..L. According to her fom1 6 Financial Affidavit lo circumvent Judge label's Dismissal
   with Prejudice! Exh.!'vl. And then these wicked Lawyers Foreclose without notice to -us and '-Ve went threw a l O year fight
   ;;c-c- the Docket for lhe 2010 case which had no notice no assignments, no Note and no Mortgage Correctly to U-S. Hank
   from Axiom Bank see Exh., . then Maurice Symoncttc did a Quite Tille:: Suit and after JO yearsJ udge Valerie Manno
  Schurr shows up again and 1 showed her tbe Evil which she had done by taking money ($995,000) From GIVL'\C/ U.S.
   Bank to :.-teal our property even though we were malting the f)aymcn.ts. 111.is is Home Title fraud in i"IS utmost and when
  she saw she was caught from her ow11 Fom1 6 Affidavit and evil Judgments she Recused himsel f especially after \1y·e paid
  for News .ads and Radio TV Com..mercials Exh.T Telling on her and knmYing 1hat we have turned her over to U1e FBI a.s
  Jo.se f_ Marc.inez mu.st do because he has the same conflict of lnteresi So she musr recuse herself and vacaic his Order.

  Exh. 0. So Jose E. 1'vfartinez you must Recuse YOUR SELF and aoL ORDER against us. Exh .. I.

                                                                FACTS

  I . On Dec. 19, 2017, Defendant Judge Valerie SchWT issued a final Judgment order Exhibit..,\ against Plaint.i ff Pursua11t
  to Florida Stat. 112. I 31. Florida Rule 2-160 (.H) and Federal Rules of Civil Procedure Rule 60, Plaintiff MACK
   \VSLLS hereby files this Motion for Relief & Recusal andSupp-0rting Memorandum regarding the August. 23'
  2023 .lose E. Martinez review t1f the record and Final Judgement Order, ExhibitJ. based on the following facts, new
  information, just terms, judicial misconduct, fraud ulent grounds and discovered conflict of personal invcstmenL
  interests on Financial Disclosures of Judges and office~ of this Court (Exhibits # B) Attached- U.S. BA.'1\JK Special Siluation
  Property runds Acc-ow1t Pa1.ce 4:2, IFRS 2018 Tables 9-J 3. SEC Filings U.S. BAJ\l'X Florida             'ubsidiarics, Judge Alan
  Fine Financial Interests & Property Disclosures}.Florida Euk 2.160 (fl) StQ's.A ,ly<4!,: «WY Vacate· his qn/ers

  for On,flict of lntea'£t Theodore R. Bunrf.11 v, Judre Johu A. Rudd n Rule 2, 16o_rm a> fl                                coa, Juel
  Couduct, Canon.3EU>A ,[wfru: £hall disauali[v ft,imff!ff where impattiality mt~ht reaso11gbfr kt: auestumed
  E.u1J: 2,.l60 m> CU vround£ to disauafi{y is aam fears ,/uMe i£, /Jia ..eef FL Statue 112. 112 CQ/ Jud.re ca.JD.
  hm•q a; pqqflict <1,f {Cf("'1H .' Jud1,c Ju::,c E;. Mc11 u, 1~L rnu:.L f\ecuse himself ror an open oov1ous contlict 01 Interest because
  she's doing business with US Bank and helping them to make money so that she can make money by foreclosing and taking
  (stealing) our property while actfng as the Judge on the case on our prope rty, not on case's Merits but for to make him and
  them money tllegally. Here's proof.
                    Case 1:23-cv-22640--JEM Document 73 Entered on FLSD Docket 07/15/2024 Pad
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 468 of
 FINANCIAL DISCLOSURE REPORT       N,,.,,. of597
                                             Penc,e iupo:ting          D&tto{lt<port


 Page4of9                           MARTINt:Z, JOS£                     (r5/()l)fl(Y>~




 VII. INVESTMENTS and TRUSTS - ~ ....i.,.,, ~ (!ocl.rd<r tJiose ofspoa,c and hpcAllml c~                                                                                                                        I!tt!lit~                   r-..'i<:,, Vptw,v

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 0                NONE (No reponahlt: income. assets. or tra.nsacJions.)




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  $.           FIRST CmzENS.(X)                                                              A            tn1.m:st                 M                T

  6            AMERICAN El.EC.'TRIC                                                          A          DivideDd                   )                T

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  9.           EVERGY !:KC                                                                   A          DrvitfePd                  K                T

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  i I.         SCHWAB MONEY FLJNO (FORMER..l.Y                                               A          Dividend                                    T
               USAA)
  12.          USAA H:JOH L"ICOME l.NSTTTLJT1ONA.1. I                                        A          Di,•idcnd                                                        Sold           OS,16121                             A


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  15. USAA INTERM t.UlATETER,"1 B                                                           B           Dividend                  K                 T                    Sold           03/26/21             K               A
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                                     597                Exhibit 69 Exh.




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Case 1:24-cv-23015-SC Document
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         CIRCUIT CIVIL DIVISION
                                    •
         IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
         IN AND fOR 11IAMI DADE; COUNTY. FLORIDA

                                                      CASE NO.    10-
                                                                     •         -
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            U S BMOC Ol.A)                            Section No .      05
                                                      CIVIL DIVISION
                          Pl.aintiff(s)
         V!; -
            W'ILL!AMS, . LEROY -                      l'Jotio!), Notic-e and
            LITTLEJOHN JAHES
            WILLIAMS, HOKE -                          Judg»ent of Disr.issal
                          Defend~t(s)




                 THIS CAUSE       having         =~e
         1.q20 of the Fla.R.Civ.P . aiid
         the pre•j_ses.

         I ~r 'l1ffi COURT FrNDs .t.nat no _party opp_o sj.n_g the ~otion t~ di:1,µils
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         de:nons-b:-~ted the ox:iiite~ce· _of: the requi_t.i~e record                    activity_ or
         that ~ction had beon sta.¥ed nor having t~ly filed~ showing
         of go-od    c.a,u~o     in .a--iting,      and therefore, in tiie
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         absonee of any evidence to the contrary the Co~ • finds that
         (1) notice tire~foribed by Ruh 1 .4;aOceS wa.s -t~ly served; Ct)
         there was no          r-ecord    _a.c-tivit.y d~ing
                                                     the 10 .111onths ~4.il!.te"l.y
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                                                    notice; (S) there was no
         .re.card ' activity during 60 day:s iJu.-ediatgly following service of
         the foreg-oing no'tice; (4) no st.ay ha5 been j,:s!!!lued or approved by
         the Court; and {5) no party has shown good cau.so why this ac:t:ion
         ~honld remain :p,o~ding;                 •

         THEREFORE, IT IS ORDER.E:0 thllt this action 1S disJ:1;issed for lac~ of ·pros~cution.

         , - /THE     COUR'l'     FJNDS         good    cause    why thi.:-        action should   reaa.in    pending;
         l ~ therefore, IT ORDERED AND ADJUI>GED that the Hoti~n to Uuiaiss for Lack of
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         yon, to the provisio:o of certain assistance. PJe~e· co~tA-i::t the Eleveuth
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         Center; 115 NW 1st Ave_, Suite 2702., Miami-, FL~ 3312:8~ Telephone


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         (305) ~7175; TDD (305) 349-7174; Fax (305} 349-7355; ;at least 7 days
         before yonr schedllled court -.ap~rance, or untnedfately upon: receiving
         this notificati-on, if the tim~ before the scheduled appearance i:s less than
         7 days; if y-0.u are hearing or v9ice impaired, c.aH 711.



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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 482 of
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    Chief Judge L.:urcl M. lslcoff .nd                                     Exhibit 70
          Judge H inrdy A. Hor-a


                     UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT
                                OF FLORIDA WEST PALM BEACH DIVISION
                                                    )
               J\-1ACK LEWlS \VELLS JR.                        )              CASE NO: 23 -12048-MAM
                                         DEBTOR                )




                   MOTION ANO AFFIDAVIT_FOR RELIEF, REC:USAL, VACATION OF ORDl;HS AND
                                              MEMORANDUM OF LAW




     Pursuant to Florida Stat. 112.131, Florida Rule 2-160 (H) and Federal Rules of Civil Procedure Rule 6G,
     Plaintiff MACK \VELLS hereby files this Motion for Rclfof & RecUSBl and Supporting Memorandum
     regarding che June. 21 2023 Judge Laurel Isicoff's review of the record and Final Judgement Order, Ex_hibiU. based
     on tlJe followit1g facts, new information, just terms, j udicial misconduct fr,imdu lent grounds and discovered
     conflict or personal investment interests on Financial Disclosures of Judges and officers of thisCourt (Exhibit.'i
     tLfil Artached- U.S. BANK Special Situation Property Funds Account Paf!"e 42. IFRS 2018 Tables 9-13. SEC
     Filings~ U.S. BA..N"'t( Florida Subsidiaries.. Judge Laurel Isicoff Financial Interests & Property Disclosures) and
     takjng (stealing) ou r property w hile acting as the Judge on the ca5e on o ur p roperty, not on case' s Merits

     but for t o make her an d t hem money Illegally. Here' s proof: In Judge Laurel !sicc.ffs Financial Disclosure

     Report in 2017 Exh. (0 ) on line #1 she got $250,000 from Regions bank who 's doing business with \i 1ells

     Fargo Exh. (E) Wh ich is US Bank Exh.(F). She is also got $15,000 from Northern Trust Bank on line #35
     of her Financial Disclosure Report in 2017 which is BlackRock Exh. {G). and BlackRock is US Bank Exh. (H)
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 483 of
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      aarty [i•qrs Jurfre i<; Bia~·ed Fl, Stqtue ll 23 I z CRI 1u, e can 't lwye a conflif;t o,Untere,5.t !
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                                                                                                              Exhibit 70
      Judge taure-I lsicoff must ecuse erself for an open obvious Conflict of Interest because she's Affiliated with
      Federal Bankruptcy Judge Laurel lsicoff, someone doing business with US Bank and helping them to make
      money so that she can make money by herself and vacate her Order. Conflict of Interest law in Federal
      Court says you can't be affiliated with a person who has Confl ict of Interest. So Laurel lsicoffyou must
      Recuse YOUR SELF and not ORDER against us.




                                                             FACTS



      l. On Dec. 19, 2017, Defendant Jud.ge Valerie Schurr issued a final Judgment order Exhibit. A against P!ainti:ff
      Pursuant to Florida Stat. 112.131. Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
      Plaintiff £vi.ACK \\!'ELLS hereby files lhls Motion for Relief & Recusal and Supporting Memorandum
      regarding the June. 21 2023 Laurel Isicoff review of the re.cord and Final Judgement Order, Exhibit.I. based on the
      following facts, new infonnation, just terms, judiciahuisconduct, fraudulent grounds and disc-0vered conflict of
      personal investment interests on Financial Disclosures of Judges and officers ofthis Court (Exhibitc:; # B)
      Attached- U.S. BANK Special Situation Property Funds Account Pa£e 42, lFRS 2018Tables 9-13. SEC
      Filing - U.S. BA..NK Florida Subsidiaries, Judge Alan Fine Financial Interests & PropertyDisclosures).


      Flqridq Rute 2, [60 rm SPwi A lu¾r: may Vacate his art/eri£ for Conflid a.fltJ.t"e£l TheodQre 8, B«ttd.1:· f.
      ,lttrf¥e JohnA B'u4clFL Rule 2 160 CW (I) fl Corte Jud, CQrlduct, _Caaaa ~ECl/ A Juc{~gshall_((isqua!i6 1
      friuzseV:whir.e imQartialitv w1¥trtr&1sna,ah{)• kc g,uestioued Rule i 160 CD/ Ui ,:ra 1mds to dis.aualifv ~
      partv li:«o ,ludge f.x Dias.cl fl Statue 112,312 av hufge c,aa't have a c.an,flicto.(Tntewt 1


      Judge Laurel lsrcoff must Recuse himself for an open obvious Conflict of Interest because he's doing business

      with US Bank and helping them to make money so that he can make money by foreclosing and taking
      (stealing) our property w hile acting as the Judge on the case on our property, not on case's Meri ts
      but for to make his and them money ll!ega!ly. Here's proof.



                                                   FACTUAL BACKGROUND
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 484 of



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    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 485 of
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                                                                           Exhibit 70
)    VOYA INVESTMENT
                                            03/31/2023            665,756               - 3,!:
     MANAGEMEN T LLC


)    WELLS FARGO &                                                     95.625
                                03/31/2023         6,643,804
     C OMPANY / MN

     UBS ASSET
     MANAGEMENT                 03/37/2023          6,587;360          - 325,757
     AMERICAS INC

     VICTORY CAPITAL
     MANAGEMENT                 03/31/2023          5,973,479          - 284,540
     INC

     SHAPIRO
     CAPITAL                                                           -200,975
                                03/31/2023          5,952,074
     MANAGEMENT
     LLC

     BANK OF        1213112022                      5,676,267          244,179
     MONTREAL /CAN/

     BANK OF
     Af\/lERICA CORP            03/37 /2023         4,876, 849         -2,524,738
     / DE/

     NUVEEN ASSET
     fV!ANAGEMENT,              03/31/2023          4, 739:868         159,939
     LLC

     ARR OW STREET
     CAPITAL, LIMITED           03/31/2023          4 , 132,592        1.173,572
     PARTNERSHIP


          <                                  r:.                                 >


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                   WIKIPEDIA
                   The free Encyclopedia 1

        U.S. Bancorp t r - f/\,; <') r:"'_J A ,v,. i✓
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    /                                                                                    Exhibit 70
/   U.S. Bancorp (stylize-cl as us bancorp) is an American
    9~~15 holdJ_ng compaI!v based in ~1~pea ]~~ Mi11.-Desota,                      U.S. Bancorp
\ and incorporated in DelawareJ.±J It is the parent compan
 \ of U.S.           National Associationi and is the -,.
                                                 -l
     )an -ing institution 1IT.Ltte-B-Etlt€Kl--~~~~1
                                                               gesr    .~bancorp
    prO\ides banking, im·estment, mortgage, trus~
    pa11ne □ t senices products to individuals, businesses,
    go\·ernmental entities, and other financial institutions. It
    has 3,106 branches a11d 4,842 automated teDer machines,
    primarily in the Vvestern and Midwestern United Statesl~]
    lt is ranked 117th on the Fortune 500 1:§J and it is considered
    a systemically im~rtant bank by the Financial Stabilit:y
    Board. The company also m,ns Elavon >a processor of credit
    <.:ard transactions for merehants, and Elan Financial
  - Senices. a credit card issuer that issues credit card products
    on behalf of small credit unions and banks across the U.s.l:ZJ

        U.S. Bancorp operates under the second-oldest continuotL5
        national charter, originally Charter #24, granted in 1863
        fol1ov,ing the passage of the National Bank Act. Earlier
        charters have expired as banks \',ere closed   oracqui.recL
        raising U.S. Bank's charter number from #24 to #2. The
        oldest national charter, originally granted to the First
        ~ationa1 Bank of Philadel hia, is held by \>Velis Far o,
        ~rhich was obtained upon its merger '"ith W~~~ovia ..-!

        History
        Tbe u_ . Baok name first appeared as United States
        National Bank of Portland. established in Portland.
        Oregon, in 1891.l9J In 1902, it merged with Ainsv1:orth        Oorporate headquarters. U .S_:_ Banco
        National Bank of Portland, but kept the U.S. National Bank             ~enter, in ~.l_nneaQOlis
        name.I.91 It changed its name to the United States . ·anonal
                                                                       Trade name      U.S. Bank
        B8nk of Oregon in 1964 .fs)
                                                                       Type            P~Jtc CO~P~0Y
        The central part of the franchise dates from 1864 with the     Traded as       NYSE: USS {~s://w
        formation of First National Bank of Minneapo1is.L9J ln 1929,                   ww n se.corrv' uote/X
                                                                                       -- - ' - -- -~ -  ,- -
        that bank merged '"~th First National Bank of St. Paul (also                   NYS_;_USB)
        fm-med in 186,1) and seYeraJ smaller U.E_pe~Midv,est banks                     ~&P 1O_O component
        to form the First Bank Stock Corporation, 'which changed its
                                                                                       §.§.:P 500 component
        name to First Bank S ·stem in 1968.f2.1

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                                                        Exhibit 70 Exh.G

               blackRock is Northern Trust Bank



       News         Wikipedia          Maps        Images        Books      Shopping




    CHICAGO - As part of its continuing strategy to
    provide integrated products, services and
    technology across the entire investment Iifecycle,
    Northern Trust has entered into a strategic alliance
    with BtackRock to deliver enhanced operations,
    data, and servicing capabilities to .m utual clients.
    May 27, 2020


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    Northern Trust Announces Alliance with BlackRock
    as part of Whole Office ...

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 Case Black Rock owns Document
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                                                                reb l , 2023 --           Fi nrel reports that B lackRoc k 1135
  News       Images        Maps        Videos     Shopping      fil ed a 13G/ A form w ith th e SEC disclosing
                                                                o wnership of 100. 48MM shares of U.S . Banco rp , .
                                                                  Exhibit 70
                                                                       Wikipedia
2023-02-01 - BlackRock Inc. has                                  W'
                                                                       https:1/e-n.m.wikipedia .org , w k1


filed an SC 13G/A form with the                               ) BlackRock
                                                                Blac kRoc k. Inc. is an Am erica, rnuHi -national
Securities and Exchange                                         inves tment company based in ew York c , y.
                                                                Founded in 1988, init iaiiy as an errterpnse risk. . ..
Commission (SEC) disclosing
                                                                       Financial Times
 ownership of 100,484,434 shares                                       h tt ps :/ / v.ww. ~ .com • content



 of U.S. Bancorp. (US:USB). This                              >BlackRock to manage $11 4bn of
                                       i
                                                                asset d rsposals after U S bank
-represents 6.6 p.ercent ownership                              failures
                                                                Apr 5 , 2 023 - US regu lat ors ha v e app ointed
 of the company.                                                B!ac kRock' s adviso ry arm to he lp sell a :S 1 14 b 1
                                                                portfolio of s ecurities inherited after th e governme..

[i https://fin•eLio , us, usb , blackrock                       Ci     Flntel
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BlackRock Inc. ownership in USB /                             ) Regions Fin a nci a l Corp reports
                                                                1.49 % d e cre a se in owners h i p of
U.S. Bancorp. - 13F, 13D, 13G Filings                           B L K / B lackRo c k ·-·
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vVhat banks are owned by BlackRock?                            insiders . a r.i d 2 4.. 1 7 % retail in v osto r ,;; . V a ng u.:ird .. .


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3lackRock is also the sole                                    ) RF - R e gio n s Fin ancia l Corp
;hareholder and owner of                                       Shareholders - CNNMoney. c orn
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                                                               S S cP. F lmds M an a oement . Inc. $ .36%,. 5 0 .31 2 . 9 ? ...
    UNITED STATES DJSTRJCT COURT FOR THE SOtffHER.i~ DiSTRICT OF FLORIDA. MIA~ITDIVISION
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 489 of
                                     597
     MACK WELT .S AND MAURICE. SYMONETTE

     Plaintiffs,
     CASE: 23-CV-22640-JEM                                                       Exhibit 71
     V.

     U.S. BANK, NATIONAL AS OCIATION,Et al.,

     Defendants.
     _ _ _ _ _ _ __ _ _!



                       MOTION AND AFFIDAVIT FOR REUEF. RECUSAL, VACATION OF ORDERS AND
                                            MEMORANDUM OF LAW




     Pursuant to Florida Stat. 11 2. 131 , Florida Rule 2.1 60 (H) and Federal Rules of Civil Procedure Rule 60.
     Plaintiff 1\11ACK WELLS hereby fi.les this Motion for Relief & Recusal and Supporting Memorandum
     regarding the June. 17' 2023 Eduardo L Sanchez review of Lbe record and Final Judgement Order, ExhibitJ.
     based on the following facts, new information, just terms, judicial misconduct, fraudul ent grounds and
     discovered conflict of personal investment interests on Financial .Disclosures of Judges and officers of this
     Court (Exhibit.s # B) Anached- U.S. BANK Special Situation Propertv Funds Account Pa2"e 42. ff RS 20 l 8
     Tables 9-13, SEC Filings- U.S. BA ; Florida Subsidiaries, Judge Carlos Lopez Financial Interests & Property
     Disclosures).


     Florida Rule 2.160 rm Says A huke. auzv !1,cate his orders for Conflict al Intmst Theodore & Punac v.
     Judge John 4* BJJdd EL Bufe 2,160 (D) QI fl, Code .lud. Conduct, Canon ~ECV 4 J.ud:leslrall disqualify
     hltmel[ whm impartiality mif{ht reasonably be gucstiongd Rufe 2.160 fDJ a> ~rounds to disq@li.6! is.
     uarty fears Jutf%f/. i-. Qiared f11 Statue 1/2, 112 rs; ,Tu,we can't hav,e g ,aatlict aClatecest !

     Judge Eduardo Sanchez must Recuse himself for an open obvious Conflict of Interest because he's
     doing business with US Bank and helping them to make money so that he can make money by
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 490 of
                                     597


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           1  •                                                    • as t he JudgeK'i"hibit
                 an d t ak'mg (stea 1·ing) our property wh1·1 e actmg             onthe case71on our property,
     not on case's Merrts but for to make his and them money Illegally. Here's proof: In his Form 6 1 from
     Tallahasse-e called FULL AND PUBLIC DISCLOSURE OF FINANCIAL, form 6 for 2021 it Says on line

     14 that he got $250,000.00 with Wells Fargo, Exh. D. Which is First Horizon Bank Exh.E and
     First Horizon Bank is Suntrust Bank Exh. F, which is BB&T bank Exh. G. BB&T Bank is US. Bank Exh. H
     Who has ruled in favor of US BANK. This is a Horrible Conflict of Interest against us and there's more. I have
     found that our case was directed to other Judges in this sess Pool all with the same Conflict of interest like
     Judge Valerie manno Schurr a Judge we had never met jumping into our case after Judge Zabel dismissed U.S
     Banks Lawsuit against me with Prejudice because they never had or owned the Note and then one year later
     Judge Valerie Manno Schurr got $995,000 from US Bank according to her Form 6 Financial Disclosure
     Affidavit, Exh. I. And then suddenly inserted herself into ou r case without ever meeting us and dismissed the

     case with Prejudice like Judge Zabel did, Exh. K. So as to avoid the Law which says another Jud ge cannot

     change another Judges order in the same Circuit Court so she made the same Order so she could change her
     own Order to dismiss without Prejudice and got another S,1 million doHar plus $400,000 dollar money asset
     from GMAC which is U.S. Bank and then she changed her own Order to Dismissed without Prejudice Exh. N.
     And then received a $2.4 mi!Hon money asset from Wells Fargo/Wachovia plus a $400,000 dolla r money
     Asset from GMAC which is U.S. Bank Exh. L. TI1e same Conflict of Interest thatJ udge Lopez has, which is why

     she Recvsed herself Exh. R, as did Vivianne Del Rio Exh.S and they along with Judge Schle5inger violated Fl.

     Rule 2.160 (H)-(J} and did not answer their Motion to Recuse Exh.U , V & W within 20 days which means that

     our Motion to Recuse is automatically granted and all of their Orders have been removed & reverted back
     the Original Judge label's Order of Dismissal with Prejudice. According to her form 6 Financial Affidavit to
     circumvent Judge Zabel's Dismissal with Prejudice! Exh. M. I and two other Witnesses saw Judge Zabel sign
     the Dismissal with Prejudice Exh. X,Y and Zand t he 2007-12407-CAOl Case was dismissed Exh.Zl and Z2 in
     2009 the Clerk of Courts removed the Judges dismissal with Prejudice off the Docket because the Clerk of

     Courts have the same S Conflicts of Interest as Judge Valerie Manno Schurr according to his Form 6 Full and
      Public Disclosure of Financial Interest he has a money Conflict of Interest with Wells Fargo which Is US Bank
     Exh. Z3 in the amount of $315,000 which is why the Clerk of Cot.Jrts removed the evidence off the Docket.
     And then these wicked Lawyers foreclose without notice to us and we went threw a 10 year fight see the
     Docket for the 2010 case which had no notice no assignments, no Note and no Mortgage Correctty to U.S.
     Bank from Axiom Bank $ee Exh. 0. then Maurice Symonette did a Quite Title Suit and after 10 years Judge
     Valerie Manno Schur( shows up again and l showed her the Evil which she had done by taking money
     ($995,00D) From GMAC/U.S. Bank to steal ou r property even though we were m;:iking the payments. This is
     Home- Title Fraud in its utmost and when she saw she was caught from her own f=orm 6 Affidavit and evil
     Judgments she 'Recused herself especially after we paid for News paper, ads ,;1nd R,;1dio TV Commerciafs Exh.
     T Telfing on her and knowing th-at we have turned her over to the FBI as Carlos Lopez must do because he has
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 491 of
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     Page 6 of9


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U _s_ Bancorp - \Viki [X'dia                                                                 nnps://e n .w11;1pca1a.org1\.\·11; 11 u ...., ._t:1anr.;ur1
 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 492 of
                                      597
                         WIKIPEDIA
                          Toe Free Encyclopedia

           U.S. Bancorp                                                         Exhibit 71

           U.S. Bancorp (stylized as us bancorp) is an American
                                                                                             U.S. Bancorp
           ba_nk holding c_ompaJ?._y based in Minneapolis 1 ~nnneso~a,
           and incorporated Lu DelawareJ4) It is the parent company
           of U.S. Ban_k National Association and is the fifth largest
                                                                                 [!I3bancorp
           banking institution in the United States.Cs) The company
           provjdes banking, investment, mortgage, trust, and
           payment services products to individuals, businesses,
           governmental entities, and other financial institutions. Lt,,.s of
           20J9, it had 3,106 bran_   ches and 4,842. automated t~lle~
           machines, primarily in the \'Vestern and Midv,restern United
                                                             ~ ~e_5~0,[6J
           States.L.2-J In 2023 it ranl:ed 149th on the f_2_1_
           and it is considered a sy~t~mj_~l}y_i!.!lportant bank by the
           Financial Stability Bo~rd. The company also ovms ~lavon, a
           processor of credit card transactions for merchants, and
           Elan Financial Services, a credit card issuer that issues
           credit card products on behalf of small credit unions and
           banks across the U.SJ7l

           U.S. Bancorp operates under the second-oldest continuous
           national charter, originally Charter #24, granted in 1863
           follovving the passage of the ~?ti~nal _Ba__aj{ _Act~ EarUer
           charters have expired as banks ,vere closed or acquired,
           raising U.S. Bank's charter number from #24 to #2. The
           oldest national charter, originally granted to the First
           Nati~na1 Bank _of"__l:>1J~l~d~p~i-~, is held by Wells Fargo,
           ,,vhich was obtained upon its merger ·with yv_~choviaJ8l



           History                                                                Corporate headquarters, U.S. Banco_!P
                                                                                         Center, in M inn_~apolis
           The U.S. Bank name first appea.red as United States                   Trade name          U.S. Bank
             ationaJ Bank of Portland, established h1 Portland,
                                                                                 Company             Public
           Oregon, in 189d9] In 1902, it merged ·with ~;a""Mli.
                                                                                 type
           ~ational Bank of Portland, but kept the U.S. National Bank
           name.[S!l 1t changed its name to the United States National           Traded as           NYS~: ~_$_ELlh__ttps:/_/w
           Bank of Oregon in 1964_[9)                                                                ww.nyse.com/quote/X
                                                                                                     NYS:U§B)
           The ceutral part of the franchise dates from 1864, ,,ith the                              S&P 100 component
           formation of First National Bank of Minneapolis_(9) In 1929,                              S&P SQQ component


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 493 of
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                                                                                                               Exhibit 71 Exh.l



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         IN THE CIRCUlT COURT OF THE ELEVENTH JUDICIAL Exhibit 71 Exh.S
         CIRCUIT IN AND FOR l\flAMI-DADE COUNTY, FLORIDA

         CASE NO: 2010-061928-CA-01
         SECTION: CA05
         JUDGE: Vivianne Del Rio

         US Ban k (na)

         Plaintiff(s)
          S.


         Williams, Lerny
         Defendant(s)
         _ __ _ _ _ _ _ __ __l

                                                  ORDER OF RECUSAL

         Docket Index Number: - -- - -
         Or
         £filing Nwnber: _ _ _ __ Date Filed: 05/11/2023
         Full Name of Motion: Order of Recusal

                THIS CAUSE, came before the Court sua sponte, and the Court being fully advised in the
         premises, il is hereby:


                ORDERED At'ID ADJUDGED

               1. That the undersigned Circuit Court Judge hereby recuses hiroselflhcrself from further
                  consideration of this case.

               2. This case shall be reassi&,rned to another section of the Circuit Civil Division in accordance
                  v.ith established procedures.




   Case No: 20 I 0--061928-CA-0 1                                                                             Page 1 of3
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 504 of
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                                                                                       Exhibit 71
        DONE and ORDERED in Chambers at Miami~Dade County. Florida on thls 11th dav ofMav.
        2023 .




                                                               2010-0619?8-CA-01 05-1J-202310:49 AM
                                                                    Hon . Vivianne Del Rio
                                                                    CIRCUIT COURT JUDGE
                                                                    Electronically Signed




          No further Judi ·ial Auio11 Rt:quin:d on THIS i\-10TION

          CL!·.RK TO RECLUSE CA. 'F IF Pos·r JUDGME! 'T



         ElectronicalJy Served:
         Altanese PhenelLL5, yvaldes@miam.idade.gov
         Carlos Calle, mrstreetsproductions@gmail.com
        Carlos Calle, mrstrcetsproductions@gmail.c,om
        Carlos Calle, mrstree1sproductions@gmail.c-0m
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        Julie Anthousis, FLCourtDocs@brockandscott.com                         Exhibit 71
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        Physically Served:




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 506 of
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                                                     Exhibit 71 Exh.':f pg.1
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                        IN THE CIRCU IT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR

                                     MIAMI DADE COUNTY FLORIDA CIVIL ACTION
                                                                                   Exhibit 71 Exh.V pg.1

            U.S. BANK, NATIONAL ASSOCIATION ,
            AS TRUSTEE FOR RASC
            2005AAHL3,

            Plaintifl

                                                                         CASE NO: 201 0-61928-CAOJ
            v.

            MACK \\.'ELLS


            Defe11dants,



      MOTION AN D AFFIDAVIT FOR RELIEF, RECUSAL, AND RECONSI DER HER ORDER AND REVERT
                               BY VACATING HER ORDER AND MEMORANDUM OF LAW




      Pw"Sunnt to Florida Stat. 112.131. Flo.rid.a Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
      Plaintiffl'vt..\CK \.YELLS hereby files this tvfotion for Relief & Recusal and Supporting l\llemorandum
      regarding the_Vivianne Del Rio 05/04/2022 review of the record and Fi nal Judgement Order, Exh, l 19 based on
      the following facts, new information, just tenns, judicial misconduct, fraudulent grounds and discovered
      conflict of personal investment interests on financial Disclosures of Judges and ofticers of this Court (Exhibit
      ill Attached- U.S. BANK Special Situation Property Funds Account Page 42. IFRS 2018 Tables 9-13 .. SEC
      Filings- lJ.S. BAl'\JK Florida Subsidiaries, Judge Alan Fine Financial Interests & Property Disclosures).


      Flor;da Rule 2.160 (H) Sa ysA .Judge mav Vacate her orders for Con(Uct of lntuest Tlreodore R. Bu.ndv V.
      J udf[e John A. R:,.-,./1 F L Rule 2.160 (D) (I) Fl. Code Jud. Conduct, Canon 3E{J) A Judge shall disqualify
      hi11rse/fw/,-:.?re impartialitv, ntigltt reasonabh• be questioned Rule 2.160 (D) (1) grounds to disqualifp is
      o-'r;(     -:bldge i s ~ ~ 31 ; ().J!liilJ!e Q!!tfa,e ae-:jlfc' Qf.l_nterest !


      Ju dge Vivianne Del Rio m u t Rec ue e~       r an oe~      u Conflict of Interest b eca u e s e's ~

      business with US Bank and hel ping the m to make money so t hat she can make money by fo reclosing and
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 509 of
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                                                                            Exhibit 71 Exh.V p~.2 _
      1:a1<1ng {si:eallng) our µr uperty while acting a:> the Judge on the case on o u qp::l11r911 cases Ments b l.tJ


      for to make ~ ■ , dlicw1ey Illegally. Here's rcaf:::h>her Form 6 Affidavit Oath from Tallahassee called

      FULL AND PUBLIC DISCLOSURE OF FINANCIAL Says:




      2. form 6 for 2019 on line 2. , Exh. 0. She got $750,215.00 with FRS which is Financed by the SBA.

      Exh. l. which is U.S. Bank, Exh. 2.

      3. form 6 tor 2019' Exh . (0). On line 3 she got, $15,403.00 and on line 4 she got $5,691. doing

      business with AIG which is J.P. Morgan, Exh . 6, 6A, 6B, 6C, 6D, 6E, 6F, JP Morgan which is U.S.

      Bancorp, Exh.4, 19. And U.S. Bancorp is U.S. Bank Exh. Sand SB.




      And on her 2020 Form 6 _Full and Public Disclosure of Financial Interest In 2020 on line 2,

      Exh. 0. Line 2. She got $943,141.00 with FRS which is Financed by the SBA. Exh. 1. which is U.S.

      Bank, Exh. 2.

      3. Exh. (0) . On line 3 she got, $15,403.00 and on line 4 she got $5,691. doing business with AIG

      which is J.P. Morgan, Exh . 6, 6A, 68, 6C, 6D, 6E, 6F, JP Morgan which is U.S. Bancorp, Exh.4,

      19. And U.S. Bancorp is U.S. Bank Exh. 5 and 58.

      4. Exh. (0). Ar:d on line 4she has $44,000 with E-Trade Which is Morgan Stanley Exh.3, and

      Morgan Stanley is J.P. Morgan, Exh. 87 and Exh . 118, 118A, 118B, 118C and 1180 Page 1 and

      Page 2. which is U.S. Bancor.p, (Exh.4, 19). And. U.S. Bancorp is U.S. Bank Exh. 5 and SB.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 510 of
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                                                                            Exhibit 71 Exh.V pg.3
     Which means U.S. Bank is JUDGE VIVIANNE DEL RIO according to her Form 6 signed by her

     Affidavit of Financial interest whole way of wealth making money and partners with her in

     almost all assets she owns other than dlh w:'.s :la lary is U.S. BANK. This is why she has

     ruled in favor of U.S. BANK to give a date to sale our house 06/21/2022, Exh. 120. Against

     the Rule of Law and without allowing us to talk in the Zoom hearing 05/04/2022, see Exh . 7.

     (Video of Hearing gods2.com Video #1), and we know she heard us because the Transcript

     could hear us and could hear her and the Transcriber was in a different location from the

     Judge and from us in the Zoom Hearing and if he could hear her and us and the Judge can

     hear him that means she could hear us so she deliberately ignored us until we screamed

     and to listen to our Motion to Dismiss and Reconsider and reve rt this case back to the

     Original Dismissal with Prejudice that was on the Docket before U.S. Banks Motion to reset

     the Sale of our Property. See Exh. (8). But instead Judge Vivianne Del Rio referred us to her

     assistant and would not hear our M otion . See Exh.9 {Video on gods2.com #2 video of her

     assistant talking t o us),

     WHICH IS ALL U.S. BANK. Who has ru led in favor of US BANK. This is a Horrible Confict of Interest

     against us and there's more. I have found that our case was directed t o other Judges in th is sess Pool
     all with the same Conflict of interest like Judge Valerie Manno Schurr a Judge we had never met

     jumping into our case after Judge Zabel dismissed U.5 Banks Lawsuit against me with Prejudice

     because they never had or owned the.Note and then one year later Judge Valerie Manno Schurr got
     ~995,000 from U.5. Bank according lo ht!r Fo1 rn 6 Financial Disclosure Affidavit, Exh. F. And then

     suddenly ins.erted herself into our ca-se without ever meeting u.s and dismissed the case with Prejudice
     like Judge Zabel did, Exh . G. So as to avoid th e law which says another Judge cannot change another
     Judges order in the same Circuit Court so she made the same Order so she could change her own
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                                                                              Exhibit 71 Exh.V pg.4
                    IN 11-IF', CIRCUIT OOURT OF 11ffi E.LEVENTH .flJOKIAL CIRCUIT IN AND FOR

                                MIAMI DAD6 COWIY Fl-ORIDA CI\f U, ACTION



             MACK.\VEI.L~

             P~ntlff

                                                                    Ca:5eNo. iol0-61928-CA0l
             V.
             t;_ S. B-A.. .K N_A, AS TRUSTE'F. FOR
             RA SC 2005AHJ .l




                            MOTION AND A.FflDA VIT FOR RB..IEF, REQJSAL, VACATIO:-.l QF.
                                     ORQ.liM AND ffi.Jfm.fORANDJ.i'.M OP LA \V


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                                                       CONCLUSION

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    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 517 of
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                                                                                         Exhibit 71 Exh.Z2                                    G
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 519 of
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                                                      ., a;,d i
                                           ·s the parent company f U.S.
                     Bank Netional Association, which is he 5th
                                                                  . The
                     company pr vides ba king, investment,
                     mortgage, trus , an payment servkes
                     products to indjv:duais, bust *asses.
                     governmen •al ,etit'ties, and o her financial
                     rnstitu ·ons. It has 3,"'06                      and 4,842
                           j       primarily in the   ·d'\\·e.s ern
                               r     and has cdpproximately 72,400
                    employe€s.             The co, p ny also owns
                    a processor of credit card ransactions. U.S.
                    BanC<lrt)_operates uoder he ..,econd-oldest
                    continuous nationa l charter, orig'naHy ChBrter
                    124, granted in 1863 folio 1ing the pass~ge of
                     he                           . Earlier charters have
                    expired .as ban s were closed or acquiredt
                    rais-fng U.S. Bank's charter            mber +rom #24 to
                    #2. The oldest national charter, originally
                    gra. ted o he
                                       ; is held by                   I   v,ruch it
                    obtained upon its merger with


                                             U.S. Bancorp
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 520 of
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    LIMITED•TIME OFFER         $5 for 3 months      Rcclisruv~r ihe pm,ver of local news.           SAVE NO W




             He forged signatures of judges over 100
              times. Now this lawyer is going to jail
                                                  9'{ DAVJO OV1\LLE

                                            OOVALlE@MIAMIHERALD.COM

                                          UPDATED AUGUST 03, 2017 5:39 PM




        Ex·low;er
              1    Jose Camacho during hi.s sencencrrig for forgering r.he signatures of Broward judges. He
        was sr:lit<Cncetl to 364 days in jafl, plus 10 years of probation. DAVIO OVA.ll.F Miami Herold

        M!.Ah,I. FLA.


        Disgraced South Florida lav.ryer Jose Camacho forge d over 100 judicial signatures on
        financial settlement cases - but the bafr1ing part was that he wasn't really making
        any exu·a money off the illegal shortcuts.

        Instead. Camacho claimed, he was ov~n\1 lH!lmed w ith ·w ork and merely wanted to
        avoid \Va.iting for backlogged judges to sign off on the paperwork

                        TOP VIDEOS
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 521 of
                                     597
BRENNAN
CENTER Issues                          OurWork                                 Experts        Get lnvol\led       About

FOR fUSTJCE              Ubrary    Press                                                                         Exhibit 73




 Fair Courts E-Lert:
Investigation - 131 federal
judges failed to step down
from cases with financial
conflicts
This fair Courts E-Lert highlights an investigation into ethics
violations committed by federal judges, Bi den's latest round of
nominees to the federal bench. New York judges sent home for
noncompliance with a vaccine mandate. and more.

auuusH.:o: October 22. 202.l




                                  A,       Strengthen Our
                                           Courts

                                  -~
                                   -




           Investigation Fi.nds 131 Federal Judges Failed to Step Aside from Cases Despice
           Financial Conflicts

           ,.More than 130 federal judges have violated U.S. law and judicial ethics by overseeing court cases involving
           companies in which they or their family owned stock." according to an invest igation by the Wall Street
          Journal published on September 28.


           The investigation found that 129 federaJ district court judges and t wo feder<1I app-ellate judges failed to step
           aside from 685 cases in whicll they t1ad a llnanci;al con11ict from 2010-2018. and in those cases. about two·
           thiros of the rnlings were in the judge's or their family's financial interests.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 522 of
                                        597
             IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR

                                 MIAMI DADE COUNTY FLORIDA CIVIL ACTION                      Exhibit 74



     U.S. BANK, NATIONAL ASSOCIATION,
     AS TRUSTEE FOR RASC
     2005AAHL3,

     Plaintiff

                                                                     CASE NO: 2010-61928-CA0l
     V.


     MACK WELLS


     Defendants,




                   MOTION AND AFFIDAVIT FOR RELIEF, RECUSAL, VACATION OF ORDERS AND
                                              MEMORANDUM OF LAW




 Pursuant to Florida Stat. 112.131 , Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
Plaintiff MACK WELLS hereby files this Motion for Relief & Recusal and Supporting Memorandum
regarding the June. 17' 2023 Carlos Lopez review of the record and Final Judgement Order, Exhibit.I. based on
the following facts, new information, just terms, judicial misconduct, fraudulent grounds and discovered
 conflict of personal investment interests on Financial Disclosures of Judges and officers of this Court (Exhibits
# B) Attached- U.S. BANK Special Situation Property Funds Account Page 42, JFRS 2018 Tables 9-13, SEC
Filings- U.S. BANK Florida Subsidiaries, Judge Carlos Lopez Financial Interests & Property Disclosures).


Florida Rule 2.160   rm Says A Jucwe may Vacate his orders for Con,flict ofInterest Theodore R. Bundy v.
Judge John A. Rudd Fl. Rule 2.160 @> 0 >FL Code Jud. Conduct , Canon 3Ern A Jurme shall disqualify
himself where impartiality might reasonably be questioned Rule 2.,160 CD> a> grounds to disquafi(y is
party fears Juke is Biased Fl. Statue 112.112 CB> Jurme can't have a con,flict of Interest l


Judge Carlos Lopez must Recuse himself for an open obvious Conflict of Interest because he's

doing business with US Bank and helping them to make money so that he can make money by
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 523 of
                                     597
                                                                    Exhibit 74
 foreclosing and taking (stealing) our property while acting as the Judge on the case on our property,

 not on case's Merits but for to make his and them money Illegally. Here's proof: In his Form 6, from

 Tallahassee called FULL AND PUBLIC DISCLOSURE OF FINANCIAL, form 6 for 2021 it Says on line
 14 that he got $2,077,949 with Iberia Bank, Exh. D. Which is First Horizon Bank Exh.E and First

 Horizon Bank is Suntrust Bank Exh. F, which is BB&T bank Exh. G. BB&T Bank is US. Bank Exh. H Who
 has ruled in favor of US BANK. This is a Horrible Conflict of Interest against us and there's more. I have found
 that our case was directed to other Judges in this sess Pool all with the same Conflict of interest like Judge

 Valerie man no Schurr a Judge we had never met jumping into our case after Judge Zabel dismissed U.S Banks
 Lawsuit against me with Prejudice because they never had or owned the Note and then one year later Judge
 Valerie Manno Schurr got $995,000 from U.S. Bank according to her Form 6 Financial Disclosure Affidavit,
 Exh. I. And then suddenly inserted herself into our case without ever meeting us and dismissed the case with
 Prejudice like Judge Zabel did, Exh. K. So as to avoid the Law which says another Judge cannot change another
 Judges order in the same Circuit Court so she made the same Order so she could change her own Order to

 dismiss without Prejudice and got another $,1 million dollar plus $400,000 dollar money asset from GMAC
 which is U.S. Bank and then she changed her own Order to Dismissed without Prejudice Exh. N. And then
 received a $2.4 million money asset from Wells Fargo/Wachovia plus a $400,000 dollar money Asset from
 GMAC which is U.S. Bank Exh . L. The same Conflict of Interest that Judge Lopez has, which is why she
 Recused herself Exh . R, as did Vivianne Del Rio Exh.S and they along with Judge Schlesinger violated Fl. Rule
 2.160 (H)-(J) and did not answer their Motion to Recuse Exh .U, V & W within 20 days which means that our
 Motion to Recuse is automatically granted and all of their Orders have been removed & reverted back the
 Original Judge label' s Order of Dismissal with Prejudice. According to her form 6 Financial Affidavit to
 circumvent Judge label's Dismissal with Prejudice! Exh . M . I and two other Witnesses saw Judge Zabel sign
 the Dismissal with Prejudice Exh. X,Y and Zand the 2007-12407-CA0l Case was dismissed Exh.Zl and Z2 in
 2009 the Clerk of Courts removed the Judges dismissal with Prejudice off the Docket because the Clerk of
 Courts have the same $ Conflicts of Interest as Judge Valerie Manno Schurr according to his Form 6 Full and
 Public Disclosure of Financial Interest he has a money Conflict of Interest with Wells Fargo which is US Bank
 Exh . Z3 in the amount of $315,000 which is why the Clerk of Courts removed the evidence off the Docket.
 And then these wicked Lawyers Foreclose without notice to us and we went threw a 10 year fight see the
 Docket for the 2010 case which had no notice no assignments, no Note and no Mortgage Correctly to U.S.
 Bank from Axiom Bank see Exh . 0 . then Maurice Symonette did a Quite Title Suit and after 10 years Judge
 Valerie Manno Schurr shows up again and I showed her the Evil which she had done by taking money
 ($995,000) From GMAC/U.S. Bank to steal our property even though we were making the payments. This is
 Home Title Fraud in its utmost and when she saw she was caught from her own Form 6 Affidavit and evil
 Judgments she Recused herself especially after we paid for News paper, ads and Radio TV Commercials Exh .
 T Telling on her and knowing that we have turned her over to the FBI as Carlos Lopez must do because he has

 the same conflict of Interest So he must recuse himself and vacate his Order. So Carlos Lopez you must

 Recuse YOUR SELF and not ORDER against us.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 524 of
                                     597




                                                            FACTS                                      Exhibit 74


 1. On Dec. 19, 2017, Defendant Judge Valerie Schurr issued a final Judgment order Exhibit. A against Plaintiff
 Pursuant to Florida Stat. 112.131, Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
 Plaintiff MACK WELLS hereby files this Motion for Relief & Recusal and Supporting Memorandum
 regarding the June. 25' 2010 Carlos Lopez review of the record and Final Judgement Order, Exhibit.I. based on
 the following facts, new information, just terms, judicial misconduct, fraudulent grounds and discovered conflict
 of personal investment interests on Financial Disclosures of Judges and officers of this Court (Exhibits # B)
 Attached- U.S. BANK Special Situation Property Funds Account Page 42, IFRS 2018Tables 9-13, SEC
 Filings- U.S. BANK Florida Subsidiaries, Judge Alan Fine Financial Interests & PropertyDisclosures).


 Florida Rule 2,160 rm SavsA Judge wa,v Vacate his orders for Conflict a,flnterest Theodore R. Bundy r:
 Ju~e John A. Rudd Fl. Rule 2.160 ID)            en
                                           Fl. Code Jud. Conduct . Canon JE(J) A Jutfze shall disqua{i{y
 himse[fwhise impartiality might reasonably be questioned Rule 2.160 (D)                   en
                                                                             grounds to disqualify is
 party fears Judge is Biased Fl. Statue 112.312 (8) Jud_ge can't have a conflict oflnterest ,l


 Judge Carlos Lopez must Recuse himself for an open obvious Conflict of Interest because he's doing

 business with US Bank and helping them to make money so that he can make money by foreclosing

 and taking (stealing) our property while acting as the Judge on the case on our property, not on

 case's Merits but for to make his and them money Illegally. Here's proof.



                                                FACTUAL BACKGROUND


            reasonable person would question the judge's impartiality.
            Fla. Code Jud. Conduct, Canon 3E(l), Fla. Rule 2.160 (A) (H), Fla. Statute 112.312 (8) and Section 455{b) he shall also
            disqualify himself in the following circumstances.

     (-I)He knows that he, indh·iduafly or as afiducia,:y, or his ~puuse ur minor child residing in his
     household. has a.financial inlerest in the s11~ject ma/fer in controFersy or in a party lo tfw
     proceeding, or any a/her interest Iha! could be substantially cif.fecled hy the outcome <~f the
     proceedings

     (llj (../) -:fina11cial i11teres1 •· means ownership ~fa legal or equitable interest, however small
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 525 of
                                     597

                                          CONCLUSION
                                                                                           Exhibit 74
         This Motion for Relief by vacating order Judgment Florida Rule 2.160 (H) and Recusal is
    based on new facts, related to a whistle blower's information, willful blindness, fraud, misconduct,
    and discovered evidence unknown at the time of the original Complaint filing Plaintiff could not
    reasonably know the financial dealings with Defendants of a yet to be assigned judge before the
    original Complaint filing As previously displayed by his Dismissal Order, due to cited improper
    financial conflicts of interest, Judge Carlos Lopez was incapable of impartially and without
    animus against Pro-Se Plaintiff or to exercise unbiased judicial duties required for due process
    justice in this case.

         Judge Carlos Lopez has creditor loan history and business with Plaintiff U.S BANK MERS and
    JPMorgan that caused preferential Quid Pro Quo treatment by his .sua sponte review and Final
    Judgment Order. Judge Carlos Lopez has significant exposed investor financial interests in the
    subject matter in controversy and with Plaintiff U.S. BANK that will be substantially negatively
    affected by the outcome of that proceedings when the Defendant "ultimately prevails and
    promotes in paid for adds in the media. Because people can't win when the Judge is on the side
    of the Banksters to steal property and money off their Prey !

        Example of Judges who already recused themselves from U.S. BANK
  HE RECUSED HIMSELF BECAUSE HE HAD A MONEY CONFLICT OF INTEREST
  IN 131 FEDERAL JUDGES msT GOT FOUND GUILTY OF CONFLICTS OF
   INTEREST GOOGLE NEW YORK TIMES ARTICLE BY ADAM LIPTAC.

 1. JUDGE DARRIN P. GAYLES Exhibit, P.
 2. THOMAS WILLIAMS Exhibit, Q.
 3. JUDGE VALERIE MANNO SCHURR'S RECUSAL Exhibit, R


                                     REQUIRED RELIEF

          Pursuant to Fla. Code Jud. Conduct, Canon 3E(l), Fla. Rule 2.160 (A) (H), Fla. Statute
    112.312 (8) and Federal Rules of Civil Procedure Rule 60, Plaintiff requires Relief from the June.
    11, 2023 Final judgment Order [Exhibit.J. based upon the stated facts, just terms, cited misconduct,
    Rule 60 grounds and newly discovered banking real estate fraud by court officers.
          Said Reopening Relief would require the vacating of his order and Recusal of Judge
    Valerie Schurr from this and any future related U.S. BANK banking real estate cases in this
    District. The Dismissal Order Relief also requires that all parties be reinstated to their prior
    positions in this action (Dismissal with Prejudice) requiring Clerk issuance of Summons upon the
    Defendants and allow the filing of a Motion to dismiss the Final Judgment for cause, grounds
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 526 of
                                     597

  f!li?~    MACK WELLS
            15020 S. River Dr.
             Miami, fla. 33 167
                                                                                  Exhibit 74
                            CERTIFICATE OF SERVICE
            1 HEREBY CERTIFY that on 12th day of Feb., 2020 a true and correct copy of the
     foregoing was provided via this Court's electronic filing system to the attorneys of record

      for amounts due an.cf owing on same mortgage that was dismissed with Prejudice in former
     case no: 07~12407CA01 where U.S. BANK could never produce the promissory Note though they
     were asked by the Judge several times but never did brtng it forth, Exhibit . I. A iudge cannot

     change another Judge's ORDER! And also on Jt.ne. 252010, Judge Valerie Schurr issued aJudgment

     order acting as a quasi-defense attorney for U.S. BANK his persona! investm-::1t Partner to make
     money together. Defendant MACK WELLS has now subsequently provided the United States
     Department of Justice (DOJ) on specific newly discovered whistle blower information and
     records regarding millions of dollars in exposed fraudulent foreclosure claims made by the
     Defendants U.S. BANK, Clerks and Court officers in this action. Exhibit, O. GMAC Also

     does not own


                             CERTIFICATE OF SERVICE
            I HEREBY CERTIFY that on 12th day of Feb., 2020 a true and cor.-ect copy of the
     foregoing was provided via this Court's electronic filing system to the artornr::ys of record




                                                                                      ..
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 527 of
                                     597




                                                                          Exhibit 74
                MACK WELLS
               15020 S. River Dr.
               Miami. fla. 33167


                              CERTIFICATE OF SERVICE
              l HEREBY CERTIFY that on 12th day of Feb..         2020 a true and correct
       copy of thl! foregoing was provided via this Court"s electronic filing system to the
       attorneys of record
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 528 of
                                     597




                                              FORM 6            Exhibit 74   Exh.D

                          FULL AND PUBLIC DISCLOSURE OF FINANCIAL INTEREST

                                           PART B-ASSETS



 Carlos Lopez
 Circuit Judge
 11th Judicial Circu it



 As of January 31, 2022

 PART B-ASSETS

 ASSETS INDIVIDUALLY VALUED OVER $1,000:

 Real Estate XXXX Brickell Ave, Unit XXXX, Miami, Fl                          $1,250,000

 Real Estate 1717 North Bayshore Drive, A4244, Miami, Fl (rental property)    $575,000

 Real Estate 1800 NW 24ave, #720, Miami, Fl (rental property)                 ~~200,000

Cash IBERIABANK (Cash & CD)                                                   S2,077,949

1111 Brickell Ave, Miami, Fl 33131
Marketable Securities UBS (See Summary)

CIM Group, P.O. Box 219312 (Cole Capital)

Kansas City, MO 64121

BBC Realty Holdings LLC- Rental Office at 2333 Brickell Ave                   s1,aoo,ooo
Suite A-1, Miami, Fl {33.3% owned)

Loan Owed from Caribe Insurance Agency Corp                                   $125,000

720 Jeronimo Drive

Coral Gables, Fl 33146
 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 529 of
                                      597


                                                                         Exhibit 74     Exh .E


All regions •       Safe search: moderate •      Any time •


    https:.i/w1,vw.theadvertiser.com >sto;y > money >business > 2022 >02 > 28 > td-bank-group-buy.in .. .

TD Bank Group buying former IBERIABANK, First ... - Lafayette, Louisi .. .
Feb 28. 2022 - TD Bank Group, tl1e.Cai1adian fi 1ancial gia nt with more ·11an 26 million U.S. customers,
will soon be the owner of former IBERJABANK !ocaJons following the acquisition of First Horizon on ...



    https://www.theadvocate.com , baton_rnuge >news> business >first-horizon-td-bank-catl-off-13 ...

First Horizon Bank, which acquired lberiaBan k, agrees \Nith TD Bank t...
May 4, 2023 - First Horizon Bank, which acquired lberia8a11k in 2020, announced Thursday mornin9 it
mutually agreed with TD Bank Group to ca!! off their $13Abillion· nierger: TD Bank in1orn1ea First...



    https://www.theadvocate.com > ,)aton_rouge >news} business ) first-horizon-iberiabank-ov,;ner-...

First Horizon, Iberia Bank O\Nner, set to be acquired by TD Bank in $13 ...
,::eb 28, 2022 - first Horizon Bank. which E1cquired lberiaBank in 2020, announced Thursday morning it
mutuaily agreed wi Ii TD Bank Group to call off their $13.4 billion merger. STAFF PHOTO BY LESLIE. ..



    llttps://lN\1i/w.cornmercialappeal.com >story >money> business >202 '2 ) 02 > 28 >td -bank-acquir...

TD Bank Group to acquire First Horizon: 5 thing s to kno\N
Feb 28, 2022 . Toronto-based TD Bank Group announced the $'13.4 billion all-cash agreement to
obtain Memphis-based First Horizon as part of the group's plans to accelerate its grovvth in the U.S.,
accorcling to ...



    https://www.kadn .com >news >firs -horizon-bank-vvl1ich-acquired-iberlabank-agrees-with-td-ba ...

First Horizon Bank, which acquired lberiaBank, agrees vvith TD Bank t. ..
1~1- y 4, 2023 - MEMPHIS. Tenn. (CNN) -- First Horizon, which acqL .i red lberia8ank, and TD Bank have
called off a $13 bHliot deed hat would have formed America's six~h-largest bank. adding to he turmoil
sweeping U1e country's regional len ers. The acquisition was announced shortly after Memphis-based
First Horizon had finished its rebrand of !beriaBank.
       Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 530 of
                                            597


                                                                           Exhibit 74   Exh.F
 ~:i   https://www.bizjournals.com > me 11phis >news) 2019 > 11 > 08 > first-horizon-to-acquire-30-suntr __ _

First Hori zon to acquire 30 SunTrust/BB&T branches - The Business J...
Memphis-based First Hori zon Na ionat Corp. announced Friday, Nov_ 8, that it entered .into a deal v1ith
SunTrust Banks lnc. and BB&T Corp. to acquire 30 branches across Nort 1 Carolina, Virginia, and __ _



~ https:/iv-N1w.firsthorizon.com

First Horizon Bank - A Trusted Choice for Financial Services


first t1 orizon bank is suntrust bank                                                                    Q
Q All       ~ Images      () ·Videos    (ID) News   0 Maps O Shopping                            eo Settings

       https://vvv,w.globenewswire.com >news-release> 2020 > 07 > 20 > 2064531 > 0 > en ; First-Horiz .. .

First Horizon Con1pletes Acquisition of 30 SunTrust no\N - GfobeNews .. .
List of branches in transaction: Wit s on-Salem, NC Fed Banking Market Medica! Park, 2006 S.
Ha\vthome Rd .. 1/!Jinston-Salem. NC 27'103 1ocksville Yadkinville Road, 880 Yadki rwrne Rd., MocksvrHe
NC. ..


~ https://v1.i\.vw.firsthorizon.com } Beter-Together > F ncl-a-Location
Find a Location - First Horizon Bank
Open on Saturdays Furl -Service Dnve-Thru No Locations Found See al! locations Drive-thru hours could
vary. Piease check with tile banking center team to see if additional clrive-thru hours are available.
Proven_ Focused. Better Together_



;; https://wv,,rw.bizjournafs.com > charfotte >news > 2020 } 07 ) 20 > flrst-horizon-buys-former-srn ~r_ __

Dozens of forn1er SunTrust br.anches becon,e part of First Horizon Ba ...
Updated Jul 20, 2020, 3 :55pm EDT Thirty former SunTrust branches are nov.; pari: of First Horizon
Bank_ Truist Financial Corp. (NYSE: TFC}, which 011vned the branches, agreed to dives· them last.__
   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 531 of
                                        597




                                                                          Exhibit 74    Exh.G
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About Truist I Truist
At Truist, our purpose is to inspire ancl build better Hves and comrm nities. That happens through real
care to rnake things better_ To meet client needs, to empower teammates, and to lift up communiUes.
Care starts with cu lture. Our belief in better is at the co re of everything that we do, every day.



El https:l/money.usnews.com > banking> articles> suntrust-and-bbt-rnerger-\.vha t-you-need-to-know
SunTrust and BB&T Merger: What You Need to Know - U.S. News
The SunTrust and BB&T merger is not expected to close until later in 20'19, and the t\-10 banks 1Nilf
remain operatfng as tvvo separate companies, they say. Don't Dump Yo r Brick-and-Mortar Bank.. .



ffi3 https:/fmedia .truist.com > 2019-12 -09-BB-T-ancl-SunTrust-com plete-rnerger-of-equais-to-becorne ...
BB&T and SunTrust cor11plete merger of equals to become Truist
CHARLOTTE, N.C., Dec. 9, 2019 ! PRNewswire / -- Truis" Financial Corporation (NYSE: TFC) today
annoL need the compleJon of the merger of equals between BB&T Corporation anc' SunTrust Banks.
lnc.. effective Dec. 6. 2019.



8B https://1,vvvw.truist.com
Truist Bank I Checking, Savings , Lending, and Financial Services
The Consu1i1er Financial Pmtecfion Bureau (CFPB) offers help in more than 180 languages, ca ll 855-411-
2372 from 8 a.rn. to 8 p.rn. ET, Monday through Fri.day for assistance by phone. CFPB adoltional
resources for homeovmers seeking payment assistance .in 7 additional languages: Spanish. Traditional
Chinese, Vietnamese, Korean, Tagalog, anc Ara tJic.



IJ https://wwvdorbes.corn . ac1visor > banking > surl'-rust-bank-novv'-tru ist-revJew
SunTrust Bank, Now Truist, Review - Forbes Advisor
Nov 11, 202·1 • SunTrust mainly has branches in the Southeast, but v·s rnerger with BB&T .o form Truist
may expand its footprint. You can open an account or line 1Nith SunTrust even if you don't live in a
state ...
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                                                                         Exhibit 74      Exh .H


11~ https://www.wsj.com >market-da.a ) quotes> USB

USS I U.S. Bancorp Stock Price &News - WSJ
Apr 12,. 2023 • View the latest U.S. Bancorp (USB) stock price, news, hlstorical charts, analyst ratings
and financial information from WSJ



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Truist O·nline Banking Login I Truist
                11
~Truist Advisors may be officers and/or associate J persons of ti e following affiliates of Truist Financial
Corporation: Trurst Bank, our commercial bank, wl1icr1 provides bankin~i, trustand asset management
services; Truist Investment Services, Inc., a registered broker-dealer, which is a member of FINRA ancl
SlPC, and a licensed insurance agency ...



   https://www.cnbc.com > 2019 > 02 > 'J7 > here-are-i:he-blggest-us-banks-with-bbt-suntrust-merge ...

These are the 10 biggest banks in the country now after the BB&T ...
BB&T and SunTrust announced a $668 merger - Here's w11at three experts say that means for the
financial sector BB&T 's deal to buy SunTrust Banks is slated to create the sixth-largest bank in ...



t~) l7ttps://www.reuters.com >article) usbancorp-bbandt-idUSBNG54·119720091014

U.S. Bancorp to buy BB&T's select Nevada branches I Reuters
Oct 14 (Reuters) - U.S. Bancorp USB.N said lt signed a deal with BB&T Corp BBT.N to buy about $800
miHion in deposits of certain brancl1 locations of BB&T's Nevada banking operations for an ...



,~-, https://greensboro.com ) business ) whats-bb-ts-new-name ) article_2701870e-6a62-5f7f-ae2c-...

What's BB&T's new name?
The combined BBExT-SunTrust, with $442 billion in tota l asses, woukl be on the heels of US Bancorp's
$476 billion In assets as the largest super-regional bank in the country. It would be the ...
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 533 of
                                     597


                                                                                                                      Exhibit 74             Exh.l




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 . ,. .__________
       FORM 6     .,. AND PUBLIC DISCL·OSURE..-----------1
               FULL                            OF     2008
                                                                       FINANCIAL INTERESTS
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                                                                                PART C - UABILlTIES
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  C£ FORM 6 . Ett ii:2009                                                                                                                                   • PA.GI,: 1
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 534 of
                                       597



                                                                                        Exhibit 74      Exh.K

                                                                     I'\ TH!: CIRCUT COURT Of THE
                                                                     : : -. J;_"l)!C L4-L CfR<.. UT f.. A'l)
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                                                                   GENERAL .n.:R·sDICTlO' DIVISJO~



                                                                       April 1.20 it)
               l. S Bank .N .A.
                           Pia1ntiffi s J



               Leroy \\i illjams
                               Ddendant< s I
                   -- - ----- - -
                       ORDER Qf._Q.IS1JISSAL WITH PREJLl)lCE

                     •This action\\;}:) heard on the defendants motion to dismiss for lack of prosecution
                   Served on April l l .2008 . The court finds that {\)notice prescribed by ruk l •➔o le l
                   Was ser.ed or. April 11.2008: (2) their \.1.·as n,1 record activity for the year preceding
                   Service of the foregoing notice: \ -3 l no stay has been issued or approved b: the court
                   And (4) no part;- has shO\m !?,OOd cau.:;i: ,, hy this action should remair: pendi.'1g.
                   Accordingh,
                   IT IS ORDERED That this action is Dismissed for lack of Prosecution \.\ irb Prejudice
                   DONE A;"-1D ORDERED in chmnbers. at ~founi. dade county. Florida i.his 3 l th Jay of
                      V.arch. 2010.




                                                                                              \IAU:RI .... MANNO SCHURR
                                                                                              CtRCU~ COURT JUDGE




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Bk 27244 Pg 4193 CFN 20100237159 04/09/201 0 12.47 ·17 Pg 1 of 1 ~.1ia-Oade Cty. FL
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 535 of
                                     597

                                                                                                                    Exhibit 74              Exh.L
       FORM6                           FULL AND PUBLIC DISCLOSURE OF         2009
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            Circuit Judge
            Judicial Circuit ( 11Th)
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            Elected Constitutional OfficeI                                                                                                               210380
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JOiNT ANO SEVERAL LIA81LrTIES NOT REPO~TEO AB OVE·
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 536 of
                                     597




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 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 537 of
                                      597


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                                                                                                                     Exhibit 74                Exh.N
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                                                CASE NO.              ZOO"-l:?407-CA
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            LEROY WILLIAMS; MARK WELLS; FR.A~KLl"I
            CREDIT M.A.NAGEME:--.:T CORPORATION; CrTY
            OF ~ORTH MIAMI;
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                        Dc(endant(s).


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                    US PF\l)~S. A..'\D SETIJ..~1£..ASID.LJ:l!li.U Sl' W\IARY JUffi~•tENT A'iD S~5:I1Ttmf«i
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                      ORDERED A'.'ID .\Dcl'DGED as fol ;ow5
                      l.            The case be and the same hcreb~- is dismissed. but ,-. 11 h0u1 :::reJu<i. c~ :~ :he fu:w.: rights of the PlJ.int:!f lQ

            bring nn ae:ion 10 :oreclose the mortgage _. h,ch is the subJect matter oftt:c ,Mt31' ! ~;iuse

                                    All Coun~ of the Complaint against Defend:ints: LEx:YY \,. E LJ.;'.'vlS . ~1AR.K WEL LS:

            FRA~KLN CREDIT MA:--J.~(;EM E".',;T CORPORA TIOi': : C!TY Ui- '-:OR TH \ 11.-\.\1!.                            clTe hcreb~ dismiss.:o.




                     J.            An y sche<!uled for.:ck>rnre sale is ca:-rcetej ,




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Bk 27343 Pg 949 CFN 20100451 678 07i06/2010 15:32.32 Pg 1 of 3 Mia-Dade Cty. FL
       Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 538 of
                                            597




                                                                                                                           Exhibit 74     Exh.N pg.2
                        -1.          The Notice of Lis Pendens filed b)- Ptainnff and recorded m th;: public ret:ords of ~i!A\!l-DADE

               C ounf: . Florida. regarding the below-described 17roperty •

                                      LOT 105. BlSCAYNE GARDE~S SECTION F PART l , ACCORD11'-~ TO
                                     THE PLAT THEREOF, AS RECORDED lN PLAT BOOK ~.J . PAGE -+o. OF
                                     THE PUBLIC RECORDS OF MIAM I- DADE COL;':TY. FLORIDA.


               be and same herd.')" i5 canceled, vacated. discharged and sh.11! be vt'no fur-Jter fo:-ce or effect. and the Cler~ is he.rcb}

              directed to record this Order to rcflec1 same.

                       5         The final SummaI) Judgment heretofore c:nrereJ 0n Au!:(US! OCJ. 2007. be and the- same here!>y is set

              aside and shall be of no funher fo rce or effect

                        6.       The Plaintiff requests that the onginal "-ote and Mortgage be mumed to the Plair.riff ar:d

              photostatic copies shall be substimred in the1rp lace.

                       DO'iE AND ORDERED in Chambers in \ fl.A..\l!-DA DE Count;- . Florida.
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                                                                          \   'i ',0   (.j-J ., k   l •        •
                              JUN 2 3 2010                              V,tl...ER.IE R. MA:--INO SCHliRR
                                                                        Circuit Court Judge
             Copi~ fumisht:d to:
             Florida Defaul t Law Grouo. P.L                                                                        WALERIE MANNO SCHURR
             P.O. Box 25018                •                                                                        CIRCUIT COURT JUDGE
             Tampa, Florido 33622-50 18
             A II parties on tht: anached service Iist.
             i'O-:Ol:!H8 - M01050:
             G~UC-CONV--3li"-cn




Bk 27343 Pg 950 CFN 20100451678 07/06/2010 15.32.·32 Pg 2 of 3 Mia-Dade Cty. FL
          Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 539 of
                                               597




                                                                                                                   Exhibit 74                Exh.O


              Ul{U{.IUll                 :;erv,ce Keturn ror          t:vent
Ii                                       Unknown Party


     57       01 /25/2011                Service Return for           Event    LEROY WILLIAMS
Ii                                       Unknown Party


              01 /25/2011                Service Return for           Event
                                         Unknovm Party


              01/25/2011                 Summons Returned -           Event    Parties: Williams Hoke
Ii                                       No Service


              01(25/2011                 Summons Returned -           Event    Partfes: Williams Leroy
Ii                                       No Service


              01 /25/2011                Summons Returned -           Event    Parties: Littlejohn James
Ii                                       No Service


              12/27/2010                 Answer                       Event    ATTORN EY:00301991 TO THE COMPLAINT
Ii                                                                             Parties: Miami Dade County


              12/ 09/2010   27515:1498   Lis Pendens                  Event    B: 27515 P: 1498
Ii

              12/06/2010                 Verification                 Event
Ii

              12/06/2010                 Plaintiff's Certificate of   Event
Ii                                       Settlement Authority


              12/06/2010                 Certificate Regarding        Event
Ii                                       Original Note


              12/06/2010                 Summons Issued               Event    Parties: Winiams Leroy; Littlejohn James; Williams Hoke; Deutsche Bank (na) (tr); Well s Fargo 3ank Ina);
                                                                               Wacl,ovia Bank (na)


              12/ 06/2010                f illng Fee For Mortgage     Event    S 1906.00
Ii                                       foreclosure


              12/ 06/2010                Complaint                    Event
Ii

              12/ 06/2010                Civil Cover                  Event
Ii
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 540 of
                                     597




                                                                                      Exhibit·74 -Exh.Pl



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     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 541 of
                                          597




,!                                                                              Exhibit 74 Exh.Ql
 I                 IN THE CIRCUIT COURT OF THE El.EVEN7H JUOIClAL CIRCU T
                   IN ANO FOR MfA.Mt-CAOE COUNTY, FLORIO"

                   CfRCUIT CIVIL OiVlStON

                   CASE NO         2019-Q3'041S.CA,01
                   SECTION. CA 20

                   JAMES BUCKMAN
                           Plaintifflr.},
                   V1- .
                   LANCAST£R MORTGAGE CO
                       Oeftndantt•>·


                                                           ORDER Of RECVSAL



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                           ORDERED AND ADJ IJOGl. O
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                           , That ~ una,usiqned Circ• ii C.ou" Ju-cg€ 1c~~b             1-t!r ~
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                                                                        CIRCUIT COURT JUOGJ:

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                      AMES BtJCK t4N 1977 !\IE 11; H R:J MIM,~I • L 131€ 1
                    ~ AUR}CE SYMONETTE 47 ~ 1 L J i>J'...A K\Nft •. V~ IT 42:)8, sur.
                    .ANC.ASTER MOR GAGE CO
                    ONE V.iEST BAN'
                    ~ ~C MORTGAGE BANKE~S \.LC
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                    MERS
                    SERVIU G AGREEMHff SERIES AAS: tlJ'.>6 A 8
                    RESiQENT!Al l'.SSt SECURITIZ.A TiON TR 2000 A8 •
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 542 of
                                     597

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                                                                                  Exhibit 74 Exh.R
          1:\ THE CIRCL IT COl1RT OF TH E £LE\ E'\TH Jt:DICI.\L
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          C.-\SE ~O : 202 1-0 I 0826-CA-O l
          SEC! 10'.'-! : C:\25
          JUDGE: Val<.'ri~ R. l\fanno Sdrnrr

          !\t-\.l'RKE SY\10'.\ETTE
          Plaintit1(..;}



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                                                         ORDER OF RE(tSAl.

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          prt'misc':-., it i::. hi!rcb y:


                 ORDERED A'.'ID ...\DJU)<.;F.D


               l. That the umk rsign ed Circuit C,1urr Jud;;.:- h.:rd1y rcrn~c-; htr:;clf from rt1r:her ...:1.msiJeratw11
                  M'1his l'il!-c .
              .2. This i::ase shall 'be rea:-:-.,igneJ ro cttl\1l h~T ~cctinn t1f the Ciri::uit C i, ii Di, i;-;im1 in a1.:n1r<la111.·1.."
                  with cstahl i::>hc<l pwl'edurt'~.

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    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 543 of
Filing# 172928996 E-Filed 05/11/2023 11 :02:02597
                                               AM

                                                                           Exhibit 74   Exh.S
        IN THE CffiCUIT COURT OF THE ELEVENTH JUDICIAL
        CffiCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        CASE NO: 2010-061928-CA-01
        SECTION: CA05
        JUDGE: Vivianne Del Rio

        US Bank (na)
        Plaintiff(s)

        vs.

        Williams, Leroy
        Defendant(s)

        - -- -- - - - - -- -I
                                                ORDER OF RECUSAL

        Docket Index Number: - - - - - -
        Or
        Efiling Number: _ _ _ __ Date Filed: 05/11/2023
        Full Name of Motion: Order of Recusal

               TIDS CAUSE, came before the Court sua sponte, and the Court being fully advised in the
        premises, it is hereby:


               ORDERED AND ADJUDGED

              1. That the undersigned Circuit Court Judge hereby recuses himself/herself from further
                consideration of this case.

              2. This case shall be reassigned to another section of the Circuit Civil Division in accordance
                with established procedures.




   Case No: 2010-061928-CA-01                                                                              Page 1 of 3
 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 544 of
                                      597



                                                                             Exhibit 74
     DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 11th day of May,
     2023.




                                                       2010-061928-CA-01 05-11-2023 10:49 AM
                                                         Hon. Vivianne Del Rio
                                                            CIRCUIT COURT JUDGE
                                                            Electronically Signed




       No Further Judicial Action Required on THIS MOTION

       CLERK TO RECLOSE CASE IF POST JUDGMENT


    Electronically Served:
    Altanese Phenelus, yvaldes@miamidade.gov
    Carlos Calle, mrstreetsproductions@gmail.com
    Carlos Calle, mrstreetsproductions@gmail.com
    Carlos Calle, mrstreetsproductions@gmail.com
    Giuseppe Salvatore Cataudella, FLeFileTeam@brockandscott.com
    Giuseppe Salvatore Cataudella, FL.CourtDocs@brockandscott.com
    Giuseppe Salvatore Cataudella, CourtXpress@firmsolutions.us
    Harve Humpsy, Courts@Joumalist.com
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    Jennifer L Warren, jwarren@northmiamifl.gov
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Case No: 2010-061928-CA-0I                                                                Page 2 of3
 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 545 of
                                      597


                                                                                 Exhibit 74
     Julie Anthousis, FLCourtDocs@brockandscott.com
     Julie Anthousis, CourtXpress@firmso lutions. us
     Justin James Kelley, FLeFileTeam@brockandscott.com
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     maurice symonette, BIGBOSS1043@yahoo.com
     maurice symonette, boss l @clerk.com



    Physically Served:




Case No: 2010-061928-CA-01                                                                    Page 3 of 3
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 546 of
                                     597
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                                                                            Exhibit 74 Exh.T pg.1
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 547 of
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                                     597

                IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR

                               MIAMI DADE COUNTY FLORIDA CIVIL ACTION                      Exhibit 75



    MAURICE SYMONETIE

    Plaintiff

                                                                  CASE NO: 2021-10826-CA0l
    V.


    U.S. BANK, NATIONAL ASSOCIATION,
    AS TRUSTEE FOR RASC
    2005AAHL3,



    Defendants,




                  MOTION AND AFFIDAVIT FOR RELIEF, RECUSAL, VACATION OF ORDERS AND
                                       MEMORANDUM OF LAW




Pursuant to Florida Stat. 112.131 , Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
Plaintiff MAURICE SYMONETTE hereby files this Motion for Relief & Recusal and Supporting
Memorandum regarding the Jan 29 2024 Jose M. Rodriguez Fine review of the record andFinalJudgement
Order, Exhibit.A. based on the following facts, new information, just terms, judicial misconduct, fraudulent
grounds and discovered conflict of personal investment interests on Financial Disclosures of Judges and
officers of this Court (Exhibits# B) Attached- U.S. BANK Special Situation Property Funds Account Page
42, IFRS 2018 Tables 9-13, SEC Filings- U.S. BANK Florida Subsidiaries, Judge Alan Fine Financial
Interests & Property Disclosures).


Florida Rule 2.160 (ID Says A Judge may Vacate his orders for Conflict of Interest Theodore R. Bundy V.
Judge John A. Rudd FL Rule 2.160 (D) (1) FL Code Jud. Conduct. Canon 3E(l) A Judge shall disqualify
himselfwhise impartiality might reasonably be questioned Rule 2.160 (D) (1) grounds to disqualify is party
fears Judge is Biased Fl. Statue 112.312 (8) Judge can't have a conflict oflnterest !


Judge Jose M. Rodriguez must Recuse his self for an open obvious Conflict of Interest because he's

doing business with US Bank and helping them to make money so that he can make money by
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 549 of
                                     597
        .           .                                                                   Exhibit 75
 foreclosing and taking (stealing) our property while acting as the Judge on the case on our property,

 not on case's Merits but for to make his and them money Illegally. Hise's proof: In his Form 6, from

 Tallahassee called FULL AND PUBLIC DISCLOSURE OF FINANCIAL, form 6 for 2021 Says on pg.1 line

 3, $392,610.00 Exh.Dl, for And on the Form 6 of 2022 Line 6. $321,128.00 Exh.D2 for Voya And on

the Form 6 for 2020 for Voya Retirement on line 2. $332,289.00 Exh.D3. And Voya Retirement in

2019 line 8. $279,314.00 Exh.D4. and Voya Retirement is US Bank, Exh. E.2.: Judge Jose M.

Rodriguez is Doing Business U.S. BANK, US BANCORP, WACHOVIA, WELLS FARGO, VOYA FINANCIAL

AND BMW FINANCIAL WHICH IS ALL U.S. BANK. Who has ruled in favor of US BANK. This is a
Horrible Conflict of Interest against us and there's more. I have found that our case was directed to
other Judges in this cesspool all with the same Conflict of interest like Judge Valerie Manno Schurr a
Judge we had never met jumping into our case after Judge Zabel dismissed U.S Banks Lawsuit
against me with Prejudice because they never had or owned the Note and then one year later Judge
Valerie Manno Schurr got $995,000 from U.S. Bank according to his Form 6 Financial Disclosure
Affidavit, Exh.F. And then suddenly inserted herself into our case without ever meeting us and
dismissed the case with Prejudice like Judge Zabel did, Exh.G. So as to avoid the Law which says
another Judge cannot change another Judges order in the same Circuit Court so she made the same
Order so she could change her own Order to dismiss without Prejudice and got another $,1 million
dollar plus $400,000 dollar money asset from GMAC which is U.S. Bank and then she changed her

own Order to Dismissed without Prejudice Exh.H. And then received a $2.4 million money asset
from Wells Fargo/Wachovia plus a $400,000 dollar money Asset from GMAC which is U.S. Bank
Exh.1. According to her form 6 Financial Affidavit to circumvent Judge Zabel's Dismissal with
Prejudice! Exh.J. And then these wicked Lawyers Foreclose without notice to us and we went threw
a 10 year fight see the Docket for the 2010 case which had no notice, no assignments, no Note and
no Mortgage Correctly to U.S. Bank from Axiom Bank see Exh.K. then Maurice Symonette did a

Quite Title Suit and after 10 years Judge Valerie Manno Schurr shows up again and I showed her the
Evil which she had done by taking money ($995,000) From GMAC/U.S. Bank to steal our property
even though we were making the payments. This is Home Title Fraud in its utmost and when she
saw she was caught from her own Form 6 Affidavit and evil Judgments she Recused herself
especially after we paid for News paper ,ads and Radio TV Commercials Exh.T Telling on her and
knowing that we have turned her over to the FBI as Jose M. Rodriguez must do because he has the

same conflict of Interest   So he must recuse himself and vacate his Order, Exhibit, G. So Jose M.

Rodriguez you must Recuse YOUR SELF and not ORDER against us, EXH. I.




                                                  FACTS
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 550 of
                                     597


                                                                                                        Exhibit 75
1. OnDec.19, 2017, Defendant Judge John Schlesinger issued a final Judgment crrer Exhibit. S against Plaintiff
Pursuant to Florida Stat. 112.13 1, Florida Rule 2.160 (H) and Federal Rules of Civil Procedure Rule 60,
Plaintiff MAURICE SYMONETTE hereby files this Motion for Relief & Recusal and Supporting
Memorandum regarding the m '29 2024 Judge Jose M. Rodriguez review of the record and Final Judgement
Order, Exhibit. A. based on the following facts, new information, just terms, judicial misconduct, fraudulent
grounds and discovered conflict of personal investment interests on Financial Disclosures of Judges and
officers of this Court (Exhibits# B) Attached- U.S. BANK Special Situation Property Funds Account Page
42, IFRS 2018 Tables 9-13, SEC Filings- U.S. BANK Florida Subsidiaries, Judge Alan Fine Financial
Interests & Property Disclosures).


Florida Rule 2.160 (H) Says A Judge may Vacate his orders for Conflict of Interest Theodore R. Bundy V.
Judge John A. Rudd Fl. Rule 2.160 (D) (1) Fl. Code Jud. Conduct, Canon 3E(l) A Judge shall disqualify
himselfwhise impartiality might reasonably be questioned Rule 2.160 (D) (1) grounds to disqualify is party
fears Judge is Biased Fl. Statue 112.312 (8) Judge can't have a conflict oflnterest !


Judge Jose M. Rodriguez must Recuse his self for an open obvious Conflict of Interest because he's

doing business with US Bank and helping them to make money so that he can make money by

foreclosing and taking (stealing) our property while acting as the Judge on the case on our property,

not on case's Merits but for to make his and them money Illegally. Here's proof.




                                             FACTUAL BACKGROUND




         reasonable person would question the judge's impartiality.
          Fla. Code Jud. Conduct, Canon 3E(l), Fla. Rule 2.160 (A) (H), Fla. Statute 112.312 (8) and Section 455(b) he shall
         also disqualify himself in the following circumstances.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 551 of
                                                     597
                                                                                               Exhibit 75
    (-1) He knows /hat he. individually or as a fiduciary. or his ~pouse or ,n;,wr child residing in h,s
    household. has a.f711a11cia/ interest in the su~ject matter in controversy or in a parly to the
    proceeding, or any oth!!r interest that ,:vuld be subst.antially affected by the outcome <4' the
    proceedings

     (d)(-1) "finaucial interest,. means ownership l!f a leKal or eq1dlah/e ;nterest. however small




                                            CONCLUSION

         This Motion for Relief by vacating order Judgment Florida Rule 2.160 (H) and Recusal is
     based on new facts, related to a whistle blower' s information, willful blindness, fraud,
     misconduct, and discovered evidence unknown at the time of the original Complaint filing
    Plaintiff could not reasonably know the financial dealings with Defendants of a yet to be
     assigned judge before the original Complaint filing As previously displayed by his Dismissal
     Order, due to cited improper financial conflicts of interest, Judge Jose M. Rodriguez was
     incapable of impartially and without animus against Pro-Se Plaintiff or to exercise unbiased
    judicial duties required for due process justice in this case.

         Judge Jose M. Rodriguez has creditor loan history and business with Plaintiff U.S BANK
    MERS and JPMorgan that caused preferential Quid Pro Quo treatment by his .sua sponte review
    and Final Judgment Order. Judge Jose M. Rodriguez has significant exposed investor financial
     interests in the subject matter in controversy and with Plaintiff U.S. BANK that will be
    substantially negatively affected by the outcome of that proceedings when the Defendant
    "ultimately prevails and promotes in paid for adds in the media. Because people can' t win when
    the Judge is on the side of the Banksters to steal property and money off their Prey!

         Example of Judges who already recused themselves from U.S. BANK

1. JUDGE DARRIN P. GAYLES Exhibit, P.
2. THOMAS WILLIAMS Exhibit, Q.
3. JUDGE VALERIE MANNO SCHURR'S RECUSAL Exhibit, R


                                     REQUIRED RELIEF



          Pursuant to Fla. Code Jud. Conduct, Canon 3E(l), Fla. Rule 2.160 (A) (H), Fla. Statute
    112.312 (8) and Federal Rules of Civil Procedure Rule 60, Plaintiff requires Relief from the Ji.re.
    25, 2010 Final judgment Order [Exhibit.I. based upon the stated facts, just terms, cited
    misconduct, Rule 60 grounds and newly discovered banking real estate fraud by court officers.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 552 of
                                     597
                                                                                    Exhibit 75
          Said Reopening Relief would require the vacating of his order and Recusal of Judge
    Valerie Schurr from this and any future related U.S. BANK banking real estate cases in this
    District. The Dismissal Order Relief also requires that all parties be reinstated to their prior
    positions in this action (Dismissal with Prejudice) requiring Clerk issuance of Summons upon the
    Defendants and allow the filing of a Motion to dismiss the Final Judgment for cause, grounds
    and reasons state




       IS/MAURICE SYMONEITE
         MAURICE SYMONEITE
            15020 S. River Dr.
            Miami, fla. 33167


                            CERTIFICATE OF SERVICE
           I HISEBY CERTIFY that on this 2nd day of Feb., 2024 a true and correct copy of the
    foregoing was provided via this Court's electronic filing system to the attorneys of record

    for amounts due and owing on same mortgage that was dismissed with Prejudice in former

    case no: 07-12407CA01 where U.S. BANK could never produce the promissory Note though they

    were asked by the Judge several times but never did bring it forth, Exhibit. I. A judge cannot

    change another Judge's ORDER! And also on June. 25 2010, Judge Valerie Schurr issued a Judgment

    order acting as a quasi-defense attorney for U.S. BANK his personal investment Partner to make

    money together. Defendant MAURICE SYMONETTE has now subsequently provided the United

    States Department of Justice {DOJ) on specific newly discovered whistle blower information and

    records regarding millions of dollars in exposed fraudulent foreclosure claims made by the

    Defendants U.S. B~NK, Clerks and Court officers in this action. Exhibit, 0. GMAC Also

    does not own


                           CERTIFICATE OF SERVICE
          I HISEBY CERTIFY that on 12th day of Feb.,          2020 a true and correct copy of the
   foregoing was provided via this Court's electronic filing system to the attorneys of record

       IS/MAURICE SYMONEITE
        MAURICE SYMONEITE
           15020 S. River Dr.
           Miami, fla. 33167
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 553 of
                                     597

                           CERTIFICATE OF SERVICE                                      Exhibit 75
           I HERE BY CERTIFY that on this 2nd day of Feb., 2024 a true and correct copy of the
    foregoing was provided via this Court's electronic filing system to the attorneys of record
    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 554 of
Filing# 190765395 E-Filed 01/29/2024 04:06:35597
                                              PM


                                                                   Exhibit 75     Exh.A pg.1
        IN THE CIRCUIT COURT OF THE
        ELEVENTH nJDICIAL CIRCUIT IN AND
        FOR MIAMI-DADE COUNTY, FLORIDA

        CASE NO.: 2021-CA-010826

        MAURICE SYMONETTE,

                 Plaintiff,
        V.

        U.S. BANK NATIONAL ASSOCIATION
        AS TRUSTEE FOR RASC 2005AHL3, et
        al. ,

            Defendant(s).
        _ _ _ _ _ __ _ _ _ _ _ _ _ _./

                        NOTICE OF SERVING ORDER GRANTING DEFENDANTS'
                         MOTION TO DISMISS THIRD AMENDED COMPLAINT

                Defendants, U.S. BANK NATIONAL ASSOCIATION AS TRUSTEE FOR RASC

        2005AHL3 ("U.S. Bank") and MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,

        INC. ("MERS") (collectively, "Defendants"), by and through its undersigned counsel, hereby

        gives Notice of Serving the attached Order Granting Defendants' Motion to Dismiss Third

        Amended Complaint.

                                       CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

        filed on January 29, 2024, with the Clerk of the Circuit Court using the Florida Courts e-filing

        eportal and served by an automatic email generated by the Florida Courts e-filing portal to:

        Jessica F. Watts, Esq., Quinn Legal, P.A., 19321 US Highway 19 N., Ste. 512, Clearwater, FL

        33764, eservice@quinnlegal.com and kmiller@quinnlegal.com. I also certify that, in accordance

        with Florida Rule of General Practice and Judicial Administration 2.516, the foregoing document

        is being served on all pro se parties identified below by U.S. Mail: Mr. Mack Wells, 15020 S.



        140383.06815/127862294v.1
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 555 of
                                     597


                                                                 Exhibit 75    Exh.A pg.2
    River Drive, Miami, FL 33167 and Mr. Maurice Symonette, 15020 S. River Drive, Miami, FL

    33167.


                                                  BLANK ROME LLP


                                                  100 S. Ashley Drive, Suite 600
                                                  Tampa, Florida 33602
                                                  Tampa, FL 33602
                                                  Telephone: 813-255-2324
                                                  Facsimile: 813-433-5352

                                                  Isl Michael R. Esposito
                                                  MICHAEL R. ESPOSITO
                                                  Florida Bar No. 37457
                                                  Michael.Esposito@BlankRome.com
                                                  NICOLE R. TOPPER
                                                  Florida Bar No. 558591
                                                  Nicole.Topper@BlankRome.com
                                                  Counsel for Defendants, US. BANK
                                                  NATIONAL ASSOCIATION AS TRUSTEE
                                                  FOR RASC 2005AHL3 and MORTGAGE
                                                  ELECTRONIC REGISTRATION SYSTEMS,
                                                  INC.




    140383.06815/ 127862294v.1
    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 556 of
Filing# 190138205 E-Filed 01/19/2024 03:26:38597
                                              PM

                                                                             Exhibit 75      Exh.A pg.3
        IN THE CffiCUIT COURT OF THE ELEVENTH JUDICIAL
        cmCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        CASE NO: 2021-010826-CA-01
        SECTION: CA15
        JUDGE: Jose Rodriguez

        MAURICE SYMONETTE
        Plaintiff(s)
        vs.

        U.S. BANK NATIONAL ASSOCIATION (TR) et al
        Defendant(s)

        - - -- - - -- -- - -I
           ORD ER GRANTING DEFENDANT'S MOTION TO DISMISS THIRD AMENDED
                                   COMPLAINT

                  TIDS CAUSE is before the Court on (1) Defendant's Motion to Dismiss Third
        Amended Complaint With Prejudice (" Defendants' Motion"). This Court having
        considered Defendant's Motion and being fully advised on the premises, hereby finds as follows:

               I. Dismissal with Prejudice

                  Dismissal with prejudice is a severe sanction. See Obenschain v. Williams, 750 So.
                  2d 771 , 772 (Fla. 1st DCA 2000). The trial court should grant such relief only when
                  the pleader has failed to state a cause of action and it conclusively appears that the
                  pleader cannot possibly amend the pleading to state a cause of action. Id. at 772-73.
                  A dismissal with prejudice can constitute an abuse of discretion where a party may
                  be able to plead additional facts to support its cause of action or support another
                  cause of action under a different legal theory. Id. at 773 (citing Kapley v. Borchers,
                  714 So. 2d 1217, 1218 (Fla. 2d DCA 1998)). Thus, the trial court should hesitate to
                  dismiss without giving the pleading party an opportunity to amend. See Kap/ey, 714
                  So. 2d at 1218.


       Florida Dep'tofRevenue ex rel. A.L. v. S.B., 124 So. 3d 377,378 (Fla. 2d DCA 2013).

              II. Analysis

                  This Court has provided the Plaintiff with three opportunities to file an amended complaint,
       to safeguard Plaintiffs procedural and substantive rights. Plaintiffs Third Amended Complaint is
        dismissed for failure to comply with the Court' s Order, entered on June 17, 2023, which


   Case No: 2021-010826-CA-01                                                                              Page 1 of2
 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 557 of
                                      597


                                                                             Exhibit 75   Exh.A pg.4
     specifically stated that Plaintiff had twenty (20) days to file his Third Amended Complaint.
     Plaintiff filed his Third Amended Complaint on July 19, 2023, past the twenty (20) days allowed by
     the Court. Therefore, this is sufficient to dismiss Plaintiffs Third Amended Complaint.

             Moreover, the Defendant has proffered proof that judgment has been entered in favor of
     U.S. Bank in the underlying foreclosure case. Furthermore, because the Plaintiff continues to
     allege conclusory facts, this Court reasonably concludes that the Plaintiff cannot allege additional
     facts to state a cause of action.



               WHEREFORE, it is ORDERED and ADJUDGED that DEFENDANT'S MOTION
     is GRANTED with prejudice.

     DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 19th day of January,
     2024.




                                                              2021-010826-CA-0l 01-19-2024 3:14 PM
                                                               Hon. Jose Rodriguez
                                                               CIRCUIT COURT JUDGE
                                                               Electronically Signed

    Electronically Served:
    Erin Mae Rose Quinn, kmiller@quinnlegal.com
    Erin Mae Rose Quinn, eservice@quinnlegal.com
    Jessica F. Watts, eservice@quinnlegal.com
    Jessica F. Watts, kmiller@quinnlegal.com
    Michael Esposito, MEsposito@BlankRome.com
    Michael Esposito, BRFLeservice@BlankRome.com
    Michael R Esposito, Michael.Esposito@BlankRome.com
    Michael R Esposito, BRFLeservice@blankrome.com
    Michael R Esposito, sol.cruz@blankrome.com
    Nicole Topper, NTopper@BlankRome.com
    Nicole Topper, BRFLeservice@blankrome.com
    Nicole Topper, sol.cruz@blankrome.com
    maurice symonette, BigBOSS 1043@yahoo.com



    Physically Served:



Case No: 2021-010826-CA-0l                                                                         Page 2 of2
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 558 of
                                       597
                                                    Exhibit 75    Exh.D.1 pg.1
     FORM6                                         FULL AND PUBLIC DISCLOSURE    Cl nDlnA     2021
                                                     OF FINANCIAL INTERESTS l-~OM-ffllfflEffl69LY:
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                                                                                                                       JUN 21 zon
        HON JOSE MANUEL RODRIGUEZ                               ,()
                                                                                                                       RECEIVED
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        Judicial Circuit (11Th)
        Elected Constitutional Officer                            1b
        DADE COUNTY COURTHOUSE
        73 WEST FLAGLER STREET RM. 405                                 ~                                ID CODE         II 11111 Ill~ EIE HII ~~I   IU
                                                                             ~
        MIAMI FL 33130
                                                                                                        !ONO.           24598


                                                                                  ~                     CONF. CODE

                                                                                                        Rodriguez, Jose Manuel
  CHECK JF THIS lSAFILING BY A CANDIDATE                 □


                                                                PART A- NET WORTH
 Please enter the value of your net worth as of December 31 , 2021 or a more current date. (Note: Net worth is not cal-
 culated by subtracting your reporled liabilities from your reported assets, so please see the instructions on page 3.]

            My net worth as of                    December 31              20 ..E._ was$ 1,045,191.00                                        .

                                                                  PART B - ASSETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
   Household goods and personal effects may be reported In a Jump sum If their aggregate value exceeds $1 ,000 . T his category includes any of the
   following, if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic items: art objects; household eciulpment and
  furnish ings; clothing; other household items; and vehicles for personal use, whether owned or leased.

    The aggregate valu e of my- household goods and personal· effects (described above) is$         JO,OOO.OO
 ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
               DESCRIPTION OF ASSET (specific description is require<! • see instructions p.4)                                   VALUE OF ASSET

Bank Account (Chase)                                                                                                       $ 68,190.00
City National Bank of Florida                                                                                              $ 25,000.00
Voya                                                                                                                       $392,610.00
**(Continued on a Separate Sheet)

                                                                PART C -- LIABILITIES
 LlABIUTIES IN EXCESS OF $1,000 (See Instructions on page 4):
                NAME AND ADDRESS OF CREDITOR                                                                                   AMOUNT OF LIABILITY

!Lexus Financial Services, P.O. Box 17187, Baltimore, MD 21297-0511                                                        $    7,425.00
Merce_des_B.enz Financial Servic.e.s, P.O. Box 5209, Carol Stream, IL. 60197                                               $. 928.0.0
United Wholesale Mortgage, P.O. Box 77404, Ewing, NJ 08628                                                                $280,454.00
**(Continued on a Separate Sheet)
 JOINT AND SEVERAL LIABIUTIES NOT REPORTED ABOVE:
              NAME AND ADDRESS OF CREDITOR                                                                                     AMOUNT Of LIABILITY




 CE FORM 6 • Effective June 2, 2022                                   (ConlinUed on reverse side}                                                PAGE1
 Incorporated by reference in Rule 34~.002(1 ), F.A.C.
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 559 of
                                       597
                                                                         PART D - INCOME                  Exhibit 75                 Exh.D.1 pg.2
 Identify each separate source and amount of income which exceeded $1,000 during the year, including secondary sources of income. Or attach a complete
 copy of your 2021 federal income tax return , including all W2s, schedules, and attachments. Please redact any social security or account numbers before
 attaching your returns, as the law requires these documents be posted to the Commission's website.

~ (IfI elect to file a copy of my 2021 federal income tax return and all W2's, schedules, and attachments.
        you check this box and attach a copy of your 2021 tax return, you need not complete the remainder of Part D.]

 PRIMARY SOURCES OF INCOME (See instructions on page 5) :
    NAME OF SOURCE OF INCOME EXCEEDING S1 000                                       ADDRESS OF SOURCE OF INCOME                                            AMOUNT




SECONDARY SOURCES OF INCOME [Major customers, clients, etc. , of businesses owned by reporting person-see Instructions on page 5):
              NAME OF                                NAME OF MAJOR SOURCES                         ADDRESS                                    PRINCIPAL BUSINESS
          BUS INESS ENTITY                             OF BUSINESS' INCOME                        OF SOURCE                                   ACTIVITY OF SOURCE




                                      PART E - INTERESTS IN SPECIFIED BUSINESSES flnstructions on page 6]
                                                   BUSINESS ENTITY # 1                    BUSINESS ENTITY # 2                        BUSINESS ENTITY # 3
NAME OF
BUSINESS ENTITY
ADDRESS OF
BUSINESS ENTITY
PRINCIPAL BUSINESS
ACTIVITY
POSITION HELD
WITH ENTITY
I OWN MORE THAN A 5%
INTEREST IN THE BUSINESS
NATURE OF MY
OWNERSHIP INTEREST

                                                                     PART F - TRAL"1'1lING
  This section applies only to officers required to complete annual ethics training pursuant to section 112.3142, F.S. [See instructions p. 6)
                              [a       I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                           STATE OF FLORIDA ,          ,
                                OATH                                       COUNTY OF     l,(_ ' ~ fVl t -       ~ "t..c~-<-..

                                                                                                    O online notarization, this I <s,;-~ day of
 I, the person whose name appears at .the                                     or to (or affirmed) and subscribed before me by means of
 beginning of this form, do depose on oath or affirmation                  ~ physical presence or
 and say that the information disclosed on this form                        'j'u,.,1e_              , 202-2- by :[os-e (YI . ~ De~yi j v (_)_.

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 and any attach          ts hereto is true, accurate,
 and complete.




                            ~1~ I
                                                                           (Signature of Notary Public-State orFlq ~~)--~~·---~~:~~~~~~
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                                                                                                                               Notary Public State or Florida
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 SlG~E OF REPORTlNrFFICIAL 0~7DATE
                                                                           Type of Identification Produced

If a certified public accounfant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepared th is form for you, he or
she must complete the following statement:
I,                                                           , prepared the CE Form 6 in accordance with Art. II, Sec. 8, Florida Constitution,
Section 112.3144, Florida Statutes, and the instructions to the form. Upon my reasonable knowledge and belief, the disclosure herein is true
and correct.


                            Signature                                                                                             Date
Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign the form under oath.

       IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                                          0
CE FORM 6 - Efleciive June 2, 2022                                                                                                                                 PAGE2
Incorporated by reference in Rule 34-8 .002(1), F.A.C.
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 560 of
                                       597

2022 Form 6 - Full and Public Disclosure of Financial Interests                              Exhibit 75         Exh.O2

                                                                                                   Filed with COE: 06/28/2023

Assets

Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1,000. This category
includes any of the following, if not held for investment purposes : jewelry; collections of stamps, guns, and numismatic items; art
objects; household equipment and furnishings; clothing; other household items; and vehicles for personal use, whether owned
or leased.

The aggregate value of my household goods and personal effect isS 30,000.00.


ASSETS INDIVIDUALLY VALUED AT OVER $1,000:

 Description of Asset                                          Value of Asset

 11124 SW 128th Court, Miami, FL 33186                         $ 750,000.00

Cape Coral Unit 51 BK 3729 PB 19/PG 4 Lots 42 & 43             $45,000.00
Anchorage Resort & Yacht Club Condominium - Timeshare-
                                                               $2,000.00
107800 Overseas Highway, Key Largo, FL 33037
 Bank Account (Chase)                                          $70,853.00

City National Bank of Florida                                  $24,874.00

Voya                                                           $ 321,128.00

IRA                                                            $17,838.00

Florida International University 401K                          $47,430.88




Printed from the Florida EFDMS System                                                                                    Page 2 of 5
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                                      597
                                                                                                                  Exhibit 75      Exh.D3 pg.1

     FORM6                                         FULL AND PUBLIC DISCLOSURE                                                                    2020
 Please print or type your nanM, mailing
 address, ageney name, and position below:
                                                  I OF FINANCIAL INTERESTS I                                                      -
                                                                                                                                FOR OFFICE USE ONLY:

   LAST NAME -         FtRST NAME -         MIDDLE NAME:
Rodriguez                              Jose                            Manuel
  MAILING ADDRESS:
Dade County Courthouse                                                                             ~
                                                                                                                             FLORIDA
                                                                                                                       COMMISSION ON ETHICS
73 West Flagler Street
  CITY ;
                                                                                                       ~                       JUL O7 2021
                                                         ZIP :         COUNTY:
Miami                                               33130              Miami Dade                      ?.
                                                                                                        ,,--                   RECEIVED
  NAME OF AGENCY :
11th Judicial Circuit                                                                                    CJ ~,,
  NAME OF OFFICE OR POSITION HELD OR SOUGHT :
                                                                                                          "1 ~
Circuit Judge
  CHECK IF THIS IS A FILING BY A CANDIDATE-                      □
                                                                                                               ;,.)   3-t+~~
                                                                     PART A- NET WORTH
 Please enter the value of your net worth as of December 31, 2020 or a more current date. [Note: Net worth is not cal-
 culated by subtracting your reported liabilities from your reported assets. so please see the instructions on page 3.]

            My net worth as of December 31
                                                                            .·20 -
                                                                                 20
                                                                                    - was$ 737,584.00
                                                                       PART B - ASSETS
 HOUSEHOLD GOODS AND PERSONAL EFFECTS:
   Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1 ,000. This category includes any of the
  folfo"ving, if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic Items; art objects; household equipment and
  furnishings; clothing: other household items; and vehicles for personal use. whether owned or leased.

    The aggregate value of my household goods and personal effects (described above) is S 30,000.00

 ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
                       DESCRIPTION OF ASSET (specific description is required• see instructions p.4)                                     VALUE OF ASSET

Bank Account (Chase)                                                                                                                  $ 55,729.00
City National Bank of Florida                                                                                                         $ 24,832 .00
Voya                                                                                                                                  $332,289.00
**(Continued on a Separate Sheet)

                                                                     PART C - LIABILITIES
 LIABJLITIES IN EXCESS OF $1,000 (See instructions on page 4):
                 NAME ANO ADDRESS OF CREDITOR                                                                                          AMOUNT OF LIABILITY

Lexus Financial Services, P.O. Box 17187, Baltimore, MD 21297-0511                                                                    $13,365.00
Mercedes Benz Financial Services, P.O. Box 5209, Carol Stream, IL 60197                                                               $ 6,496.00
Bank of America. P.O. Box 15026, Wilmington, DE 19850                                                                                 $ 3,583.00
**(Continued on a Separate Sheet)
JOINT ANO SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME ANO ADDRESS OF CREDITOR                                                                                              AMOUNT OF LIABILITY




 CE FORM 6 • Eftecfo,e January 1. 2021                                   iCOnt1nued oo reverse side)                                                 PAGE 1
 tnc0<poratec1 by rererence i,1 Rule 34-8.002(1). FAG.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 562 of
                                     597

                                                                            PART O - INCOME                   Exhibit 75                  Exh.D3 pg.2
 Jdentify each separate source and amount of income which exceeded $1 ,000 during the year. including secondary sources of income. Or attach a complete
 copy of-your 2020 federal income tax retuin, induding all W2s, schedules, and attacbments, Please re.dact any social se_
                                                                                                                        cu.rity or ac_CQunt nl!mber~ before
 atlaching your returns. as the law requires these documents be posted lo the Commission 's website.

 0         I elect to ftfe a copy of my 2020 federal income tax return and an wz·s, schedules. and attachments.
           [If you check this box and attach a copy of your 2020 tax return, you need not complete the remainder of Part 0 .)

 PRIMARY SOURCES OF INCOME (See instructions on page 5):
    NAME OF SOURCE OF INCOME EXCEEDING $1 ,000                                          ADDRESS OF SOURCE OF INCOME                                         AMOUNT




 SECONDARY SOURCES OF INCOME (MajOr customers, dients, etc,, of buSinesses owned by reporting person--see instructions on page 5l:
              NAME OF                                   NAME OF MAJOR SOURCES                          ADDRESS                                PRINCIPAL BUSINESS
           BUSINESS ENTITY                                OF BUSINESS' INCOME                         OF SOURCE                               ACTIVITY OF SOURCE




                                        PART E:- INTERESTS IN SPECIFIED BUSlNESS.ES !Instructions o.n pagt 61
                                                      BUSINESS ENTITY# 1                    BUSINESS ENTITY # 2                         BUSINESS ENTITY # 3
 NAME OF
 BUSINESS ENTITY
 ADDRESS OF
 BUSINESS ENTITY
 PRINCIPAL BUSINESS
 ACTIVITY
 POSITION HELO
 WITH ENTITY
 I OWN MORE THAN A 5%
 INTEREST IN THE BUSINESS
 NATURE OF MY
 OWNERSHIP INTEREST

                                                                            PART f' - TRAINING
  This section applies only to officers required to complete annual ethics training pursuant to section 112.3142, F.S. [See instructions p. 6)

                                IZ1       I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                               STATE OF FLORIDA
                                  OATH                                         COUNTY OF             t-,( I(,\ YVll ""DA-t>e
 I, the person v.11ose name appears at the                                           n to (or affirmed) and subscribed before me by means of
 beginning of this form. do depose on oath or affirmation                      ~ physical presence or   O online notarization, this ~ q-<"- day of
 and say that the information disclosed on this form                            -5   l),'\e,.            . 20 .).\     by   j"vse (Vt . f\.o& n;1 \.)~L-
 and any attachments hereto is true . accurate.
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0!f3NATURE OF REPrTING                     °Jli             OR CANDID.ATE
                                                                               Personalty Known

                                                                               Type of Identification Produced
                                                                                                                            --~~------~-------
ft a certified public accountant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepared this fonn for you, he or
she must comptete the following statement:

I.                                                            prepared. the Ci;. Fwm 6 in llccordance with Art. II . Sec. 8, Florida Constitution.
Section 112.3144, Florida Statutes. and the instructions to the form . Upon my reasonable knowledge and belief. the d isclosure herein Is true
and correct.


                             Signature                                                                                                Date
Preparation of this form by a CPA or attorney does not relieve the filer of the responsibility to sign the form under oath,

        ff AN\' OI•' PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE □
CE FORM 6 - Effective Jaoua,y 1. 2021                                                                                                                          PAGE2
lnco1porato<:1 by reference 111 Rule 34-8.002(1 ). F.A.C.
       Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 563 of
                                            597        Exh D4 pq 1       Exhibit 75
    FORM6                                  FULL AND PUBLIC DISCLOSURE                                                                   2019
Please print or type your name, malling
address, agency "ame, and po,;ition below:
                                                  I
                                             OF FINANCIAL INTERESTS
                                                                                                             I       FOR OFFl"CE USE· ONLY:

  LAST NAME - FIRST NAME - MIDDLE NAME:
Rodriguez                Jose               Manuel
                                                                                                                    J. 459?
  MAILING ADDRESS:
Dade County Courthouse                                                                                    PROCESSED
                                                                                                                FLORIDA
73 West Flagler Street,
                                                                                                          COMMIOOION ON ETHICS
  CITY:                                                  ZIP;         COUNTY;
Miami                                               33130             Miami-Dade                                 MAR 2 5 2020
  NAME OF AGENCY :
11th Judicial Circuit                                                                                        RECEIVED
  NAME OF OFFICE OR POSITION HELD OR SOUGHT :
Circuit Judge
  CHECK IF THIS IS A FILING BY A CANDIDATE                      ~

                                                                    PART A- NET WORTH
 Please enter the value of your net worth as of December 31, 2019 or a more current date. [Note: Net worth is not cal-
 culated by subtracting your reported liabilities from your reported assets, so please see the instructions on page 3.]

                                                   December 31                  20 19                 $592,413.00
            My net worth as of
                                                                            '      - - was$

                                                                      PART B -- ASSETS
 HOUSEHOLD GOODS ANO PERSONAL EFFECTS:
    Household goods and personal effects may be reported in a lump sum if their aggregate value exceeds $1,000. This category Includes any of the
    following, if not held for investment purposes: jewelry; collections of stamps, guns, and numismatic items; art objects: household equipment and
    furnishings; clothing: other household items; and vehicles for personal use, whether owned or leased.

    The aggregate value of rny household goods and personal effects (described above) is$ J0,000.00

 ASSETS INDIVIDUALLY VALUED AT OVER $1,000:
                       DESCRIPTION OF ASSET (specific description is required - see Instructions p.4)                           VALUE OF ASSET

Bank Account (Chase)                                                                                                       $ 50,148.00
City National Bank of Florida                                                                                              $ 24,793 .00
Voya                                                                                                                       $279,314.00
**(Continued on a Separate Sheet)

                                                                    PART C -- LIABILITJES
 LIABILITIES IN EXCESS OF $1,000 (See instructions on page 4):
                      NAME ANO ADDRESS OF CREDITOR                                                                          AMOUNT OF LIABILITY

Lexus Financial Services, P.O. Box 17187, Baltimore, MD 21297-051 l                                                        $16,830.00
Mercedes Benz Financial Services, P.O. Box 5209, Carol Stream, ll 60197                                                    $10,672.00
Bank of America, P.O. Box 15026, Wilmington, DE 19850                                                                      $ 6,587.00
**(Continued on a Separate Sheet)
JOINT AND SEVERAL LIABILITIES NOT REPORTED ABOVE:
             NAME AND ADDRESS OF CREDITOR                                                                                  AMOUNT OF LIABILITY




 CE FORM 6 • Effective January 1, 2020                                   {Conlmued on reveise side)                                         PAGE 1
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      Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 564 of
                                           597
                                                Exhibit 75  Exh D4 nn.2
                                                                            PART D - INCOME
 ldenlffy each separate source and amount of income which exceeded $1,000 during the year, induding secondary sources of income. Or attach a complete
 copy of your 2019 federal income tax return, including all W2s. schedul8S, and attachments. Please redact any social security or account numbers before
 attaching your returns. as the law requires these documents be posted to the Commission's website.

           I elect to fife a copy of my 2019 federal income ta)( return and all W2's. schedules, and attachments.
           [If you check this box and attach a copy of your 2019 tax return, you need not complete the remainder of Part D.]

 PRIMARY SOURCES OF INCOME (See instructions on page 5) :
    NAME OF SOURCE OF INCOME EXCEEDING $1 ,000                                              ADDRESS OF SOURCE OF INCOME                                               AMOUNT




 SECONDARY SOURCES OF INCOME [Major customers, clients, etc.. or businesses owned by reporting person--see Instructions on page 5):
              NAME OF                                    NAME OF MAJOR SOURCES                                ADDRESS                                  PRINCIPAL BUSINESS
           BUSINESS ENTITY                                 OF BUSINESS' INCOME                               OF SOURCE                                 ACTIVITY OF SOURCE




                                           PART E -- INTERESTS IN SPECIFIED BUSINESSES IInstructions on page 61
                                                   BUSINESS ENTITY # 1                           BUSINESS ENTITY# 2                             BUSINESS ENTITY# 3
 NAME OF
 BUSlNESS ENTITY
 ADDRESS OF
 BUSINESS ENTITY
 PRINCIPAL BUSINESS
 ACTIVITY
 POSITION HELD
 WlTH ENTITY
 I OWN MORE THAN A 5%
 INTEREST IN THE BUSINESS
 NATURE OF MY
 OWNERSHIP INTEREST

                                                                            PART F - TRAINING
                           For officers required to complete annual ethics training pursuant to section 112.3142, F.S.
                                     @     I CERTIFY THAT I HAVE COMPLETED THE REQUIRED TRAINING.
                                                                                  STATE OF FLORIDA
                                     OATH                                         COUNTY OF           M \ A-Ml .D Alf
  I, the person whose name appears at the                                         ~ to (or affirmed) and subscribed before me by means of

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                                                                                  Type of Identification Produced ......:F:...;..J..__:..,..,
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If a certified public ·'ccountant licensed under Chapter 473, or attorney in good standing with the Florida Bar prepared this form for you , he. or.
she must complete the following statement
I, _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ , prepared the CE Form 6 in accordance wilh Art. II, Sec. 8, Florida Constitution,
Section 112.3144, Florida Statutes, and the instructions to the form . Upon my re asonable knowledge and belief, the disclosure herein is true
and correct.


                                Signature                                                                                                     Date
Preparation of this form by a CPA or attorney docs not rclic"c the filer of tltc responsibiJity to sign the form under oath.
       IF ANY OF PARTS A THROUGH E ARE CONTINUED ON A SEPARATE SHEET, PLEASE CHECK HERE                                                                                   Iii
CE FORM 6 • Effective January 1. 2020                                                                                                                                        PAGE 2
lncorporaled by reference ,n Rule 34 -8.002(1). F.A.C.
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 565 of
                                     597
    /
                               mencan an           o Ir•«;i company       s
                              t;i1inne-al"'..o1is, MmPesota, and incorpora&d          ""°
                             DeiaV1;ar•'. :i It is the parent comp~ny of U.S.
                             Bank National Association, which fs the 5th
                                          ,. rt the tjri.ed Stat'l!•s. The
                             largest b an,.. r                             t
                                       -.vk:fes btnking, imrestmen ,
                            • company P•v                      •
                             mortgaga, trust, and payment StNlCeS
                             products to individuals, businesses,
                             go\fernmentat entities, and ~ther financial
                             institutions. It has 3,106 r,;r ches and 4,841
                             ATMs, primarily rn the Midwestern un;re-:,
                             States/ 1and has approximately 72,400
                             employees.:::: The company also owns Eli-i~on,
                            a processor of credit card transactions. U.S.
                            Bancorp ope.-ates under the second-oldest
                            continuous national charter: originally Charter
                            #24, granted in 1863 fo!fowing the passage of

                                                                    -
                            the Nationa: Betnk Act. Earlier charters have
                            expired as banks were closed or acquired,
                            raising U.S. Bank's charter number from                    to
                            #2. The oldest national charter, originaUy
                           _granted to the Fir:,t r-.Jationai Ba~k ot
                            Ph!~c1~;p:•i~, is herd by Wells f: ;irg;:;, whici·, it
                            obtained           upon its merger with 1Nachovia.• -~1
                                 ......_...... ........-.__________ _




                                                 U.S. Bancorp


                                      r?mt,ancorp .                                         ...
 Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 566 of
                                      597


                                            Exh. 75 Exh.E2
Voya VARIABLE FUND~ Buys
PNC Financial Services Group
Inc, McDonald's Corp, Baxter ...
insider
De ern be r 2S, 2 2 1 - 6 n I n . ea C!


In this article:


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Investment company /oya VARIABLE FlJNDS
(Current Portfolio) buys PNC Financial Services
Group Inc, McDonald's Corp, Baxter
International Inc, ViacomCBS Inc, Bank of •
America Corp, sells Fiserv Inc, Citigroup Inc,
Activision Blizzard Inc,              ITT. Bancorp, /1> U6~), /}wk
                                                               f)~J..      }1.,
Constellation Brands Inc during the 3-months 4:t J
ended 2021Q3, according to the most recent
,. ...                           .. .
     Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 567 of
7                                         597

    Business

    U.S. Bank EntersE<SO-
    brand Agreement With
    BMW to Issue New Cards
    With Enhanced Digital
    Experiences, Greater
    Value to Customers
    July 22, 2019, 11:00 AM EDT

      U.S. Bank Enters Co-brand Agree ment With BMW
    to Issue New Cards With
      Enhanced Digital Exper_i ences, Greater Value
    to Customers

    Business Wire

    MINNEAPOLIS -- Ju l y 22 , 201 9

    U.S. Bank, the fifth-largest bank in the
    United States, has entered into a
    co-brand agreement with BMW Fin ancial Services
    NA, LLC to issue credit cards
    that will deliver enhanced digital experiences
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 568 of
                                       597


     0,     US Bank owns bmw financial service                                 X
                                                           •           Exhibit 75

 All      News             Maps      Images           Videos          Shoppin~
 -
       http://www.ctvalley.org > bmw-fin a...                                           ••


  MW Financial Services, NA Enters into
 Co-Brand Agreement with US Bank to ...
 BMW Financial Services NA, LLC announced today a co-
, brand agreement witll U.S. Bank to offer new credit
 cards featuring an enhanced digital experience and ...
~            ------------- ~
 Boothe Memorial Park ...
 Su . May 15
                                                                                    >

                                                                                        ••
               also ask                                                                 •



 Who is BMW finance))                                                               V

                 ___   /
 Which bahk is BMW Financial Serv1~c-.                                              V
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 569 of
                                     597




                                                                                                                         Exhibit. 7
       . . , FORM6   FULLA."D
             .________ __     PUBLIC DISCLOSURE
                                              - -OF
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    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 570 of
                                         597


         FORM6                                             FULL AND PUBLJC DISCLOSURE OF
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                                                                                                                                                                             FOR OFACE
                                                                                                                                                                             USE            ONLY·



              II
              Hon Valene R Manno Schurr
              Circuit Judge
                                                                                                                PROCESSE                                                                               !O Code



              Judicial Circuit (11Th)
              Elected Constitutronal Officer
                                                                                                                                                                                                       IDNo


                                                                                                                                                                                                                                               210380
              73 W FLAGLER ST DADE COUNTY COURTHOSUE RM
              11 05
              MIAM I. FL 33130                                                                                                                                                                         ?. Reo Cooe


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                                                                                                           PART A - 'IET WORT H
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   oa!:),.i.,~ It:)(!'! 10L1 ·-      ./!d assets. so ;.;le.ase see the rftSln,r!lcrui 0" pa;it> :; .

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                   se"OW ,te."n'S. ;;:.-id •ehid.?.s fer pef5onal li3e




  ASSETS IHPI\/IDUALl 'r VALUED AT OVER S1.0-00:
                 DESCRIPTION OF ASSET (specific dHcriptlO!l la ,...Qi.lir1KI - see lnatruct!Qns p.4)                                                                                                                                       VAL UE OF ASSl:T



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 ll.481UnES IN EXCESS OF $1 ,000:
                          NAME AHO ADDRESS OF                                                                                                                                                                                         AMOUNT OF UA81LJTY
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JOiNi AN O SEVERAL UAS!LITIES NOT RE'PORTE0 A80Vc :
              NAME AN O AOORESS OF CRED4TOR
                                                                                                                                                                                                                                      AMOUNT OF LiA81LlTY
 ~Ll"t':,_ _ _ __                                          _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                                                           --1--- -- - J


CE FORM o . E lf •·;r,rn
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   Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 571 of
                                        597




                                                                         Exhibit. 75 Exh.G
                                                                  0 Tl-i i:. ClRCUT COliRT Of THE
                                                                  : : - Ji_. DICL.\L CfR(TIT rN -~"-"'D
                                                                   FOR 0.-\DE COi..:--TY. FLORIDA

                                                                GE~ER.-\.L JL'RIS:D!CTTO" Dl\ilSIOS



                                                                    April 1.20 l 1)
              i ·s Bank ..:'\/.A.
                    P:eintifflsl




              Leroy Williams
                     Defendanll5)


                         ORDER Qf..OJS\1iSSAl \.\1TH PREJCDICE

                 Tnis action w3.S ht:.ard on the defendants motion to dismiss tor lack of prosecution
               Served 0n Ap-ril 11.2008 . Th;;: court finds that I I) notice prescribed by rule 1.40 (e)
               Was served on .-\pril 11.2008: t2 ) their 1,.vas no record acti,..ity for the ye3f preceding
               Service of the foregoing notice: t3 l n-0 stay has be..:n issued or approYed b; ih~ court
               And {4 J no part: has sho\rn iood callii~ why this action should rem.air. pending.
                Accordingly.
                IT lS ORDERED That thi- action i::; Di ·missed fo r lack of ProSccuijon v. ith Prejudice
                DONE A~D ORDERED in t:harnbers. at :--.tiami. dade county. Florida 1his 31 th day of

                 \11arch. 20i0.

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                                                                               ClRtlJlT COLlR T JLi5GE

                                                                                             VALERIE rJANNO SCHURR
                                                                                             CfRCUM° COlJRT JUOGE




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Bk 27244 Pg 4193 CFN 20100237159 04i09/2010 12.47 :17 Pg 1 of 1 ~Aia-Dade Cty. FL
  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 572 of
                                       597




                                                                                       Exhibit. 75 Exh.H
                      , ..... THE CIR l JT cot. R T Q f nu: ElE\'E'.'i TH Jl D!CHL CJRCUT                             •
                                   I ' A ' D fOR '11 . :",11-D.-'D E COL"'iTY. FlORlDA
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            l S- B-\ ,~. , ..>, ..
                      Plamnff.

                                            CASE ~O.             ZOO'?- J2407-CA
                                            DJ\'ISIO."i          32




            LEROY WILLIA~1S; MARK WELLS; FR4-~KLJ~
            CREDIT MANAGEME~T CORPORATION; CITY
            OF ~ORTH MlAMl;
                                Defendant(s).                                                                                                     ---
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             Fll'iAL ORDER ~IS~C.t.SE . C.-\:--s:J.:4.'\G FORECLOSCR E SM&, CA/"tCfU:'jG ~T~                                                      or.
                  US PFNQE:NS. A.'\D SETil",C :\'-IDE FIS ~l,..Sll'.\f~1AR, Jt:OO~tENT ,\,"liD SWJ£[_qfq1i<;
                                                  PHOTOSTATIC co1m:s




                    ORDERED ASD .i..D.: L'DGL:D as follows .

                     l.        The case be and the same hereby is dismissed. buc \Hth,1ut ;:reJi..c.c~ :; ::.~c :'u:t:re rights ,;if the Plai nt ifftc

            bring an action to ~brec!ose ihe morrgage which is tile subJect rnaner of the ,nstant ~3u,e

                      ~        .--\ll Counts vf ,hc Complaint against Defond:u1!s: LEKC·Y \q~ LP.~tS . \f.--\RK WELLS:




                    3.         An) scheduled tortcl0sure sat:: 1s .:anceled.




                                                                                          Sena!· 13666522
            FILE_NUMBER F07012146                                                         ooc_m· Mo~oso2




Bk 27343 Pg 949 CFN 20100451678 07/06/2010 15:32 :32 Pg 1 of 3 Mia-Dade Cty. FL
        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 573 of
                                             597




                       -l.                  .       .                      . ...                      E~hibit. :.75 Exh.H pg.2
                                    The !'.otice of Lis Pendens filed by Ptainnff Jnd recorded m the pub he records of 1\'IJA.\IJ.QADE

               CoUil~. Florida. regarding the be!ow-descnbed property ·

                                     LOT 105, BISC.~ YNE GARDE~S SECTION F PART l. AC'CORDlNG TO
                                     THE ?LAT THEREOF, AS RECORDED lN PLAT BOOK -lJ. PAGE-l6. OF
                                     THE PUBLIC RECORDS OF MIA.\11-DADE COL ~TY. FLORlDA.


              b.e and same hcreti~ ts canceled. vacated. discharged and shall be of no fur.her fo:ce or effi:ct. and the Cler~ i5 he.reb:,

              directed to record this Order to reflect same.

                       5        The final Summar: Judgmem heretofore entered ,.;,n Au~ust 09. .:!Ot)~. be and the sarne r.ere!,y is set

              aside and shall be of no fun her force or effect

                       6.       The Plaintiff requests that the original t-:ote and Mortgage be returned to t.he Plair.riff ar.d

              photostatic copies shall be substimred in their piace.

                      DO~E AND ORDERED in Chamb~rs in \!JA.\fi -DADE C unr:- . F!onda. :his _                               _ _ da} of

              _ _ __ _ _ _ _ __ .1010




                             JUN 2 3 2010
             Copie-!> r ·ml.Siled to:
             Florida Derault Law Grouo. P.L                                                                  ~RIE MANNO SCHURR
             P.O. Box :!5018             •                                                                   ClRCUIT C-OURT JUDGE
             Tampa. Florida 33622-50 i 8
             All parties on the anached service lis t
             Fo~o1::1~g -M0l0.501
             G~UC-<:"ONV--aimen




Bk 27343 Pg 950 CFN 20100451678 07/06/2010 15.32:32 Pg 2 of 3 Mia-Dade Cty, FL
    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 574 of
  OCS Search
                                         597



                           MIAMI-DADE COUNTY CLERK OF THE Exhibit. 75 Exh.Jpgl                                   ~Us           MY~~
                           COURTS
                           HARVEY RUVIN

     CIVIL, FAMILY AND PROBATE COURTS ONLINE SYSTEM


         US BANK {NA) VS WILLIAMS, LEROY


                 Local Case Number:       2007-012407-CA-01                        Filing Date:   04/ 26/ 2007


                 State Case Number:       132007CA012407000001              Judicial Section:     CA32

              Consolidated Case No.:      N/A                                      Case Type:     z DO NOT USE - Legacy Mortgage Foreclosure

                         Case Status:     CLOSED




        itrPar ties
                                                                                                                             Total Of Parties: 5    +
        ~ Hearing Details                                                                                                                              •
                                                                                                                            Total Of Hearings: 0    'i"


        ~ Dockets
                                                                                                                           Total 01 Dockets : 52   -
        .,.

                                                                          Event
                 Number      Dat e          Book/Page    Docket Entr y    Type           Comments

                             02i04/2022                  Receipt :        Event          RECEIPT#: 2410006 AMT PAI0:$6.00 COMMENT:
                                                                                         ALLOCATION CODE QU ANTITY UNIT AMOUNT 3120-CORY 4
                                                                                         $1,00 S4 .00 312 1-CER IFIED 1 S2.00 $2.00 TENDEfl
                                                                                         TYPE:CA SH TENDER AM T:$10.00 TENDER TY PE:CHANGE
                                                                                         TENDER AMT:($4 .00) RECE IPT DATE:02/04/2022
                                                                                         REGISTER #:241 CASHI ER:DINGUIB

                             01/23/2015                  Copy oi:         Event          OF ORDER OF DISMISS AL



                            04/04/2014                   Text             Event         FINAL JUDGMENT OF FORECLOSURE



                            04/07/2011                  Letter of         Even t        FROM MACK L WELLS
                                                        Correspondence

                            11/0.1/2010                 I\Jo i=urther     Event         ORDER FILED IN CASE# 00 -8186 CA01 ANO IN SHARE DRIVE
                                                        Judicial Action




ht tps://www2. miami-dadecle rk .com/ocs/Search. asox                                                                                              Page
 ;,;

        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 575 of
OCS Search                                   597

                                10/1 /2010                       Motion:              Event    TO VACATE LAST ORDER & REl"AIN ORIG.ORDER
         ,,
       , .,.,.
                                09/28/2010                       Moti>Jnto            Event                                     Exhjbit 75
                                                                 vacate
                                                                 Di!;missal
                                                                                                                                ·.Exh.J pg.2
                                                                                                                   •
                                                                 Tex                  Event    ~ ETD ORIGIN,;L N'OTE.ANO' MORTGAGE.
                                08/06/2010

                                                  2 734 3:0949   Court Order          Event    8: 27343 P: 0949 VAC AT ING, D!SMIS.S!N.G,CXI.
                                06/25/2010
            In                                                   (Recordable)                  SALE,RELEASE LIS PENDENS, ETC ..


                                 06(20/2010                      Mo ic;i:             Event    ATY :0007l675 TO DISMISS CA SE,CANCl:L.FORECLOSURE
                                                                                               SALE,ETC.


                                 06/18/2010                      Final Disposition    Event
                                                                 Documer,t


                                04/07/201 0       27244:4193     Court Order          Event    B: 27244 P: 4193 or- DISMISSAL
                                                                 ( Recordable t


                                 04/07/2009                      Text.                Event    DISMISS FOR I.ACK OF PROSECUTION W!TH PREJU DICE


                                 09/09/2008                      Objection:           Event    TO WRITTEN DISCOVERY.MTN TO ST RIKE OR, .. ETC


                                09/09/2008                       No tice:             Event    THAT PLTFF HAS RESPONrlED 1'0 OEFENDANT, .. ETC
                 J-1e,
                                08!15/2008                       Letter of            Event    FROM MACK WELLS TO DISMISS FR LACK OF PROSECU TION
                                                                 Correspondence


                                08/15/2008                       Letter of            Event    FROM MACK WELLS TO DISMISS FOR LACK OF PROSECUTION
                                                                 Correspondence


                                09/17/2007        25944:0542     Court Order          Event    8: 25 944 P: 0542 CANC ELING FORECLO SURE SALE
            Ii                                                   (Recordable)


                                09/14/2007                       Proof of             Evem     PUB DATE :08/31/2007
                                                                 Pub lication


                                09/14/2007                       Proot of             Event    PUB DATE :
                                                                 Pu blication


                                09/12/2007                       Motion:              Event    TO CANCEL FORECLOSURE SALE


                                09/10/2007                       Motion:              Even t   AT Y:88888 88 8 SET ASIDE fJUD ANO RECON SIDER STAY


                                09/10/2007                       Tex1                 Event    SSO FEE PD/RCPT 14518 4


                                0 8/ 30/i007                     Notice of Sale       Evem


                                08/ 24/2007                                           Event    WRITTE N REQ UEST, OISPU T VALI DITY OF AL LEGED LOAN

                                08/14/2007                       Certifica te Of      Event
                                                                 Mailing Final
                                                                 .)t.1dgment


                                08/13/2007                       No tice of Filing:   Event    AF!'IDAVI T OF AMO UNTS LJUE AND OWING

                                08/13/2007                       Notice of Filing:    Event    ORIGINAL MORTGAGE ANO ORI GIN AL NOTE


                                08/13/2007                       Text                 Event    FINAL DISPOSIT ION FORM


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 576 of
                                     597




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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 577 of
                                     597




                                                                                                    Exhibit 75                     EXH .P PG.1
               Cti.se l.li-)-cv-222.ll•i"lP _; De>rumem 5 t:ritered on f-LS D Docket M /24/nW ? · ,_,<'                                           ~•t 8



                                                  UNHl~ D ST ,HES; ISTRIC l' CO 1RT
                                                 J l!TH :11 • m STrU(T Of F ·,oRIL


                 CARL ERiCK.::iO'.'l.
                                            Plaintiff,
                 If.


                 R.ALPH W. CONFR£D A. m..
                 ·is   BANK 1'1f\. TTON A t.
                 JP MORO Al< CH.-:,SE B." 'K
                 CARL A LL'BET~Jr. Y
                 .".LAi' ' WAScRSTEIN
                 t;.E'iNE1HEl<!C- RENT
                 TER.RA,"-'C • \:i A iDERS0N "' ?l .
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                 tbi, .M otion for R<!l ic.·f 'v. R ;us.:;l :lt!d S11pponing M emorn11durn rf.-g_.:1 ,iing ttr,.- j rr,,. 26' ', Zill6
                 Ju,h,e Danfo Gaylt•s :-ma sr:-mu.: revic,._, of the r,;00rd ('J)d Dis,ri.i~al Ord,~ [D,1~urne.1~ ir4 . 11 std
                 en ,/1.e foHl:1vi-i1,g facts .. nr,v. ;nfor ,i:11ior.. . j us: iP.ri?l:-.. 1udi;:-iaf mi~conduct. frau.-:i11'.e-r,1. !,'TOIJ ·ds :mo
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                  iscovem! o;on!1ict of pe;'!',)llill i 1 :estmcm itrcerests en Fina.r.c~ai Disdosure, of jurlg:s rend.
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                 l\ccqunt Pa::,-e 4- . .F'RS 2f;l8 T;:t-k:; 'P 3. SEC Fi:ing,:-lJS Grni-- Hori:la Su~- ;,i<lia, i•!~- ():,,yk ;
                 Fin~n.;ial 1nt..trt!sts 0:.. Pr.Jpr:r-y [)::.d t~n:c:s)
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                       i.     On June<;~. ZC ) S. Pl"im iff Cad Erickson fi led a c-i·.'il u. ·or. Com'>la!l:• iI) D Jm!r,t /1 l;
                c i.u1g Fra d C'lUSe.s of ctiOl! TO, vic,.'a(i(ll)S ot' Fedfral tol't ln'i' ban}.ing re.•! \!$lZ,!(: t •.u1-rtv
                 .::sSet::. 1-c.guJation viol~t ion',j end ra~ket~erl n.~ £a111tes.
                       -: The Complainr w;;~, based upon prec-:rTem'-LISDGTe!?.t~,J filings ,.:c.epteri b;, r.on IJiu~ed
                                                      -- .... .   .-

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                em~tlii ! . r::fl~, ;md (3~ a dem.er:C !"-Ci'thc rc~ief sJu( 1t under F:::i. R. Ci (, _P. 8
                             On J,.1nc 2 ·=1 7-0 1K .h,dgt 0.1:,-fe~ !~ \.{~-d ~md Disn1Liisal C)r~r .?. ~va .y •._,;. ;e rt.vi . t of the
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 578 of
                                     597




                                                                                                              Exhibi1 75                       E H.             t G2
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                 indudin U S. Bank ancl ; /> 'lo 1,•w1 Chase.
                       4.     Plaintiff Erickson has no                    sul,~-~<tuemly ,:mvided 11c Ur,ited St.,li:s D , .,art -tern of
                 Ju~tice (USDOJ; specific newly discove-ed wlri,tll!bJc.wcr 1·1forma1ion aod d~· Jed re_c.:,td$
                 regt.r .ing hundreds of millions of dollars tn cxpo~ed lhiudu!er,t foredo me ·lr.irns mad ·, by the
                 Defend~nts aml Court oflicer i tills actio11.
                                                                      ME ·: DRANO M OF LAW
                       The Platntil m, irnains timely "on5!1tmiona1 due prnc t>,55 civil rights for                                        Hi~ 6) Rcli :t 19
                 reopen this sc( 11 f r fraud and '.!m I d ' rl e compl:iint to include •hi~ n_c, ,v n:..teriai foct
                 u fonnatio. and rq uire Judge Gayles recusal base{] on •:xposed fi11a.ncia1 cc,;!li\t~ o~· i,1t ,erts.
                FRCP R11/e 6{) -- Re!i,·tfmm c; J11rlgmenf or (}rd.-r

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                lh~ ,:our/ ,uay n414'l'f! n par~\· t,r it. It.gal l't:prt:!.\ent,uTl-·c fro111 nJ nal jua~"JrfJ1en1. ,,,,.Jer, nr
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                 Case 1:lB-cv-22211-DPG Document 5 Entered on FLSO Docket 06/24f20l9 Paqe 3 of a




                   Sf8Hlt{,rily prescribed criteria can be sltovrn to cc:i : in facr : even if no motion o~affidavit seeking
                  such relief has heen filed. and regardless o whether a reasonabl person v,ould q<1 tion the
                  judge's irnpani:11ity.
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                                                             ('(lNCLUSJONS

                        This Motion for Relief ond Recusnl is based 011 wholly o.-,w facts . rdm<.'<l wh,~tle 'Jk>vrer
                  mfonnation, wiiiful b!indn ss, fraud, inisconducl, and di cover .:f evi ence unkr.ow11 :lt tl>c: time
                  of the original Complaint filing Plaintiff could not easonabl::,,: 1now the: fin nci~' drnlint-s w,a,
                  Defendants 0 f ~ yet ro t:e assigned judge befor th<! original Complair:t fi lin_g As i;rr , iously
                  displayed by his .mu sprmtr Dismi sal Order. due to cited imµro r~r financial c,)ntl1m ofiNere.st,
                  Judge Gayles is incapable co proceed impartially and without animus against Pr,•-Se P!a'1 ti t 0r
                  further exercise unbiased ji1dic:al duties rcQuired for due process . usti e in rbis c:1,r..

                        .Tudge Gaylt:3 has creditoi !oan history wi,h Defendant .l P Morgnn Chi,:,e th«t -~u ed
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                  Defcndanr~ U S Bank ruid J.P J\.!0rgni Chase that will ht: st1bs1e.ntially n gat: :d • d' tcd by
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                                                  RE UJRED RELIEF
                       Pursuani 10 Federal Ru!.-,s of Civil Procedure Rule 60. Plaintiff requ11es Relief from the
                 June 26"', 2018 Dismissal Order (Document #4) baseu upGr the slated far.1--. jU,,t terms, cited
                 miscondu c\. Rule 60 grou.'1d5 and newly ciist:0Vel'ed banking n,al e,;t~e fraud b \ coJ.rt otticer.,.
                       Said Reopening Relief wouid require-the 1ecusa! of Judge Gayles from •his 1-.n-d a.iy- future
                 related US. Bank and JP l'vlorgan Chase banking real estatc- fraud :ise.~ in thi$ Oistiicr The
                 Dismissal Order Relief also requires tlia1 a!! oarties bt: reinswted to .heir pri nr posj,jo,:; in this
                ac:ion requiring Clerk issuan~e of Summons up,)o the Defendants u1 • alk,w l1·: fil:11,g of a
                Motion to Amend tl i: Compiaint for cause, grounds and reason; srated h~reiP.


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                  Case l:18-cv-22211-DPG Document 5 Entered on FLSD Dccl<et 06/24/2019 PaHe 8 of 8




                      Complaint - Department of Justice


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                      Montgomery Streot Frcnt ... Virginia, and the District of Columbia by and through their
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              Home ( Miami, Florida)                                                                                                                                                      S565.000
             Bank Account                                                                                                                                                                j$11,000
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             Wells Fargo Mortgage (Mortgage) Atlan,a Georgia                                                                                                                              S416,000
             TCF Bank (second Mortgage ) Wayzata , M•nnesota                                                                                                                              S53.000
             American Educational Services (student loan} Harrisburgh. Penn!.ylvarn a                                                                                                     $49.000
             Toyota Camry Miami , Fionoa                                                                                                                                                  $26,000
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 586 of
       I"""_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _....;,>-- -597
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  Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 587 of
                                                 597
filiJio # I 24036?0 E-f iled 01/21 /2022 11:·_2:4 1 AM



        lN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL                                 Exhibit
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        CIRCU T l l A1 D FOR Ml1- Ml-D DECOU , TY, FLORIDA
                                                                                      EXH.R
        CASE N O: 202 1-010826-CA-0I
        SECTION: CA25
        JU DGE: Y.alerie R. Manno Schurr

        MAURJCE SYM ONETTE
        Plaintiff(s)

        vs.

        U.S. BANK NATIOJ\"A.L ASSOCIATION (TR) et al
        Defendant{.")



                                                ORDER OF RECUSAL

                THJS CAUSE, came before the Cou11 sua sponre, an d th e Court being fully adv ised in the
        premises, it is hereby:


                ORDERED A: fD ADJUDGED

              I. That the unders ign ed Circuit Court Judge hereby recuses hcrsel f fro m farther consideration
                of this case.
              2. This case shall be reass igned to.another section of the Circuit Civi l Division i11 accordance
                with established procedures.

        DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 21st day of
        January. ?022 .



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                                                                  2021 -01 0876-CA-0I01-71-2022I1 :24 AM
                                                                        Hon . Valerie R. Maiino Sci u rr

                                                                        CIRCUIT COl!RT .llJDGE
                                                                        Electronically Signed




  Case No: 2021-010816-CA-01                                                                                 Pagel of2
Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 588 of
                                     597




                                                                                    Exhibit 75
                                      A fidavit


                I MACK WELLS SWEAR THAT THIS IS A MOTION AND AFFIDAVIT

              FOR RELIEF, RECU SAL, VACATIONS OF ORDERS AND MEMORANDU M

              OF LAW At JD I AM A WITINESS THESE EXHIBITIS A THROUGH Z6, All

              ARE TRUE COPIES OF EXHIBITS AND YOUR MOTION FOR RECUSAL OF

         - --7 UDGE- SAMANTHA COHEN ..- - - -




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                                                               MACK WELLS

                                                             15020 $. RIVER DR.

                                                              M IAMI, FLA. 3316 7




    ::£Jy:He ~                     NOTARIZED THIS LETTER O N BEHALF OF M ACK W EL LS JR .

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         Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 589 of
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~ 1!'RESIDENT RUMP GETS ADOCTORATE DEGREE FR                                                                                                                                                                                                  I\MERICAN GALAAWARDEVH TSE
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    Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 590 of
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          RASC '.i.G05AHL3                                             ELEVENTH JUD!CIAL ClRCUTT
                                                                       ft 1 AND ~QR .MIAMI
          Plainfi ,                                                      ADE COUNTY, FLORIDA
          vs.
                                                                       CIRCUIT ,IVIL DI lSION
          Leroy Williams; Unknown Spom,e of L°'-ov
          Williams; James Litil~iohn alk/a Jam.es L_-Jt-tlin, Case No. 2010-61928-CA OJ
          James; lJnknown Spouse of James Littlejohn A ,A
          James L. Joiin; Hoke Williams; Unknown Spouse- of
                                                                                                             . . . ...
          Hoke Williams; Me k 1/ell ; Unkno vn Spouse o .
          Mack Wells; Curtis McNeil; Unknown Spouse of                                                       -
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          Cnrtis McNeil; Symonette Limited rartnership;                                                     c-:
          Deu ·che Bank Natlonul Trust Company, as Trustee                                    -- '          \.0
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          for "rankli Credit Trust Series I; Miami-Dade
          County, Florida; StJte • f :· orid Department of
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                                                                                   c._.,1 '""'"" ... ..
          R.evr.nue; Unifund Cr'.R Pa.'iner~, G.P., Suntrust                             ,...: - '
                                                                                         . - ,'
          Bank; Ci y ofNort 1'4ia.mi, Florida and Tenant #1                                         \'




           efendants.
                                                          - -- I
                                      FINAL ,JUDGMENT OF .FORECLOSURE

                TH!S ACTION was hea;d before the Court on Plruntiff s Final fodg1n .nt on Tovembcr
          19, 2017 on . On the evidence pre~ented, IT "IS ORDERED AND ADJUDGED that lain iff'f-
          Final Judgmen is GR.\.NTED agai..'1St all Defendants liste' y name: Leroy Villiams; Unknown
          Sp use fL eroy Williams; Jam•"' Little_" ohn a/k/a James L. Jolin, Jame~:; Unkr.own Spo se of
          James Littlej-3bn AKA James L. Jolin; Hoke Williams~Unknown Spouse of Ho e ' Hiillms;
          Mack Wells; Unknov.n Spouse of Mack Wells; Curtis McNei); Unkoown Sp use ofC • i
          McNeil ; Symonette Lim ited Partnership; Deutsche Bank l-latiooal Trus Company, as TrPst~e for
          F • nlr 1in r r,:qit Trust Ser·es I; Miami-Dade County, Florida; ... tate of Florida, Dep· me t of
          Revenue; Unifond CCR P~rt e , G.P.; S1mtrust Bank; City ,,[ North Miami, fl 1tda:

                  Amount~ LJil ~ and O fng. Plaintiff is due.:

                Principal due 0ri the nc1c , i;cm(; by th • mongagi:- r ,n-,r. osed:            M 8,000.0U
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I               Late Chw-ie:;                                                                        : i., 7.2;
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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 591 of
                                     597



                                                                             ~}' 1.f:ri 75      Ii..,'
                                                                                          •i
           P1ior Servicer Escrow Ad.van~c                                                      $16(,443.~
           Taxes 2013                                                                            $ ,909,19
           Taxes 2014                                                                            $6,901.04
           Taxes 201 5                                                                           $7,488. 4
           Taxes 2016                                                                            $7,534.96
           Flood Insurance 20                                                                    $2,30 t.75         "
           F ood Insurai1ce 2015                                                                 $6,085.68
            lood isurwct 2016                                                                     '6,02 1,27
           Flood Insi1rance20l 7                                                                 $1 ,500.00
           Hazard Insurance 2014                                                                   6,352.83
           Hazard insurance 20 l 5                                                               ~ 6,146.00

           Hazard Insurance 2016                                                                 $6,262.00
           Hazard Insurance 2017                                                                 $2,197.36

            Attorney's Fees Total                                                                   M,689.00

           Court Costs, Now Taxed:
           Expe1t Affidavit                                                                              $1 4.00
           Service of Process                                                                       $).935.00
           Publication, Notice of Action                                                             $230.00
           :1,.dditional Costs:
           BPO                                                                                   $ 1,302. 0
           Property Inspection                                                                    .l , TL 25
                                                                                                         0




           Maintenance                                                                              $340.00
           GRAND TOTAL                                                                         $991,297.35

      2.      Interest. The grand total amount referenced in Paragraph 1 shail bear interest from this
      date forward a the prevailing legal rate of inkrest in accordance wi6 Section 55.03, Florida
      Statues.

      3.      Lien on P operty. Plaintiff. whose address is 166 1 Worthington Road. Suile 100, West
      Palm Bt>,acb, Florida 33416, holds a lien for the grand total stun superior to all claims or estate
      of the defendant(s), on the following described property in Miami Dade County, Florida:

      LOT 105, BISCAYNE GARDENS SECTION "F'' PART 1, ACCORDING TO 'BE
      PLAT THEREOF. AS RECORDED 1N PLAT BOOK 44, PAGE 46, CF THE pp U C
      RECORDS OF MIM 4I~DADE COUNTY, FLORIDA.
            Property add. ess: J. 5020.South River Dd v~Jy1i:J.rnL FL .33 I 67

      4.      Sale of property. ff J1e grand total amount with interest at the rat ~ de_ cribed in
      Pa graph 2 ,d all costs ac rued subseq11.~r to th' Judgment are no pa ·d. ihe Cier.· of the
      Co'Ul" sh~ll e i ~1e ,·u 1ect property at pu?lic -~ale o~ --d-fl, • ,"A-0---2.018--. _ , ~~·": ; ·00 A.Pi~.
      to the htghes'i bidder ii r cash 1,1 fter havmg first given nc t1 ce as requ red by Se ·, on 45. 31,
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                                                          2.


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Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 592 of
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                                                                      .E xhtbir 7,
      ~1 rida Sta1utes.     Th<: s,JbJ ct        property    shall   bf:   sold   by
      wwvQ Jl •amiae.real foreclose. _om.
      5.      Costs. Plaintiff shall advance all subsequent costs of this actiou and shall be reimbursed
      for them by the Clerk if plaintiff is not the purchaser of the property- for ~ale, provided howeve;·,
       hat the purchaser of the property for sale shall be responsibl . for documentary stamps affixed to
      the certificate of itle. If plaintiff is the purchaser, the Clerk shall credit plaintiff's bid with the
      total sum with interest and costs accruing subsequent to this judgment or such part of it, as is
      necessary to pay the bid in full.
      6.      Distribution of Proceeds. On filing the Certificate of Title, the Clerk shall distribute the
      proceeds of the sale, so far as they are sufficient, by paying: first, all of the plaintiffs costs;
      second, documer1tar1 stamps affixed to the Cer iticate~ third, plaintiff's attorneys' fees; fourth,
      the total sum due to the plaintiff; less the items paid, plus interest at the rate prescribed in
      paragraph 2 from this date to the date of the sale; and by retaining any remaining amount
      pending the further order of this Court.
      7.      Right of Poi1scssio:a. Upon filing of the Certificate of Sale, defendant(s) and ai.l persons
      claiming under or against defendant(s) since the filing of the Notice of Lis Pendens shall be
      foreclosed of all estate or claim in the property, except as t0 ciaims or !i:ghts under Chapter 718
      or Chapter 720, Fla. Stat., if any. Upon filing of the Certificate of Title, the person named on tht:
      Certificate of Title shall be let into possession of the property, subject to the provisions of t.l)e
      Protecting Tenants at For closure Act of 2009, which was extended until 12/31/14 by lhe Dodd-
      Frank Wall Street Reform and Consumer Protection Act

      8.     Jurisdiction. The Court retains jurisdiction 0f this action to e · ter further orde?s that are
      proper, including, without limitation, writs of possession and deficiency judgments.
      9.      Attorney Fees. The Court finds, based upon the affidavits presented and upon inquiry of
      counsel for the plaintiff, that 19.8 hours and a $2,380.00 flat fee were reasonabl expended b)
      the plaintiff's counsel and that an hourly rate of $85.00-$215.00 and a flat fee of $2,380.00. is
      appropriate. PLAINTIFF'S COUNSEL· REPRESENTS THAT THE ATTORNEY FEE
      AWARDED DOES NOT EXCEED ITS CONTRACT FEE WITH THE PLAINTIFF. The Court
      finds that there are no reduction or enhancement fact rs for consideration by the Cowt pursuant
      to Florida Patient's Compensation Fund v. Rowe, 472 S.2d 1145 (fla.1985).

       JO. The court finds. that the legal description contairicd in the subject Mortgage recorded in
      Official Records Book 23623, at Page 3231, of the Publfc Records of Miami-Dade Count)',
      Florida, is incorrect. Said Mortgage is hereby reforme<l to reflect the correct legal description us
      follov,:s:

      LOT 105, BISCAYNE GARDENS SECTION "F" PART I, ACCORDn-: o TO THE
      PLAT THEREOF, AS RECORDED IN PLAT BOOK 44 PAGE 46, OF THE PUBLIC
      RECORDS OF MJAMI-DADE COUNTY, FLORIDA .
      11. The Court finds that Plaintiff is entitled to an ,.quitable lien against Defendant, Ja._rnes
      Littlejohn AK James L. Jolin, Hoke Wiliiams, Mack Wells, Curtis McNeil, Symonette
      Limited Part ership's inte est in ·h . subject property, 1,11p::-rior to the interest. of the Defendants.



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         Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 593 of
                                              597

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                                                         Extlibit 75 EXH.P PG.4
 I             IF THIS PROPERTY IS SOLD AT PUBLIC AUCTION, THERE MAY UE
               ADDITIONAL MONEY F'ROM THE SALE AFTER I AYMENT OF PERSONS WHO
               ARE ENTITLED TO BE PAID FROM THE SALE PROCEEDS PURSUANT TO THE
               FINAL JUDGMENT.
              IF YOU ARE / .. ~UBORDINATE LIENHOLDER CLAIMING A RIGHT TO FUNDS
              REMAINING AFTER TIIE SALE, YOU MUST FILE A CLAIM WITH THE CLERK
              NO LATER THAN 60 DAYS AFTER THE SALE. IF YOU FAIL TO FlLE A
              CLAIM, YOU WILL NOT BE ENTITLED TO ANY REMAINING FUNDS.
                  DONE AND ORDERED in Chambers in Miami Dade County, Florida, this ___ day of
              - - - - - - - ' 2017.
                              DEC I 9 2017

                                               Circuit Judge


              Plaintiff shall servP. f!ll parties named on the   rvice list and "occupant" at property address

                                                            Service List

              Willnae LaCroix, Esq,                     FINAL ORDERS .AS TO ALL ?ARTlES
              Attorney for Plaintiff
              Brock & Scott, PLLC                       SRS DISPOSITION J) ~
                                                        NUMBER _ _____.:!!:..,.G....-----
              1501 NW 49 th Street, Suite 200           THE CflURT OISMiSSES THIS CASE AGAINST
              Fort Lauderdale, FL 33309                 ,:HY PARTY tlOT USTEO IN TK!S FINAL ORDER
                                                        OR PREVIOUS ORDERlS). THIS CASE IS CLOSED
              Miami-Dade County, Florida                 AS TO All PARTIES.             John Sehl •• er
                                                                      Jud e's 1111\lals              Judge
              c/o Altanese Phenelus, Esq.
              111 NW !st Street
              Miami, FL 33128
              yvaldes@miarnidade.gov

              Cit;r of North Miami (City)
              Jennifer L. Warren
              776 N.E 125th Street
              North Miam i, FL 33161
              cityartomey@northmiamifl.gov

              Hoke Williams
              L/KJA 15020 outh River Drive
              Miami, FL 33 67



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                                         597



                                                                               E hibit 75          E ' H.S PG.5

          Unifuud CCR Partners, Q;P.
          c/o CT Corporation Syst m, Registered Agent
          1200 South Pine Island Road
          Plantation, FL 33324

          Deutsche Bank J\iativnal Tmst Company, as Trustee for Franklin Credit Trust Series I
          c/o Legal Department
          1761 E. St. Andrew Place
          Santa Ana, CA 92705

          Unknown Spouse of Hoke Williams
          15020 South River Drive
          Miami, FL 33167

          Unkn0\."11 Spouse of James Littlejohn AKA James L. Jolin
          8152 NW 15th Manor, Apt FC2R
          Plantation, FL 33:22

          Littlejohn a/k/a James L. Jolin, James
          LfK/A 15020 South River Drive
          Miami, FL 33167

          Suntrust Bank
          c/o Alisha Smith, R.A.
          40 Technology Parkway South, Suite 300
          Norcross, GA 30092

         State of Florida, Department of Revenue
         Clo Executive Director, a registered agent or any other person authorized to accept service of
         proccess
         2450 Shumard Oak Boulevard
         Tallahassee, FL 32399

         Leroy Williams
         8152 NW 15th Manor, Apt FC2R
         Plantation FL 33322

         Unknown Spouse of Mack Wells
         15020 South River Drive
         Miami, FL _3 167



          Ca.se No. :? !0-6 l ~,28-(:A, . !             2                                 Fil   ff l.1-F 286&




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                                         597
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I.
I                                                       Exhibit 75     EXH .S PG.6

          The Unknown Spouse of Leroy Williams
          UK/ A I 5020 South River Drive
          Miami, FL 33167

          The Unknown Spouse of Curtis McNeil
          L/K/A 15020 Sout'i River Drive
          Miami, FL 33167

          Mack Wells
          L/KJA 15020 South River Drive
          Miami, FL 33167

          Curtis McNeil
          L/KJA 15020 South River Drive
          Miami, FL 33167

         Symonette Limited Partnership
         L/KJA 15020 South River Drive
         Miami, FL 33167




         Case No. 2010-6In~ .. cA-O!             3                   File II J 3-F028'68
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        Case 1:24-cv-23015-SC Document 21-1 Entered on FLSD Docket 09/09/2024 Page 596 of
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                                                             Exhibit. 75 E h.1' g. ·



                                             ,-ll/ 100+ books banned in Florida
                                      and what .Miami booksellers have to say about it.   I

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                                               Exhibit. 75 ExhuT pg.2
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